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                                      17

                                      18                           IN THE UNITED STATES DISTRICT COURT

                                      19                               NORTHERN DISTRICT OF CALIFORNIA

                                      20

                                      21   XPERTUNIVERSE, INC.,                                 Case No. 17-cv-3848
                                           a Delaware Corporation,
                                      22                                                        REQUEST FOR JUDICIAL NOTICE IN
                                                          Plaintiff,                            SUPPORT OF PLAINTIFF
                                      23                                                        XPERTUNIVERSE, INC.’S MOTION
                                                    v.                                          FOR PARTIAL SUMMARY JUDGMENT
                                      24                                                        ON INVALIDITY COLLATERAL
                                           CISCO SYSTEMS, INC.,                                 ESTOPPEL
                                      25   a California Corporation,
                                                                                                Date: March 29, 2018
                                      26                  Defendant.                            Time: 1:30 p.m.
                                                                                                Courtroom: 3
                                      27                                                        Judge: Hon. Richard Seeborg
                                      28
                                           11429154.1
                                            REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT ON
                                                                               INVALIDITY COLLATERAL ESTOPPEL
                                             Case 3:17-cv-03848-RS Document 58-2 Filed 02/15/18 Page 2 of 509



                                       1            Pursuant to Federal Rule of Evidence 201, Plaintiff XpertUniverse, Inc. (“XpertUniverse”)
                                       2   by and through its attorneys of record, hereby requests that the Court take judicial notice of the
                                       3
                                           following documents in support of its Motion for Partial Summary Judgment:
                                       4
                                                    Exhibit A:    Complaint and Demand for Jury Trial filed by Plaintiff XpertUniverse, Inc.
                                       5
                                                                  in the United States District Court for the District of Delaware, Case No.
                                       6

                                       7                          1:09-cv-00157-RGA on March 10, 2009.

                                       8            Exhibit B:    Answer to XpertUniverse’s Fourth Amended Complaint and Counterclaims

                                       9                          filed by Defendant Cisco Systems, Inc. in the United States District Court
                                      10
                                                                  for the District of Delaware, Case No. 1:09-cv-00157-RGA on February 3,
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
                                                                  2012.
      SAN FRANCISCO, CA 94111




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           BRYAN CAVE LLP




                                                    Exhibit C:    Defendant Cisco Systems, Inc.’s Preliminary Invalidity Contentions, served
                                      13
                                                                  on Plaintiff XpertUniverse, Inc. on December 1, 2011.
                                      14

                                      15            Exhibit D:    Opening Brief in Support of its Motion for Partial Summary Judgment No.

                                      16                          2 for Invalidity of U.S. Patent Nos. 7,366,709 and 7,499,903 Based on 35
                                      17                          U.S.C. § 102(b) (Counts I & II) filed by Defendant Cisco Systems, Inc. in
                                      18
                                                                  the United States District Court for the District of Delaware, Case No. 1:09-
                                      19
                                                                  cv-00157-RGA on November 7, 2012.
                                      20
                                                    Exhibit E:    Memorandum Opinion denying in part Defendant Cisco Systems, Inc.
                                      21

                                      22                          Motion for Partial Summary Judgment No. 2 for Invalidity of U.S. Patent

                                      23                          Nos. 7,366,709 and 7,499,903, entered in United States District Court for

                                      24                          the District of Delaware, Case No. 1:09-cv-00157-RGA on March 8, 2013.
                                      25            Exhibit F:    Portions of the Trial Transcript, Vol. 7, in United States District Court for
                                      26
                                                                  the District of Delaware, Case No. 1:09-cv-00157-RGA on March 20,
                                      27
                                                                  2013.
                                      28
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                                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT ON
                                                                            INVALIDITY COLLATERAL ESTOPPEL
                                             Case 3:17-cv-03848-RS Document 58-2 Filed 02/15/18 Page 3 of 509



                                       1            Exhibit G:     Jury Verdict, entered in United States District Court for the District of
                                       2                           Delaware, Case No. 1:09-cv-00157-RGA on March 22, 2013.
                                       3
                                                    Exhibit H:     Opening Brief in Support of Motion for Judgment as a Matter of Law, and,
                                       4
                                                                   in the Alternative, for Remittitur or New Trial filed by Defendant Cisco
                                       5
                                                                   Systems, Inc. in United States District Court for the District of Delaware,
                                       6

                                       7                           Case No. 1:09-cv-00157-RGA on May 6, 2013.

                                       8            Exhibit I:     Memorandum Opinion on Post-Trial Motions, entered in United States

                                       9                           District Court for the District of Delaware, Case No. 1:09-cv-00157-RGA
                                      10
                                                                   on November 20, 2013.
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
                                                    Exhibit J:     Notice of Cross-Appeal filed by Defendant Cisco Systems, Inc. in the
      SAN FRANCISCO, CA 94111




                                      12
           BRYAN CAVE LLP




                                                                   United States Court of Appeals for the Federal Circuit on March 6, 2014.
                                      13
                                                    Exhibit K:     Final Judgment, entered in United States District Court for the District of
                                      14

                                      15                           Delaware, Case No. 1:09-cv-00157-RGA on January 30, 2014.

                                      16            Exhibit L:     Motion to Alter or Amend the Judgment and Motion for Attorneys’ Fees
                                      17                           filed by Plaintiff XpertUniverse, Inc. in United States District Court for the
                                      18
                                                                   District of Delaware, Case No. 1:09-cv-00157-RGA on May 6, 2013.
                                      19
                                                    Motion M:      Motion for Leave to File a Motion for Partial Summary Judgment filed by
                                      20
                                                                   Defendant Cisco Systems, Inc. in United States District Court for the
                                      21

                                      22                           District of Delaware, Case No. 1:09-cv-00157-RGA on February 28, 2012.

                                      23            Federal Rule of Evidence 201(b) allows this Court to take judicial notice of any fact “not

                                      24   subject to reasonable dispute because it” is either (1) “generally known within the trial court’s
                                      25   territorial jurisdiction” or (2) “can be accurately and readily determined from sources whose
                                      26
                                           accuracy cannot be reasonably be questioned.”
                                      27
                                      28
                                           11429154.1                                         3
                                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT ON
                                                                             INVALIDITY COLLATERAL ESTOPPEL
                                             Case 3:17-cv-03848-RS Document 58-2 Filed 02/15/18 Page 4 of 509



                                       1            This Court may take judicial notice of pleadings and court orders in related proceedings.
                                       2   Asdar Group v. Pillsbury, Madison & Sutro, 99 F.3d 289, 290 n. 1 (9th Cir. 1996). This Court
                                       3
                                           may therefore take judicial notice of the pleadings and court orders from the related proceeding
                                       4
                                           attached as Exhibits A, B, C, D, E, G, H, I, J, K, L, and M. Additionally, this Court may take
                                       5
                                           judicial notice of trial transcripts from related proceedings “because the contents of the trial
                                       6

                                       7   transcripts can be accurately and readily determined from sources whose accuracy cannot be

                                       8   reasonably questioned.” Allstate Ins. Co. v. Pira, No. C 11-3511 CW, 2012 WL 1997212, at *4

                                       9   (N.D. Cal. June 4, 2012) (internal quotations omitted). This Court may therefore take judicial
                                      10
                                           notice of the trial transcripts attached as Exhibit F.
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
      SAN FRANCISCO, CA 94111




                                      12
           BRYAN CAVE LLP




                                      13   Dated:          February 15, 2018               BRYAN CAVE LLP

                                      14                                                  By: /s/ K. Lee Marshall_______________
                                                                                                K. Lee Marshall
                                      15                                                        Attorneys for Plaintiff
                                                                                               XPERTUNIVERSE, INC.
                                      16

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                                             REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT ON
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on February 9, 2012, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

February 9, 2012, upon the following in the manner indicated:

Philip A. Rovner, Esquire                                             VIA ELECTRONIC MAIL
Jonathan Choa, Esquire
POTTER ANDERSON & CORROON LLP
Hercules Plaza
1313 North Market Street
Wilmington, DE 19801

Joseph Diamante, Esquire                                              VIA ELECTRONIC MAIL
Charles E. Cantine, Esquire
Jason Sobel, Esquire
Alex Solo, Esquire
STROOCK & STROOCK & LAVAN LLP
180 Maiden Lane
New York, NY 10038


                                                     /s/ Jack B. Blumenfeld

                                                    Jack B. Blumenfeld (#1014)
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             EXHIBIT C
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                          UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


   XPERTUNIVERSE, INC.,                          Civil Action No. 09-157-BMS

                   Plaintiff

          v.

   CISCO SYSTEMS, INC.,

                   Defendant.


            DEFENDANT CISCO SYSTEMS, INC.’S PRELIMINARY INVALIDITY
                                CONTENTIONS




                                         i
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          Pursuant to the Court’s Scheduling Order, Defendant Cisco Systems, Inc. (“Cisco”)

 hereby provides to Plaintiff XpertUniverse, Inc. (“XpertUniverse” or “XU”) the following

 invalidity contentions for U.S. Patent No. 7,366,709 (the “’709 Patent”)) and U.S. Patent No.

 7,499,903 (the “’903 Patent”).

          Discovery in this matter is still ongoing. Cisco’s investigation regarding these and other

 potential grounds for invalidity is ongoing. Cisco’s disclosure is given without prejudice to

 Cisco’s right to supplement or amend its invalidity contentions as additional facts are

 ascertained, analyses are made, research is completed, contentions are made, and claims are

 construed. Cisco reserves the right to amend these invalidity contentions as discovery

 progresses, agreed by the parties, or permitted by the Court.

          In the absence of a claim-construction order, Cisco has based these Invalidity

 Contentions in part on consideration of XU’s Preliminary Infringement Contentions as served on

 November 1, 2011. Cisco reserves the right to modify, amend or supplement its Preliminary

 Invalidity Contentions in the event that XU modifies, amends or supplements its Preliminary

 Infringement Contentions or takes a claim construction position different from or in addition to

 those embodied in its Preliminary Infringement Contentions. Cisco disagrees with what appear

 to be XU’s claim constructions as advanced in its Preliminary Infringement Contentions. Cisco

 expressly reserves the right to propose alternative constructions.

          Cisco also contends, based on XU’s Preliminary Infringement Contentions, that XU

 appears to be taking an overly broad construction of the asserted claims of the Asserted Patents

 in an effort to piece together infringement claims where none exist and to accuse products that do

 not practice the claims as properly construed. At the same time, XU’s Preliminary Infringement

 Contentions are in many places too general and vague to discern how XU contends that each



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 accused product practices each limitation of the asserted claims. For example, XU provided

 charts for only two accused products – Cisco Pulse and Cisco Unified Expert Advisor. As such,

 it is unknown how XU interprets the asserted claims in order to allegedly read on other

 purportedly accused products. These and other deficiencies with XU’s Preliminary Infringement

 Contentions are explained more fully in a letter from Brett Schuman to Charles Cantine, dated

 November 7, 2011, and incorporated herein by reference. In addition, by providing these

 Preliminary Invalidity Contentions, Cisco does not intend to, and does not, admit that the

 asserted claims are infringed by any of the accused Cisco products or technology, that any

 particular feature or aspect of any of the accused products practices any limitations of the

 asserted claims or that any of XU’s proposed claim constructions are supportable or proper.

          In its Preliminary Infringement Contentions, XU asserts that if the asserted claims are not

 literally infringed, they are infringed under the doctrine of equivalents. XU, however, has failed

 to provide any analysis or explanation regarding alleged infringement of the asserted claims

 under the doctrine of equivalents. In its Preliminary Infringement Contentions, XU also

 contends that Cisco indirectly infringes the asserted patents by contributing to and/or actively

 inducing infringement of the Asserted Patents by providing customers with the instrumentalities

 and promoting their use for at least the method claims of the asserted patents, and contends that

 Cisco indirectly infringes by inducing its partners and/or customers to produce infringing

 products and/or utilize them in an infringing manner. XU has failed to provide any analysis or

 explanation regarding alleged indirect infringement, either under an inducement theory or a

 contributory infringement theory, of the asserted claims. Cisco reserves the right to modify,

 amend, and/or supplement its invalidity contentions as XU modifies, amends, and/or clarifies its




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 Preliminary Infringement Contentions (literal and/or under the doctrine of equivalents and

 indirect or direct infringement).

          When the asserted claims of the asserted patents are properly construed, they do not read

 on Cisco’s products or technology. Cisco will propose its claim construction positions in

 accordance with any applicable orders of this Court. Nothing herein should be construed as

 setting forth or limiting Cisco’s claim construction positions. To the extent that any of the prior

 art references disclose the same functionality or feature of any of the accused products, Cisco

 reserves the right to argue that said feature or functionality does not meet any limitation of any of

 the asserted claims, and to argue, in the alternative, that if said feature or functionality is found to

 meet any limitation of any of the asserted claims of the asserted patents, then the prior art

 reference demonstrates that said limitation (and the claim as a whole) is not novel or is obvious,

 and thus that the alleged invention is not patentable.

          Prior art not included in this disclosure, whether or not now known to Cisco, may become

 relevant depending on the claim constructions that XU asserts and/or the Court ultimately adopts

 and depending on the infringement positions taken by XU. Cisco’s continued investigation also

 may uncover additional prior art. Accordingly, Cisco reserves the right to modify or supplement

 its Preliminary Invalidity Contentions after the Court issues its claim construction ruling.

 Further, XU has produced little or no prior art related documents in this action, nor has it

 responded to discovery on a wide variety of issues, including the conception and reduction to

 practice of the alleged inventions, whether XU products embodying the purported inventions

 were on sale or in public use more than one year prior to the date XU filed its patent applications,

 and whether XU published documents describing the purported inventions more than one year

 prior to the date XU filed its patent applications. To the extent that XU supplements its



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 discovery responses bearing on issues of validity, Cisco reserves its right to modify or

 supplement its Invalidity Contentions in response. Cisco also reserves the right to rely on

 applicants’ admitted prior art and any admissions made during prosecution of the asserted

 patents, both alone and in combination with the disclosure contained in the prior art references

 disclosed herewith.

          In addition, XU has not alleged, nor has it provided evidence to support, any priority

 dates prior to the filing dates of the asserted patents. Cisco’s Invalidity Contentions are based on

 the filing dates of the asserted patents, and should XU attempt to allege or provide evidence of an

 earlier priority date, Cisco reserves the right to oppose that attempt and/or amend or supplement

 its invalidity contentions.

          The obviousness combinations of references identified below under 35 U.S.C. § 103 and

 in the claim charts attached at Appendices A1-14 and B1-13 are merely exemplary and are not

 intended to be exhaustive. Additional obviousness combinations of the references identified

 below are possible, and Cisco reserves the right to use any such combinations in this litigation.

 In particular, Cisco is currently unaware of the extent, if any, to which XU will contend that

 limitations of the claims at issue are not disclosed in the art Cisco has identified as anticipatory.

 To the extent that an issue arises as to any such limitation, Cisco reserves the right to identify

 other references and/or combinations which would supply the alleged missing limitation.

 I.       INVALIDITY CONTENTIONS FOR THE ’709 PATENT

          A.      Identification of Prior Art for the ’709 Patent

          Presently, Cisco intends to rely on at least the following prior art patents and references

 that anticipate one or more of the asserted claims of the ’709 patent:




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                  •   U.S. Patent No. 7,120,647 to Venkatesh et al., “Web-Based Method and System
                      For Providing Expert Information On Selected Matters,” filed October 30, 2001,
                      issued December 10, 2006 (“Venkatesh”).

                  •   U.S. Patent No. 7,155,430 to Sihvo et al., “Method for Providing Data Inquiry
                      Service and Data Inquiry Service System,” PCT filed December 13, 2001, issued
                      December 26, 2006 (“Sivho”)

                  •   U.S. Patent No. 6,901,394 to Chauhan et al., “Method and System for Enhanced
                      Knowledge Management,” filed June 29, 2001, issued May 31, 2005 (“Chauhan”)

                  •   U.S. Patent No. 7,035,838 to Nelson et al., “Methods and Systems for Organizing
                      Information Stored Within a Computer Network-Based System,” filed December
                      6, 2002, issued April 25, 2006 (“Nelson”)

                  •   U.S. Patent Application No. 2005/0193055 to Angel et al., “Context Sensitive
                      Dynamic User Interface for Customer Service Agent,” filed February 26, 2004,
                      published September 1, 2005 (“Angel”)

                  •   U.S. Patent Application No. 2002/0152279 to Sollenberger et al., “Personalized
                      Internet Portal,” filed April 21, 2001, published October 17, 2002
                      (“Sollenberger”)

                  •   U.S. Patent No. 6,195,696 to Baber et al., “Systems, Methods and Computer
                      Program Products for Assigning, Generating and Delivering Content to Intranet
                      Users,” filed October 1, 1998, issued February 17, 2001 (“Baber”)

                  •   U.S. Patent No. 7,343,310 to Stender, “System and Method for Providing Web-
                      Based User Interface to Legacy, Personal-Lines Insurance Applications,” filed
                      April 30, 2001, issued March 11, 2008 (“Stender”)

                  •   U.S. Patent Application No. 2002/0013846 to Friedman et al., “Interactive Online
                      Learning With Student-to-Tutor Marching,” filed July 18, 2001, published
                      January 31, 2002 (“Friedman”)

                  •   U.S. Patent No. 6,510,431 to Eichstaedt et al., “Method and System for the
                      Routing of Requests Using an Automated Classification and Profile Matching in a
                      Networked Environment,” filed June 28, 1999, issued January 21, 2003
                      (“Eichstaedt”)

                  •   U.S. Patent No. 6,240,420 to Lee, “Customer Support Search Engine System and
                      Method of Searching Data Using the Search Engine System,” filed August 31,
                      1998, issued May 29, 2001 (“Lee”)

                  •   RightNow Technologies Inc.’s eService Center 5.5 (“RightNow 5.5”).


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                  •   XpertShare 2.0 product, as described in XpertShare 2.0 Product Tour
                      (“XpertShare 2.0”), and prior versions of XpertShare.

                  •   KnowledgeShare product, as described in the KnowledgeShare User Manual
                      (“KnowledgeShare”)

          Cisco further reserves the right to rely on other prior art uncovered during the course of

 discovery. Additionally, Cisco reserves the right to rely on the earliest publication or priority

 dates to which each of the prior art references are entitled, including dates on which a claim of

 priority may be based for patent references that are any of a divisional, continuation, or

 continuation-in-part of an earlier filed patent application. Cisco reserves the right to rely on any

 prior versions of any products named in its invalidity contentions, as well as any additional

 documentation referring to any products named in its invalidity contentions.

          B.          Invalidity Charts for the ’709 Patent

          XU has asserted claims 1-7 of the ’709 Patent in its Preliminary Infringement

 Contentions, served on November 1, 2011. The charts attached hereto as Appendices A1-A14

 identify where within each prior art reference are found each of the elements of the asserted

 claims of the ’709 patent based on either Cisco’s current understanding of the claim language of

 XU’s asserted scope of the claims as reflected in XU’s allegations and contentions made in this

 suit. Although Cisco disagrees with XU about the scope of the asserted claims, to the extent the

 claims are interpreted consistently, in whole or in part, with XU’s contentions, this would render

 the claims invalid based on at least the prior art identified in Appendices A1-A14.

          Although exemplary citations are provided, each particular prior art reference may

 contain additional disclosure of a given claim element at other locations. Thus, the following

 description is made in an effort to identify each claim element as being contained in the

 respective references and is not intended to be an exhaustive listing of all teachings of a



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 particular claim element within each prior art reference.

          Cisco contends that each of the identified prior art references anticipates each of the

 asserted claims of the ’709 patent. Cisco further contends that each identified prior art reference,

 either alone or in combination with one or more of the other identified prior art references,

 invalidates each asserted claim as obvious under 35 U.S.C. § 103.

          C.          Exemplary Combinations that Render Obvious the Claims of the ’709

                      Patent.

          In addition to the exemplary obviousness combinations disclosed in the claim charts at

 Appendix A1-14, one of ordinary skill in the art would be motivated to combine any of the

 references listed above in Section I.A with any of the other references listed therein. In addition,

 one of ordinary skill in the art would be motivated to combine any of the following references

 listed below, with any of the references listed above in Section I.A:

                  •   U.S. Patent No. 2004/0024739 to Copperman et al., filed July 1, 2003, published
                      February 5, 2004.

                  •   U.S. Patent No. 5,822,745 to Hekmatpour, filed December 27, 1996, issued
                      October 13, 1998.

                  •   Help SG Overview - homework911 (“homework911”).


          Furthermore, a person of ordinary skill in the art would have been motivated to combine

 any of these references for at least the following additional reasons: a person of skill in the art

 would have combined the prior art elements according to known methods in order to yield

 predictable results; a person of skill in the art would have known to substitute one prior art

 element for another to obtain a predictable result; a person of skill in the art would have known

 to apply the same improvement technique in the same way to the base devices in order to achieve

 predictable results; a person of skill in the art would have known that applying a known


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 technique would have yielded a predictable result and an improved system, method, or product;

 there was a recognized need or problem in the art and a person of skill in the art would have

 pursued the known potential solution with a reasonable expectation of success; a person of skill

 in the art, in view of design incentives or other market forces, could have implemented a known

 variation that would have been predictable to one of ordinary skill in the art; and the prior art

 contains some teaching, suggestion, or motivation that would have led one of ordinary skill in

 the art to modify and/or combine the prior art references.

          For example, either of Copperman and Hekmatpour can be combined with any of

 Venkatesh, Sollenberger and Angel. Copperman and Hekmatpour each describe methods of

 organizing and storing an enterprise’s information in databases. Venkatesh, Sollenberger, and

 Angel likewise teach methods of storing enterprise information, and displaying it to a user. One

 of ordinary skill in the art would be motivated to combine any of Copperman and Hekmatpour

 with any of Venkatesh, Sollenberger, and Angel as they solve similar problems in the art,

 including problems relating to managing and accessing enterprise information in databases.

          D.      Other Grounds of Invalidity of the ’709 Patent Claims

          As indicated below, Cisco contends that various asserted claims are indefinite under 35

 U.S.C. §112(2). In Appendices A1-14 and B1-13, Cisco has provided citations to disclosures in

 the prior art based on what appears to be XU’s constructions and infringement allegations

 concerning Cisco’s products. Cisco’s citations of prior art shall not be construed as an admission

 that any of these terms or claims satisfy the requirements of § 112(2).

          Claim 1 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry types,”

 “values,” “inquiry criteria,” “designating a parameter that indicates a source from which inquiry

 criteria values are retrieved,” and “interactive problem definition page” are ambiguous and fail to



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 define the metes and bounds of the claimed invention.

           Claim 2 is indefinite under 35 U.S.C. § 112(2) because the limitation “inquiry criteria

 values” is ambiguous and fails to define the metes and bounds of the claimed invention.

           Claim 3 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry criteria

 values” is ambiguous and fails to define the metes and bounds of the claimed invention.

           Claim 5 is indefinite under 35 U.S.C. § 112(2) because the limitation “the processor

 being configured to extract unique combinations from the database and evaluate the

 combinations” is ambiguous and fails to define the metes and bounds of the claimed invention.

 Further, claim 5 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry criteria,”

 “values” and “a parameter that indicates a source from which inquiry criteria and values are

 retrieved” are ambiguous and fail to define the metes and bounds of the claimed invention.

 Claim 5 is also indefinite under 35 U.S.C. § 112(2) because the limitation “a plurality of

 monitors” is ambiguous and fails to define the metes and bounds of the claimed invention.

 Moreover, the claim limitation “a plurality of monitors” lacks adequate written description under

 35 U.S.C. § 112(1), and was not described in the specification in a way to convey reasonably to

 one skilled in the art that the inventor had possession of the claimed invention at the time of

 filing.

           Claim 6 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry criteria,”

 “values” and “interactive problem definition page” are ambiguous and fail to define the metes

 and bounds of the claimed invention.

           Claim 7 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry criteria,”

 “values” and “plurality of monitors” are ambiguous and fail to define the metes and bounds of

 the claimed invention. Moreover, the claim limitation “plurality of monitors” lacks adequate



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 written description under 35 U.S.C. § 112(1). Cisco has provided invalidity contentions to the

 extent that a definition for these terms can be found.

 II.      INVALIDITY CONTENTIONS FOR THE ’903 PATENT


          A.          Identification of Prior Art for the ’903 Patent

          Presently, Cisco intends to rely on at least the following prior art patents and references

 that anticipate one or more of the asserted claims of the ’903 patent:

                  •   U.S. Patent No. 6,453,038 to McFarlane et al., “System for Integrating Agent
                      Database Access Skills In Call Center Agent Assignment Applications,” filed
                      March 12, 2002, issued May 6, 2003 (“McFarlane”)

                  •   U.S. Patent No. 6,456,619 to Sassin et al., “Method and System for Supporting a
                      Decision Tree with Placeholder Capability,” filed December 4, 1997, issued
                      September 24, 2002 (“Sassin”)

                  •   U.S. Patent No. 6,223,165 to Lauffer, “Method and Apparatus to Connect
                      Consumer to Expert,” filed January 20, 2000, issued April 24, 2001 (“Lauffer”)

                  •   U.S. Patent No. 6,587,556 to Judkins et al., “Skills Based Routing Method and
                      System for Call Center,” filed February 25, 2000, issued July 1, 2003 (“Judkins”)

                  •   U.S. Patent No. 6,560,330 to Gabriel, “Rules-Based Queuing of Calls to Call-
                      Handling Resources,” filed March 12, 2002, issued May 6, 2003 (“Gabriel”)

                  •   U.S. Patent No. 7,120,647 to Venkatesh et al., “Web-Based Method and System
                      For Providing Expert Information On Selected Matters,” filed October 30, 2001,
                      issued December 10, 2006 (“Venkatesh”).

                  •   U.S. Patent No. 6,553,113 to Dhir et al., “System and Methods for Call
                      Decisioning in a Virtual Call Center Integrating Telephony with Computers,”
                      filed July 9, 1999, issued April 23, 2003 (“Dhir”).

                  •   U.S. Patent Application No. 2002/0013846 to Friedman et al., “Interactive Online
                      Learning With Student-to-Tutor Marching,” filed July 18, 2001, published
                      January 31, 2002 (“Friedman”)

                  •   U.S. Patent No. 6,510,431 to Eichstaedt et al., “Method and System for the
                      Routing of Requests Using an Automated Classification and Profile Matching in a
                      Networked Environment,” filed June 28, 1999, issued January 21, 2003
                      (“Eichstaedt”)

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                  •   XpertShare 2.0 product, as described in XpertShare 2.0 Product Tour
                      (“XpertShare 2.0”), and prior versions of XpertShare.

                  •   Siemens HiPath Pro Center Standard and Advanced Suites 4.0 (“HiPath”)

                  •   Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert
                      Contact 7 (“Genesys Suite 7”), and prior versions of Genesys Suite.

                  •   KnowledgeShare product, as described in the KnowledgeShare User Manual
                      (“KnowledgeShare”)

          Cisco further reserves the right to rely on other prior art uncovered during the course of

 discovery. Additionally, Cisco reserves the right to rely on the earliest publication or priority

 dates to which each of the prior art references are entitled, including dates on which a claim of

 priority may be based for patent references that are any of a divisional, continuation, or

 continuation-in-part of an earlier filed patent application. Cisco reserves the right to rely on any

 prior versions of any products named in its invalidity contentions, as well as any additional

 documentation referring to any products named in its invalidity contentions.

          B.          Invalidity Charts for the ’903 Patent

          Plaintiff has asserted claims 1-18 of the ’903 Patent in its Preliminary Infringement

 Contentions, served on November 1, 2011. The charts attached hereto as Appendices B1-13

 identify where within each prior art reference are found each of the elements of the asserted

 claims of the ’903 patent. Although Cisco disagrees with XU about the scope of the asserted

 claims, to the extent the claims are interpreted consistently, in whole or in part, with XU’s

 contentions, this would render the claims invalid based on at least the prior art identified in

 Appendices B1-B13.

          Although exemplary citations are provided, each particular prior art reference may

 contain additional disclosure of a given claim element at other locations. Thus, the following



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 description is made in an effort to identify each claim element as being contained in the

 respective references and is not intended to be an exhaustive listing of all teachings of a

 particular claim element within each prior art reference.

          Cisco contends that each of the identified prior art references anticipates each of the

 asserted claims of the ’903 patent based on one or both of Cisco’s understanding of the claims

 and XU’s asserted scope of the claims. Cisco further contends that each identified prior art

 reference, either alone or in combination with one or more of the other identified prior art

 references, invalidates each asserted claim as obvious under 35 U.S.C. § 103.

          C.          Exemplary Combinations that Render Obvious the Claims of the ’903

                      Patent.

          In addition to the exemplary combinations of prior art references disclosed in the charts at

 Exhibit B, one of ordinary skill in the art would be motivated to combine any of the references

 listed above in Section II.A with any of the other references listed therein.      In addition, one of

 ordinary skill in the art would be motivated to combine any of the following references listed

 below, with any of the references listed above in Section II.A:

                  •   U.S. Patent No. 5,822,745 to Hekmatpour, filed December 27, 1996, issued
                      October 13, 1998. (“Hekmatpour”)

                  •   U.S. Patent No. 5,970,124 to Csaszar et al., filed June 5, 1997, issued October 19,
                      1999. (“Csaszar”)

                  •   U.S. Patent No. 6,535,492 to Shtivelman, filed December 1, 1999, issued March
                      18, 2003. (“Shtivelman”)

                  •   U.S. Patent No. 7,376,622 to Padalino et al., filed September 2, 1999, issued May
                      20, 2008. (“Padalino”)

                  •   U.S. Patent No. 7,082,392 to Butler et al., filed August 17, 2000, issued July 25,
                      2006. (“Butler”)

                  •   U.S. Patent Application No. 2004/0122941 to Creamer et al., filed December 20,

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                      2002, issued June 24, 2004. (“Creamer”)

                  •   U.S. Patent No. 7,783,475 to Neuberger et al., filed January 31, 2003, issued
                      August 24, 2010. (“Neuberger”)

                  •   U.S. Patent No. 5,546,452 to Andrews et al., filed March 2, 1995, issued August
                      13, 1996. (“Andrews”)

                  •   U.S. Patent No. 7,155,430 to Sihvo et al., PCT filed December 13, 2001, issued
                      December 26, 2006 (“Sivho”)

                  •   Help SG Overview - homework911 (“homework911”)

          Furthermore, a person of ordinary skill in the art would have been motivated to combine

 any of these references for at least the following additional reasons: a person of skill in the art

 would have combined the prior art elements according to known methods in order to yield

 predictable results; a person of skill in the art would have known to substitute one prior art

 element for another to obtain a predictable result; a person of skill in the art would have known

 to apply the same improvement technique in the same way to the base devices in order to achieve

 predictable results; a person of skill in the art would have known that applying a known

 technique would have yielded a predictable result and an improved system, method, or product;

 there was a recognized need or problem in the art and a person of skill in the art would have

 pursued the known potential solution with a reasonable expectation of success; a person of skill

 in the art, in view of design incentives or other market forces, could have implemented a known

 variation that would have been predictable to one of ordinary skill in the art; and the prior art

 contains some teaching, suggestion, or motivation that would have led one of ordinary skill in

 the art to modify and/or combine the prior art references.

          For example, any of Padalino, Butler and Creamer can be combined with the Judkins

 reference. Padalino, Butler and Creamer each describe using interactive voice response systems,

 and Judkins describes a system for skills-based routing in a call center, which can use an


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 interactive voice response system to obtain data from a customer or caller. One of ordinary skill

 in the art would be motivated to combine any of Padalino, Butler, and Creamer with Judkins as

 they are in the same field, call center technology, and solve similar problems, including how to

 collect information from a customer and to most efficiently route customer inquiries.

          Additionally, any of Sivho and Hekmatpour can be combined with any of McFarlane,

 Judkins, Venkatesh or Gabriel. Sivho and Hekmatpour generally describe ways of organizing

 data in databases, while Judkins, Venkatesh and Gabriel describe using databases of user

 inquiries and expert skills to route queries to agents. One of ordinary skill in the art would be

 motivated to combine any of Sivho and Hekmatpour with any of Judkins, Venkatesh or Gabriel

 as they each solve problems in database management and organizing information. The above-

 listed combinations are listed as examples only. As explained above, additional motivations to

 combine, as well as combinations of references, exist.

          D.      Other Grounds of Invalidity of the ’903 Patent Claims

          XU has asserted claims 1-7 of the ’903 patent in its Preliminary Infringement

 Contentions, served November 1, 2011. Claim 1 is indefinite under 35 U.S.C. § 112(2) because

 the limitations “inquiry types,” “criteria grouping(s),” “first layer of predetermined semantically

 expressed inquiry types,” “one or more other layers of inquiry types” and “predetermined

 semantically-expressed inquiry types and its corresponding layers” fail to define the metes and

 bounds of the claimed invention. Cisco has provided invalidity contentions for this claim to the

 extent that definitions for these terms can be found.

          Claims 6-9 are indefinite under 35 U.S.C. §112(2) because the limitations “criteria

 groupings” and “layer of inquiry type” fail to define the metes and bounds of the claimed

 invention. Defendant has provided invalidity contentions for these claims to the extent that



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 definitions for these terms can be found.

          Claim 10 is indefinite under 35 U.S.C. §112(2) because the limitations “receiving from

 the user a response to the presentation of a first member of the underlying criteria grouping” and

 “the response triggering the presentation of further members of the underlying criteria grouping”

 fail to define the metes and bounds of the claimed invention. Defendant has provided invalidity

 contentions for these claims to the extent that definitions for these terms can be found.

          Claim 12 is indefinite under 35 U.S.C. § 112(2) because the limitations “inquiry types,”

 “criteria groupings,” and “layers of inquiry types” fail to define the metes and bounds of the

 claimed invention. Defendant has provided invalidity contentions for these claims to the extent

 that definitions for these terms can be found.



 DATED: December 1, 2011                     /s/ Brett M. Schuman_______________________
                                             Brett M. Schuman

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 1, 2011, copies of the foregoing were caused to be

 served on the following in the manner indicated:

 Philip A. Rovner, Esq.                                              VIA ELECTRONIC MAIL
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                                                              /s/ Brett M. Schuman_________
                                                              Brett M. Schuman




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                     Appendix B
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                                                              Appendix B-1

  Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6,453,038 to McFarlane et al., “System For
                    Integrating Agent Database Access Skills In Call Center Agent Assignment Applications”

 U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”) was filed on June 1, 2000, and issued September 17, 2002. McFarlane is
 prior art under at least 35 U.S.C. 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, McFarlane anticipates and renders obvious, alone, or in combination
 with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity
 contentions are not an admission by Defendant that the accused products, including any current or past version of these products, are
 covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein
 should be understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other
 actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine McFarlane with the other references set forth in this chart,
 for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that McFarlane is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine McFarlane with the additional listed prior art. Moreover, when other prior art
 is listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine
 those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in McFarlane. Discovery and investigation is
 ongoing, and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is
 infringed, but did not explicitly identify that claim in its Disclosure of Asserted Claims, Finisar hereby reserves the right to amend
 these invalidity contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims
 not so identified.

 The following prior art references are cited in the table below as references that may be combined with McFarlane to render one or
 more of the claims obvious:

      •           U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •           U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •           U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •           U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •           U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

      •           U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •           U.S. Patent No. 6,535,492 to Shtivelman (“Shtivelman”)

      •           U.S. Patent No. 7,783,475 to Neuberger et al. (“Neuberger”)

      •           U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •           U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)


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      •           U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •           U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •           U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •           U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •           U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •           U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •           XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •           KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •           Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard
                  and Advanced Suites 4.0 User Guide (“HiPath UG”)

      •           Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described
                  in Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                      U.S. Patent No. 6,453,038 to McFarlane et al.
     1. A method of semantic to non-semantic         To the extent that the preamble is considered limiting, McFarlane teaches a method of semantic
 routing to locate a live expert comprising the      to non-semantic routing to locate a live expert, for example, a system of skills-based routing for
 steps of:                                           a call center. See, e.g., Fig. 1, col. 4:13-28.




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 Claim Language                                   U.S. Patent No. 6,453,038 to McFarlane et al.




 providing an inquiry-type computer database      McFarlane teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, inquiry types in a
     inquiry types organized from an underlying   database in an interactive voice response system. See, e.g., col. 8:44-9:10.
     plurality of criteria groupings that are
     humanly understandable descriptors;          Further, this claim element was well-known in the art, and McFarlane could be combined with
                                                  any of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.


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 Claim Language                                    U.S. Patent No. 6,453,038 to McFarlane et al.
                                                   Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                   Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     McFarlane teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, layers of inquiry types within an IVR system. See, e.g., col. 8:44-9:10.
     correspondence with the first layer of
     predetermined semantically-expressed          Further, this claim element was well-known in the art, and McFarlane could be combined with
     inquiry types;                                any of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   McFarlane teaches supplying a skill-set database that includes an entry that associates at least
    entry that associates at least one expert      one expert with one of the predetermined semantically-expressed inquiry types and its
    with one of the predetermined                  corresponding layers, the expert having individualized knowledge of at least one criteria from


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 Claim Language                                   U.S. Patent No. 6,453,038 to McFarlane et al.
    semantically-expressed inquiry types and      the underlying criteria grouping for the associated inquiry type, for example, a database
    its corresponding layers, the expert having   containing information on an agent’s skills. See, e.g., Fig. 6, col. 11:24-12:8; claim 1 (“means
    individualized knowledge of at least one      for maintaining data comprising a mapping of agent experience and agent ability to use, on an
    criteria from the underlying criteria         unassisted and unsupervised basis, said at least one automated resource to data indicative of an
    grouping for the associated inquiry type;     augmented agent skill level for said plurality of agents”); claim 9.




 mapping each skill-set database entry to the     McFarlane teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type   inquiry type database through a unique numerical routing identifier, for example, an extension
    database through a unique numerical           number associated with an agent. See, e.g., col. 10:54-11:9; claim 1 (“means for automatically
    routing identifier; and                       selecting said one agent as a function of an experience level of said agent with respect to said
                                                  service need and said agent’s augmented skill level in using a one of an augmented agent skill
                                                  level for said plurality of agents”).

                                                  This element was well-known in the art, and further, McFarlane can be combined with any of
                                                  the following:

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                                                      Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                      Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   McFarlane teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, collecting a user’s request through an IVR system and connecting them to
    identifier associated with the                    an agent with appropriate skill level. See, e.g., col. 9:12-40; col. 9:55-10:12; col. 10:54-11:9.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          McFarlane teaches establishing a real time communicate path between the user and the expert,
 expert.                                              for example, a telephone call. See, e.g., col. 4:13-28; col. 5:11-36; col. 6:7-18; col. 6:61-7:8.

     3. The method of claim 2, wherein the            See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a       McFarlane teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over         connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                        example, a telephony connection or a VoIP connection. See, e.g., col. 4:13-28; col. 5:11-36; col.
                                                      6:7-18; col. 6:61-7:8.


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 Claim Language                                     U.S. Patent No. 6,453,038 to McFarlane et al.
     4. The method of claim 1, further              See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious             McFarlane teaches meritoriously ranking the expert, wherein a most meritorious available expert
 available expert is placed in communication        is place in communication with the user, for example, using agent skill sets and rankings. See,
 with the user.                                     e.g., col. 11:55-12:7.

      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          McFarlane teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, based on a ranking of the expert’s knowledge, or based on the service level to
 which the user is a member.                        which a customer is entitled. See, e.g., col. 10:15-53; col. 11:55-12:7.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          McFarlane teaches each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, for example, inquiry types in English and Spanish. See, e.g.,
                                                    col. 12:8-19.

                                                    Further, this claim element was well-known in the art, and McFarlane can be combined with any
                                                    of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the


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 Claim Language                                   U.S. Patent No. 6,453,038 to McFarlane et al.
 within a field of interest.                      art, and McFarlane can be combined with any of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                  Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                  Creamer: See, e.g., ¶¶ 0045.

                                                  Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                  Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each       See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in        McFarlane teaches each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                              composed in user-centric terms, for example, in an interactive voice response system. See, e.g.,
                                                  col. 5:37-48.

                                                  The claim element was well-known in the art, and McFarlane can be combined with any of the
                                                  following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                  Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                  Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                  Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                  Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further            See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the   McFarlane teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based   criteria grouping to the user based on a predetermined user profile, for example, based on user


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 Claim Language                                     U.S. Patent No. 6,453,038 to McFarlane et al.
 on a predetermined user profile.                   profile information. See, e.g., col. 7:9-19; col. 10:15-37.

                                                    Further, this element was well-known in the art, and McFarlane can be combined with any of the
                                                    following:

                                                    Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                    Csaszar: See, e.g., col. 8:55-9:9.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 3.

                                                    Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   McFarlane teaches receiving from the user a response to the presentation of a first member of
 of the underlying criteria grouping; and           the underlying criteria grouping, for example, a user entering in a selection using an IVR
                                                    system. See, e.g., col. 8:45-9:10; col. 9:12-40.

 the response triggering the presentation of        McFarlane teaches the response triggering the presentation of further members of the underlying
     further members of the underlying criteria     criteria grouping in a predetermined order, for example, an IVR system presenting an additional
     grouping in a predetermined order.             level of choices. See, e.g., col. 8:45-9:10; col. 9:12-40.

     11. The method of claim 10, wherein the        See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and       McFarlane teaches that the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent                 independent arrangement, and combination hierarchical/independent arrangement, for example,
 arrangement.                                       a hierarchical arrangement. See, e.g., col. 8:45-9:10, col. 9:12-40.



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 Claim Language                                    U.S. Patent No. 6,453,038 to McFarlane et al.
     12. A match and route system operable to      To the extent that the preamble is held to be limiting, McFarlane teaches a match and route
 locate a live expert comprising:                  system operable to locate a live expert, for example, a system of skills-based routing for a call
                                                   center. See, e.g., Fig. 1, col. 4:13-28.

     at least first and second multimedia          McFarlane teaches at least first and second multimedia computers connected to a
 computers connected to a communication            communication network, each multimedia computer including a bidirectional audio or
 network, each multimedia computer including       audio/visual device, for example, a user’s computer. See, e.g., Fig. 2, col. 6:19-40; col. 7:20-67.
 a bidirectional audio or audio/visual device;

 a host server connected to the communication      McFarlane teaches a host server connected to the communication network and operable to
     network and operable to support interactive   support interactive communication between a seeker and an expert, for example, call routing
     communication between a seeker and an         controller and engine. See, e.g., Fig. 1, 2, col. 5:49-6:6.
     expert;




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 Claim Language                                      U.S. Patent No. 6,453,038 to McFarlane et al.

 the host server communicably connected with         McFarlane teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set        skill-set database, for example, call center routing controller connected to an IVR system and a
     database;                                       database containing information on agent’s skills. See, e.g., Fig. 1, See, e.g., col. 8:44-9:10; col.
                                                     11:24-12:8.

 the inquiry-type database containing at least       McFarlane teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of     the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying     are humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are       predetermined semantically-expressed inquiry types, for example, hierarchical layers of inquiry
      humanly understandable descriptors,            types within an IVR system. See, e.g., col. 8:44-9:10.
      wherein at least one layer of inquiry types
      comprises predetermined semantically-          Further, this claim element was well-known in the art, and McFarlane can be combined with any
      expressed inquiry types;                       of the following:

                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      McFarlane teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, a database
     the inquiry types and its underlying criteria   containing information on an agent’s skills. See, e.g., Fig. 6, col. 11:24-12:8; claim 1 (“means
     grouping;                                       for maintaining data comprising a mapping of agent experience and agent ability to use, on an
                                                     unassisted and unsupervised basis, said at least one automated resource to data indicative of an


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 Claim Language                                    U.S. Patent No. 6,453,038 to McFarlane et al.
                                                   augmented agent skill level for said plurality of agents”); claim 9.




 a unique numeric routing identifier linked to     McFarlane teaches a unique numeric routing identifier linked to each skill-set database entry and
     each skill-set database entry and to the      to the associated inquiry type in the inquiry-type database, for example, an extension number
     associated inquiry type in the inquiry-type   associated with an agent. See, e.g., col. 10:54-11:9; claim 1 (“means for automatically selecting
     database; and                                 said one agent as a function of an experience level of said agent with respect to said service need
                                                   and said agent’s augmented skill level in using a one of an augmented agent skill level for said
                                                   plurality of agents”).

                                                   This claim element was well-known in the art, and further, McFarlane can be combined with
                                                   any of the following:

                                                   Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                   Friedman: See, e.g., ¶¶ 0024.

                                                   Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

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                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          McFarlane teaches that the host server, upon the receipt of a user request for assistance with at
     request for assistance with at least one of     least one of the predetermined semantically-expressed inquiry type, operable to identify the
     the predetermined semantically-expressed        expert associated with the predetermined semantically-expressed inquiry type requested by the
     inquiry type, operable to identify the expert   user by use of the numeric routing identifier, for example, collecting a user’s request through an
     associated with the predetermined               IVR system and connecting them to an agent with appropriate skill level. See, e.g., col. 9:12-40;
     semantically-expressed inquiry type             col. 9:55-10:12; col. 10:54-11:9.
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet” was well-known in the art. Further, McFarlane can be
                                                     combined with any of the following:

                                                     Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                     XpertShare 2.0: See, e.g., Slide 8.

                                                     KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                     Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of claim         See Claim 12.
 12, wherein the communication network is the
                                                     McFarlane teaches that the communication network is the Internet. See, e.g., col. 4:14-28; col.

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 Claim Language                                  U.S. Patent No. 6,453,038 to McFarlane et al.
 Internet.                                       7:20-67.

     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       The claim element “wherein the interactive communication is instant messaging, web
 combination of instant messaging and web        conferencing, or a combination of instant messaging and web conferencing.” Further,
 conferencing.                                   McFarlane can be combined with any of the following:

                                                 Venkatesh: See, e.g., Figs. 2, 12, col. 3:10-25; col. 6:52-67; col. 8:54-67.

                                                 Shtivelman: See, e.g., col. 1:45-2:2; col. 5:15-30.

                                                 Friedman: See, e.g., ¶¶ 0046, 0047.

                                                 KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

                                                 ExpertShare 2.0: See, e.g., Slide 8.

                                                 Sassin: See, e.g., Claim 12, 17.

                                                 Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   McFarlane teaches that the host server is communicably connected with the database by the
                                                 Internet. See, e.g., col. 7:20-67.

                                                 Further, this claim limitation was well-known in the art, and McFarlane can be combined with
                                                 any of the following:

                                                 Neuberger: See, e.g., Fig. 1, col. 3:12-23.

                                                 Andrews: See, e.g., col. 5:14-30.

                                                 Dhir: See, e.g., col. 5:6-19.


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 Claim Language                                 U.S. Patent No. 6,453,038 to McFarlane et al.

                                                Sassin: See, e.g., Fig. 1, col. 2:66-67; col. 7:1-13; col. 9:20-40.

                                                Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                Judkins: See, e.g., Fig. 1, col. 5:27-48.

                                                Gabriel: See, e.g., col. 3:20-30.

                                                Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                Creamer: See, e.g., ¶ 0021.

     17. The match and route system of claim    See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area   McFarlane teaches that the host server is communicably connected with the databases by a local
 network, or a wide area network.               area network, or a wide area network. See, e.g., col. 6:7-19.

                                                Further, this claim element was well-known in the art, and McFarlane can be combined with any
                                                of the following:

                                                Andrews ’452: See, e.g., col. 5:14-30.

                                                Dhir: See, e.g., col. 5:6-19.

                                                Sassin: See, e.g., col. 3:10-48.

                                                Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                Judkins: See, e.g., Fig. 1, col. 6:27-41.

                                                Gabriel: See, e.g., col. 3:20-30.

                                                Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.



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 Claim Language                                   U.S. Patent No. 6,453,038 to McFarlane et al.
     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       The claim element “wherein the host server is configured in a multi-server architecture” was
                                                  well-known in the art, and McFarlane can be combined with any of the following:

                                                  Andrews: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-2

    Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6,456,619 to Sassin et al., “Method and
                             System for Supporting a Decision Tree With Placeholder Capability.”

 U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”) was filed on December 4, 1997, and issued September 24, 2002. Sassin is prior
 art under at least 35 U.S.C. 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Sassin anticipates and renders obvious, alone, or in combination with
 with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions
 are not an admission by Defendant that the accused products, including any current or past version of these products, are covered by,
 or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Sassin with the other references set forth in this chart, for
 at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Sassin is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Sassin with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Sassin. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Sassin to render one or more of
 the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 6,535,492 to Shtivelman (“Shtivelman”)

      •   U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)



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      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent Application No. 6,510,431 to Eichstaedt et al. (“Eichstaedt”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

      •   Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described in
          Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                   U.S. Patent No. 6,456,619 to Sassin et al.
     1. A method of semantic to non-semantic      To the extent that the preamble is considered limiting, Sassin teaches a method of semantic to
 routing to locate a live expert comprising the   non-semantic routing to locate a live expert, for example, an interactive decision tree protocol.
 steps of:                                        See, e.g., Fig. 1, col. 3:10-48.




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 Claim Language                                   U.S. Patent No. 6,456,619 to Sassin et al.




 providing an inquiry-type computer database      Sassin teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, options
     inquiry types organized from an underlying   corresponding to root nodes stored within decision tree data memory. See, e.g., Fig. 1, col. 3:10-
     plurality of criteria groupings that are     48.
     humanly understandable descriptors;
                                                  Further, this claim element was well-known in the art, and Sassin could be combined with any
                                                  of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.




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 Claim Language                                    U.S. Patent No. 6,456,619 to Sassin et al.
                                                   Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                   Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Sassin teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, user options that constitute root nodes with a decision tree. See, e.g., col. 4:1-15; col.
     correspondence with the first layer of        9:41-57.
     predetermined semantically-expressed
     inquiry types;                                Further, this claim element was well-known in the art, and Sassin could be combined with any
                                                   of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Sassin teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding


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 Claim Language                                       U.S. Patent No. 6,456,619 to Sassin et al.
    with one of the predetermined                     layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and          criteria grouping for the associated inquiry type, for example, a service representative skill set
    its corresponding layers, the expert having       stored in data memory 18. See, e.g., Fig. 1, col. 6:39-67; col. 9:5-19.
    individualized knowledge of at least one
    criteria from the underlying criteria
    grouping for the associated inquiry type;

 mapping each skill-set database entry to the         Sassin teaches mapping each skill-set database entry to the associated inquiry type in the inquiry
    associated inquiry type in the inquiry-type       type database through a unique numerical routing identifier, for example, a node identifier. See,
    database through a unique numerical               e.g., col. 6:39-67; col. 10:29-50.
    routing identifier; and
                                                      This claim element was well-known in the art, and further, Sassin can be combined with any of
                                                      the following:

                                                      Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Sassin teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, using a node identifier to route to an appropriate expert. See, e.g., col.
    identifier associated with the                    6:39-67; col. 10:29-50.
    predetermined semantically-expressed
    inquiry type requested by the user.               This claim element is well-known in the art, and further Sassin can be combined with any of the
                                                      following:


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                                                   Friedman: See, e.g., Fig. 3, ¶¶ 0024, 0046.

                                                   Dhir: See, e.g., col. 11:62-12:43.

                                                   McFarlane: See, e.g., col. 9:12-40; col. 9:55-10:12; col. 10:54-11:9.

                                                   Gabriel: See, e.g., col. 5:30-49.

                                                   Judkins: See, e.g., col. 5:9-27; col. 9:51-64; col. 11:47-56; col. 13:20-28.

                                                   Eichstaedt: See, e.g., col. 3:20-31; col. 4:3-12.

                                                   Lauffer: See, e.g., col. 2:1-7; col. 5:36-58; col. 6:8-16; col. 6:54-58; col. 9:25-55.

                                                   HiPath: See, e.g., HiPath UG, Sect. 4.2.1, Sect. 4.3.1, Sect. 4.4.

    2. The method of claim 1, further              See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the       Sassin teaches establishing a real time communication path between the user and the expert, for
 expert.                                           example, a telephone call. See, e.g., col. 6:39-67; col. 10:29-50.

     3. The method of claim 2, wherein the         See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a    Sassin teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over      connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                     example, a telephony connection or a VoIP connection. See, e.g., col. 6:39-67; col. 10:29-50.

     4. The method of claim 1, further             See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious            The claim element “meritoriously ranking the expert, wherein a most meritorious available
 available expert is placed in communication       expert is placed in communication with the user” was well-known in the art, and further, Sassin
 with the user.                                    can be combined with any of the following:

                                                   McFarlane: See, e.g., col. 11:55-12:7.


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                                                    KnowledgeShare: See, e.g., p. 10, 31, 56, Sect. 3.2, 7, 10.1.

                                                    Friedman: See, e.g., ¶¶ 0020, 0024.

                                                    Gabriel: See, e.g., col. 5:30-49.

                                                    McFarlane: See, e.g., col. 11:55-12:7.

                                                    Dhir: See, e.g., col. 10:19-34.

                                                    XpertShare 2.0: See, e.g. Slide 5, 6.

                                                    Lauffer: See, e.g., col. 1:55-67; col. 7:41-67.

                                                    Judkins: See, e.g., Figs. 39, 40, col. 13:20-28; col. 19:24-37; col. 22:23-51.

                                                    Venkatesh: See, e.g., Fig. 11, Col. 7:60-8:16.

                                                    Eichstaedt: See, e.g., Fig. 8, col. 5:1-34.

      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          The claim element “wherein the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member”
 profile associated with an organization to         was well-known in the art, and further, Sassin can be combined with any of the following:
 which the user is a member.
                                                    Csaszar: See, e.g., col. 8:55-9:9.

                                                    Creamer: See, e.g., ¶¶ 0009, 0011, 0033.

                                                    Friedman: See, e.g., ¶¶ 0018, 0020, 0024, 0041.

                                                    Gabriel: See, e.g., col. 3:52-62; col. 6:36-50.


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                                                    McFarlane: See, e.g., col. 10:15-53; col. 11:55-12:7.

                                                    KnowledgeShare: See, e.g., p. 10, 22, 31, 56, Sect. 3.2, 5.3, 7, 10.1.

                                                    Dhir: See, e.g., col. 10:19-34.

                                                    XpertShare 2.0: See, e.g., Slide 3, 4.

                                                    Lauffer: See, e.g., col. 1:55-67; col. 7:41-67.

                                                    Venkatesh: See, e.g., Fig. 11, Col. 7:60-8:16.
     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, was well-known in the art, and Sassin can be combined with
                                                    any of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Sassin can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.


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                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                                composed in user-centric terms” was well-known in the art, and Sassin can be combined with
                                                    any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Sassin teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, based on user
 on a predetermined user profile.                   identification information stored in data memory. See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   Sassin teaches receiving from the user a response to the presentation of a first member of the
 of the underlying criteria grouping; and           underlying criteria grouping, for example, from a user selecting a decision node. See, e.g., col.
                                                    4:1-15; col. 7:41-67.



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 Claim Language                                   U.S. Patent No. 6,456,619 to Sassin et al.
 the response triggering the presentation of      Sassin teaches the response triggering the presentation of further members of the underlying
     further members of the underlying criteria   criteria grouping in a predetermined order, for example, subsequent options for a decision tree
     grouping in a predetermined order.           node. See, e.g., col. 4:1-15; col. 7:41-67.


     11. The method of claim 10, wherein the      See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and     Sassin teaches that the predetermined order is one of a hierarchical arrangement, an independent
 combination hierarchal/independent               arrangement, and combination hierarchical/independent arrangement, for example, a
 arrangement.                                     hierarchical arrangement. See, e.g., col. 4:1-15.

                                                  Further, this claim element was well-known in the art, and Sassin can be combined with any of
                                                  the following:

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                  Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                  Lauffer: See, e.g., col. 5:36-65.

                                                  McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to     To the extent that the preamble is considered a limitation, Sassin teaches a match and route
 locate a live expert comprising:                 system operable to locate a live expert, for example, an interactive decision tree protocol. See,
                                                  e.g., Fig. 1, col. 3:10-48.




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 Claim Language                                  U.S. Patent No. 6,456,619 to Sassin et al.




     at least first and second multimedia        Sassin teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication          network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including     example, user operated terminals 24. See, e.g., Fig. 1, col. 3:10-48; col. 7:1-13.
 a bidirectional audio or audio/visual device;
                                                 This claim element was well-known in the art, and further, Sassin can be combined with any of
                                                 the following:

                                                 Venkatesh: See, e.g., Fig. 1, col. 2:56-3:9.

                                                 Dhir: See, e.g., Fig. 3, col. 8:28-39.

                                                 McFarlane: See, e.g., Fig. 2, col. 6:19-40; col. 7:20-67.



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 Claim Language                                     U.S. Patent No. 6,456,619 to Sassin et al.
                                                    Gabriel: See, e.g., Fig. 1, col. 3:20-30.

                                                    Judkins: See, e.g., Fig. 1, col. 5:28-47; col. 8:12-23.

                                                    Eichstaedt: See, e.g., Fig. 1, col. 2:43-65.

                                                    Lauffer: See, e.g., col. 2:11-24; col. 9:5-14.

                                                    Hekmatpour: See, e.g., col. 20:22-33.

 a host server connected to the communication       Sassin teaches a host server connected to the communication network and operable to support
     network and operable to support interactive    interactive communication between a seeker and an expert, for example, decision tree server 12.
     communication between a seeker and an          See, e.g., Fig. 1, col. 3:10-48; col. 4:1-15.
     expert;

 the host server communicably connected with        Sassin teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, decision tree program memory and decision tree data memory.
     database;                                      See, e.g., Fig. 1, col. 3:10-67; col. 6:39-67.

 the inquiry-type database containing at least      Sassin teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of    the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying    are humanly understandable descriptors, for example, wherein at least one layer of inquiry types
      plurality of criteria groupings that are      comprises predetermined semantically-expressed inquiry types, for example, user options that
      humanly understandable descriptors,           constitute root nodes with a decision tree. See, e.g., col. 4:1-15; col. 9:41-57.
      wherein at least one layer of inquiry types
      comprises predetermined semantically-         Further, this claim element was well-known in the art, and Sassin can be combined with any of
      expressed inquiry types;                      the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                    Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                    col. 8:55-9:9.

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.



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 Claim Language                                      U.S. Patent No. 6,456,619 to Sassin et al.
                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Sassin teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, a service
     the inquiry types and its underlying criteria   representative skill set stored in data memory 18. See, e.g., Fig. 1, col. 6:39-67; col. 9:5-19.
     grouping;
 a unique numeric routing identifier linked to       Sassin teaches a unique numeric routing identifier linked to each skill-set database entry and to
     each skill-set database entry and to the        the associated inquiry type in the inquiry-type database, for example, a node identifier. See, e.g.,
     associated inquiry type in the inquiry-type     col. 6:39-67; col. 10:29-50.
     database; and
                                                     This element was well-known in the art, and further, Sassin can be combined with any of the
                                                     following:

                                                     Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Sassin teaches that the host server, upon the receipt of a user request for assistance with at least

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 Claim Language                                     U.S. Patent No. 6,456,619 to Sassin et al.
    request for assistance with at least one of     one of the predetermined semantically-expressed inquiry type, operable to identify the expert
    the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
    inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, , using a node identifier to route to an
    associated with the predetermined               appropriate expert. See, e.g., col. 6:39-67; col. 10:29-50.
    semantically-expressed inquiry type
    requested by the user by use of the numeric     This element was well-known in the art, and further, Sassin can be combined with any of the
    routing identifier.                             following:

                                                    Friedman: See, e.g., Fig. 3, ¶¶ 0024, 0046.

                                                    Dhir: See, e.g., col. 11:62-12:43.

                                                    McFarlane: See, e.g., col. 9:12-40; col. 9:55-10:12; col. 10:54-11:9.

                                                    Gabriel: See, e.g., col. 5:30-49.

                                                    Judkins: See, e.g., col. 5:9-27; col. 9:51-64; col. 11:47-56; col. 13:20-28.

                                                    Eichstaedt: See, e.g., col. 3:20-31; col. 4:3-12.

                                                    Lauffer: See, e.g., col. 2:1-7; col. 5:36-58; col. 6:8-16; col. 6:54-58; col. 9:25-55.

                                                    HiPath: See, e.g., HiPath UG, Sect. 4.2.1, Sect. 4.3.1, Sect. 4.4.

     13. The match and route system of claim        See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an             The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                electronic whiteboard, or a tablet” was well-known in the art. Further, Sassin can be combined
                                                    with any of the following:

                                                    Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                    XpertShare 2.0: See, e.g., Slide 8.

                                                    KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.


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                                                 Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of claim     See Claim 12.
 12, wherein the communication network is the
 Internet.                                       Sassin teaches that the communication network is the Internet. See, e.g., Fig. 1, col. 2:66-67;
                                                 col. 7:1-13; col. 9:20-40.

     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       Sassin teaches that the interactive communication is instant messaging, web conferencing, or a
 combination of instant messaging and web        combination of instant messaging and web conferencing. See, e.g., Sassin Claim 12, 17.
 conferencing.                                   Further, this claim element was well-known in the art, and Sassin can be combined with any of
                                                 the following:

                                                 Venkatesh: See, e.g., Figs. 2, 12, col. 3:10-25; col. 6:52-67; col. 8:54-67.

                                                 Shtivelman: See, e.g., col. 1:45-2:2; col. 5:15-30.

                                                 Friedman: See, e.g., ¶¶ 0046, 0047.

                                                 KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

                                                 ExpertShare 2.0: See, e.g., Slide 8.

                                                 Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   Sassin teaches that the host server is communicably connected with the database by the Internet.
                                                 See, e.g., Fig. 1, col. 2:66-67; col. 7:1-13; col. 9:20-40.

     17. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area    Sassin teaches that the host server is communicably connected with the databases by a local area


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 Claim Language                                   U.S. Patent No. 6,456,619 to Sassin et al.
 network, or a wide area network.                 network, or a wide area network, for example, a wide-area network. See, e.g., col. 3:10-48.


     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       The claim element “wherein the host server is configured in a multi-server architecture” was
                                                  well-known in the art, and further, Sassin can be combined with any of the following:

                                                  Andrews: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-3

   Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based On U.S. Patent No. 6,223,165 to Lauffer et al., “Method and
                                          Apparatus to Connect Consumer to Expert”

 U.S. Patent No. 6,223,165 to Lauffer et al. (“Lauffer”) was filed on January 20, 2000, and issued on April 24, 2001. Lauffer is prior
 art under at least 35 U.S.C. 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Lauffer anticipates and renders obvious, alone, or in combination with
 with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions
 are not an admission by Defendant that the accused products, including any current or past version of these products, are covered by,
 or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Lauffer with the other references set forth in this chart, for
 at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Lauffer is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Lauffer with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Lauffer. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Lauffer to render one or more
 of the claims obvious:

          •       U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

          •       U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

          •       U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

          •       U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

          •       U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

          •       U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

          •       U.S. Patent No. 7,783,475 to Neuberger et al. (“Neuberger”)

          •       U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

          •       U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

          •       U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

          •       U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

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          •       U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

          •       U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

          •       U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

          •       U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

          •       XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

          •       KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

          •       Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center
                  Standard and Advanced Suites 4.0 User Guide (“HiPath UG”)

          •       Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as
                  described in Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                   U.S. Patent No. 6,223,165 to Lauffer
     1. A method of semantic to non-semantic      To the extent that the preamble is held to be limiting, Lauffer teaches a method of semantic to
 routing to locate a live expert comprising the   non-semantic routing to locate a live expert, for example, a method of facilitating the delivery of
 steps of:                                        advice from diverse sources to customers. See, e.g., Fig. 1B, col. 4:27-38; col. 4:47-62; col.
                                                  5:36-65.




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 Claim Language                                   U.S. Patent No. 6,223,165 to Lauffer




 providing an inquiry-type computer database      Lauffer teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, a server unit
     inquiry types organized from an underlying   containing humanly understandable keywords. See, e.g., col. 1:50-51; col. 1:55-2:7; col. 5:3-5;
     plurality of criteria groupings that are     col. 5:59-65; col. 9:26-54.
     humanly understandable descriptors;
                                                  Further, this claim element was well-known in the art, and Lauffer could be combined with any
                                                  of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                  Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

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                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Lauffer teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, matching keywords to additional layers of semantically-expressed inquiry types. See,
     correspondence with the first layer of        e.g., col. 1:50-51; col. 1:55-67; col. 5:36-65.
     predetermined semantically-expressed
     inquiry types;                                Further, this claim element was well-known in the art, and Lauffer could be combined with any
                                                   of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Lauffer teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding
    with one of the predetermined                  layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and       criteria grouping for the associated inquiry type, for example, a server unit storing names and
    its corresponding layers, the expert having    characteristics of experts. See, e.g., col. 1:31-42; col. 1:50-51; col. 1:55-67; col. 4:63-5:10.


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 Claim Language                                       U.S. Patent No. 6,223,165 to Lauffer
    individualized knowledge of at least one
    criteria from the underlying criteria
    grouping for the associated inquiry type;

 mapping each skill-set database entry to the         Lauffer teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type       inquiry type database through a unique numerical routing identifier, for example, assigning
    database through a unique numerical               numbers to the keyword matches to an expert. See, e.g., col. 5:36-65.
    routing identifier; and

 upon a user's request for assistance with at least   Lauffer teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, displaying a matching expert to a user. See, e.g., col. 2:1-7; col. 5:36-58;
    identifier associated with the                    col. 6:8-16; col. 6:54-58; col. 9:25-55.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          Lauffer teaches establishing a real time communication path between the user and the expert, for
 expert.                                              example, a telephone, internet telephony, audio and/or video connection. See, e.g., col. 2:11-24;
                                                      col. 8:60-9:14.

     3. The method of claim 2, wherein the            See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a       Lauffer teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over         connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                        example, an internet telephony connection or an audio/video connection. See, e.g., col. 2:11-24;
                                                      col. 8:60-9:14.

     4. The method of claim 1, further                See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious               Lauffer teaches meritoriously ranking the expert, wherein a most meritorious available expert is
 available expert is placed in communication          place in communication with the user, for example, using a quality score or a relevance score.
 with the user.                                       See, e.g., col. 1:55-67; col. 7:41-67.


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 Claim Language                                     U.S. Patent No. 6,223,165 to Lauffer
      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Lauffer teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, a quality score or a relevance score. See, e.g., col. 1:55-67; col. 7:41-67.
 which the user is a member.
     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “wherein each layer of inquiry type is comprised of the underlying criteria
 different languages.                               groupings composed in different languages” was well-known in the art, and Lauffer can be
                                                    combined with any of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Lauffer can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.


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 Claim Language                                   U.S. Patent No. 6,223,165 to Lauffer
                                                  Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each       See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in        Lauffer teaches each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                              composed in user-centric terms, for example, keywords. See, e.g., col. 1:55-67.

                                                  Further, this element was well-known in the art, and Lauffer can be combined with any of the
                                                  following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                  Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                  Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                  Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                  Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further            See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the   The claim element “selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based   criteria grouping to the user based on a predetermined user profile” was well-known in the art,
 on a predetermined user profile.                 and further Lauffer may be combined with any of the following:

                                                  Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                  Csaszar: See, e.g., col. 8:55-9:9.

                                                  Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                  Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                  KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.


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 Claim Language                                     U.S. Patent No. 6,223,165 to Lauffer

                                                    XpertShare 2.0: See, e.g., Slide 3.

                                                    Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   Lauffer teaches receiving from the user a response to the presentation of a first member of the
 of the underlying criteria grouping; and           underlying criteria grouping, for example, receiving a user’s selection of a keyword. See, e.g.,
                                                    col. 5:36-65, claims 1 and 10.

                                                    This claim element was well-known in the art, and further Lauffer can be combined with any of
                                                    the following:

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                    KnowledgeShare: See, e.g., pp. 20, 22-23, Sect. 5, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 4.

                                                    Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                    Judkins: See, e.g., col. 11:47-56.

                                                    Venkatesh: See, e.g., col. 6:35-67.

                                                    Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

 the response triggering the presentation of        Lauffer teaches the response triggering the presentation of further members of the underlying
     further members of the underlying criteria     criteria grouping in a predetermined order, for example, presenting further members according
     grouping in a predetermined order.             to a predetermined order based on relevance. See, e.g., col. 7:40-67.

                                                    This claim element was well-known in the art, and further, Lauffer can be combined with any of
                                                    the following:



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 Claim Language                                 U.S. Patent No. 6,223,165 to Lauffer
                                                McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                KnowledgeShare: See, e.g., p. 20, Sect. 5.

                                                XpertShare 2.0: See, e.g., Slide 4.

                                                Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                Judkins: See, e.g., col. 11:47-56.

                                                Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

     11. The method of claim 10, wherein the    See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and   Lauffer teaches that the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent             independent arrangement, and combination hierarchical/independent arrangement, for example,
 arrangement.                                   the relationship between an expert and a keyword can be hierarchical. See, e.g., col. 5:36-65.

                                                This claim element was well-known in the art, and further, Lauffer can be combined with any of
                                                the following:

                                                Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                Sassin: See, e.g., col. 4:1-15.

                                                McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to   Lauffer teaches a match and route system operable to locate a live expert, for example, a system
 locate a live expert comprising:               of facilitating the delivery of advice to customers. See, e.g., Figs. 1A, 1B, col. 4:27-38; col.


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 Claim Language                                     U.S. Patent No. 6,223,165 to Lauffer
                                                    4:47-62; col. 5:36-65.

     at least first and second multimedia           Lauffer teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication             network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including        example, a user’s multimedia computer and an expert’s multimedia computer. See, e.g., col.
 a bidirectional audio or audio/visual device;      2:11-24; col. 9:5-14.

 a host server connected to the communication       Lauffer teaches a host server connected to the communication network and operable to support
     network and operable to support interactive    interactive communication between a seeker and an expert, for example, a server unit that assists
     communication between a seeker and an          in connection a seeker and an expert. See, e.g., col. 1:50-51; col. 4:46-5:10.
     expert;
 the host server communicably connected with        Lauffer teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, a server unit. See, e.g., col. 1:50-51; col. 4:46-5:10.
     database;
 the inquiry-type database containing at least      Lauffer teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of    the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying    are humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are      predetermined semantically-expressed inquiry types, for example, for example, matching
      humanly understandable descriptors,           keywords to multiple layers of semantically-expressed inquiry types. See, e.g., col. 1: 55-67;
      wherein at least one layer of inquiry types   col. 5:36-65.
      comprises predetermined semantically-
      expressed inquiry types;                      Further, this claim element was well-known in the art, and Lauffer can be combined with any of
                                                    the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                    Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                    col. 8:55-9:9.

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.


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 Claim Language                                      U.S. Patent No. 6,223,165 to Lauffer

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Lauffer teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, a server unit
     the inquiry types and its underlying criteria   storing names and characteristics of experts. See, e.g., col. 1:31-42; col. 1:55-67; col. 4:63-5:10.
     grouping;
 a unique numeric routing identifier linked to       Lauffer teaches a unique numeric routing identifier linked to each skill-set database entry and to
     each skill-set database entry and to the        the associated inquiry type in the inquiry-type database, for example, assigning numbers to the
     associated inquiry type in the inquiry-type     keyword matches to an expert. See, e.g., col. 5:36-65.
     database; and
                                                     This element was well-known in the art, and further, Lauffer can be combined with any of the
                                                     following:

                                                     Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Lauffer teaches that the host server, upon the receipt of a user request for assistance with at least
     request for assistance with at least one of     one of the predetermined semantically-expressed inquiry type, operable to identify the expert
     the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
     inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, displaying a matching expert to a user. See,

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 Claim Language                                   U.S. Patent No. 6,223,165 to Lauffer
    associated with the predetermined             e.g., col. 2:1-7; col. 5:36-58; col. 6:8-16; col. 6:54-58; col. 9:25-55.
    semantically-expressed inquiry type
    requested by the user by use of the numeric
    routing identifier.
     13. The match and route system of claim      See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an           Lauffer teaches that the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.              electronic whiteboard, or a tablet, for example, video or a webcam. See, e.g., col. 2:11-24; col.
                                                  5:66-6:7; col. 9:5-14.

     14. The match and route system of claim      See Claim 12.
 12, wherein the communication network is the
 Internet.                                        Lauffer teaches that the communication network is the Internet. See, e.g., col. 2:11-24; col.
                                                  5:66-6:7; col. 9:5-14.

     15. The match and route system of claim      See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a        Lauffer teaches that the interactive communication is instant messaging, web conferencing, or a
 combination of instant messaging and web         combination of instant messaging and web conferencing, for example, web conferencing. See,
 conferencing.                                    e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.    Lauffer teaches that the host server is communicably connected with the database by the
                                                  Internet. See, e.g., col. 1:50-51; col. 5:66-6:7.

     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     Lauffer teaches that the host server is communicably connected with the databases by a local
 network, or a wide area network.                 area network, or a wide area network. See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                  This element was well-known in the art, and further, Lauffer can be combined with any of the
                                                  following:

                                                  Andrews: See, e.g., col. 5:14-30.


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                                                  Dhir: See, e.g., col. 5:6-19.

                                                  Sassin: See, e.g., col. 3:10-48.

                                                  Judkins: See, e.g., Fig. 1, col. 6:27-41.

                                                  Gabriel: See, e.g., col. 3:20-30.

                                                  Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                  Creamer: See, e.g., ¶ 0021.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       The claim element “wherein the host server is configured in a multi-server architecture” was
                                                  well-known in the art, and further, Lauffer can be combined with any of the following:

                                                  Andrews: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-4

   Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6, 587,556 to Judkins et al., “Skills Based
                                              Routing for Call Center” (“Judkins”)

 U.S. Patent No. 6,587,556 to Judkins et al. was filed on Feb. 25, 2000, and issued on July 1, 2003. Judkins is prior art under at least
 35 U.S.C. 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Judkins anticipates and renders obvious, alone, or in combination with
 with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions
 are not an admission by Defendant that the accused products, including any current or past version of these products, are covered by,
 or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Judkins with the other references set forth in this chart, for
 at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Judkins is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Judkins with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Judkins. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Judkins to render one or more
 of the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 6,535,492 to Shtivelman (“Shtivelman”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)



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      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

 Claim Language                                   U.S. Patent No. 6,587,556 to Judkins et al.
     1. A method of semantic to non-semantic      To the extent that the preamble is considered limiting, Judkins teaches a method of semantic to
 routing to locate a live expert comprising the   non-semantic routing to locate a live expert, for example, an intelligent routing or skills-based
 steps of:                                        routing system in a call center environment. See, e.g., Fig. 1, Abstract, col. 5:9-48.




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 Claim Language                                   U.S. Patent No. 6,587,556 to Judkins et al.




 providing an inquiry-type computer database      Judkins teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, an interactive voice
     inquiry types organized from an underlying   response (or SQL) database within an IVR server containing options for a caller. See, e.g., Figs.
     plurality of criteria groupings that are     1, 2, col. 5:27-48; col. 6:3-26; col. 11:47-56; col. 23:9-46.
     humanly understandable descriptors;
                                                  Further, this claim element was well-known in the art, and Judkins could be combined with any
                                                  of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                  Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.


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 Claim Language                                    U.S. Patent No. 6,587,556 to Judkins et al.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Judkins teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, setting up layers of inquiry types in an IVR system in different languages such as
     correspondence with the first layer of        English and Spanish. See, e.g., Figs 13, 71. 55, col. 11:47-56; col. 23:9-25; col. 26:5-17; col.
     predetermined semantically-expressed          31:7-49.
     inquiry types;
                                                   Further, this claim element was well-known in the art, and Judkins could be combined with any
                                                   of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Judkins teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding
    with one of the predetermined                  layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and       criteria grouping for the associated inquiry type, for example, setting up agent skills in a


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    its corresponding layers, the expert having   database table managed by ACD manager. See, e.g., Figs. 14, 31, 32, 39, col. 7:53-56; col.
    individualized knowledge of at least one      19:24-37; col. 22:23-51.
    criteria from the underlying criteria
    grouping for the associated inquiry type;




 mapping each skill-set database entry to the     Judkins teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type   inquiry type database through a unique numerical routing identifier, for example, a circuit
    database through a unique numerical           number or an extension number, or alternatively, a route number. See, e.g., Figs. 21, 25, 31, col.
    routing identifier; and                       18:5-18; col. 18:49-58; col. 19:24-29.




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                                                      This element was well-known in the art, and further Judkins can be combined with any of the
                                                      following:

                                                      Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                      Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Judkins teaches upon a user’s request for assistance with at least one of the predetermined


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    one of the predetermined semantically-         semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the        identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing             the user, for example, by connecting a user to an expert through using the expert’s identifier.
    identifier associated with the                 See, e.g., col. 5:9-27; col. 9:51-64; col. 11:47-56; col. 13:20-28.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further              See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the       Judkins teaches establishing a real time communicate path between the user and the expert, for
 expert.                                           example, a telephone call. See, e.g., Figs. 1, 2, 3, col. 5:9-26; col. 8:49-9:3; col. 9:51-64; col.
                                                   11:47-56.

     3. The method of claim 2, wherein the         See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a    Judkins teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over      connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                     example, a telephony connection. See, e.g., Figs. 1, 2, 3, col. 5:9-26; col. 8:49-9:3; col. 9:51-64;
                                                   col. 11:47-56.

     4. The method of claim 1, further             See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious            Judkins teaches meritoriously ranking the expert, wherein a most meritorious available expert is
 available expert is placed in communication       place in communication with the user, for example, routing calls to experts based on skill
 with the user.                                    rankings. See, e.g., Figs. 39, 40, col. 13:20-28; col. 19:24-37; col. 22:23-51. ‘




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      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Judkins teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, for example, the level of the expert’s individualized knowledge. See, e.g., Figs. 39,
 which the user is a member.                        40, col. 13:20-28; col. 19:24-37; col. 22:23-51.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Judkins teaches each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, for example, inquiry types in English and Spanish. See, e.g.,
                                                    Figs 13, 71. 55, col. 11:47-56; col. 23:9-25; col. 26:5-17; col. 31:7-49.

                                                    Further, this claim element was well-known in the art, and Judkins can be combined with any of
                                                    the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.


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                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61. \

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Judkins can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                                composed in user-centric terms” was well-known in the art, and Judkins can be combined with
                                                    any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.


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                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Judkins teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, information
 on a predetermined user profile.                   associated with a caller’s phone number. See, e.g., col. 9:65-7:10.

                                                    Further, this claim element was well-known in the art, and any of the following can be combined
                                                    with Judkins:

                                                    Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                    Csaszar: See, e.g., col. 8:55-9:9.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 3.

                                                    Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   Judkins teaches receiving from the user a response to the presentation of a first member of the
 of the underlying criteria grouping; and           underlying criteria grouping, for example, a user entering selections into an IVR system. See,
                                                    e.g., col. 11:47-56.


 the response triggering the presentation of        Judkins teaches the response triggering the presentation of further members of the underlying
     further members of the underlying criteria     criteria grouping in a predetermined order, for example, the IVR system presenting additional


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 Claim Language                                 U.S. Patent No. 6,587,556 to Judkins et al.
    grouping in a predetermined order.          selections to the user. See, e.g., col. 11:47-56.

     11. The method of claim 10, wherein the    See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and   The claim element “the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent             independent arrangement, and combination hierarchical/independent arrangement” was well-
 arrangement.                                   known in the art, and Judkins can be combined with any of the following:

                                                Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                Sassin: See, e.g., col. 4:1-15.

                                                Lauffer: See, e.g., col. 5:36-65.

                                                McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to   To the extent that the preamble is considered limiting:
 locate a live expert comprising:
                                                Judkins teaches a match and route system operable to locate a live expert, for example, an
                                                intelligent routing or skills-based routing system in a call center environment. See, e.g., Fig. 1,
                                                Abstract, col. 5:9-48.




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 Claim Language                                  U.S. Patent No. 6,587,556 to Judkins et al.




     at least first and second multimedia        Judkins teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication          network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including     example, agent workstations 114. See, e.g., Fig. 1, col. 5:28-47; col. 8:12-23.
 a bidirectional audio or audio/visual device;




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                                                   col. 8:12-23.

 a host server connected to the communication      Judkins teaches a host server connected to the communication network and operable to support
     network and operable to support interactive   interactive communication between a seeker and an expert, for example, an Automatic Call
     communication between a seeker and an         Distribution server. See, e.g., Fig. 1, col. 5:27-47; col. 6:56-7:5; col. 7:35-56.
     expert;




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 the host server communicably connected with        Judkins teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, an IVR system database and an agent skill database table. See,
     database;                                      e.g., Fig. 1, col. 5:27-48; col. 6:62-7:5; col. 7:53-56; col. 21:43-56.

 the inquiry-type database containing at least      Judkins teaches that the inquiry-type database contains at least two layers of inquiry types, the
      two layers of inquiry types, the layers of    layers of inquiry types are organized from an underlying plurality of criteria groupings that are
      inquiry types organized from an underlying    humanly understandable descriptors, for example, wherein at least one layer of inquiry types
      plurality of criteria groupings that are      comprises predetermined semantically-expressed inquiry types, for example, an interactive
      humanly understandable descriptors,           voice response (or SQL) database within an IVR server containing options for a caller. See, e.g.,
      wherein at least one layer of inquiry types   Figs. 1, 2, col. 5:27-48; col. 6:3-26; col. 11:47-56; col. 23:9-46. Multiple layers of inquiry
      comprises predetermined semantically-         types are, for example, inquiry types in an IVR system in different languages such as English
      expressed inquiry types;                      and Spanish. See, e.g., Figs 13, 71. 55, col. 11:47-56; col. 23:9-25; col. 26:5-17; col. 31:7-49.

                                                    Further, this claim element was well-known in the art, and Judkins can be combined with any of
                                                    the following:

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                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Judkins teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, agent skills in a
     the inquiry types and its underlying criteria   database table managed by ACD manager. Figs. 14, 31, 32, 39, col. 7:53-56; col. 19:24-37; col.
     grouping;                                       22:23-51.




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 Claim Language                                    U.S. Patent No. 6,587,556 to Judkins et al.
 a unique numeric routing identifier linked to     Judkins teaches a unique numeric routing identifier linked to each skill-set database entry and to
     each skill-set database entry and to the      the associated inquiry type in the inquiry-type database, for example, a circuit number or an
     associated inquiry type in the inquiry-type   extension number, or alternatively, a route number. See, e.g., Figs. 21, 25, 31, col. 18:5-18; col.
     database; and                                 18:49-58; col. 19:24-29.




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                                              This claim element was well-known in the art, and further, Judkins can be combined with the
                                              following:

                                              Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                              Friedman: See, e.g., ¶¶ 0024.

                                              Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                              Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                              Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                              HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                              10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user   Judkins teaches that the host server, upon the receipt of a user request for assistance with at least


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    request for assistance with at least one of     one of the predetermined semantically-expressed inquiry type, operable to identify the expert
    the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
    inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, by connecting a user to an expert through
    associated with the predetermined               using the expert’s identifier. See, e.g., col. 5:9-27; col. 9:51-64; col. 11:47-56; col. 13:20-28.
    semantically-expressed inquiry type
    requested by the user by use of the numeric
    routing identifier.
     13. The match and route system of claim        See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an             The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                electronic whiteboard, or a tablet” was well-known in the art. Further, Judkins can be combined
                                                    with any of the following:

                                                    Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                    XpertShare 2.0: See, e.g., Slide 8.

                                                    KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                    Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of claim        See Claim 12.
 12, wherein the communication network is the
 Internet.                                          Judkins teaches that the communication network is the Internet, for example, a TCP/IP link
                                                    connection. See, e.g., Fig. 1, col. 5:27-48.


     15. The match and route system of claim        See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a          The claim element “the interactive communication is instant messaging, web conferencing, or a
 combination of instant messaging and web           combination of instant messaging and web conferencing” was well-known in the art, and
 conferencing.                                      Judkins can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 2, 12, col. 3:10-25; col. 6:52-67; col. 8:54-67.


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 Claim Language                                   U.S. Patent No. 6,587,556 to Judkins et al.
                                                  Shtivelman: See, e.g., col. 1:45-2:2; col. 5:15-30.

                                                  Friedman: See, e.g., ¶¶ 0046, 0047.

                                                  KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

                                                  ExpertShare 2.0: See, e.g., Slide 8.

                                                  Sassin: See, e.g., Claim 12, 17.

                                                  Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.    Judkins teaches that the host server is communicably connected with the database by the
                                                  Internet, for example, a TCP/IP link. See, e.g., Fig. 1, col. 5:27-48.


     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     Judkins teaches that the host server is communicably connected with the databases by a local
 network, or a wide area network.                 area network, or a wide area network. See, e.g., Fig. 1, col. 6:27-41.


     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       Judkins teaches that the host server is configured in a multi-server architecture. See, e.g., Fig. 1,
                                                  col. 5:27-47.




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                                                              Appendix B-5

       Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6,560,330 to Gabriel, “Rules-Based
                                          Queuing of Calls to Call-Handling Resources”

 U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”) was filed on March 12, 2002, was published on July 11, 2002, and issued on May 6,
 2003. Gabriel is prior art under at least 35 U.S.C. 102(a), (b), and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Gabriel anticipates and renders obvious, alone, or in combination with
 other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions are
 not an admission by Defendant that the accused products, including any current or past version of these products, are covered by, or
 infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Gabriel with the other references set forth in this chart, for
 at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Gabriel is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Gabriel with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Gabriel. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Gabriel to render one or more
 of the claims obvious:

          •       U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

          •       U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

          •       U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

          •       U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

          •       U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

          •       U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

          •       U.S. Patent No. 6,535,492 to Shtivelman (“Shtivelman”)

          •       U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

          •       U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

          •       U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)



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          •       U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

          •       U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

          •       U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

          •       U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

          •       U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

          •       XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

          •       KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

          •       Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard
                  and Advanced Suites 4.0 User Guide (“HiPath UG”)

          •       Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described
                  in Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                      U.S. Patent No. 6,560,330 to Gabriel
     1. A method of semantic to non-semantic         To the extent that the preamble is considered limiting, Gabriel teaches a method of semantic to
 routing to locate a live expert comprising the      non-semantic routing to locate a live expert, for example, an automatic call distribution system
 steps of:                                           based on agent attributes. See, e.g., Figs. 1, 2, Abstract.




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 Claim Language                                   U.S. Patent No. 6,560,330 to Gabriel




 providing an inquiry-type computer database      Gabriel teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, call attributes that
     inquiry types organized from an underlying   are determined from a user’s call and are stored in rules definitions. See, e.g., col. 3:51-4:7.
     plurality of criteria groupings that are
     humanly understandable descriptors;          Further, this claim element was well-known in the art, and Gabriel could be combined with any
                                                  of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.



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 Claim Language                                    U.S. Patent No. 6,560,330 to Gabriel
                                                   Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Gabriel teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, layers of call attributes, including those based on language. See, e.g., col. 3:51-4:7;
     correspondence with the first layer of        col. 5:65-6:14; col. 6:36-50.
     predetermined semantically-expressed
     inquiry types;                                Further, this claim element was well-known in the art, and Gabriel could be combined with any
                                                   of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Gabriel teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding
    with one of the predetermined                  layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and       criteria grouping for the associated inquiry type, for example, information on agent attributes


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 Claim Language                                   U.S. Patent No. 6,560,330 to Gabriel
    its corresponding layers, the expert having   stored in resources definitions. See, e.g., Fig. 1, col. 3:63-4:7; col. 5:20-29; col. 6:3-34.
    individualized knowledge of at least one
    criteria from the underlying criteria
    grouping for the associated inquiry type;




 mapping each skill-set database entry to the     Gabrial teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type   inquiry type database through a unique numerical routing identifier, for example, resource
    database through a unique numerical           entries. See, e.g., Fig. 2, col. 5:20-29.
    routing identifier; and




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                                  This element was well-known in the art, and further, Gabriel can be combined with any of the
                                  following;

                                  Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                  Friedman: See, e.g., ¶¶ 0024.

                                  Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                  Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                  Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                  HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                  10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

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 Claim Language                                       U.S. Patent No. 6,560,330 to Gabriel

 upon a user's request for assistance with at least   Gabriel teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, using rules engine to locate an agent with the necessary call attributes.
    identifier associated with the                    See, e.g., col. 5:30-49.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          Gabriel teaches establishing a real time communication path between the user and the expert, for
 expert.                                              example, a telephone call. See, e.g., col. 3:19-30.

     3. The method of claim 2, wherein the            See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a       Gabriel teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over         connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                        example, a telephone call. See, e.g., col. 3:19-30.

     4. The method of claim 1, further                See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious               Gabriel teaches meritoriously ranking the expert, wherein a most meritorious available expert is
 available expert is placed in communication          place in communication with the user, for example, ranking experts based on their knowledge.
 with the user.                                       See, e.g., col. 5:30-49.


      5. The method of claim 4, wherein the           See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,            Gabriel teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the     individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined          within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to           for example, an agent’s knowledge in a particular subject matter, or the priority assigned to a
 which the user is a member.                          user’s call based on a customer’s business history. See, e.g., col. 3:52-62; col. 6:36-50.



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 Claim Language                                     U.S. Patent No. 6,560,330 to Gabriel
     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Gabriel teaches each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, for example, languages such as Italian or French. See, e.g.,
                                                    col. 5:65-6:14.

                                                    Further, this claim element was well-known in the art, and Gabriel can be combined with any of
                                                    the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Judkins can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the

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 Claim Language                                     U.S. Patent No. 6,560,330 to Gabriel
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                                composed in user-centric terms” was well-known in the art, and Judkins can be combined with
                                                    any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Gabriel teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, a caller’s
 on a predetermined user profile.                   business information. See, e.g., col. 3:51-62.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   The claim element “receiving from the user a response to the presentation of a first member of
 of the underlying criteria grouping; and           the underlying criteria grouping” was well known in the art, and Gabriel can be combined with
                                                    any of the following:

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                    KnowledgeShare: See, e.g., pp. 20, 22-23, Sect. 5, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 4.

                                                    Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                    Lauffer: See, e.g., col. 5:36-65, claims 1 and 10.


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                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

 the response triggering the presentation of      The claim element “the response triggering further members of the underlying criteria grouping
     further members of the underlying criteria   in a predetermined order” was well-known in the art, and further, Gabriel can be combined with
     grouping in a predetermined order.           any of the following:

                                                  McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                  KnowledgeShare: See, e.g., p. 20, Sect. 5.

                                                  XpertShare 2.0: See, e.g., Slide 4.

                                                  Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                  Lauffer: See, e.g., col. 7:40-67.

                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

     11. The method of claim 10, wherein the      See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and     The claim element “wherein the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent               independent arrangement, and a combination hierarchical/independent arrangement” was well-
 arrangement.                                     known in the art. Further, Gabriel can be combined with any of the following:

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.



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 Claim Language                                  U.S. Patent No. 6,560,330 to Gabriel
                                                 Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                 Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                 Sassin: See, e.g., col. 4:1-15.

                                                 Lauffer: See, e.g., col. 5:36-65.

                                                 McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to    To the extent that the preamble is held to be limiting, Gabriel teaches a match and route system
 locate a live expert comprising:                operable to locate a live expert, for example, an automatic call distribution system based on
                                                 agent attributes. See, e.g., Figs. 1, 2, Abstract.

     at least first and second multimedia        Gabriel teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication          network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including     example, agent voice-and-data terminals. See, e.g., Fig. 1, col. 3:20-30.
 a bidirectional audio or audio/visual device;




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 a host server connected to the communication      Gabriel teaches a host server connected to the communication network and operable to support
     network and operable to support interactive   interactive communication between a seeker and an expert, for example, and ACD system. See,
     communication between a seeker and an         e.g., Fig. 1, col. 3:31-50.
     expert;

 the host server communicably connected with       Gabriel teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set      skill-set database, for example, resources definitions and rules definitions. See, e.g., Fig. 1, col.
     database;                                     3:51-4:7.

 the inquiry-type database containing at least     Gabriel teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of   the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying   are humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are     predetermined semantically-expressed inquiry types, for example, call attributes that are


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 Claim Language                                      U.S. Patent No. 6,560,330 to Gabriel
    humanly understandable descriptors,              determined from a user’s call and are stored in rules definitions. See, e.g., col. 3:51-4:7.
    wherein at least one layer of inquiry types
    comprises predetermined semantically-            Further, this claim element was well-known in the art, and Gabriel can be combined with any of
    expressed inquiry types;                         the following:

                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Gabriel teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, information on
     the inquiry types and its underlying criteria   agent attributes stored in resources definitions. See, e.g., Fig. 1, col. 3:63-4:7; col. 5:20-29; col.
     grouping;                                       6:3-34.




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 a unique numeric routing identifier linked to     Gabriel teaches a unique numeric routing identifier linked to each skill-set database entry and to
     each skill-set database entry and to the      the associated inquiry type in the inquiry-type database, for example, resource entries. See, e.g.,
     associated inquiry type in the inquiry-type   Fig. 2, col. 5:20-29.
     database; and




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                                  This claim element was well-known in the art, and further, Gabriel can be combined with any of
                                  the following:

                                  Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                  Friedman: See, e.g., ¶¶ 0024.

                                  Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                  Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                  Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                  HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                  10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

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 Claim Language                                      U.S. Patent No. 6,560,330 to Gabriel

 the host sever, upon the receipt of a user          Gabriel teaches that the host server, upon the receipt of a user request for assistance with at least
     request for assistance with at least one of     one of the predetermined semantically-expressed inquiry type, operable to identify the expert
     the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
     inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, using rules engine to locate an agent with the
     associated with the predetermined               necessary call attributes. See, e.g., col. 5:30-49.
     semantically-expressed inquiry type
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet” was well-known in the art at the time, and further Gabriel can
                                                     be combined with any of the following:

                                                     Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                     XpertShare 2.0: See, e.g., Slide 8.

                                                     KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                     Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of claim         See Claim 12.
 12, wherein the communication network is the
 Internet.                                           Gabriel teaches that the communication network is the Internet. See, e.g., col. 3:20-30.


     15. The match and route system of claim         See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a           The element “wherein the interactive communication is instant messaging, web conferencing, or
 combination of instant messaging and web            combination of instant messaging and web conferencing” was well-known in the art, and
 conferencing.                                       further, Gabriel can be combined with any of the following:

                                                     Venkatesh: See, e.g., Figs. 2, 12, col. 3:10-25; col. 6:52-67; col. 8:54-67.

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                                                  Shtivelman: See, e.g., col. 1:45-2:2; col. 5:15-30.

                                                  Friedman: See, e.g., ¶¶ 0046, 0047.

                                                  KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

                                                  ExpertShare 2.0: See, e.g., Slide 8.

                                                  Sassin: See, e.g., Claim 12, 17.

                                                  Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.    Gabriel teaches that the host server is communicably connected with the database by the
                                                  Internet. See, e.g., col. 3:20-30.

     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     Gabriel teaches that the host server is communicably connected with the databases by a local are
 network, or a wide area network.                 network, or a wide area network. See, e.g., col. 3:20-30.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       The claim limitation “wherein the host server is configured in a multi-server architecture” was
                                                  well-known in the art, and further, Gabriel can be combined with any of the following:

                                                  Andrews: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.


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                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-6

  Prior Art Invalidity Chart for U.S. Patent No. 7,499,903 Based On U.S. Patent No. 7,120,647 to Venkatesh et al., “Web-Based
                          Method and System for Providing Expert Information On Selected Matters.”

 U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”) was filed on October 30, 2001, was published on May 29, 2003, and
 issued October 10, 2006. Venkatesh is prior art under at least 35 U.S.C. 102(a), (b), and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Venkatesh anticipates and renders obvious, alone, or in combination
 with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity
 contentions are not an admission by Defendant that the accused products, including any current or past version of these products, are
 covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein
 should be understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other
 actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Venkatesh with the other references set forth in this chart,
 for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Venkatesh is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Venkatesh with the additional listed prior art. Moreover, when other prior art
 is listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine
 those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Venkatesh. Discovery and investigation is
 ongoing, and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is
 infringed, but did not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these
 invalidity contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so
 identified.

 The following prior art references are cited in the table below as references that may be combined with Venkatesh to render one or
 more of the claims obvious:

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)


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      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent Application No. 6,510,431 to Eichstaedt et al. (“Eichstaedt”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”), as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

 Claim Language                                   U.S. Patent No. 7,120,647 to Venkatesh et al.
     1. A method of semantic to non-semantic      To the extent that the preamble is considered limiting, Venkatesh teaches a method of semantic
 routing to locate a live expert comprising the   to non-semantic routing to locate a live expert, for example, a method of “cross referencing user
 steps of:                                        information with expert information” and “contacting the expert based on user selected expert
                                                  information inputted into the client system.” See, e.g., Fig. 4, Abstract, col. 1:54-2:3.

 providing an inquiry-type computer database      Venkatesh teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, Database 20. See,
     inquiry types organized from an underlying   e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.
     plurality of criteria groupings that are
     humanly understandable descriptors;




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 Claim Language                                    U.S. Patent No. 7,120,647 to Venkatesh et al.




 associating in the database one or more other     Venkatesh teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, layers of inquiry types for functional communities such as “identification,” “type,”
     correspondence with the first layer of        “location,” and “business.” See, e.g., Figs. 3A, 3B, col. 4:25-6:18.
     predetermined semantically-expressed
     inquiry types;




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 Claim Language                                    U.S. Patent No. 7,120,647 to Venkatesh et al.




                                                   This claim element is well-known in the art, and further, Venkatesh can be combined with any
                                                   of the following:

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Venkatesh teaches supplying a skill-set database that includes an entry that associates at least

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 Claim Language                                   U.S. Patent No. 7,120,647 to Venkatesh et al.
    entry that associates at least one expert     one expert with one of the predetermined semantically-expressed inquiry types and its
    with one of the predetermined                 corresponding layers, the expert having individualized knowledge of at least one criteria from
    semantically-expressed inquiry types and      the underlying criteria grouping for the associated inquiry type, for example, database 20, which
    its corresponding layers, the expert having   stores information on experts. See, e.g., Figs. 2, 3A, 3B, Abstract, col. 4:3-6:19.
    individualized knowledge of at least one
    criteria from the underlying criteria         This element was well-known in the art, and further, Venkatesh can be combined with any of the
    grouping for the associated inquiry type;     following:

                                                  Lauffer: See, e.g., col. 1:31-42; col. 1:50-51; col. 1:55-67; col. 4:63-5:10.

                                                  Eichstaedt: See, e.g., Figs. 1, 4, col. 2:43-3:12; col. 4:3-12.

                                                  HiPath: See, e.g., Sect. 4.2.3, Sect. 4.3.3, Sect. 13.3.3, Sect. 13.6.

                                                  Judkins: See, e.g., Figs. 14, 31, 32, 39, col. 7:53-56; col. 19:24-37; col. 22:23-51.

                                                  Gabriel: See, e.g., Fig. 1, col. 3:63-4:7; col. 5:20-29; col. 6:3-34.

                                                  McFarlane: See, e.g., Fig. 6, col. 11:24-12:8; claim 1 (“means for maintaining data comprising a
                                                  mapping of agent experience and agent ability to use, on an unassisted and unsupervised basis,
                                                  said at least one automated resource to data indicative of an augmented agent skill level for said
                                                  plurality of agents”); claim 9.

                                                  Dhir: See, e.g., Fig. 5; col. 1:25-37; col. 10:19-34; col. 11:5-11.

                                                  Sassin: See, e.g., Fig. 1, col. 6:39-67; col. 9:5-19.

                                                  Friedman: See, e.g., ¶¶ 0015, 0016.

                                                  Hekmatpour: See, e.g., col. 14:64-15:11.

 mapping each skill-set database entry to the     Venkatesh teaches, mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type   inquiry-type database through a unique numerical routing identifier, for example, a phone
    database through a unique numerical           number associated with the expert. See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.
    routing identifier; and

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 Claim Language                                       U.S. Patent No. 7,120,647 to Venkatesh et al.




                                                      This element was well-known in the art, and further, Venkatesh can be combined with any of the
                                                      following:

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                      Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Venkatesh teaches that upon a user’s request for assistance with at least one of the

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 Claim Language                                     U.S. Patent No. 7,120,647 to Venkatesh et al.
    one of the predetermined semantically-          predetermined semantically-expressed inquiry types, identifying the expert through the numeric
    expressed inquiry type, identifying the         routing identifier associated with the predetermined semantically-expressed inquiry type
    expert through the numeric routing              identified by the user, for example, in response to a user’s request, the expert is identified by the
    identifier associated with the                  phone number. See, e.g., Figs. 4, 7, 10-14, col. 6:52-67; col. 7:25-32; col. 7:45-8:16; col. 8:43-
    predetermined semantically-expressed            9:21.
    inquiry type requested by the user.

    2. The method of claim 1, further               See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the        Venkatesh teaches establishing a real time communication path between the user and the expert,
 expert.                                            for example, a chat room or a telephone call. See, e.g., Figs. 12, 13; col. 6:64-67.

     3. The method of claim 2, wherein the          See Claim 2.
 communication path is at least one of an
 internet connection, a telephony connection, a     Venkatesh teaches that the communication path is at least one of an internet connection, a
 video telephony connection, and a voice over       telephony connection, a video telephony connection, and a voice over internet protocol
 internet protocol connection.                      connection, for example, an internet chat connection or a telephony connection. See, e.g., Figs.
                                                    12, 13; col. 6:64-67.

     4. The method of claim 1, further              See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious             Venkatesh teaches the step of meritoriously ranking an expert, wherein a most meritorious
 available expert is placed in communication        available expert is placed in communication with the user. See, e.g., Fig. 11, Col. 7:60-8:16.
 with the user.
      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Venkatesh teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member.
 profile associated with an organization to         See, e.g., Fig. 11, Col. 7:60-8:16.
 which the user is a member.
     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “wherein each layer of inquiry type is comprised of the underlying criteria


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 Claim Language                                     U.S. Patent No. 7,120,647 to Venkatesh et al.
 different languages.                               groupings composed in different languages” was well-known in the art, and further, Venkatesh
                                                    can be combined with any of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Venkatesh teaches each layer of inquiry types is comprised of the underlying criteria groupings
 jargon specific to differing levels of knowledge   composed in jargon specific to differing levels of knowledge within a field of interest, for
 within a field of interest.                        example, layers of inquiry types for functional communities such as “identification,” “type,”
                                                    “location,” and “business.” See, e.g., Figs. 3A, 3B, col. 4:25-6:18.




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 Claim Language                               U.S. Patent No. 7,120,647 to Venkatesh et al.




                                              This element was well-known in the art, and further, Venkatesh can be combined with any of the
                                              following:

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                              Creamer: See, e.g., ¶¶ 0045.

                                              Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                              Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each   See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in    Venkatesh teaches that each layer of inquiry type is comprised of underlying criteria groupings

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 user-centric terms.                   composed in user-centric terms, for example, layers of inquiry types for functional communities
                                       such as “identification,” “type,” “location,” and “business.” See, e.g., Figs. 3A, 3B, col. 4:25-
                                       6:18.




                                       This claim element is well-known in the art, and further, Venkatesh can be combined with any
                                       of the following:

                                       Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                       Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                       Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                       Hekmatpour: See, e.g., col. 22:65-23:18.



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 Claim Language                                     U.S. Patent No. 7,120,647 to Venkatesh et al.
     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Venkatesh teaches selecting one of the layers of inquiry types for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, the interface
 on a predetermined user profile.                   can be customized based on a user’s profile and login. See, e.g., Col. 6:35-51; col. 7:1-13.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   Venkatesh teaches receiving from the user a response to the presentation of first member of the
 of the underlying criteria grouping; and           underlying criteria grouping. See, e.g., col. 6:35-67.

 the response triggering the presentation of        Venkatesh teaches that the response triggers the presentation of further members of the
     further members of the underlying criteria     underlying criteria groupings in a predetermined order. See, e.g., col. 6:35-67.
     grouping in a predetermined order.
     11. The method of claim 10, wherein the        See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and       Venkatesh teaches that the predetermined order is one of a hierarchical arrangement; an
 combination hierarchal/independent                 independent, and a combination hierarchical/independent arrangement. See, e.g., Fig. 4, col.
 arrangement.                                       6:35-67.

     12. A match and route system operable to       To the extent that the preamble is held to be limiting, Venkatesh teaches a match and route
 locate a live expert comprising:                   system operable to locate a live expert, for example, for example a method of “cross referencing
                                                    user information with expert information” and “contacting the expert based on user selected
                                                    expert information inputted into the client system.” See, e.g., Fig. 4, Abstract, col. 1:54-2:3.

     at least first and second multimedia           Venkatesh teaches at least first and second multimedia computers connected to a
 computers connected to a communication             communnication network, each multimedia computer including a bidirectional audio or
 network, each multimedia computer including        audio/visual device, for example, a web-based phone. See, e.g., Fig. 1, col. 2:56-3:9.
 a bidirectional audio or audio/visual device;



 a host server connected to the communication       Venkatesh teaches a host server connected to the communication network and operable to
     network and operable to support interactive    support interactive communication between a seeker and an expert, for example, server 12 and
                                                    database server 16. See, e.g., Figs. 1, 2, col. 2:56-3:24.

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 Claim Language                                     U.S. Patent No. 7,120,647 to Venkatesh et al.
    communication between a seeker and an
    expert;
 the host server communicably connected with        Venkatesh teaches a host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, server system 12 is communicably connected with database 20,
     database;                                      which contains an inquiry-type database and a skill-set database. See, e.g., Figs. 1, 2, 3A, 3B,
                                                    col. 2:56-3:51; col. 4:3-6:18.

 the inquiry-type database containing at least      Venkatesh teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of    the layers of inquiry types organized from an underlying plurality of criteria groupings that are
      inquiry types organized from an underlying    humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are      predetermined semantically-expressed inquiry types, for example, layers of inquiry types for
      humanly understandable descriptors,           functional communities such as “identification,” “type,” “location,” and “business.” See, e.g.,
      wherein at least one layer of inquiry types   Figs. 3A, 3B, col. 4:25-6:18.
      comprises predetermined semantically-
      expressed inquiry types;




                                                    This claim element was well-known in the art, and further, Venkatesh can be combined with any

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 Claim Language                                      U.S. Patent No. 7,120,647 to Venkatesh et al.
                                                     of the following:

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Venkatesh teaches the skill-set database containing at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, database 20,
     the inquiry types and its underlying criteria   which stores information on experts. See, e.g., Figs. 2, 3A, 3B, Abstract, col. 4:3-6:19.
     grouping;
                                                     This claim element was well-known in the art, and further, Venkatesh can be combined with any
                                                     of the following:

                                                     Lauffer: See, e.g., col. 1:31-42; col. 1:50-51; col. 1:55-67; col. 4:63-5:10.

                                                     Eichstaedt: See, e.g., Figs. 1, 4, col. 2:43-3:12; col. 4:3-12.

                                                     HiPath: See, e.g., Sect. 4.2.3, Sect. 4.3.3, Sect. 13.3.3, Sect. 13.6.

                                                     Judkins: See, e.g., Figs. 14, 31, 32, 39, col. 7:53-56; col. 19:24-37; col. 22:23-51.

                                                     Gabriel: See, e.g., Fig. 1, col. 3:63-4:7; col. 5:20-29; col. 6:3-34.

                                                     McFarlane: See, e.g., Fig. 6, col. 11:24-12:8; claim 1 (“means for maintaining data comprising a
                                                     mapping of agent experience and agent ability to use, on an unassisted and unsupervised basis,
                                                     said at least one automated resource to data indicative of an augmented agent skill level for said


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 Claim Language                                    U.S. Patent No. 7,120,647 to Venkatesh et al.
                                                   plurality of agents”); claim 9.

                                                   Dhir: See, e.g., Fig. 5; col. 1:25-37; col. 10:19-34; col. 11:5-11.

                                                   Sassin: See, e.g., Fig. 1, col. 6:39-67; col. 9:5-19.

                                                   Friedman: See, e.g., ¶¶ 0015, 0016.

                                                   Hekmatpour: See, e.g., col. 14:64-15:11.

 a unique numeric routing identifier linked to     Venkatesh teaches a unique routing identifier linked to each skill-set database entry and to the
     each skill-set database entry and to the      associated inquiry type in the inquiry-type database, for example, a phone number associated
     associated inquiry type in the inquiry-type   with the expert. See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.
     database; and




                                                   This claim element was well-known in the art, and further, Venkatesh can be combined with any
                                                   of the following:


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 Claim Language                                      U.S. Patent No. 7,120,647 to Venkatesh et al.
                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Venkatesh teaches the host server, upon the receipt of a user request for assistance with at least
     request for assistance with at least one of     one of the predetermined semantically-expressed inquiry types, operable to identify the expert
     the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
     inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, in response to a user’s request, the expert is
     associated with the predetermined               identified by the phone number. See, e.g., Figs. 4, 7, 10-14, col. 6:52-67; col. 7:25-32; col. 7:45-
     semantically-expressed inquiry type             8:16; col. 8:43-9:21.
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              Venkatesh teaches that the bi-directional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet. See, e.g., Fig. 1, col. 2:56-3:9.

     14. The match and route system of claim         See Claim 12.
 12, wherein the communication network is the
 Internet.                                           Venkatesh teaches that the communication network is the Internet. See, e.g., Figs. 1, 2, col.
                                                     2:56-3:25.

     15. The match and route system of claim         See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, of a           Venkatesh teaches that the interactive communication is instant messaging, web conferencing,
 combination of instant messaging and web            or a combination of instant messaging and web conferencing. See, e.g., Figs. 2, 12, col. 3:10-25;

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 Claim Language                                   U.S. Patent No. 7,120,647 to Venkatesh et al.
 conferencing.                                    col. 6:52-67; col. 8:54-67.

     16. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.    Venkatesh teaches that the host server is communicably connected with the database by the
                                                  Internet. See, e.g., Figs. 1, 2, col. 2:56-3:25.

     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     Venkatesh teaches that the host server is communicably connected with the databases by a local
 network, or a wide area network.                 area network or a wide area network. See, e.g., Figs. 1, 2, col. 2:56-3:25.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       Venkatesh teaches that the host server is configured in a multi-server architecture. See, e.g.,
                                                  Figs. 3A, 3B, col. 3:26-4:2.




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                                                              Appendix B-7

      Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6,553,113 to Dhir et al., “System and
                  Methods For Call Decisioning in a Virtual Call Center Integrating Telephony with Computers.

 U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”) was filed on July 9, 1999, and issued April 22, 2003. It is prior art under at least 35
 U.S.C. 102(a), (b), and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Dhir anticipates and renders obvious, alone, or in combination with
 with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions
 are not an admission by Defendant that the accused products, including any current or past version of these products, are covered by,
 or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Dhir with the other references set forth in this chart, for at
 least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Dhir is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the right
 to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Dhir with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Dhir. Discovery and investigation is ongoing, and
 Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did not
 explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Dhir to render one or more of
 the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 6,535,492 to Shtivelman (“Shtivelman”)

      •   U.S. Patent No. 7,783,475 to Neuberger et al. (“Neuberger”)

      •   U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)



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      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

      •   Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described in
          Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                   U.S. Patent No. 6,553,113 to Dhir et al.
     1. A method of semantic to non-semantic      To the extent the preamble is considered limiting, Dhir teaches a method of semantic to non-
 routing to locate a live expert comprising the   semantic routing to locate a live expert, for example, a virtual call center. See, e.g., Fig. 1,
 steps of:                                        Abstract, col. 3:12-31.




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 Claim Language                                   U.S. Patent No. 6,553,113 to Dhir et al.




 providing an inquiry-type computer database      Dhir teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, inquiry types in an
     inquiry types organized from an underlying   IVR system, stored in IVR transaction module. See, e.g., Figs. 2, 4, col. 5:51-6:3; col. 7:52-67.
     plurality of criteria groupings that are


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 Claim Language                           U.S. Patent No. 6,553,113 to Dhir et al.
    humanly understandable descriptors;




                                          Further, this claim element was well-known in the art, and Dhir could be combined with any of
                                          the following:

                                          Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

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 Claim Language                                    U.S. Patent No. 6,553,113 to Dhir et al.

                                                   Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                   Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Dhir teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, inquiry types in an additional IVR module, or inquiry types in languages other than
     correspondence with the first layer of        English, stored in IVR transaction module. See, e.g., Figs. 4, 10 col. 5:51-6:2; col. 9:15-35, col.
     predetermined semantically-expressed          13:35-61.
     inquiry types;




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 Claim Language                   U.S. Patent No. 6,553,113 to Dhir et al.




                                  Further, this claim element was well-known in the art, and Dhir could be combined with any of
                                  the following:

                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                  Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                  Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                  Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                  Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                  Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.



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 Claim Language                                    U.S. Patent No. 6,553,113 to Dhir et al.
 supplying a skill-set database that includes an   Dhir teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding
    with one of the predetermined                  layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and       criteria grouping for the associated inquiry type, for example, data reflecting the queues that
    its corresponding layers, the expert having    agents can support, stored in call center administrative system. See, e.g., Fig. 5; col. 1:25-37;
    individualized knowledge of at least one       col. 10:19-34; col. 11:5-11.
    criteria from the underlying criteria
    grouping for the associated inquiry type;




 mapping each skill-set database entry to the      Dhir teaches mapping each skill-set database entry to the associated inquiry type in the inquiry
    associated inquiry type in the inquiry-type    type database through a unique numerical routing identifier, for example, using a routing code
    database through a unique numerical            and route return address. See, e.g., col. 8:1-15; col. 11:62-12:43.
    routing identifier; and
                                                   This claim element was well-known in the art, and further, Dhir can be combined with any of
                                                   the following:


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 Claim Language                                       U.S. Patent No. 6,553,113 to Dhir et al.

                                                      Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Dhir teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, identifying an expert through a using a routing code and route return
    identifier associated with the                    address. See, e.g., col. 11:62-12:43.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          Dhir teaches establishing a real time communicate path between the user and the expert, for
 expert.                                              example, a telephone call. See, e.g., col. 2:57-61; col. 13:18-31.

     3. The method of claim 2, wherein the            See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a       Dhir teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over         connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                        example, a telephone call. See, e.g., col. 2:57-61; col. 13:18-31.

     4. The method of claim 1, further                See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious               Dhir teaches meritoriously ranking the expert, wherein a most meritorious available expert is

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 Claim Language                                     U.S. Patent No. 6,553,113 to Dhir et al.
 available expert is placed in communication        place in communication with the user, for example, ranking experts by skill level. See, e.g., col.
 with the user.                                     10:19-34.


      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Dhir teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, ranking experts by skill level. See, e.g., col. 10:19-34.
 which the user is a member.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Dhir teaches each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, for example, English and Spanish. See, e.g., Fig. 10, col.
                                                    13:35-61.




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                                  Further, this claim element was well-known in the art, and Dhir can be combined with any of the


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 Claim Language                                     U.S. Patent No. 6,553,113 to Dhir et al.
                                                    following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Dhir can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                                composed in user-centric terms” was well-known in the art, and Judkins can be combined with
                                                    any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.


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 Claim Language                                     U.S. Patent No. 6,553,113 to Dhir et al.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Dhir teaches selecting one of the layers of inquiry type for presentation of the underlying criteria
 underlying criteria grouping to the user based     grouping to the user based on a predetermined user profile, for example, based on user account
 on a predetermined user profile.                   information. See, e.g., col. 7:15-51; col. 11:43-61; col. 13:47-61.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   The claim element “receiving from the user a response to the presentation of a first member of
 of the underlying criteria grouping; and           the underlying criteria grouping” was well-known in the art, and further, Dhir can be combined
                                                    with any of the following:

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                    KnowledgeShare: See, e.g., pp. 20, 22-23, Sect. 5, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 4.

                                                    Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                    Lauffer: See, e.g., col. 5:36-65, claims 1 and 10.

                                                    Judkins: See, e.g., col. 11:47-56.

                                                    Venkatesh: See, e.g., col. 6:35-67.

                                                    Creamer: See, e.g., ¶¶ 0038, 0039, 0040.



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 Claim Language                                   U.S. Patent No. 6,553,113 to Dhir et al.
 the response triggering the presentation of      The claim element “the response triggering the presentation of further member of the underlying
     further members of the underlying criteria   criteria grouping in a predetermined order” was well-known in the art, and further Dhir can be
     grouping in a predetermined order.           combined with any of the following:

                                                  McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                  KnowledgeShare: See, e.g., p. 20, Sect. 5.

                                                  XpertShare 2.0: See, e.g., Slide 4.

                                                  Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                  Lauffer: See, e.g., col. 7:40-67.

                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

     11. The method of claim 10, wherein the      See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and     The claim element “wherein the predetermined order is one of a hierarchical arrangement, and
 combination hierarchal/independent               independent arrangement, and combination hierarchical/independent arrangement” was well-
 arrangement.                                     known in the art, and further, Dhir can be combined with any of the following:

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                  Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                  Sassin: See, e.g., col. 4:1-15.

                                                  Lauffer: See, e.g., col. 5:36-65.


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 Claim Language                                 U.S. Patent No. 6,553,113 to Dhir et al.

                                                McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to   To the extent that the preamble is considered limiting, Dhir teaches a match and route system
 locate a live expert comprising:               operable to locate a live expert, for example, a virtual call center. See, e.g., Fig. 1, Abstract, col.
                                                3:12-31.




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 Claim Language                                  U.S. Patent No. 6,553,113 to Dhir et al.




     at least first and second multimedia        Dhir teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication          network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including     example, agent workstations. See, e.g., Fig. 3, col. 8:28-39.
 a bidirectional audio or audio/visual device;



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 Claim Language                                    U.S. Patent No. 6,553,113 to Dhir et al.




 a host server connected to the communication      Dhir teaches a host server connected to the communication network and operable to support
     network and operable to support interactive   interactive communication between a seeker and an expert, for example, central server system.
     communication between a seeker and an         See, e.g., Fig. 1, col. 4:48-65; col. 5:6-18.
     expert;




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 Claim Language                                 U.S. Patent No. 6,553,113 to Dhir et al.




 the host server communicably connected with    Dhir teaches the host server communicably connected with an inquiry-type database and a skill-
     an inquiry-type database and a skill-set   set database, for example, IVR transaction module and call center administrative system. See,
     database;                                  e.g., Fig. 2, col. 5:6-18; col. 7:52-67; col. 11:5-11.


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 Claim Language                                     U.S. Patent No. 6,553,113 to Dhir et al.
 the inquiry-type database containing at least      Dhir teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of    the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying    are humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are      predetermined semantically-expressed inquiry types, for example, inquiry types in an IVR
      humanly understandable descriptors,           system, and inquiry types in additional languages such as Spanish, stored in IVR transaction
      wherein at least one layer of inquiry types   module. See, e.g., Figs. 2, 4, 10, col. 5:51-6:3; col. 7:52-67; col. 9:15-35, col. 13:35-61.
      comprises predetermined semantically-
      expressed inquiry types;




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                                  Further, this claim element was well-known in the art, and Dhir can be combined with any of the
                                  following:

                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                  col. 8:55-9:9.

                                  Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                  Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                  Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                  Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.


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 Claim Language                                      U.S. Patent No. 6,553,113 to Dhir et al.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Dhir teaches that the skill-set database contains at least one entry that associates the expert with
     entry that associates the expert with one of    one of the inquiry types and its underlying criteria grouping, for example, data reflecting the
     the inquiry types and its underlying criteria   queues that agents can support, stored in call center administrative system. See, e.g., Fig. 5; col.
     grouping;                                       1:25-37; col. 10:19-34; col. 11:5-11.




 a unique numeric routing identifier linked to       Dhir teaches a unique numeric routing identifier linked to each skill-set database entry and to the
     each skill-set database entry and to the        associated inquiry type in the inquiry-type database, for example, using a routing code and route
     associated inquiry type in the inquiry-type     return address. See, e.g., col. 8:1-15; col. 11:62-12:43.
     database; and
                                                     This limitation was well-known in the art, and further, Dhir can be combined with any of the
                                                     following:


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 Claim Language                                      U.S. Patent No. 6,553,113 to Dhir et al.

                                                     Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Dhir teaches that the host server, upon the receipt of a user request for assistance with at least
     request for assistance with at least one of     one of the predetermined semantically-expressed inquiry type, operable to identify the expert
     the predetermined semantically-expressed        associated with the predetermined semantically-expressed inquiry type requested by the user by
     inquiry type, operable to identify the expert   use of the numeric routing identifier, for example, identifying an expert through a using a
     associated with the predetermined               routing code and route return address. See, e.g., col. 11:62-12:43.
     semantically-expressed inquiry type
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet” was well-known in the art, and further, Dhir can be combined
                                                     with any of the following:

                                                     Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                     XpertShare 2.0: See, e.g., Slide 8.

                                                     KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                     Friedman: See, e.g., ¶¶ 0047, 0048.

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 Claim Language                                  U.S. Patent No. 6,553,113 to Dhir et al.

     14. The match and route system of claim     See Claim 12.
 12, wherein the communication network is the
 Internet.                                       Dhir teaches that the communication network is the Internet. See, e.g., col. 5:6-19; col. 8:40-52.

     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       The claim element “wherein the interactive communication is instant messaging, web
 combination of instant messaging and web        conferencing, or a combination of instant message and web conferencing” was well-known in
 conferencing.                                   the art, and further, Dhir can be combined with any of the following:

                                                 Venkatesh: See, e.g., Figs. 2, 12, col. 3:10-25; col. 6:52-67; col. 8:54-67.

                                                 Shtivelman: See, e.g., col. 1:45-2:2; col. 5:15-30.

                                                 Friedman: See, e.g., ¶¶ 0046, 0047.

                                                 KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

                                                 ExpertShare 2.0: See, e.g., Slide 8.

                                                 Sassin: See, e.g., Claim 12, 17.

                                                 Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   Dhir teaches that the host server is communicably connected with the database by the Internet,
                                                 for example. See, e.g., col. 5:6-19.

     17. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area    Dhir teaches that the host server is communicably connected with the databases by a local area
 network, or a wide area network.                network, or a wide area network. See, e.g., col. 5:6-19.



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 Claim Language                                   U.S. Patent No. 6,553,113 to Dhir et al.
     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       The claim element “wherein the host server is configured in a multi-server architecture” was
                                                  well-known in the art, and further Dhir can be combined with any of the following:

                                                  Andrews: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-8

   Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent Application No. 2002/0013836 to Friedman et
                              al., “Interactive Online Learning With Student-To-Tutor Matching”.

 U.S. Patent Application No. 2002/0013836 to Friedman et al. (“Friedman”) was filed on July 18, 2001, and was published on January
 31, 2002. Friedman is prior art under at least 35 U.S.C. 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Friedman anticipates and renders obvious, alone, or in combination
 with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity
 contentions are not an admission by Defendant that the accused products, including any current or past version of these products, are
 covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein
 should be understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other
 actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Friedman with the other references set forth in this chart,
 for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Friedman is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of

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 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Friedman with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Friedman. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Friedman to render one or
 more of the claims obvious:

          •       Help SG Overview – homework911 (“homework911”)

          •       U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

          •       U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

          •       U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

          •       U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

          •       U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

          •       U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

          •       U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

          •       U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

          •       U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

          •       U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

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          •       U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

          •       U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

          •       U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

 Claim Language                                   U.S. Patent Application No. 2002/0013846 to Friedman et al.
     1. A method of semantic to non-semantic      To the extent that the preamble is considered, Friedman teaches a method of semantic to non-
 routing to locate a live expert comprising the   semantic routing to locate a live expert, for example, a system for matching a student and a
 steps of:                                        tutor. See, e.g., Fig. 1, ¶ 0011.




                                                  See also homework911, p. 3.




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 Claim Language                                   U.S. Patent Application No. 2002/0013846 to Friedman et al.




 providing an inquiry-type computer database      Friedman teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, selection criteria.
     inquiry types organized from an underlying   See, e.g., ¶ 0016.
     plurality of criteria groupings that are
     humanly understandable descriptors;          Further, this claim element was well-known in the art, and Friedman could be combined with
                                                  any of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                  Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.



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 Claim Language                                    U.S. Patent Application No. 2002/0013846 to Friedman et al.
                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Friedman teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, request criteria. See, e.g., ¶ 0026.
     correspondence with the first layer of
     predetermined semantically-expressed          Further, this claim element was well-known in the art, and Friedman could be combined with
     inquiry types;                                any of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Friedman teaches supplying a skill-set database that includes an entry that associates at least one
    entry that associates at least one expert      expert with one of the predetermined semantically-expressed inquiry types and its corresponding
    with one of the predetermined                  layers, the expert having individualized knowledge of at least one criteria from the underlying
    semantically-expressed inquiry types and       criteria grouping for the associated inquiry type, for example, information regarding tutors
    its corresponding layers, the expert having    stored in database 18. See, e.g., ¶¶ 0015, 0016.
    individualized knowledge of at least one
    criteria from the underlying criteria

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 Claim Language                                       U.S. Patent Application No. 2002/0013846 to Friedman et al.
    grouping for the associated inquiry type;
 mapping each skill-set database entry to the         Friedman teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type       inquiry type database through a unique numerical routing identifier, for example, a qualifier.
    database through a unique numerical               See, e.g., ¶¶ 0024.
    routing identifier; and

 upon a user's request for assistance with at least   Friedman teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, using the match-and-route system to identify a tutor. See, e.g., Fig. 3, ¶¶
    identifier associated with the                    0024, 0046.
    predetermined semantically-expressed
    inquiry type requested by the user.




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                                  See also, homework911, p. 3




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 Claim Language                                    U.S. Patent Application No. 2002/0013846 to Friedman et al.




    2. The method of claim 1, further              See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the       Friedman teaches establishing a real time communicate path between the user and the expert, for
 expert.                                           example, an internet connection, or a telephone call. See, e.g., ¶¶ 0046, 0047.

                                                   See also, homework911, p. 3.
     3. The method of claim 2, wherein the         See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a    Friedman teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over      connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                     example, a telephony connection or a voice over internet protocol connection. See, e.g., ¶¶ 0046,
                                                   0047.

                                                   See also, homework911, p. 3.


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 Claim Language                                     U.S. Patent Application No. 2002/0013846 to Friedman et al.
     4. The method of claim 1, further              See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious             Friedman teaches meritoriously ranking the expert, wherein a most meritorious available expert
 available expert is placed in communication        is place in communication with the user, for example, based on a tutor’s proficiency values.
 with the user.                                     See, e.g., ¶¶ 0020, 0024.

      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Friedman teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, based on a tutor’s proficiency values, or based on a user’s profile. See, e.g., ¶¶
 which the user is a member.                        0018, 0020, 0024, 0041.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Friedman teaches each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages, for example, English or Spanish. See, e.g., ¶¶ 0026, 0049.

                                                    Further, this claim element was well-known in the art, and Friedman can be combined with any
                                                    of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61. \

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Friedman teaches each layer of inquiry type is comprised of the underlying groupings composed
 jargon specific to differing levels of knowledge   in jargon specific to differing levels of knowledge within a field of interest, for example,
 within a field of interest.                        “mathematics,” “elementary level arithmetic,” “third grade math,” etc. See, e.g., ¶ 0016.



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 Claim Language                               U.S. Patent Application No. 2002/0013846 to Friedman et al.


                                              This element was well-known in the art, and further, Friedman can be combined with any of the
                                              following:

                                              Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                              Creamer: See, e.g., ¶¶ 0045.

                                              Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                              Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each   See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in    Friedman teaches each layer of inquiry type is comprised of the underlying criteria groupings
 user-centric terms.                          composed in user-centric terms, for example, “mathematics,” “elementary level arithmetic,”
                                              “third grade math,” etc. depending on the students needs and capabilities. See, e.g., ¶ 0016.

                                              This claim element is well-known in the art, and further, Friedman can be combined with any of
                                              the following:

                                              Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                              Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                              Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                              Hekmatpour: See, e.g., col. 22:65-23:18.

      9. The method of claim 1, further       See Claim 1.


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 Claim Language                                     U.S. Patent Application No. 2002/0013846 to Friedman et al.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Friedman teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, using a
 on a predetermined user profile.                   student’s login and password. See also, homework911, p. 5.

                                                    This claim element is well-known in the art, and further, Friedman can be combined with any of
                                                    the following:

                                                    Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                    Csaszar: See, e.g., col. 8:55-9:9.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 3.

                                                    Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   Friedman teaches receiving from the user a response to the presentation of a first member of the
 of the underlying criteria grouping; and           underlying criteria grouping, for example, a student entering in information in a student profile.
                                                    See, e.g., ¶ 0017.

 the response triggering the presentation of        Friedman teaches the response triggering the presentation of further members of the underlying
     further members of the underlying criteria     criteria grouping in a predetermined order, for example, presenting additional, narrowing
     grouping in a predetermined order.             options to the user. See, e.g., ¶ 0017.

     11. The method of claim 10, wherein the        See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and       Friedman teaches that the predetermined order is one of a hierarchical arrangement, an


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 Claim Language                                  U.S. Patent Application No. 2002/0013846 to Friedman et al.
 combination hierarchal/independent              independent arrangement, and combination hierarchical/independent arrangement, for example,
 arrangement.                                    an independent arrangement between a student’s language requirements and school level. See,
                                                 e.g., ¶ 0017.

     12. A match and route system operable to    To the extent that the preamble is held to be limiting, Friedman teaches a match and route
 locate a live expert comprising:                system operable to locate a live expert, for example, a system for matching a student and a tutor.
                                                 See, e.g., Fig. 1, ¶ 0011.




                                                 See also homework911, p. 3.

     at least first and second multimedia        Friedman teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication          network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including     example, a tutor and a student’s computers. See, e.g., Fig. 1, ¶ 0014.
 a bidirectional audio or audio/visual device;

 a host server connected to the communication    Friedman teaches a host server connected to the communication network and operable to
                                                 support interactive communication between a seeker and an expert, for example, hosting server

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 Claim Language                                     U.S. Patent Application No. 2002/0013846 to Friedman et al.
    network and operable to support interactive     14. See, e.g., Fig. 1, ¶¶ 0014, 0046.
    communication between a seeker and an
    expert;
 the host server communicably connected with        Friedman teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, database 18, which holds information on tutors and students.
     database;                                      See, e.g., Fig. 1, ¶ 0015.




 the inquiry-type database containing at least      Friedman teaches that the inquiry-type database contains at least two layers of inquiry types, the
      two layers of inquiry types, the layers of    layers of inquiry types are organized from an underlying plurality of criteria groupings that are
      inquiry types organized from an underlying    humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are      predetermined semantically expressed inquiry types, for example, request criteria and selection
      humanly understandable descriptors,           criteria. See, e.g., ¶¶ 0016, 0026.
      wherein at least one layer of inquiry types
      comprises predetermined semantically-         Further, this claim element was well-known in the art, and Friedman can be combined with any
      expressed inquiry types;                      of the following:



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 Claim Language                                      U.S. Patent Application No. 2002/0013846 to Friedman et al.
                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Friedman teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, information
     the inquiry types and its underlying criteria   regarding tutors stored in database 18. See, e.g., ¶¶ 0015, 0016.
     grouping;
 a unique numeric routing identifier linked to       Friedman teaches a unique numeric routing identifier linked to each skill-set database entry and
     each skill-set database entry and to the        to the associated inquiry type in the inquiry-type database, for example, a qualifier. See, e.g., ¶¶
     associated inquiry type in the inquiry-type     0024.
     database; and
 the host sever, upon the receipt of a user          Friedman teaches that the host server, upon the receipt of a user request for assistance with at
     request for assistance with at least one of     least one of the predetermined semantically-expressed inquiry type, operable to identify the
     the predetermined semantically-expressed        expert associated with the predetermined semantically-expressed inquiry type requested by the
     inquiry type, operable to identify the expert   user by use of the numeric routing identifier, for example, using the match-and-route system to
     associated with the predetermined               identify a tutor. See, e.g., Fig. 3, ¶¶ 0024, 0046.
     semantically-expressed inquiry type
     requested by the user by use of the numeric
     routing identifier.




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 Claim Language                                U.S. Patent Application No. 2002/0013846 to Friedman et al.




                                               See also, homework911, p. 3.

     13. The match and route system of claim   See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an        Friedman teaches that the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.           electronic whiteboard, or a tablet, for example, an electronic whiteboard or a webcam. See, e.g.,


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 Claim Language                                  U.S. Patent Application No. 2002/0013846 to Friedman et al.
                                                 ¶¶ 0047, 0048.

     14. The match and route system of claim     See Claim 12.
 12, wherein the communication network is the
 Internet.                                       Friedman teaches that the communication network is the Internet. See, e.g., ¶¶ 0014, 0046.
     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       Friedman teaches that the interactive communication is instant messaging, web conferencing, or
 combination of instant messaging and web        a combination of instant messaging and web conferencing, for example, text chat or web
 conferencing.                                   conferencing. See, e.g., ¶¶ 0046, 0047.

                                                 See also, homework911, p. 3.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   Friedman teaches that the host server is communicably connected with the database by the
                                                 Internet. See, e.g., Fig. 1, ¶ 0014.

     17. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area    Friedman teaches that the host server is communicably connected with the databases by a local
 network, or a wide area network.                area network, or a wide area network. See, e.g., ¶ 0014.

                                                 This element was well-known in the art, and further, Friedman can be combined with any of the
                                                 following:

                                                 Andrews: See, e.g., col. 5:14-30.

                                                 Dhir: See, e.g., col. 5:6-19.

                                                 Sassin: See, e.g., col. 3:10-48.

                                                 Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                 Judkins: See, e.g., Fig. 1, col. 6:27-41.

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 Claim Language                                   U.S. Patent Application No. 2002/0013846 to Friedman et al.

                                                  Gabriel: See, e.g., col. 3:20-30.

                                                  Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                  Creamer: See, e.g., ¶ 0021.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       Friedman teaches that the host server is configured in a multi-server architecture, for example,
                                                  using a web server and an automatic call distribution server. See, e.g., Fig. 1, ¶ 0014.




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                                                               Appendix B-9

  Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on U.S. Patent No. 6,510,431 to Eichstaedt et al., “Method and
        System For The Routing Of Requests Using An Automated Classification And Profile Matching In A Networked
                                                         Environment.”

 U.S. Patent No. 6,510,431 to Eichstaedt et al. (“Eichstaedt”) was filed on June 28, 1999, and issued on January 21, 2003. It is prior art
 under at least 35 U.S.C. § 102(a), (b) and (e).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Eichstaedt anticipates and renders obvious, alone, or in combination
 with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity
 contentions are not an admission by Defendant that the accused products, including any current or past version of these products, are
 covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein
 should be understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other
 actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Eichstaedt with the other references set forth in this chart,
 for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Eichstaedt is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of

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 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of
 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine Eichstaedt with the additional listed prior art. Moreover, when other prior art
 is listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine
 those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Eichstaedt. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with Eichstaedt to render one or
 more of the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)


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      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”), as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

 Claim Language                                   U.S. Patent No. 6,510,431 to Eichstaedt et al.
     1. A method of semantic to non-semantic      To the extent that the preamble is held to be limiting, Eichstaedt teaches a method of semantic to
 routing to locate a live expert comprising the   non-semantic routing to locate a live expert, for example, a system for routing customer requests
 steps of:                                        for advisors. See, e.g., Figs. 1, 7, col. 1:52-65; col. 2:30-42.

 providing an inquiry-type computer database      Eichstaedt teaches providing an inquiry-type computer database populated with a first layer of
     populated with a first layer of              predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed         criteria groupings that are humanly understandable descriptors, for example, an automatic
     inquiry types organized from an underlying   classifier and problem pool. See, e.g., Figs. 1, 4, col. 2:43-3:13; col. 3:47-4:2; col. 4:14-40.
     plurality of criteria groupings that are
     humanly understandable descriptors;          This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                  of the following:

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                  Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                  Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.


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 Claim Language                                    U.S. Patent No. 6,510,431 to Eichstaedt et al.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                   Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                   Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more other     Eichstaedt teaches associating in the database one or more other layers of inquiry types with the
     layers of inquiry types with the underlying   underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     criteria groupings, the one or more other     correspondence with the first layer of predetermined semantically-expressed inquiry types, for
     layers of inquiry types having a one-to-one   example, categories within the problem pool. See, e.g., Figs. 1, 4, col. 2:43-3:13; col. 3:47-4:2;
     correspondence with the first layer of        col. 4:14-40.
     predetermined semantically-expressed
     inquiry types;                                This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                   of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Eichstaedt teaches supplying a skill-set database that includes an entry that associates at least
    entry that associates at least one expert      one expert with one of the predetermined semantically-expressed inquiry types and its
    with one of the predetermined                  corresponding layers, expert having individualized knowledge of at least one criteria from the
    semantically-expressed inquiry types and       underlying criteria grouping for the associated inquiry type, for example, a database of expert
    its corresponding layers, the expert having    profiles stored in the profile engine. See, e.g., Figs. 1, 4, col. 2:43-3:12; col. 4:3-12.


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 Claim Language                                       U.S. Patent No. 6,510,431 to Eichstaedt et al.
    individualized knowledge of at least one
    criteria from the underlying criteria
    grouping for the associated inquiry type;
 mapping each skill-set database entry to the         Eichstaedt teaches mapping each skill-set database entry to the associated inquiry type in the
    associated inquiry type in the inquiry-type       inquiry type database through a unique numerical routing identifier, for example, the mapping
    database through a unique numerical               function between classified requests and associated profiles. See, e.g., col. 3:20-31; col. 4:3-12.
    routing identifier; and
                                                      This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                      of the following:

                                                      Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                      Friedman: See, e.g., ¶¶ 0024.

                                                      Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                      Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                      Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Eichstaedt teaches upon a user’s request for assistance with at least one of the predetermined
    one of the predetermined semantically-            semantically-expressed inquiry type, indentifying the expert through the numeric routing
    expressed inquiry type, identifying the           identifier associated with the predetermined semantically-expressed inquiry type requested by
    expert through the numeric routing                the user, for example, the profile engine comparing a user’s request to associated profiles, then
    identifier associated with the                    the advisor process server creating a connection between a customer and an advisor. See, e.g.,
    predetermined semantically-expressed              col. 3:20-31; col. 4:3-12.
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
                                                      Eichstaedt teaches establishing a real time communicate path between the user and the expert,

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 Claim Language                                     U.S. Patent No. 6,510,431 to Eichstaedt et al.
 communication path between the user and the        for example, a chat session or telephone call. See, e.g., col. 2:43-65; col. 4:33-47.
 expert.
     3. The method of claim 2, wherein the          See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a     Eichstaedt teaches the communication path is at least one of an internet connection, a telephony
 video telephony connection, and a voice over       connection, a video telephone connection, and voice over internet protocol connection, for
 internet protocol connection.                      example, an email connection or a telephone call. See, e.g., col. 2:43-65; col. 4:33-47.

     4. The method of claim 1, further              See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious             Eichstaedt teaches meritoriously ranking the expert, wherein a most meritorious available expert
 available expert is placed in communication        is place in communication with the user, for example, identifying a high-priority advisor. See,
 with the user.                                     e.g., Fig. 8, col. 4:54-67; col. 5:1-34.

      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          Eichstaedt teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, identfying a high-priority advisor based on the expert’s individualized knowledge.
 which the user is a member.                        See, e.g., Fig. 8, col. 5:1-34.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “each layer of inquiry type is comprised of the underlying criteria groupings
 different languages.                               composed in different languages,” and further, Eichstaedt can be combined with any of the
                                                    following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

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 Claim Language                                     U.S. Patent No. 6,510,431 to Eichstaedt et al.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “each layer of inquiry type is comprised of the underlying groupings
 jargon specific to differing levels of knowledge   composed in jargon specific to differing levels of knowledge within a field of interest,” and
 within a field of interest.                        further Eichstaedt can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The claim element “wherein each layer of inquiry type is comprised of the underlying criteria
 user-centric terms.                                groupings composed in user-centric terms” was well-known in the art and further Eichstaedt can
                                                    be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

    9. The method of claim 1, further               See Claim 1.
 comprising the step of selecting one of the

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 Claim Language                                     U.S. Patent No. 6,510,431 to Eichstaedt et al.
 layers of inquiry type for presentation of the     Eichstaedt teaches selecting one of the layers of inquiry type for presentation of the underlying
 underlying criteria grouping to the user based     criteria grouping to the user based on a predetermined user profile, for example, based on a
 on a predetermined user profile.                   user’s login and registration. See, e.g., Fig. 7, col. 4:13-28.

                                                    This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                    of the following:

                                                    Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                    Csaszar: See, e.g., col. 8:55-9:9.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 3.

                                                    Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   The claim element “receiving from the user a response to the presentation of a first member of
 of the underlying criteria grouping; and           the underlying criteria grouping” was well-known in the art, and further Eichstaedt can be
                                                    combined with any of the following:

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                    KnowledgeShare: See, e.g., pp. 20, 22-23, Sect. 5, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 4.

                                                    Sassin: See, e.g., col. 4:1-15; col. 7:41-67.



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 Claim Language                                   U.S. Patent No. 6,510,431 to Eichstaedt et al.
                                                  Lauffer: See, e.g., col. 5:36-65, claims 1 and 10.

                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

 the response triggering the presentation of      The claim element “the response triggering the presentation of further members of the
     further members of the underlying criteria   underlying criteria grouping in a predetermined order” was well-known in the art, and further,
     grouping in a predetermined order.           Eichstaedt can be combined with any of the following:

                                                  McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                  KnowledgeShare: See, e.g., p. 20, Sect. 5.

                                                  XpertShare 2.0: See, e.g., Slide 4.

                                                  Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                  Lauffer: See, e.g., col. 7:40-67.

                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

     11. The method of claim 10, wherein the      See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and     The claim element “wherein the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent               independent arrangement, and combination hierarchical/independent arrangement” was well-
 arrangement.                                     known in the art, and further, Eichstaedt can be combined with any of the following:

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.


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                                                    Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.

                                                    Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                    Sassin: See, e.g., col. 4:1-15.

                                                    Lauffer: See, e.g., col. 5:36-65.

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to       To the extent that the preamble is considered a limitation, Eichstaedt teaches a match and route
 locate a live expert comprising:                   system operable to locate a live expert, for example, a system for routing customer requests to
                                                    advisors. See, e.g., Figs. 1, 7, col. 1:52-65; col. 2:30-42.

     at least first and second multimedia           Eichstaedt teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication             network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer including        example, a customer’s computer and an advisor’s computer. See, e.g., Fig. 1, col. 2:43-65.
 a bidirectional audio or audio/visual device;
 a host server connected to the communication       Eichstaedt teaches a host server connected to the communication network and operable to
     network and operable to support interactive    support interactive communication between a seeker and an expert, for example, the customer
     communication between a seeker and an          server process and the advisor server process. See, e.g., Figs. 3, 8, col. 3:36-54; col. 5:1-19.
     expert;
 the host server communicably connected with        Eichstaedt teaches the host server communicably connected with an inquiry-type database and a
     an inquiry-type database and a skill-set       skill-set database, for example, an automatic classifier and problem pool, and a database of
     database;                                      expert profiles stored in the profile engine. See, e.g., Figs. 1, 4, col. 2:43-3:13; col. 3:47-4:12.

 the inquiry-type database containing at least      Eichstaedt teaches that the inquiry-type database contains at least two layers of inquiry types,
      two layers of inquiry types, the layers of    the layers of inquiry types are organized from an underlying plurality of criteria groupings that
      inquiry types organized from an underlying    are humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      plurality of criteria groupings that are      predetermined semantically-expressed inquiry types, for example, categories within the problem
      humanly understandable descriptors,           pool. See, e.g., Figs. 1, 4, col. 2:43-3:13; col. 3:47-4:2.
      wherein at least one layer of inquiry types
      comprises predetermined semantically-         This claim element was well-known in the art, and further, Eichstaedt can be combined with any


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 Claim Language                                      U.S. Patent No. 6,510,431 to Eichstaedt et al.
    expressed inquiry types;                         of the following:

                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Eichstaedt teaches that the skill-set database contains at least one entry that associates the expert
     entry that associates the expert with one of    with one of the inquiry types and its underlying criteria grouping, for example, a database of
     the inquiry types and its underlying criteria   expert profiles stored in the profile engine. See, e.g., Figs. 1, 4, col. 2:43-3:12; col. 4:3-12.
     grouping;
 a unique numeric routing identifier linked to       Eichstaedt teaches a unique numeric routing identifier linked to each skill-set database entry and
     each skill-set database entry and to the        to the associated inquiry type in the inquiry-type database, for example, the mapping function
     associated inquiry type in the inquiry-type     between classified requests and associated profiles. See, e.g., col. 3:20-31; col. 4:3-12.
     database; and
                                                     This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                     of the following:

                                                     Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

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                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Eichstaedt teaches that the host server, upon the receipt of a user request for assistance with at
     request for assistance with at least one of     least one of the predetermined semantically-expressed inquiry type, operable to identify the
     the predetermined semantically-expressed        expert associated with the predetermined semantically-expressed inquiry type requested by the
     inquiry type, operable to identify the expert   user by use of the numeric routing identifier, for example, the profile engine comparing a user’s
     associated with the predetermined               request to associated profiles, then the advisor process server creating a connection between a
     semantically-expressed inquiry type             customer and an advisor. See, e.g., col. 3:20-31; col. 4:3-12.
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              Eichstaedt teaches that the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet. See, e.g., Fig. 1, col. 2:30-42; col. 5:41-48.

                                                     This claim element was well-known in the art, and further, Eichstaedt can be combined with any
                                                     of the following:

                                                     Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                     XpertShare 2.0: See, e.g., Slide 8.

                                                     KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                     Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of claim         See Claim 12.
 12, wherein the communication network is the
                                                     Eichstaedt teaches that the communication network is the Internet. See, e.g., col. 2:43-65.

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 Claim Language                                   U.S. Patent No. 6,510,431 to Eichstaedt et al.
 Internet.
     15. The match and route system of claim      See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a        Eichstaedt teaches that the interactive communication is instant messaging, web conferencing,
 combination of instant messaging and web         or a combination of instant messaging and web conferencing, for example, a chat session. See,
 conferencing.                                    e.g., col. 2:43-65; col. 4:30-41.

     16. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.    Eichstaedt teaches that the host server is communicably connected with the database by the
                                                  Internet. See, e.g., col. 2:43-65.
     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     The claim element “wherein the host server is communicably connected with the databases by a
 network, or a wide area network.                 local area network, or a wide area network” was well-known in the art, and further, Eichstaedt
                                                  can be combined with any of the following:

                                                  Andrews: See, e.g., col. 5:14-30.

                                                  Dhir: See, e.g., col. 5:6-19.

                                                  Sassin: See, e.g., col. 3:10-48.

                                                  Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                  Judkins: See, e.g., Fig. 1, col. 6:27-41.

                                                  Gabriel: See, e.g., col. 3:20-30.

                                                  Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                  Creamer: See, e.g., ¶ 0021.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
                                                  Eichstaedt teaches that the host server is configured in a multi-server architecture. See, e.g.,

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 Claim Language                               U.S. Patent No. 6,510,431 to Eichstaedt et al.
 multi-server architecture.                   Figs. 3, 8, col. 3:36-54; col. 5:1-19.




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                                                              Appendix B-10

       Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on XpertShare 2.0 (and prior versions of XpertShare)

 The product XpertShare 2.0 was sold or offered for sale by at least January 21, 2004. XpertShare 2.0 is described in the document
 “XpertShare 2.0 Product Tour” (“XpertShare 2.0”), which was published by XpertUniverse. Prior versions of XpertShare were on
 sale and described in publications prior to January 21, 2004. XpertShare 2.0 is prior art under at least 35 U.S.C. 102(a) and (b).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, XpertShare 2.0 anticipates and renders obvious, alone, or in
 combination with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These
 invalidity contentions are not an admission by Defendant that the accused products, including any current or past version of these
 products, are covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents
 made herein should be understood to identify both the document itself and any products, prototypes, public uses, associated
 knowledge, and other actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine XpertShare 2.0 with the other references set forth in this
 chart, for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses
 similar problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same
 field of art; a person of skill in the art would have combined the prior art elements according to known methods in order to yield
 predictable results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable
 result; a person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in
 order to achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded
 a predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of
 skill in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that XpertShare 2.0 is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves
 the right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one
 of ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person

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 of ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine XpertShare with the additional listed prior art. Moreover, when other prior art
 is listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine
 those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in XpertShare 2.0. Discovery and investigation is
 ongoing, and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is
 infringed, but did not explicitly identify that claim in its Disclosure of Asserted Claims, Finisar hereby reserves the right to amend
 these invalidity contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims
 not so identified.

 The following prior art references are cited in the table below as references that may be combined with XpertShare 2.0 to render one
 or more of the claims obvious:

          •       U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

          •       U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

          •       U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

          •       U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

          •       U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

          •       U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

          •       U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

          •       U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

          •       Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard
                  and Advanced Suites 4.0 User Guide (“HiPath UG”)



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          •       Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described
                  in Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                             XpertShare 2.0
    1. A method of semantic to non-         To the extent that the preamble is considered limiting, XpertShare 2.0 teaches a method of semantic to
 semantic routing to locate a live expert   non-semantic routing to locate a live expert, for example, the XpertShare Match & Route system. See,
 comprising the steps of:                   e.g., Slide 4, 5.




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 Claim Language                             XpertShare 2.0




 providing an inquiry-type computer         XpertShare 2.0 teaches providing an inquiry-type computer database populated with a first layer of
     database populated with a first        predetermined semantically-expressed inquiry types organized from an underlying plurality of criteria
     layer of predetermined                 groupings that are humanly understandable descriptors, for example, a database storing inquiry types
     semantically-expressed inquiry         displayed on the “Get Assistance” page. See, e.g., Slide 4.
     types organized from an underlying
     plurality of criteria groupings that
     are humanly understandable
     descriptors;
 associating in the database one or more    XpertShare 2.0 teaches associating in the database one or more other layers of inquiry types with the
     other layers of inquiry types with     underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     the underlying criteria groupings,     correspondence with the first layer of predetermined semantically-expressed inquiry types, for example,
     the one or more other layers of        layers of inquiry types as shown on the “Get Assistance” page.


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 Claim Language                             XpertShare 2.0
    inquiry types having a one-to-one
    correspondence with the first layer
    of predetermined semantically-
    expressed inquiry types;
 supplying a skill-set database that        XpertShare 2.0 teaches supplying a skill-set database that includes an entry that associates at least one
    includes an entry that associates at    expert with one of the predetermined semantically-expressed inquiry types and its corresponding layers,
    least one expert with one of the        the expert having individualized knowledge of at least one criteria from the underlying criteria grouping
    predetermined semantically-             for the associated inquiry type, for example, information stored regarding experts connected through
    expressed inquiry types and its         XpertShare 2.0. See, e.g., Slide 5.
    corresponding layers, the expert
    having individualized knowledge of
    at least one criteria from the
    underlying criteria grouping for the
    associated inquiry type;




 mapping each skill-set database entry to   XpertShare 2.0 teaches mapping each skill-set database entry to the associated inquiry type in the

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 Claim Language                              XpertShare 2.0
    the associated inquiry type in the       inquiry type database through a unique numerical routing identifier. See, e.g., Slide 5.
    inquiry-type database through a
    unique numerical routing identifier;
    and
 upon a user's request for assistance with   XpertShare 2.0 teaches upon a user’s request for assistance with at least one of the predetermined
    at least one of the predetermined        semantically-expressed inquiry type, indentifying the expert through the numeric routing identifier
    semantically-expressed inquiry           associated with the predetermined semantically-expressed inquiry type requested by the user, for
    type, identifying the expert through     example, a user entering in a query on the “Get Assistance” page. See, e.g., Slide 4, 5.
    the numeric routing identifier
    associated with the predetermined
    semantically-expressed inquiry
    type requested by the user.




      2. The method of claim 1, further      See Claim 1.
 comprising the step of establishing a
 real time communication path between        XpertShare 2.0 teaches establishing a real time communication path between the user and the expert, for
 the user and the expert.                    example, a video or chat session. See, e.g., Slide 8.


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 Claim Language                           XpertShare 2.0




     3. The method of claim 2,            See Claim 1.
 wherein the communication path is at
 least one of an internet connection, a   XpertShare 2.0 teaches the communication path is at least one of an internet connection, a telephony
 telephony connection, a video            connection, a video telephone connection, and voice over internet protocol connection, for example, a
 telephony connection, and a voice over   video connection or a VoIP connection. See, e.g., See, e.g., Slide 8.
 internet protocol connection.
    4. The method of claim 1, further     See Claim 1.
 comprising the step of meritoriously

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 Claim Language                              XpertShare 2.0
 ranking the expert, wherein a most          XpertShare 2.0 teaches meritoriously ranking the expert, wherein a most meritorious available expert is
 meritorious available expert is placed in   place in communication with the user, for example,
 communication with the user.




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 Claim Language                           XpertShare 2.0




     5. The method of claim 4,            See Claim 4.
 wherein the expert's rank includes at
 least one of the level of the expert's   XpertShare 2.0 teaches that the expert’s rank includes at least one of the level of the expert’s
 individualized knowledge, indicators     individualized knowledge, indicators within a predetermined profile of the user, and indicators within a
 within a predetermined profile of the    predetermined profile associated with an organization to which the user is a member, for example, based
 user, and indicators within a            on a user’s prior selections stored in a profile, or routing to the best expert. See, e.g., Slide 3, 4.
 predetermined profile associated with
 an organization to which the user is a
 member.
     6. The method of claim 1,            See Claim 1.
 wherein each layer of inquiry type is
 comprised of the underlying criteria     XpertShare 2.0 teaches each layer of inquiry type is comprised of the underlying criteria groupings
 groupings composed in different          composed in different languages, for example, a seeker can set a preferred language. See, e.g., Slide. 4.

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 Claim Language                            XpertShare 2.0
 languages.




      7. The method of claim 1,            See Claim 1.
 wherein each layer of inquiry type is
 comprised of the underlying criteria      XpertShare 2. 0 teaches each layer of inquiry type is comprised of the underlying groupings composed
 groupings composed in jargon specific     in jargon specific to differing levels of knowledge within a field of interest, for example, underlying
 to differing levels of knowledge within   groupings such as “Area of interest” “systems,” and “Aircraft.” See, e.g., Slide 4.
 a field of interest.
     8. The method of claim 1,             See Claim 1.
 wherein each layer of inquiry type is
 comprised of the underlying criteria      XpertShare 2.0 teaches each layer of inquiry type is comprised of the underlying criteria groupings
 groupings composed in user-centric        composed in user-centric terms, for example, underlying groupings such as “Area of interest”
 terms.                                    “systems,” and “Aircraft.” See, e.g., Slide 4.

    9. The method of claim 1, further      See Claim 1.
 comprising the step of selecting one of
                                           XpertShare 2.0 teaches selecting one of the layers of inquiry type for presentation of the underlying

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 Claim Language                            XpertShare 2.0
 the layers of inquiry type for            criteria grouping to the user based on a predetermined user profile, for example, a user’s login. See,
 presentation of the underlying criteria   e.g., Slide 3.
 grouping to the user based on a
 predetermined user profile.




      10. The method of claim 9, further   See Claim 9.
 comprising the step of receiving from
 the user a response to the presentation   XpertShare 2.0 teaches receiving from the user a response to the presentation of a first member of the
 of a first member of the underlying       underlying criteria grouping, for example, using hierarchical pull-down menus on the “Get Assistance”
 criteria grouping; and                    page. See, e.g., Slide 4.


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 Claim Language                             XpertShare 2.0




                                            XpertShare 2.0: See, e.g., Slide 4 – “Get Assistance” – “Define the problem, challenge or opportunity
                                            using hierarchical pull-down menus supplemented by free text.”

                                            See also Slide 4 – “Get Assistance” – “Request an expert from a prior session, if desired.” Prior expert
                                            data is obtained based on previous sessions.
 the response triggering the presentation   XpertShare 2.0 teaches the response triggering the presentation of further members of the underlying
      of further members of the             criteria grouping in a predetermined order, for example, additional selections. See, e.g., Slide 4.
      underlying criteria grouping in a
      predetermined order.
     11. The method of claim 10,            See Claim 10.
 wherein the predetermined order is one
 of a hierarchal arrangement, an            XperShare 2.0 teaches that the predetermined order is one of a hierarchical arrangement, an independent
 independent arrangement, and               arrangement, and combination hierarchical/independent arrangement, for example, a hierarchical
 combination hierarchal/independent         relationship. See, e.g., Slide 4.

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 Claim Language                     XpertShare 2.0
 arrangement.
     12. A match and route system   To the extent that the preamble is considered limiting, XpertShare 2.0 teaches a match and route system
 operable to locate a live expert   operable to locate a live expert, for example, the XpertShare Match & Route system. See, e.g., Slide 4,
 comprising:                        5.




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 Claim Language                             XpertShare 2.0
     at least first and second multimedia   XpertShare 2.0 teaches at least first and second multimedia computers connected to a communication
 computers connected to a                   network, each multimedia computer including a bidirectional audio or audio/visual device, for example,
 communication network, each                seekers’ and experts’ computers. See, e.g., Slide 5.
 multimedia computer including a
 bidirectional audio or audio/visual
 device;




 a host server connected to the             XpertShare 2.0 teaches a host server connected to the communication network and operable to support
     communication network and              interactive communication between a seeker and an expert, for example, match and route engine. See,
     operable to support interactive        e.g., Slide 5.
     communication between a seeker
     and an expert;
 the host server communicably               XpertShare 2.0 teaches the host server communicably connected with an inquiry-type database and a
     connected with an inquiry-type         skill-set database, for example, a database for inquiry types shown on the “Get Assistance” page, and a
     database and a skill-set database;     database containing information on experts. See, e.g. Slides 4, 6.


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 Claim Language                              XpertShare 2.0




 the inquiry-type database containing at     XpertShare 2.0 teaches that the inquiry-type database contains at least two layers of inquiry types,
      least two layers of inquiry types,     the layers of inquiry types are organized from an underlying plurality of criteria groupings that are
      the layers of inquiry types            humanly understandable descriptors, wherein at least one layer of inquiry types comprises
      organized from an underlying           predetermined semantically-expressed inquiry types, for example, layers of inquiry types as shown on
      plurality of criteria groupings that   the “Get Assistance” page.
      are humanly understandable
      descriptors, wherein at least one
      layer of inquiry types comprises
      predetermined semantically-
      expressed inquiry types;



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 Claim Language                             XpertShare 2.0




 the skill-set database containing at least XpertShare 2.0 teaches that the skill-set database contains at least one entry that associates the expert
     one entry that associates the expert with one of the inquiry types and its underlying criteria grouping, for example, information stored
     with one of the inquiry types and its regarding experts connected through XpertShare 2.0. See, e.g., Slide 5.
     underlying criteria grouping;




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 Claim Language                              XpertShare 2.0




 a unique numeric routing identifier         XpertShare 2.0 teaches a unique numeric routing identifier linked to each skill-set database entry and to
     linked to each skill-set database       the associated inquiry type in the inquiry-type database, for example, . See, e.g., Slide 5.
     entry and to the associated inquiry
     type in the inquiry-type database;
     and
 the host sever, upon the receipt of a       XpertShare 2.0 teaches that the host server, upon the receipt of a user request for assistance with at least
     user request for assistance with at     one of the predetermined semantically-expressed inquiry type, operable to identify the expert associated
     least one of the predetermined          with the predetermined semantically-expressed inquiry type requested by the user by use of the numeric
     semantically-expressed inquiry          routing identifier, for example, a user entering in a query on the “Get Assistance” page. See, e.g., Slide
     type, operable to identify the expert   4, 5.
     associated with the predetermined


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 Claim Language                             XpertShare 2.0
    semantically-expressed inquiry
    type requested by the user by use of
    the numeric routing identifier.




     13. The match and route system of      See Claim 12.
 claim 12, wherein the bidirectional
 audio/visual device is at least one of a   XpertShare 2.0 teaches that the bidirectional audio/visual device is at least one of a webcam, an
 webcam, an electronic whiteboard, or a     electronic whiteboard, or a tablet. See, e.g., Slide 8.
 tablet.




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 Claim Language                          XpertShare 2.0




     14. The match and route system of   See Claim 12.
 claim 12, wherein the communication
 network is the Internet.                XpertShare 2.0 teaches that the communication network is the Internet. See, e.g., Slides 8, 9, 10.


     15. The match and route system of   See Claim 12.
 claim 12, wherein the interactive
 communication is instant messaging,     XpertShare 2.0 teaches that the interactive communication is instant messaging, web conferencing, or a
 web conferencing, or a combination of   combination of instant messaging and web conferencing, for example, a web conference. See, e.g.,
 instant messaging and web               Slide 8.
 conferencing.



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 Claim Language                          XpertShare 2.0




     16. The match and route system of   See Claim 12.
 claim 12, wherein the host server is
 communicably connected with the         XpertShare 2.0 teaches that the host server is communicably connected with the database by the
 databases by the Internet.              Internet. See, e.g., Slide 5.




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 Claim Language                            XpertShare 2.0




     17. The match and route system of     See Claim 12.
 claim 12, wherein the host server is
 communicably connected with the           XpertShare 2.0 teaches that the host server is communicably connected with the databases by a local
 databases by a local area network, or a   area network, or a wide area network. See, e.g., Slide 5.
 wide area network.
                                           This claim element was well-known in the art, and further, XpertShare 2.0 can be combined with any of
                                           the following:

                                           Andrews: See, e.g., col. 5:14-30.

                                           Dhir: See, e.g., col. 5:6-19.

                                           Sassin: See, e.g., col. 3:10-48.

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 Claim Language                          XpertShare 2.0

                                         Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                         Judkins: See, e.g., Fig. 1, col. 6:27-41.

                                         Gabriel: See, e.g., col. 3:20-30.

                                         Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                         Creamer: See, e.g., ¶ 0021.
     18. The match and route system of   See Claim 12.
 claim 12, wherein the host server is
 configured in a multi-server            XpertShare 2.0 teaches that the host server is configured in a multi-server architecture. See, e.g., Slide.
 architecture.                           5.

                                         This element was well-known in the art, and further, XpertShare 2.0 can be combined with any of the
                                         following:

                                         Andrews ’452: See, e.g., Fig. 5, col. 7:53-8:15.

                                         Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                         Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                         HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                         Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-11

 Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on Siemens HiPath Pro Center Standard and Advanced Suites

 Siemens HiPath Pro Center Standard and Advanced Suites 4.0 (“HiPath”) was on sale at least as of 2001 and was described in a
 printed publication at least as of 2001. HiPath is prior art under at least 35 U.S.C. 102(a), (b), (e) and (g).

 The following documents describe the function and operation of HiPath:

      •   Siemens HiPath Pro Center Standard and Advanced Suites 4.0 User Guide (“HiPath UG”)

      •   Siemens HiPath Pro Center Standard and Advanced Suites 4.0 Desktop User Guide (“HiPath DUG”)

      •   Siemens HiPath Pro Center Suite Version 4.0 Overview (“HiPath Overview”)

      •   Siemens HiPath Pro Center Standard and Advanced Suites 4.0 Programming Guide (“HiPath PG”)

 Cisco reserves the right to rely on prior releases of HiPath, as well as other documentation describing its operation.

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, HiPath anticipates and renders obvious, alone, or in combination with
 with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These invalidity contentions
 are not an admission by Defendant that the accused products, including any current or past version of these products, are covered by,
 or infringe these claims, particularly when the claims are properly construed. Any references to documents made herein should be
 understood to identify both the document itself and any products, prototypes, public uses, associated knowledge, and other actual
 embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine HiPath with the other references set forth in this chart, for
 at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a


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 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill
 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that HiPath is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco reserves the
 right to argue that any differences between the reference and the corresponding claim limitations would have been obvious to one of
 ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the knowledge of a person of
 ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to mean that a person of
 ordinary skill in the art would be motivated to combine HiPath with the additional listed prior art. Moreover, when other prior art is
 listed within a claim limitation, it should be understood that a person of ordinary skill in the art would be motivated to combine those
 references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in HiPath. Discovery and investigation is ongoing,
 and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is infringed, but did
 not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these invalidity
 contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so identified.

 The following prior art references are cited in the table below as references that may be combined with HiPath to render one or more
 of the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

      •   U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

      •   U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).

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      •   U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

 Claim Language                                 HiPath
    1. A method of semantic to non-             To the extent that the preamble is considered limiting, HiPath teaches a method of semantic to non-
 semantic routing to locate a live expert       semantic routing to locate a live expert, for example, call center applications that use skills-based
 comprising the steps of:                       routing. See, e.g., HiPath UG, Sect. 1, 2.1, 2.2, 2.3.2, 4.2.

 providing an inquiry-type computer             HiPath teaches providing an inquiry-type computer database populated with a first layer of
     database populated with a first layer of   predetermined semantically-expressed inquiry types organized from an underlying plurality of
     predetermined semantically-expressed       criteria groupings that are humanly understandable descriptors, for example, inquiry types in an IVR
     inquiry types organized from an            system stored in a design database. See, e.g., HiPath UG, Sect. 10.2.3, Sect. 18.3, see also, HiPath
     underlying plurality of criteria           overview, p. X-16; HiPath PG, Sect. 2.3, 2.3.1, 2.3.2, 3.1.
     groupings that are humanly
     understandable descriptors;                Further, this claim element was well-known in the art, and HiPath can be combined with any of the
                                                following:

                                                Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.


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 Claim Language                                 HiPath

                                                Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 4:52-65.

                                                Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40.

                                                Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023.

                                                Sivho: See, e.g., Fig. 6, col. 3:47-39; col. 5:65-6:31.

                                                Hekmatpour: See, e.g., col. 15:34-52.

 associating in the database one or more        HiPath teaches associating in the database one or more other layers of inquiry types with the
     other layers of inquiry types with the     underlying criteria groupings, the one or more other layers of inquiry types having a one-to-one
     underlying criteria groupings, the one     corresponding with the first layer of predetermined semantically-expressed inquiry types, for
     or more other layers of inquiry types      example, inquiry types in a different language. See, e.g., HiPath UG, Sect. 4.3.2, Sect. 18.
     having a one-to-one correspondence
     with the first layer of predetermined      This element was well-known in the art, and HiPath can be combined with any of the following:
     semantically-expressed inquiry types;
                                                Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes   HiPath teaches supplying a skill-set database that includes an entry that associates at least one expert
    an entry that associates at least one       with one of the predetermined semantically-expressed inquiry types and its corresponding layers, the
    expert with one of the predetermined        expert having individualized knowledge of at least one criteria from the underlying criteria grouping


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 Claim Language                              HiPath
    semantically-expressed inquiry types     for the associated inquiry type, for example, skills in agent resumes stored in the administration
    and its corresponding layers, the        database. See, e.g., Sect. 4.2.3, Sect. 4.3.3, Sect. 13.3.3, Sect. 13.6.
    expert having individualized
    knowledge of at least one criteria from
    the underlying criteria grouping for the
    associated inquiry type;
 mapping each skill-set database entry to    HiPath teaches mapping each skill-set database entry to the associated inquiry type in the inquiry
    the associated inquiry type in the       type database through a unique numerical routing identifier, for example, a skill score or a route
    inquiry-type database through a          control group number. See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect.
    unique numerical routing identifier;     9.3.2, Sect. 10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.
    and
                                             This claim element was well-known in the art, and further, HiPath can be combined with any of the
                                             following:

                                                Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                Friedman: See, e.g., ¶¶ 0024.

                                                Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

 upon a user's request for assistance with at   HiPath teaches upon a user’s request for assistance with at least one of the predetermined
    least one of the predetermined              semantically-expressed inquiry type, indentifying the expert through the numeric routing identifier
    semantically-expressed inquiry type,        associated with the predetermined semantically-expressed inquiry type requested by the user, for
    identifying the expert through the          example, through the call matching process in ResumeRouting or Resume Routing Advanced. See,
    numeric routing identifier associated       e.g., HiPath UG, Sect. 4.2.1, Sect. 4.3.1, Sect. 4.4
    with the predetermined semantically-
    expressed inquiry type requested by
    the user.


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 Claim Language                               HiPath
     2. The method of claim 1, further        See Claim 1.
 comprising the step of establishing a real
 time communication path between the user     HiPath teaches establishing a real time communication path between the user and the expert, for
 and the expert.                              example, a telephone call. See, e.g., HiPath DUG, Sect. 4.1

     3. The method of claim 2, wherein        See Claim 1.
 the communication path is at least one of
 an internet connection, a telephony          HiPath teaches the communication path is at least one of an internet connection, a telephony
 connection, a video telephony connection,    connection, a video telephone connection, and voice over internet protocol connection, for example,
 and a voice over internet protocol           a telephone call. See, e.g., HiPath DUG, Sect. 4.1.
 connection.
     4. The method of claim 1, further        See Claim 1.
 comprising the step of meritoriously
 ranking the expert, wherein a most           HiPath teaches meritoriously ranking the expert, wherein a most meritorious available expert is place
 meritorious available expert is placed in    in communication with the user, for example, based on an expert’s skill score. See, e.g., HiPath UG,
 communication with the user.                 Sect. Sect. 4.4, 4.4.2, 4.4.3.


      5. The method of claim 4, wherein       See Claim 4.
 the expert's rank includes at least one of
 the level of the expert's individualized     HiPath teaches that the expert’s rank includes at least one of the level of the expert’s individualized
 knowledge, indicators within a               knowledge, indicators within a predetermined profile of the user, and indicators within a
 predetermined profile of the user, and       predetermined profile associated with an organization to which the user is a member, for example,
 indicators within a predetermined profile    based on an agent’s skill score. See, e.g., HiPath UG, Sect. Sect. 4.4, 4.4.2, 4.4.3. Additionally and
 associated with an organization to which     alternatively, an expert can be assigned to a call based on a user’s preference. See, e.g., HiPath UG,
 the user is a member.                        Sect. 3.5.1.



     6. The method of claim 1, wherein        See Claim 1.
 each layer of inquiry type is comprised of
 the underlying criteria groupings            HiPath teaches each layer of inquiry type is comprised of the underlying criteria groupings composed
 composed in different languages.             in different languages, for example, English and Spanish. See, e.g., HiPath UG, Sect. 4.3.2, Sect. 18.

                                              This element was well-known in the art, and further, HiPath can be combined with any of the

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 Claim Language                               HiPath
                                              following:

                                              Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                              Creamer: See, e.g., ¶¶ 0044, 0045.

                                              Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

     7. The method of claim 1, wherein        See Claim 1.
 each layer of inquiry type is comprised of
 the underlying criteria groupings            The claim element “wherein each layer of inquiry type is comprised of the underlying criteria
 composed in jargon specific to differing     groupings composed in jargon specific to differing levels of knowledge within a field of interest”
 levels of knowledge within a field of        was well-known in the art, and further, HiPath can be combined with any of the following:
 interest.
                                              Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                              Creamer: See, e.g., ¶¶ 0045.

                                              Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                              Hekmatpour: See, e.g., col. 22:65-23:18.

     8. The method of claim 1, wherein        See Claim 1.
 each layer of inquiry type is comprised of
 the underlying criteria groupings            The claim element “wherein each layer of inquiry type is comprised of the underlying criteria
 composed in user-centric terms.              groupings composed in user-centric terms” was well-known in the art, and further, HiPath can be
                                              combined with any of the following:

                                              Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                              Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.


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 Claim Language                                 HiPath

                                                Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further          See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of     HiPath teaches selecting one of the layers of inquiry type for presentation of the underlying criteria
 the underlying criteria grouping to the user   grouping to the user based on a predetermined user profile, for example, based on account
 based on a predetermined user profile.         information. See, e.g., HiPath UG, Sect. 3.1, 3.5.1.

                                                Further, this claim element was well-known in the art, and any of the following can be combined
                                                with HiPath:

                                                Venkatesh: See, e.g., Col. 6:35-51; col. 7:1-13.

                                                Csaszar: See, e.g., col. 8:55-9:9.

                                                Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                KnowledgeShare: See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

                                                XpertShare 2.0: See, e.g., Slide 3.

                                                Sassin: See, e.g., col. 5:55-6:11.

      10. The method of claim 9, further        See Claim 9.
 comprising the step of receiving from the
 user a response to the presentation of a       HiPath teaches receiving from the user a response to the presentation of a first member of the
 first member of the underlying criteria        underlying criteria grouping, for example, collecting a user’s selections in an IVR system. See, e.g.,
 grouping; and                                  HiPath UG, Sect 2.4, pp. 3-19.


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 Claim Language                                HiPath


 the response triggering the presentation of   HiPath teaches the response triggering the presentation of further members of the underlying criteria
     further members of the underlying         grouping in a predetermined order, for example, additional options in an IVR sub-menu. See, e.g.,
     criteria grouping in a predetermined      Sect. 10.2.3.
     order.

     11. The method of claim 10, wherein       See Claim 10.
 the predetermined order is one of a
 hierarchal arrangement, an independent        HiPath teaches that the predetermined order is one of a hierarchical arrangement, an independent
 arrangement, and combination                  arrangement, and combination hierarchical/independent arrangement, for example, hierarchical
 hierarchal/independent arrangement.           options in a submenu. See, e.g., Sect. 10.2.3.
     12. A match and route system              To the extent that the preamble is held to be limiting, HiPath teaches a match and route system
 operable to locate a live expert              operable to locate a live expert, for example, all center applications that use skills-based routing.
 comprising:                                   See, e.g., HiPath UG, Sect. 1, 2.1, 2.2, 2.3.2, 4.2.


     at least first and second multimedia      HiPath teaches at least first and second multimedia computers connected to a communication
 computers connected to a communication        network, each multimedia computer including a bidirectional audio or audio/visual device, for
 network, each multimedia computer             example, agent workstations. See, e.g., HiPath DUG, Sect. 2, 2.1, 4.1, 4.1.1.
 including a bidirectional audio or
 audio/visual device;


 a host server connected to the                HiPath teaches a host server connected to the communication network and operable to support
     communication network and operable        interactive communication between a seeker and an expert, for example, ProCenter servers. See,
     to support interactive communication      e.g., Fig. 3-3, 3-4,
     between a seeker and an expert;




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 Claim Language                                HiPath




 the host server communicably connected        HiPath teaches the host server communicably connected with an inquiry-type database and a skill-set
     with an inquiry-type database and a       database, for example, the ProCenter server is communicably connected to the design and
     skill-set database;                       administration databases. See, e.g., Sect. 2.1.1.


 the inquiry-type database containing at       HiPath teaches that the inquiry-type database contains at least two layers of inquiry types, the layers
      least two layers of inquiry types, the   of inquiry types are organized from an underlying plurality of criteria groupings that are humanly
      layers of inquiry types organized from   understandable descriptors, wherein at least one layer of inquiry types comprises predetermined
      an underlying plurality of criteria      semantically-expressed inquiry types, for example, levels of inquiry types in different languages in
      groupings that are humanly               an IVR system stored in a design database. See, e.g., HiPath UG, Sect. 4.3.2, Sect. 10.2.3, Sect. 18,
      understandable descriptors, wherein at   Sect. 18.3, see also, HiPath overview, p. X-16; HiPath PG, Sect. 2.3, 2.3.1, 2.3.2, 3.1.


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 Claim Language                                HiPath
    least one layer of inquiry types
    comprises predetermined                    Further, this claim element was well-known in the art, and HiPath can be combined with any of the
    semantically-expressed inquiry types;      following:

                                               Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                               Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24; col.
                                               8:55-9:9.

                                               Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                               Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                               Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                               Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                               Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least    HiPath teaches that the skill-set database contains at least one entry that associates the expert with
     one entry that associates the expert      one of the inquiry types and its underlying criteria grouping, for example, skills in agent resumes
     with one of the inquiry types and its     stored in the administration database. See, e.g., Sect. 4.2.3, Sect. 4.3.3, Sect. 13.3.3, Sect. 13.6.
     underlying criteria grouping;
 a unique numeric routing identifier linked    HiPath teaches a unique numeric routing identifier linked to each skill-set database entry and to the
     to each skill-set database entry and to   associated inquiry type in the inquiry-type database, for example, a skill score or a route control
     the associated inquiry type in the        group number. See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2,
     inquiry-type database; and                Sect. 10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

                                               This claim element was well-known in the art, and further, HiPath can be combined with any of the
                                               following:

                                               Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                               Friedman: See, e.g., ¶¶ 0024.


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 Claim Language                                 HiPath
                                                Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

 the host sever, upon the receipt of a user     HiPath teaches that the host server, upon the receipt of a user request for assistance with at least one
     request for assistance with at least one   of the predetermined semantically-expressed inquiry type, operable to identify the expert associated
     of the predetermined semantically-         with the predetermined semantically-expressed inquiry type requested by the user by use of the
     expressed inquiry type, operable to        numeric routing identifier, for example, through the call matching process in ResumeRouting or
     identify the expert associated with the    Resume Routing Advanced. See, e.g., HiPath UG, Sect. 4.2.1, Sect. 4.3.1, Sect. 4.4
     predetermined semantically-expressed
     inquiry type requested by the user by
     use of the numeric routing identifier.
     13. The match and route system of          See Claim 12.
 claim 12, wherein the bidirectional
 audio/visual device is at least one of a       The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 webcam, an electronic whiteboard, or a         electronic whiteboard, or a tablet” was well-known in the art, and further, HiPath can be combined
 tablet.                                        with any of the following:

                                                Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                XpertShare 2.0: See, e.g., Slide 8.

                                                KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                Friedman: See, e.g., ¶¶ 0047, 0048.

     14. The match and route system of          See Claim 12.
 claim 12, wherein the communication
 network is the Internet.                       HiPath teaches that the communication network is the Internet, for example, using the Internet
                                                integration feature. See, e.g., HiPath UG, Sect. 2.3.8.


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 Claim Language                               HiPath

     15. The match and route system of        See Claim 12.
 claim 12, wherein the interactive
 communication is instant messaging, web      HiPath teaches that the interactive communication is instant messaging, web conferencing, or a
 conferencing, or a combination of instant    combination of instant messaging and web conferencing, for example, a chat session. See, e.g.,
 messaging and web conferencing.              HiPath UG, Sect. 2.3.8.


     16. The match and route system of        See Claim 12.
 claim 12, wherein the host server is
 communicably connected with the              HiPath teaches that the host server is communicably connected with the database by the Internet.
 databases by the Internet.                   See, e.g., Sect. 8.5.

     17. The match and route system of        See Claim 12.
 claim 12, wherein the host server is
 communicably connected with the              HiPath teaches that the host server is communicably connected with the databases by a local area
 databases by a local area network, or a      network, or a wide area network, for example, a local area network. See, e.g., HiPath IG, Sect. 2.3,
 wide area network.                           see also HiPath UG, Sect. 8.4.


     18. The match and route system of        See Claim 12.
 claim 12, wherein the host server is
 configured in a multi-server architecture.   HiPath teaches that the host server is configured in a multi-server architecture, for example, in a
                                              networked call center configuration. See, e.g., Fig. 3-8.




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 Claim Language               HiPath




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                                                               Appendix B-12

    Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on Genesys Suite 7, Including Genesys Universal Routing 7
                                                 and Genesys Expert Contact 7

 Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7, were products sold at least as early as January
 24, 2004, and were described in printed publications at least as early as January 24, 2004.

 Genesys Suite 7 is described in the following documents:

                  •   Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

                  •   Genesys Universal Routing 7 Reference Manual (“UR7 RM”)

                  •   Genesys Expert Contact 7 User’s Guide (“EC7 UG”)

                  •   Genesys Universal Routing 7 Strategy Samples (“UR7 Strategy”)

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, Genesys Suite 7 anticipates and renders obvious, alone, or in
 combination with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These
 invalidity contentions are not an admission by Defendant that the accused products, including any current or past version of these
 products, are covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents
 made herein should be understood to identify both the document itself and any products, prototypes, public uses, associated
 knowledge, and other actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine Genesys Suite 7 the other references set forth in this chart,
 for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses similar
 problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same field of art;
 a person of skill in the art would have combined the prior art elements according to known methods in order to yield predictable
 results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable result; a
 person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in order to
 achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded a
 predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of skill


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 in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.

 To the extent that Genesys Suite 7 is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco
 reserves the right to argue that any differences between the reference and the corresponding claim limitations would have been
 obvious to one of ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the
 knowledge of a person of ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to
 mean that a person of ordinary skill in the art would be motivated to combine Genesys Suite 7 with the additional listed prior art.
 Moreover, when other prior art is listed within a claim limitation, it should be understood that a person of ordinary skill in the art
 would be motivated to combine those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in Genesys Suite 7. Discovery and investigation is
 ongoing, and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is
 infringed, but did not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these
 invalidity contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so
 identified.

 The following prior art references are cited in the table below as references that may be combined with Genesys Suite 7 to render one
 or more of the claims obvious:

 •        U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

 •        U.S. Patent No. 5,970,124 to Csaszar et al. (“Csaszar”)

 •        U.S. Patent No. 7,376,622 to Padalino et al. (“Padalino”)

 •        U.S. Patent No. 7,082,392 to Butler et al. (“Butler”)

 •        U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”).


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 •        U.S. Patent No. 7,155,430 to Sivho et al., (“Sivho”)

      •   U.S. Patent No. 7,783,475 to Neuberger et al. (“Neuberger”)

      •   U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •   U.S. Patent No. 6,453,038 to McFarlane et al. (“McFarlane”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)

      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   U.S. Patent Application No. 2002/0013846 to Friedman et al. (“Friedman”)

      •   U.S. Patent Application No. 6,510,431 to Eichstaedt et al. (“Eichstaedt”)

      •   U.S. Patent No. 5,822,745 to Hekmatpour et al. (“Hekmatpour”)

      •   XpertShare 2.0 Product, as described in XpertShare 2.0 Product Tour (“XpertShare 2.0”)

      •   KnowledgeShare Product, as described in KnowledgeShare User Manual (“KnowledgeShare”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

 Claim Language                                   Genesys Suite 7
     1. A method of semantic to non-semantic      To the extent that the preamble is considered limiting, Genesys Suite 7 teaches a method of
 routing to locate a live expert comprising the   semantic to non-semantic routing to locate a live expert, for example, using skills-based routing
                                                  in a call center application. See, e.g., UR7 GSG, pp. 17-18; EC7 UG, pp. 11-16, 25-27.

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 Claim Language                                    Genesys Suite 7
 steps of:


 providing an inquiry-type computer database       Genesys Suite 7 teaches providing an inquiry-type computer database populated with a first
     populated with a first layer of               layer of predetermined semantically-expressed inquiry types organized from an underlying
     predetermined semantically-expressed          plurality of criteria groupings that are humanly understandable descriptors, for example, user
     inquiry types organized from an underlying    options in a routing strategy stored in a configuration database. See, e.g., UR7 GSG, pp. 14-15;
     plurality of criteria groupings that are      UR7 RM, p. 23; UR 7 Strategy, pp. 48-54.
     humanly understandable descriptors;
                                                   Further, this claim element was well-known in the art, and Genesys Suite 7 could be combined
                                                   with any of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 associating in the database one or more other     Genesys Suite 7 teaches associating in the database one or more other layers of inquiry types
     layers of inquiry types with the underlying   with the underlying criteria groupings, the one or more other layers of inquiry types having a
     criteria groupings, the one or more other     one-to-one correspondence with the first layer of predetermined semantically-expressed inquiry
     layers of inquiry types having a one-to-one   types, for example, user options in a routing strategy in different languages. See, e.g., UR7
     correspondence with the first layer of        GSG, pp. 14-15, 40; UR 7 Strategy, pp. 48-54.
     predetermined semantically-expressed
     inquiry types;                                Further, this claim element was well-known in the art, and Genesys Suite 7 could be combined
                                                   with any of the following:

                                                   Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.



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 Claim Language                                    Genesys Suite 7
                                                   Csaszar: See, e.g., col. 6:28-51; col. 7:13-24; col. 8:55-9:9.

                                                   Padalino: See, e.g., col. 7:18-40; col. 7:61-8:20; col. 17:49-57.

                                                   Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                   Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                   Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

 supplying a skill-set database that includes an   Genesys Suite 7 teaches supplying a skill-set database that includes an entry that associates at
    entry that associates at least one expert      least one expert with one of the predetermined semantically-expressed inquiry types and its
    with one of the predetermined                  corresponding layers, the expert having individualized knowledge of at least one criteria from
    semantically-expressed inquiry types and       the underlying criteria grouping for the associated inquiry type, for example, agent skills stored
    its corresponding layers, the expert having    in a Workforce database. See, e.g., UR7 RM, pp. 111-112; UR7 GSG, p. 18.
    individualized knowledge of at least one
    criteria from the underlying criteria
    grouping for the associated inquiry type;
 mapping each skill-set database entry to the      Genesys Suite 7 teaches mapping each skill-set database entry to the associated inquiry type in
    associated inquiry type in the inquiry-type    the inquiry type database through a unique numerical routing identifier, for example, target
    database through a unique numerical            specification DN. See, e.g., UR 7 GSG, p. 38.
    routing identifier; and
                                                   This claim element was well-known in the art, and further, Genesys Suite 7 can be combined
                                                   with any of the following:

                                                   Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

                                                   Friedman: See, e.g., ¶¶ 0024.

                                                   Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                   Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                   Gabriel: See, e.g., Fig. 2, col. 5:20-29.


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 Claim Language                                       Genesys Suite 7
                                                      Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                      HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                      10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 upon a user's request for assistance with at least   Genesys Suite 7 teaches upon a user’s request for assistance with at least one of the
    one of the predetermined semantically-            predetermined semantically-expressed inquiry type, indentifying the expert through the numeric
    expressed inquiry type, identifying the           routing identifier associated with the predetermined semantically-expressed inquiry type
    expert through the numeric routing                requested by the user, for example, routing to an agent based on a customer’s query. See, e.g.,
    identifier associated with the                    UR 7 GSG, p. 38.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          Genesys Suite 7 teaches establishing a real time communicate path between the user and the
 expert.                                              expert, for example, a telephone call. See, e.g., UR 7 GSG, pp. 14, 38.

     3. The method of claim 2, wherein the            See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a       Genesys Suite 7 teaches the communication path is at least one of an internet connection, a
 video telephony connection, and a voice over         telephony connection, a video telephone connection, and voice over internet protocol
 internet protocol connection.                        connection, for example, a telephony connection or a voice over internet protocol connection.
                                                      See, e.g., UR 7 GSG, pp. 14, 38.

     4. The method of claim 1, further                See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious               Genesys Suite 7 teaches meritoriously ranking the expert, wherein a most meritorious available
 available expert is placed in communication          expert is place in communication with the user, for example, based on agent skill level. See,
 with the user.                                       e.g., UR 7 RM, pp. 88, 102-106; UR 7 GSG, p. 18.

      5. The method of claim 4, wherein the           See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,            Genesys Suite 7 teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the     individualized knowledge, indicators within a predetermined profile of the user, and indicators
                                                      within a predetermined profile associated with an organization to which the user is a member,

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 Claim Language                                     Genesys Suite 7
 user, and indicators within a predetermined        for example, based on an expert’s skill level, or based on customer profile information. See,
 profile associated with an organization to         e.g., UR 7 RM, pp. 88, 102-106; UR 7 GSG, pp. 17, 18.
 which the user is a member.
     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          Genesys Suite 7 teaches each layer of inquiry type is comprised of the underlying criteria
 different languages.                               groupings composed in different languages, for example, user options in a routing strategy in
                                                    different languages. See, e.g., UR7 GSG, pp. 14-15, 40.

                                                    Further, this claim element was well-known in the art, and Genesys Suite 7 can be combined
                                                    with any of the following:

                                                    Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0044, 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.
     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying groupings composed in
 jargon specific to differing levels of knowledge   jargon specific to differing levels of knowledge within a field of interest” was well-known in the
 within a field of interest.                        art, and Genesys Suite 7 can be combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.
     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          The element “each layer of inquiry type is comprised of the underlying criteria groupings

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 Claim Language                                     Genesys Suite 7
 user-centric terms.                                composed in user-centric terms” was well-known in the art, and Genesys Suite 7 can be
                                                    combined with any of the following:

                                                    Venkatesh: See, e.g., Figs. 3A, 3B, col. 4:25-6:18.

                                                    Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                    Creamer: See, e.g., ¶¶ 0045, 0048, 0049.

                                                    Sivho: See, e.g., Fig. 2, col. 3:47-4:7; col. 4:20-54.

                                                    Hekmatpour: See, e.g., col. 22:65-23:18.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     Genesys Suite 7 teaches selecting one of the layers of inquiry type for presentation of the
 underlying criteria grouping to the user based     underlying criteria grouping to the user based on a predetermined user profile, for example,
 on a predetermined user profile.                   based on customer profile information. See, e.g., UR 7 GSG, p. 17.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   The claim element “receiving from the user a response to the presentation of a first member of
 of the underlying criteria grouping; and           the underlying criteria grouping” was well-known in the art, and further, Genesys Suite 7 can be
                                                    combined with any of the following:

                                                    McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                    KnowledgeShare: See, e.g., pp. 20, 22-23, Sect. 5, 5.3.

                                                    XpertShare 2.0: See, e.g., Slide 4.

                                                    Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                    Lauffer: See, e.g., col. 5:36-65, claims 1 and 10.



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 Claim Language                                   Genesys Suite 7
                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

 the response triggering the presentation of      The claim element “the response triggering the presentation of further members of the
     further members of the underlying criteria   underlying criteria grouping in a predetermined order” was well-known in the art, and further,
     grouping in a predetermined order.           Genesys Suite 7 can be combined with any of the following:

                                                  McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

                                                  KnowledgeShare: See, e.g., p. 20, Sect. 5.

                                                  XpertShare 2.0: See, e.g., Slide 4.

                                                  Sassin: See, e.g., col. 4:1-15; col. 7:41-67.

                                                  Lauffer: See, e.g., col. 7:40-67.

                                                  Judkins: See, e.g., col. 11:47-56.

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., ¶¶ 0038, 0039, 0040.

     11. The method of claim 10, wherein the      See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and     The claim element “wherein the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent               independent arrangement, and combination hierarchical/independent arrangement” is well-
 arrangement.                                     known in the art, and further Genesys Suite 7 can be combined with any of the following:

                                                  Venkatesh: See, e.g., Fig. 4, col. 6:35-67.

                                                  Creamer: See, e.g., Fig. 3, ¶¶ 0038, 0039, 0040.


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 Claim Language                                    Genesys Suite 7

                                                   Sivho: See, e.g., Figs. 2, 3, col. 4:41-5:6.

                                                   Sassin: See, e.g., col. 4:1-15.

                                                   Lauffer: See, e.g., col. 5:36-65.

                                                   McFarlane: See, e.g., col. 8:45-9:10, col. 9:12-40.

     12. A match and route system operable to      To the extent that the preamble is considered limiting, Genesys Suite 7 teaches a match and
 locate a live expert comprising:                  route system operable to locate a live expert, for example, using skills-based routing in a call
                                                   center application. See, e.g., UR7 GSG, pp. 17-18; EC7 UG, pp. 11-16, 25-27.

     at least first and second multimedia          Genesys Suite 7 teaches at least first and second multimedia computers connected to a
 computers connected to a communication            communication network, each multimedia computer including a bidirectional audio or
 network, each multimedia computer including       audio/visual device, for example, agent desktops. See, e.g., UR 7 GSG, p. 38.
 a bidirectional audio or audio/visual device;
 a host server connected to the communication      Genesys Suite 7 teaches a host server connected to the communication network and operable to
     network and operable to support interactive   support interactive communication between a seeker and an expert, for example, the Universal
     communication between a seeker and an         Routing Server. See, e.g., UR 7 GSG, pp. 40-41.
     expert;
 the host server communicably connected with       Genesys Suite 7 teaches the host server communicably connected with an inquiry-type database
     an inquiry-type database and a skill-set      and a skill-set database, for example, a workforce database and a configuration database. See,
     database;                                     e.g., UR 7 GSG, p. 42.




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 Claim Language                                    Genesys Suite 7




 the inquiry-type database containing at least     Genesys Suite 7 teaches that the inquiry-type database contains at least two layers of inquiry
      two layers of inquiry types, the layers of   types, the layers of inquiry types are organized from an underlying plurality of criteria groupings

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 Claim Language                                      Genesys Suite 7
    inquiry types organized from an underlying       that are humanly understandable descriptors, wherein at least one layer of inquiry types
    plurality of criteria groupings that are         comprises predetermined semantically-expressed inquiry types, for example, user options in a
    humanly understandable descriptors,              routing strategy in different languages. See, e.g., UR7 GSG, pp. 14-15, 40; UR 7 Strategy, pp.
    wherein at least one layer of inquiry types      48-54.
    comprises predetermined semantically-
    expressed inquiry types;                         Further, this claim element was well-known in the art, and Genesys Suite 7 can be combined
                                                     with any of the following:

                                                     Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-51; col. 4:3-24.

                                                     Csaszar: See, e.g., Fig. 1, col. 1:51-61; col. 3:22-36; col. 4:52-65; col. 6:28-51; col. 7:12-24;
                                                     col. 8:55-9:9.

                                                     Padalino: See, e.g., Fig. 1, col. 6:9-26; col. 7:18-40, col. 7:61-8:20; col. 17:49-57.

                                                     Butler: See, e.g., Fig. 1, col. 2:34-58; col. 4:58-5:15; col. 5:31-52; col. 8:31-61.

                                                     Creamer: See, e.g., Fig. 1, ¶¶ 0009, 0011, 0021, 0023, 0031, 0033, 0044, 0045.

                                                     Sivho: See, e.g., Figs. 2, 6, col. 3:47-4:7; col. 4:20-54; col. 6:46-54.

                                                     Hekmatpour: See, e.g., col. 15:34-52.

 the skill-set database containing at least one      Genesys Suite 7 teaches that the skill-set database contains at least one entry that associates the
     entry that associates the expert with one of    expert with one of the inquiry types and its underlying criteria grouping, for example, agent
     the inquiry types and its underlying criteria   skills stored in a Workforce database. See, e.g., UR7 RM, pp. 111-112; UR7 GSG, p. 18.
     grouping;
 a unique numeric routing identifier linked to       Genesys Suite 7 teaches a unique numeric routing identifier linked to each skill-set database
     each skill-set database entry and to the        entry and to the associated inquiry type in the inquiry-type database, for example, target
     associated inquiry type in the inquiry-type     specification DN. See, e.g., UR 7 GSG, p. 38.
     database; and
                                                     This claim element was well-known in the art, and further, Genesys Suite 7 can be combined
                                                     with any of the following:

                                                     Venkatesh: See, e.g., Figs. 7, col. 4:4-6:18; col. 7:25-32.

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 Claim Language                                      Genesys Suite 7

                                                     Friedman: See, e.g., ¶¶ 0024.

                                                     Sassin: See, e.g., col. 6:39-67; col. 10:29-50.

                                                     Dhir: See, e.g., col. 8:1-15; col. 11:62-12:43.

                                                     Gabriel: See, e.g., Fig. 2, col. 5:20-29.

                                                     Judkins: See, e.g., Figs. 21, 25, 31, col. 18:5-18; col. 18:49-58; col. 19:24-29.

                                                     HiPath: See, e.g., HiPath UG, Sect. 2.3.2, Sect. 4.2.2, Sect. 4.2.3, Sect. 9.3.1, Sect. 9.3.2, Sect.
                                                     10.4.2.1, pp. X-35, Table 7-3, pp. 14-16, 14-17.

 the host sever, upon the receipt of a user          Genesys Suite 7 teaches that the host server, upon the receipt of a user request for assistance
     request for assistance with at least one of     with at least one of the predetermined semantically-expressed inquiry type, operable to identify
     the predetermined semantically-expressed        the expert associated with the predetermined semantically-expressed inquiry type requested by
     inquiry type, operable to identify the expert   the user by use of the numeric routing identifier, for example, routing to an agent based on a
     associated with the predetermined               customer’s query. See, e.g., UR 7 GSG, p. 38.
     semantically-expressed inquiry type
     requested by the user by use of the numeric
     routing identifier.
     13. The match and route system of claim         See Claim 12.
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an              The claim element “wherein the bidirectional audio/visual device is at least one of a webcam, an
 electronic whiteboard, or a tablet.                 electronic whiteboard, or a tablet” was well-known in the art, and further, Genesys Suite 7 can
                                                     be combined with any of the following:

                                                     Lauffer: See, e.g., col. 2:11-24; col. 5:66-6:7; col. 9:5-14.

                                                     XpertShare 2.0: See, e.g., Slide 8.

                                                     KnowledgeShare: See, e.g., pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.

                                                     Friedman: See, e.g., ¶¶ 0047, 0048.

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 Claim Language                                  Genesys Suite 7

     14. The match and route system of claim     See Claim 12.
 12, wherein the communication network is the
 Internet.                                       Genesys Suite 7 teaches that the communication network is the Internet, for example, an
                                                 Ethernet connection. See, e.g., UR 7 GSG, Fig. 6, p. 47.

     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       Genesys Suite 7 teaches that the interactive communication is instant messaging, web
 combination of instant messaging and web        conferencing, or a combination of instant messaging and web conferencing, for example, a chat
 conferencing.                                   session. See, e.g., UR 7 GSG, p. 74; UR 7 RM, p. 101.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   The claim element “wherein the host server is communicably connected with the database by the
                                                 Internet” was well-known in the art, and further, Genesys Suite 7 can be combined with any of
                                                 the following:

                                                 Neuberger: See, e.g., Fig. 1, col. 3:12-23.

                                                 Andrews: See, e.g., col. 5:14-30.

                                                 Dhir: See, e.g., col. 5:6-19.

                                                 Sassin: See, e.g., Fig. 1, col. 2:66-67; col. 7:1-13; col. 9:20-40.

                                                 Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                 Judkins: See, e.g., Fig. 1, col. 5:27-48.

                                                 Gabriel: See, e.g., col. 3:20-30.

                                                 Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                 Creamer: See, e.g., ¶ 0021.


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 Claim Language                                   Genesys Suite 7

     17. The match and route system of claim      See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area     Genesys Suite 7 teaches that the host server is communicably connected with the databases by a
 network, or a wide area network.                 local area network, or a wide area network. See, e.g., UR 7 GSG, p. 39.
     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       Genesys Suite 7 teaches that the host server is configured in a multi-server architecture, for
                                                  example, an enterprise routing architecture. See, e.g., UR 7 GSG, p. 39.




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                                                              Appendix B-13

     Prior Art Invalidity Chart For U.S. Patent No. 7,499,903 Based on KnowledgeShare Product and “KnowledgeShare User
                                                             Manual”

 The product KnowledgeShare was sold or offered for sale by at least 2002. The document “KnowledgeShare User Manual” was
 published by XpertUniverse and/or its predecessors-in-interest. It is prior art under at least 35 U.S.C. 102(a) and (b).

 Based on the claim construction positions XpertUniverse appears to be asserting and the application of those claim constructions to
 Cisco’s products in XpertUniverse’s infringement contentions, KnowledgeShare anticipates and renders obvious, alone, or in
 combination with with other prior art identified by Cisco’s Invalidity Contentions, the asserted claims as described below. These
 invalidity contentions are not an admission by Defendant that the accused products, including any current or past version of these
 products, are covered by, or infringe these claims, particularly when the claims are properly construed. Any references to documents
 made herein should be understood to identify both the document itself and any products, prototypes, public uses, associated
 knowledge, and other actual embodiments of the devices and method described therein.

 A person of ordinary skill in the art would have been motivated to combine KnowledgeShare with the other references set forth in this
 chart, for at least the following reasons: a person of skill in the art would be motivated to combine the prior art because it addresses
 similar problems in a similar way; a person of skill in the art would be motivated to combine the prior art because it is in the same
 field of art; a person of skill in the art would have combined the prior art elements according to known methods in order to yield
 predictable results; a person of skill in the art would have known to substitute one prior art element for another to obtain a predictable
 result; a person of skill in the art would have known to apply the same improvement technique in the same way to the base devices in
 order to achieve predictable results; a person of skill in the art would have known that applying a known technique would have yielded
 a predictable result and an improved system, method, or product; there was a recognized need or problem in the art and a person of
 skill in the art would have pursued the known potential solution with a reasonable expectation of success; a person of skill in the art, in
 view of design incentives or other market forces, could have implemented a known variation that would have been predictable to one
 of ordinary skill in the art; and the prior art contains some teaching, suggestion, or motivation that would have led one of ordinary skill
 in the art to modify and/or combine the prior art references. The above-identified examples are given merely to illustrate various
 motivations to combine and are not intended to provide an exhaustive list of every possible motivation which may apply. Nor is such a
 list required by under any applicable law or rules.



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 To the extent that KnowledgeShare is deemed not to disclose, explicitly or inherently, any limitation of an asserted claim, Cisco
 reserves the right to argue that any differences between the reference and the corresponding claim limitations would have been
 obvious to one of ordinary skill in the art even if it has not been specifically noted that the reference is to be combined with the
 knowledge of a person of ordinary skill in the art. Any reference to other prior art within a claim limitation should be understood to
 mean that a person of ordinary skill in the art would be motivated to combine KnowledgeShare with the additional listed prior art.
 Moreover, when other prior art is listed within a claim limitation, it should be understood that a person of ordinary skill in the art
 would be motivated to combine those references with the other invalidity charts for this patent in the same manner.

 To the extent a citation is further explained by reference to a Figure in a prior art reference, such a Figure shall be considered to be
 included in the citation. Cisco incorporates, in full, all prior art references cited in KnowledgeShare. Discovery and investigation is
 ongoing, and Cisco reserves the right to supplement these contentions. To the extent XpertUniverse asserts that any claim is
 infringed, but did not explicitly identify that claim in its Disclosure of Asserted Claims, Cisco hereby reserves the right to amend these
 invalidity contentions to consider the newly added claims and/or argue that XpertUniverse is precluded from adding any claims not so
 identified.

 The following prior art references are cited in the table below as references that may be combined with KnowledgeShare to render one
 or more of the claims obvious:

      •   U.S. Patent No. 7,120,647 to Venkatesh et al. (“Venkatesh”)

      •   U.S. Patent Application No. 2004/0122941 to Creamer et al. (“Creamer”)

      •   U.S. Patent No. 5,546,452 to Andrews et al. (“Andrews”)

      •   U.S. Patent No. 6,456,619 to Sassin et al. (“Sassin”)

      •   U.S. Patent No. 6,223,165 to Lauffer (“Lauffer”)

      •   U.S. Patent No. 6,587,556 to Judkins et al., (“Judkins”)

      •   U.S. Patent No. 6,560,330 to Gabriel (“Gabriel”)


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      •   U.S. Patent No. 6,553,113 to Dhir et al. (“Dhir”)

      •   Siemens HiPath ProCenter Standard and Advanced Suites (“HiPath”) as described in Siemens HiPath Pro Center Standard and
          Advanced Suites 4.0 User Guide (“HiPath UG”)

      •   Genesys Suite 7, including Genesys Universal Routing 7 and Genesys Expert Contact 7 (“Genesys Suite 7”) as described in
          Genesys Universal Routing 7 Getting Started Guide (“UR7 GSG”)

 Claim Language                                   KnowledgeShare
     1. A method of semantic to non-semantic      To the extent that the preamble is held to be limiting, KnowledgeShare teaches a method of
 routing to locate a live expert comprising the   semantic to non-semantic routing to locate a live expert, for example, the KnowledgeShare
 steps of:                                        platform. See, e.g., pp. 10, 19, 26-27, 31, 56, Sect. 3.2, 5, 6.1.1, 7, 10.1.

 providing an inquiry-type computer database      KnowledgeShare teaches providing an inquiry-type computer database populated with a first
     populated with a first layer of              layer of predetermined semantically-expressed inquiry types organized from an underlying
     predetermined semantically-expressed         plurality of criteria groupings that are humanly understandable descriptors, for example, inquiry
     inquiry types organized from an underlying   types displayed on a Get Assistance page. See, e.g., pp. 19, 20, Sect. 5, 5.1.
     plurality of criteria groupings that are
     humanly understandable descriptors;




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 Claim Language                                    KnowledgeShare




 associating in the database one or more other     KnowledgeShare teaches associating in the database one or more other layers of inquiry types
     layers of inquiry types with the underlying   with the underlying criteria groupings, the one or more other layers of inquiry types having a
     criteria groupings, the one or more other     one-to-one correspondence with the first layer of predetermined semantically-expressed inquiry
     layers of inquiry types having a one-to-one   types, for example, additional layers of inquiry types on a Get Assistance Page. See, e.g., p. 20,
     correspondence with the first layer of        Sect. 5.1.
     predetermined semantically-expressed
     inquiry types;

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 Claim Language                                    KnowledgeShare




 supplying a skill-set database that includes an   KnowledgeShare teaches supplying a skill-set database that includes an entry that associates at
    entry that associates at least one expert      least one expert with one of the predetermined semantically-expressed inquiry types and its
    with one of the predetermined                  corresponding layers, the expert having individualized knowledge of at least one criteria from
    semantically-expressed inquiry types and       the underlying criteria grouping for the associated inquiry type, for example, using the “View
    its corresponding layers, the expert having    Skillset” function. See, e.g., pp. 25-26, 56, Sect. 6.1.1, 10.1.
    individualized knowledge of at least one

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 Claim Language                                       KnowledgeShare
    criteria from the underlying criteria
    grouping for the associated inquiry type;




 mapping each skill-set database entry to the         KnowledgeShare teaches mapping each skill-set database entry to the associated inquiry type in
    associated inquiry type in the inquiry-type       the inquiry type database through a unique numerical routing identifier, for example, mapping a
    database through a unique numerical               skillset to inquiry types. See, e.g., pp. 26-27, 56, Sect. 6.1.1, 10.1.
    routing identifier; and

 upon a user's request for assistance with at least   KnowledgeShare teaches upon a user’s request for assistance with at least one of the
    one of the predetermined semantically-            predetermined semantically-expressed inquiry type, indentifying the expert through the numeric
    expressed inquiry type, identifying the           routing identifier associated with the predetermined semantically-expressed inquiry type
    expert through the numeric routing                requested by the user, for example, a user enters in a request on the Get Assistance page, and
    identifier associated with the                    uses KnowledgeShare’s match and route function. See, e.g., p. 10, 20, Sect. 3.2, 5.1.
    predetermined semantically-expressed
    inquiry type requested by the user.
    2. The method of claim 1, further                 See Claim 1.
 comprising the step of establishing a real time
 communication path between the user and the          KnowledgeShare teaches establishing a real time communicate path between the user and the
 expert.                                              expert, for example, a VoIP connection or a video connection. See, e.g., pp. 10, 11, 18, 32-34,


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 Claim Language                                     KnowledgeShare
                                                    35-37, 39-47, 64-68; Sect. 3.2, 3.3, 4.2, 7.1, 7.2, 8, Appx. A.

     3. The method of claim 2, wherein the          See Claim 1.
 communication path is at least one of an
 internet connection, a telephony connection, a     KnowledgeShare teaches the communication path is at least one of an internet connection, a
 video telephony connection, and a voice over       telephony connection, a video telephone connection, and voice over internet protocol
 internet protocol connection.                      connection, for example, a VoIP connection or a video connection. See, e.g., pp. 10, 11, 18, 32-
                                                    34, 35-37, 39-47, 64-68; Sect. 3.2, 3.3, 4.2, 7.1, 7.2, 8, Appx. A.

     4. The method of claim 1, further              See Claim 1.
 comprising the step of meritoriously ranking
 the expert, wherein a most meritorious             KnowledgeShare teaches meritoriously ranking the expert, wherein a most meritorious available
 available expert is placed in communication        expert is place in communication with the user, for example, for example, using expert skill
 with the user.                                     levels. See, e.g., p. 10, 31, 56, Sect. 3.2, 7, 10.1.

      5. The method of claim 4, wherein the         See Claim 4.
 expert's rank includes at least one of the level
 of the expert's individualized knowledge,          KnowledgeShare teaches that the expert’s rank includes at least one of the level of the expert’s
 indicators within a predetermined profile of the   individualized knowledge, indicators within a predetermined profile of the user, and indicators
 user, and indicators within a predetermined        within a predetermined profile associated with an organization to which the user is a member,
 profile associated with an organization to         for example, based on the expert’s skill level, or according to information in a user profile. See,
 which the user is a member.                        e.g., p. 10, 22, 31, 56, Sect. 3.2, 5.3, 7, 10.1.

     6. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          KnowledgeShare teaches each layer of inquiry type is comprised of the underlying criteria
 different languages.                               groupings composed in different languages, for example, by a user’s preferred language. See,
                                                    e.g., p. 20, 54, Sect. 5.

     7. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          KnowledgeShare teaches each layer of inquiry type is comprised of the underlying groupings
 jargon specific to differing levels of knowledge   composed in jargon specific to differing levels of knowledge within a field of interest, for

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 Claim Language                                     KnowledgeShare
 within a field of interest.                        example, by allowing a user to select a “level” of knowledge. See, e.g., p. 9, 20, Sect. 3.2, 5.

     8. The method of claim 1, wherein each         See Claim 1.
 layer of inquiry type is comprised of the
 underlying criteria groupings composed in          KnowledgeShare teaches each layer of inquiry type is comprised of the underlying criteria
 user-centric terms.                                groupings composed in user-centric terms, for example, using “intuitive” terms to the user. See,
                                                    e.g., p. 9, Sect. 3.2.

     9. The method of claim 1, further              See Claim 1.
 comprising the step of selecting one of the
 layers of inquiry type for presentation of the     KnowledgeShare teaches selecting one of the layers of inquiry type for presentation of the
 underlying criteria grouping to the user based     underlying criteria grouping to the user based on a predetermined user profile, for example, a
 on a predetermined user profile.                   user’s role or profile information. See, e.g., pp. 18, 22-23, 53-54, Sect. 4.3, 10.1, 5.3.

      10. The method of claim 9, further            See Claim 9.
 comprising the step of receiving from the user
 a response to the presentation of a first member   KnowledgeShare teaches receiving from the user a response to the presentation of a first
 of the underlying criteria grouping; and           member of the underlying criteria grouping, for example, using a Get Assistance Page. See, e.g.,
                                                    p. 20, 22-23, Sect. 5, 5.3.


 the response triggering the presentation of        KnowledgeShare teaches the response triggering the presentation of further members of the
     further members of the underlying criteria     underlying criteria grouping in a predetermined order, for example, additional selections in a
     grouping in a predetermined order.             drop-down menu, or a list of preferred experts. See, e.g., p. 20, Sect. 5.

     11. The method of claim 10, wherein the        See Claim 10.
 predetermined order is one of a hierarchal
 arrangement, an independent arrangement, and       KnowledgeShare teaches that the predetermined order is one of a hierarchical arrangement, an
 combination hierarchal/independent                 independent arrangement, and combination hierarchical/independent arrangement, for example,
 arrangement.                                       a hierarchical drop-down menu. See, e.g., p. 20, Sect. 5.


      12. A match and route system operable to      To the extent that the preamble is considered limiting:

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 Claim Language                                      KnowledgeShare
 locate a live expert comprising:
                                                     KnowledgeShare teaches a match and route system operable to locate a live expert, for example,
                                                     the KnowledgeShare platform. See, e.g., pp. 10, 19, 26-27, 31, 56, Sect. 3.2, 5, 6.1.1, 7, 10.1.

     at least first and second multimedia            KnowledgeShare teaches at least first and second multimedia computers connected to a
 computers connected to a communication              communication network, each multimedia computer including a bidirectional audio or
 network, each multimedia computer including         audio/visual device, for example, computers of seekers and experts. See, e.g., pp. 15-18, 64-68,
 a bidirectional audio or audio/visual device;       Sect. 4.2, 13.1.

 a host server connected to the communication        KnowledgeShare teaches a host server connected to the communication network and operable to
     network and operable to support interactive     support interactive communication between a seeker and an expert, for example, a match and
     communication between a seeker and an           route engine. See, e.g., pp. 9-10, Sect. 3.2.
     expert;
 the host server communicably connected with         KnowledgeShare teaches the host server communicably connected with an inquiry-type database
     an inquiry-type database and a skill-set        and a skill-set database, for example, match and route engine accessing inquiry types and expert
     database;                                       skill sets. See, e.g., pp. 9-10, 19, 20, 26-27, 56, Sect. 3.2, 5, 6.1.1, 10.1.

 the inquiry-type database containing at least       KnowledgeShare teaches that the inquiry-type database contains at least two layers of inquiry
      two layers of inquiry types, the layers of     types, the layers of inquiry types are organized from an underlying plurality of criteria groupings
      inquiry types organized from an underlying     that are humanly understandable descriptors, wherein at least one layer of inquiry types
      plurality of criteria groupings that are       comprises predetermined semantically-expressed inquiry types, for example, additional layers of
      humanly understandable descriptors,            inquiry types on a Get Assistance Page. See, e.g., p. 20, Sect. 5.1.
      wherein at least one layer of inquiry types
      comprises predetermined semantically-
      expressed inquiry types;

 the skill-set database containing at least one      KnowledgeShare teaches that the skill-set database contains at least one entry that associates the
     entry that associates the expert with one of    expert with one of the inquiry types and its underlying criteria grouping, for example, using the
     the inquiry types and its underlying criteria   “View Skillset” function. See, e.g., pp. 25-26, 56, Sect. 6.1.1, 10.1.
     grouping;




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 Claim Language                                      KnowledgeShare




 a unique numeric routing identifier linked to       KnowledgeShare teaches a unique numeric routing identifier linked to each skill-set database
     each skill-set database entry and to the        entry and to the associated inquiry type in the inquiry-type database, for example, mapping a
     associated inquiry type in the inquiry-type     skillset to inquiry types. See, e.g., pp. 26-27, 56, Sect. 6.1.1, 10.1.
     database; and


 the host sever, upon the receipt of a user          KnowledgeShare teaches that the host server, upon the receipt of a user request for assistance
     request for assistance with at least one of     with at least one of the predetermined semantically-expressed inquiry type, operable to identify
     the predetermined semantically-expressed        the expert associated with the predetermined semantically-expressed inquiry type requested by
     inquiry type, operable to identify the expert   the user by use of the numeric routing identifier, for example, a user enters in a request on the
     associated with the predetermined               Get Assistance page, and uses KnowledgeShare’s match and route function. See, e.g., p. 10, 20,
     semantically-expressed inquiry type             Sect. 3.2, 5.1.
     requested by the user by use of the numeric
     routing identifier.
      13. The match and route system of claim        See Claim 12.


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 Claim Language                                  KnowledgeShare
 12, wherein the bidirectional audio/visual
 device is at least one of a webcam, an          KnowledgeShare teaches that the bidirectional audio/visual device is at least one of a webcam,
 electronic whiteboard, or a tablet.             an electronic whiteboard, or a tablet, for example, an electronic whiteboard or video. See, e.g.,
                                                 pp. 10, 18, 32-37, 39-47, Sect. 3.2, 4.2, 8.


     14. The match and route system of claim     See Claim 12.
 12, wherein the communication network is the
 Internet.                                       KnowledgeShare teaches that the communication network is the Internet. See, e.g., pp. 10, 17,
                                                 64-68, Sect. 3.2, 4.2, 13.1.


     15. The match and route system of claim     See Claim 12.
 12, wherein the interactive communication is
 instant messaging, web conferencing, or a       KnowledgeShare teaches that the interactive communication is instant messaging, web
 combination of instant messaging and web        conferencing, or a combination of instant messaging and web conferencing, for example, a chat
 conferencing.                                   or video chat session. See, e.g., pp. 10, 18, 32-37, 39-47, 62, Sect. 3.2, 4.2, 8, 12.

     16. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by the Internet.   KnowledgeShare teaches that the host server is communicably connected with the database by
                                                 the Internet. See, e.g., p. 11, Sect. 3.3.

     17. The match and route system of claim     See Claim 12.
 12, wherein the host server is communicably
 connected with the databases by a local area    KnowledgeShare teaches that the host server is communicably connected with the databases by
 network, or a wide area network.                a local area network, or a wide area network. See, e.g., pp. 9-10, Sect. 3.2.

                                                 This element was well-known in the art, and further, KnowledgeShare can be combined with
                                                 any of the following:

                                                 Andrews: See, e.g., col. 5:14-30.



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 Claim Language                                   KnowledgeShare
                                                  Dhir: See, e.g., col. 5:6-19.

                                                  Sassin: See, e.g., col. 3:10-48.

                                                  Lauffer: See, e.g., col. 1:50-51; col. 5:66-6:7.

                                                  Judkins: See, e.g., Fig. 1, col. 6:27-41.

                                                  Gabriel: See, e.g., col. 3:20-30.

                                                  Venkatesh: See, e.g., Figs. 1, 2, col. 2:56-3:25.

                                                  Creamer: See, e.g., ¶ 0021.

     18. The match and route system of claim      See Claim 12.
 12, wherein the host server is configured in a
 multi-server architecture.                       KnowledgeShare teaches that the host server is configured in a multi-server architecture. See,
                                                  e.g., pp. 9-10, Sect. 3.2.

                                                  This element was well-known in the art, and further KnowledgeShare can be combined with any
                                                  of the following:

                                                  Andrews ’452: See, e.g., Fig. 5, col. 7:53-8:15.

                                                  Judkins: See, e.g., Fig. 1, col. 5:27-42.

                                                  Venkatesh: See, e.g., Figs. 3A, 3B, col. 3:26-4:2.

                                                  HiPath: See, e.g., HiPath UG, Fig. 3-8.

                                                  Genesys Suite 7: See, e.g., UR 7 GSG, p. 39.




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

XPERTUNIVERSE, INC.,                      )
                                          )
       Plaintiff and Counterdefendant,    )
                                          ) C.A. No. 09-157 (RGA)
              v.                          )
                                          ) REDACTED - PUBLIC VERSION
CISCO SYSTEMS, INC.,                      )
                                          )
       Defendant and Counterplaintiff.    )

       DEFENDANT AND COUNTERPLAINTIFF CISCO SYSTEMS, INC.’S
    OPENING BRIEF IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
 JUDGMENT NO. 2 FOR INVALIDITY OF U.S. PATENT NOS. 7,366,709 AND 7,499,903
                BASED ON 35 U.S.C. § 102(B) (COUNTS I & II)


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I.     NATURE AND STAGE OF THE PROCEEDINGS

       On March 10, 2009, Plaintiff XpertUniverse, Inc. (“XU”) sued Cisco Systems, Inc.

(“Cisco”) for, among other things, alleged patent infringement.       See D.I. 2.   XU’s Fourth

Amended Complaint, the operative complaint, asserts claims against Cisco for infringement of

U.S. Patent No. 7,366,709 (“‘709 Patent”) and U.S. Patent No. 7,499,903 (“‘903 Patent”). See

D.I. 82. Cisco has moved for summary judgment of the invalidity of those patents under 35

U.S.C. § 102(b). This is Cisco’s opening brief in support of that motion.

II.    SUMMARY OF ARGUMENT

       The asserted patents are invalid under 35 U.S.C. § 102(b).1 More than a year before

filing its patent applications,

                                                    .   Notwithstanding XU’s litigation-inspired

denials, there is overwhelming evidence that

including, but not limited to, the following:

           




           




           




1
  As Cisco has alleged and as its expert has opined, there are numerous other bases for invalidity
of the asserted XU patents. However, for purposes of this motion, Cisco focuses only on
invalidity based on § 102(b).

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            



            



                                                                                             See

                Ex. 15.2



                                               Indeed, XU entered into a fully executed license

agreement for XpertSHARE with Allstate Insurance Company more than a year before filing the

patent applications.3




                           .

III.   STATEMENT OF RELEVANT FACTS

       A.       XpertUniverse Was Founded As Homework911, Selling Niche-Market
                Educational Software

       XU, initially called Homework911.com, was founded in 1999. D.I. 82 (FAC) ¶ 24.

Homework911.com developed an educational software platform named homework911 that

enabled students to locate and work with suitable tutors on the internet.          Ex. 16 at 5.


2
  Unless otherwise noted, all exhibits cited herein are attached to the Omnibus Declaration of
Brett M. Schuman in Support of Cisco’s Motions for Partial Summary Judgment Nos. 1-11 and
Motions to Exclude Expert Reports of Walter Bratic and Illah Nourbakhsh (“Omnibus Decl.”),
filed concurrently herewith.
3
  XU did not to produce this license agreement in response to Cisco’s discovery requests. Cisco
obtained it only in response to a third-party subpoena to Allstate. Declaration of Ryan L. Scher
in Support of Cisco’s Opening Brief in Support of its Motion for Partial Summary Judgment For
Invalidity of U.S. Patent Nos. 7,366,709 and 7,499,903 (“Scher Declaration”) ¶ 2.


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Homework911.com subsequently changed its name to LearningIDEAS, and changed the product

name to KnowledgeSHARE.            Id.   The company name was subsequently changed to

XpertUniverse (“XU”), and the product name was changed to XpertSHARE.                    Id. at 6.

Notwithstanding all the name changes, according to XU, homework911, KnowledgeSHARE and

XpertSHARE are essentially the same product.4 Id.

       According to XU, XpertSHARE is a software platform that allows seekers to locate and

collaborate with experts who can address the seeker’s inquiry. Ex. 4 at 8. XpertSHARE consists

of largely off-the-shelf, third-party software – a Genesys routing engine (for routing a “seeker’s”

inquiry to an “expert”), IBM’s Sametime product (for collaboration between the user and the

expert), and a configurable user interface (called “Get Assistance”) created by Exigen. Scher

Decl. Ex. 1 at 19:7-18. To this combination, XU allegedly added                                   .

Scher Decl. Ex. 2 at 8:16-10:5, 13:22-14:4.

                                                    . See Scher Decl. Ex. 5 at 60:6-9.

       B.      XU’s Extensive – And Unsuccessful – Attempts To Sell XpertSHARE

                                                                              .5

                                                                                             . See

Scher Decl. Exs. 1 at 68:4-10; 6 at 71:25-110:22. XU gave numerous live demonstrations of

XpertSHARE to potential customers. See Scher Decl. Exs. 1 at 85:20-86:2; 6 at 71:25-110:22.

4
  For convenience, Cisco will refer to the company as XU and the product as “XpertSHARE”
throughout this motion.
5
   Around the same time, an established call center company named Genesys
Telecommunications Laboratories, Inc. began marketing and selling a product called Genesys
Expert Contact. According to Genesys,




                                                                    Ex. 17 at 5.


                                                3
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                         . See Scher Decl. Ex. 6 at 112:14-23, 165:5-12, 183:2-9.

         In December 2002, Allstate Insurance Company paid XU                      for a license to its

technology for a “pilot.” See Exs. 19-21; Scher Decl. Ex. 6 at 179:17-181:8. After the pilot,

Allstate decided not to continue with XU. Other documents reflect

                                                           , for example:

             




                                                 Ex. 22.

             




                                                                     Ex. 23; see also Ex. 24.

             




                         Ex. 25.6

             



6
    XU did not produce the          it refers to here.


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                                               Ex. 26.

            


                                               See Exs. 27-30.

       XU created user manuals for KnowledgeSHARE and XpertSHARE in support of these

efforts. See Exs. 4-5. The KnowledgeSHARE User Manual has a 2002 copyright date. See Ex.

5. XU also created documents summarizing its

                                                                                   . See, e.g.,

Exs. 31-37.

       XU’s efforts to sell XpertSHARE ultimately failed – the market rejected the product.

Scher Decl. Ex. 1 at 21:20-22:14. According to XU,                               . Scher Decl.

Ex. 6 at 9:10-12.

       C.        XU’s Efforts To Protect Its Purported Intellectual Property

                 1.




                                                                    . See Scher Decl. Ex. 6 at

244:3-245:4.

                                                                      .7 See Ex. 9 at 3.



                . See generally, Scher Decl. Exs. 2-4.



7
 These recordings were produced by ipCapital and have since been transcribed. See Scher Decl.
Exs. 2-4.


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t                                                       . See Scher Decl. Ex. 2 at 23:8-24:3; see

generally, Ex. 9 at 158




                                                                         .     See Ex. 9 at 3, 9-15

                                                               , 16-20

                                                    .

                     Ex. 10.

               2.     XU’s Patent Prosecution Strategy

         On April 2, 2004, XU filed a provisional patent application which comprised a

PowerPoint presentation describing XpertSHARE. Ex. 3. On March 31, 2005, XU filed a utility

application claiming priority to this provisional application, which issued as the ‘709 Patent,

entitled “System and Method For Managing Questions and Answers Using Subject Lists Styles.”

See Ex. 1, D.I. 82 (Count I). XU filed another patent application on January 24, 2005, which

issued as the ‘903 Patent – the other patent XU is asserting against Cisco. See D.I. 82 (Count II);

Ex. 2.

         D.

                                                                             See Scher Decl. Exs. 6 at

50:2-13; 7 at 32:9-21. XU continued prosecuting its patents, however. The ‘709 Patent issued

April 29, 2008, and the ‘903 Patent issued March 3, 2009. See Exs. 1, 2.

         E.    XU Sues Cisco in 2009

         In March 2009, XU sued Cisco claiming, among other things, infringement of the ‘709

and ‘903 Patents by two Cisco products: Expert Advisor and TelePresence Expert on Demand.

See D.I. 2 (Complaint). In October 2011, XU filed the operative complaint, its Fourth Amended


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 Complaint, purporting to accuse additional Cisco products of infringing the ‘709 and ‘903

 Patents. See D.I. 82 (FAC).

        As set forth in Cisco’s Motion for Terminating Sanctions (D.I. 293),



                                                                                                      .

 Even without those documents, however, the evidence of invalidity of the ‘709 and ‘903 Patents

 is compelling.

 IV.    THE ‘709 AND ‘903 PATENTS ARE INVALID

        A.        Relevant Legal Principles

        Section 102(b) of the Patent Act contains a number of “statutory bars” to patentability.

 See 35 U.S.C. §102(b). These statutory bars preclude patentability if certain activities occur

 more than one year before the filing of a patent application, i.e., the so-called “critical date.”

        The “on-sale” bar. This statutory bar “applies when two conditions are satisfied before

 the critical date. First, the product [embodying the patented invention] must be the subject of a

 commercial offer for sale . . . . Second, the invention must be ready for patenting.” Pfaff v.

 Wells Electronics, Inc., 525 U.S. 55, 67 (1999).         A single sale or offer to sell a product

 embodying the invention prior to the critical date is enough to bar patentability. Paragon

 Podiatry Lab. Inc. v. KLM Labs. Inc., 984 F.2d 1182, 1188 (Fed. Cir. 1993). For method claims,

 an offer for sale occurs when a patentee conveys that which would enable a buyer to practice

 each step of the method, e.g., software embodying the claimed method. See Minton v. Nat’l

 Assoc. of Secur. Dealers, 336 F.3d 1373, 1378 (Fed. Cir. 2003) (holding that providing a

 computer program embodying the claimed method constituted an offer to sell).

        The “public use” bar. For invalidity based on public use, the record must demonstrate

 that an embodiment of the patented invention was in public use as defined by the statute before


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 the critical date. Adenta GmbH v. Orthoarm, Inc., 501 F.3d 1364, 1371 (Fed. Cir. 2007). “A

 public use includes any public use of the claimed invention by a person other than the inventor

 who is under no limitation, restriction or obligation of secrecy or confidentiality” prior to the

 critical date. Clock Spring, L.P. v. Wrapmaster, Inc., 560 F.3d 1317, 1325 (Fed. Cir. 2009).

         Summary judgment under 35 U.S.C. § 102(b) is appropriate if the record reveals no

 genuine dispute of material fact. Golden Bridge Tech., Inc. v. Nokia, Inc., 527 F.3d 1318, 1321

 (Fed. Cir. 2008); Clock Spring, 560 F.3d at 1326. Patent invalidity must be proved by clear and

 convincing evidence. Microsoft Corp. v. i4i Ltd. P’ship., 131 S. Ct. 2238, 2242 (2011).

         B.       XpertSHARE Embodied The Claims Of The ‘709 Patent Before The Patent’s
                  Critical Date

         The ‘709 Patent covers a method and system to “categorize a user’s inquiry and to define

 the scope of the assistance sought by creating a subject style list.” Ex. 1, col. 1, ll. 40-42

 (emphasis added).     The patent claims a method for creating a catalog of “inquiry types,”

 organized from “underlying criteria,” to be presented to a user in a configured “interactive

 problem definition page.” The earliest possible priority date for the ‘709 Patent is April 2, 20048

 and, thus, the critical date for the ‘709 Patent is April 2, 2003. See id. It is beyond genuine

 dispute that the invention claimed in the ‘709 Patent was embodied in XpertSHARE prior to the

 critical date.

         First, the provisional application that ultimately issued as the ‘709 Patent consists of a

 PowerPoint presentation describing the product itself, XpertSHARE. See Ex. 3. The ‘709 Patent

 claims priority to this XpertSHARE document.           In effect, XU told the U.S.P.T.O. that

 XpertSHARE discloses the invention claimed in the ‘709 Patent. There is perhaps no clearer

 8
   For purposes of this motion, Cisco determined the critical date based on the filing of the
 provisional application from which the ‘709 Patent issued. By doing so, Cisco does not concede
 that the ‘709 Patent is entitled to claim priority to the ‘097 provisional application (Ex. 3) and
 reserves the right to contest that in this litigation.


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 evidence of the fact that XpertSHARE embodies the invention claimed in the ‘709 Patent than

 what XU told the U.S.P.T.O.

        Second,




                                                                         Scher Decl. Ex. 3 at

 42:18-47:5.

                                                                . See id. at 47:1-4 (



               ); Scher Decl. Ex. 4 at 33:2-34:10 (

                  ).



                   See Ex. 9 at 17-20                         . XpertSHARE was XU’s only

 product.



                                                                                           . Ex.

 38.

        Third, at their depositions, the named inventors (former XU employees Nevin and

 Mason)                                                               . Scher Decl. Exs. 8 at

 118:14-18 (

                                                                                ); 9 at 185:20-

 24, 186:18-23.9 XU’s former vice-president of operations, David Rutberg, also admitted that



 9
                                                      . Scher Decl. Ex. 9 at 11:10-12:5.

                                                9
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 XpertSHARE embodied the technology described in the asserted patents. Scher Decl. Ex. 1 at

 21:15-19.

        Fourth, a comparison of the patent specification with



                                                                      Figure 2 of the ‘709 Patent

 depicts the interactive problem definition page (referred to in the patent as the “Get Assistance”

 page) that is the result of the claimed method:




 Ex. 1 at Fig. 2.




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 Ex. 5 at 20 (         ).




 Ex. 39.

           Fifth,



               .



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                                                . Ex. 40.

                                           See Ex. 41.

        C.


        The ‘903 Patent claims a method for matching and routing a seeker to a live expert who

 has the skills to address the seeker’s inquiry. The method comprises creating a multi-layered

 database populated with inquiry types (a so-called “inquiry type database”), a database populated

 with live expert profiles (a so-called “skill-set database”), and a methodology for mapping

 between entries in the skill-set database and the inquiry-type database using a unique numerical

 routing identifier. See Ex. 2, col. 1, ll. 50-66. The critical date for the ‘903 Patent is January 24,

 2004. See 35 U.S.C. § 102(b). As evidenced below, t

                                                            .




                                       . Scher Decl. Exs. 2 at 22:23-24:3; 3 at 15:4-20:3

                         . I                                                                     Scher

 Decl. Ex. 2 at 22:23-24:3.



                                                                                                   Ex.

 38.



                                                . Ex. 9 at 9-15                        .



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                                                              . Scher Decl. Exs. 8 at 118:14-18; 9 at

 185:20-24, 186:18-23. So did Mr. Rutberg, XU’s former vice president. Scher Decl. Ex. 1 at

 21:15-19.

          Third,

                   :

               




               



               




          D.


          Again, the critical date for the ‘709 Patent is April 2, 2003; the critical date for the ‘903

 Patent is January 24, 2004.



                                                                                             :


 10
      As noted above and in Cisco’s Motion for Terminating Sanctions (D.I. 292, 293),




                       . See D.I. 293 at 8.




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                 XU piloted XpertSHARE at Allstate Insurance in December 2002. Ex. 42 at 14;
                  see also Ex. 43 at 1

                                                        Scher Decl. Ex. 6 at 179:17-181:8.

                                                                 Id. at 185:6-186:9; see also Scher Decl.
                  Ex. 7 at 68:3-69:10.

              
                                                                                    . Ex. 23; see also Ex.
                  24.11

                                                                                            . See Exs. 44
                  at 4; 45 (launched third quarter of 2002).

                 I


                                                                                               Ex. 45.

              
                          See, e.g., Exs. 22, 25, 26.

                                      . See, e.g., Exs. 44, 159, 160.

 I

                                                          .




                                            . See, e.g., Exs. 27-30.



                                            See, e.g., Exs. 161-164.




 11
      As detailed in Cisco’s Motion for Terminating Sanctions (D.I. 292, 293),

                                                              . See D.I. 293 at § IV.A.1.

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                  . See Clock Spring, 560 F.3d at 1325 (citing Adenta GmbH v. OrthoArm, Inc.,

 501 F.3d 1364, 1371 (Fed. Cir. 2007)).

 V.        CONCLUSION

           For the foregoing reasons, Cisco requests that the Court grant partial summary judgment

 and rule that the ‘709 and ‘903 Patents are invalid pursuant to 35 U.S.C. § 102(b).



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             EXHIBIT E
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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   XPERTUNIVERSE, INC.,

              Plaintiff,

       V.                                        Civil Action No. 09-157-RGA

   CISCO SYSTEMS, INC.,

              Defendant.


                                 MEMORANDUM OPINION

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   March[, 2013
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~~j                   TRICT JUDGE:

       Presently before the Court are Defendant's Motions for Partial Summary Judgment (D.I.

297,300,303,306,311,315,318,320,327, and 328) and associated briefing (D.I. 495,521,

537, 570) and declarations. 1 The Court had the benefit of oral argument on February 27, 2013.

(D.I. 611). Over the course ofbriefing these Motions, the issues for partial summary judgment

appear to have shifted from the accused product framework outlined in the Motions to the

following issues: 1) XU's trade secret misappropriation claim; 2) XU's breach of contract claims;

3) XU's rescission and fraud-based claims; 4) XU's claims for patent infringement; 5) XU's

claims relating to the phrase "expert on demand"; and 6) the preemptive or supersessive effect of

XU's California Unfair Trade Secrets Act claim. 2 For the reasons set forth herein, partial

summary judgment is GRANTED on Issue 1; GRANTED IN PART on Issue 2; GRANTED

IN PART on Issue 3; GRANTED IN PART on Issue 4; GRANTED on Issue 5; and

GRANTED IN PART on Issue 6.




       1
         Citations herein to Defendant's Schuman Declaration (Schuman Decl.) refer to the
numbered exhibits found consecutively at D.I. 498-505, and citations to Defendant's Scher
Declaration (Scher Decl.) refer to the numbered exhibits found at D.I. 538. Citations herein to
Plaintiffs McCraw Declaration (McCraw Decl.) refer to the numbered exhibits found
consecutively at D.I. 523 and 527-532.
       2
          For example, Cisco's Motion at D.I. 328 is directed toward all of XU's claims targeting
Cisco's Telepresence Expert On Demand product, whereas its brief is directed toward XU's
attempt to claim intellectual property in XU's "expert on demand" phrase and notes that XU has
dropped several of its other claims against Telepresence Expert On Demand. (D.I. 495 at 36
n.24). The Court asks Cisco to submit a proposed order deciding its motions consistently with
the rulings herein, and asks XU to advise the Court and Cisco which claims they plan to proceed
upon.

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                                               DISCUSSION

       A. Legal Standard

       "The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter oflaw."

FED.R.Crv.P. 56(a). The moving party has the initial burden of proving the absence of a

genuinely disputed material fact relative to the claims in question. Celotex Corp. v. Catrett, 4 77

U.S. 317, 330 (1986). Material facts are those "that could affect the outcome" of the proceeding,

and "a dispute about a material fact is 'genuine' if the evidence is sufficient to permit a

reasonable jury to return a verdict for the nonmoving party." Lamont v. New Jersey, 637 F.3d

177, 181 (3d Cir. 2011) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

The burden on the moving party may be discharged by pointing out to the district court that there

is an absence of evidence supporting the nonmoving party's case. Celotex, 477 U.S. at 323.

       The burden then shifts to the non-movant to demonstrate the existence of a genuine issue

for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986);

Williams v. Borough ofWest Chester, Pa., 891 F.2d 458,460-61 (3d Cir. 1989). A non-moving

party asserting that a fact is genuinely disputed must support such an assertion by: "(A) citing to

particular parts of materials in the record, including depositions, documents, electronically stored

information, affidavits or declarations, stipulations ... , admissions, interrogatory answers, or other

materials; or (B) showing that the materials cited [by the opposing party] do not establish the

absence ... of a genuine dispute .... " FED.R.Crv.P. 56(c)(l).

       When determining whether a genuine issue of material fact exists, the court must view

the evidence in the light most favorable to the nonmoving party and draw all reasonable


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inferences in that party's favor. Scott v. Harris, 550 U.S. 372, 380 (2007); Wishldn v. Potter, 476

F.3d 180, 184 (3d Cir. 2007). A dispute is "genuine" only ifthe evidence is such that a

reasonable jury could return a verdict for the non-moving party. Anderson, 477 U.S. at 247-49;

see Matsushita Elec. Indus. Co., 475 U.S. at 586-87 ("Where the record taken as a whole could

not lead a rational trier of fact to find for the non-moving party, there is no 'genuine issue for

trial."'). If the non-moving party fails to make a sufficient showing on an essential element of its

case with respect to which it has the burden of proof, the moving party is entitled to judgment as

a matter oflaw. See Celotex Corp., 477 U.S. at 322.

       B. Decision

       The parties agree that XU's state law claims are governed by California law. (Schuman

Decl. Ex. 6, §10.0; Ex. 7, §12.5; Ex. 8, §9.5). In light ofthe looming trial date and to expedite a

decision on these issues, the Court presumes familiarity with the background of the case and the

parties' arguments, and will only recite them here as necessary to explain the Court's rulings.

        1) XU's trade secret misappropriation claim (Count V)

       Upon consideration of Cisco's Motions for partial summary judgment (D.I. 303, 306,

311, 315, 320, 327), all of which relate in part to Count V of the Fourth Amended Complaint

(D.I. 82) ("Misappropriation of Trade Secrets Under the California Uniform Trade Secrets Act"),

the Court will grant the Motions to the extent they relate to Count V. Although a host of grounds




                                                                                                         II
are raised by Cisco in support of its motions, the basis for decision is that the identification ofthe

trade secrets is insufficient to create a triable factual issue, and even if any trade secrets were

sufficiently described, XU has failed to create a genuine issue of material fact to show Cisco
                                                                                                         ~

misappropriated any sufficiently described trade secret.                                                 t
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       California law sets forth the definition of a trade secret:

       "Trade secret" means information, including a formula, pattern, compilation,
       program, device, method, technique, or process, that:

       (1) Derives independent economic value, actual or potential, from not being
       generally known to the public or to other persons who can obtain economic value
       from its disclosure or use; and

       (2) Is the subject of efforts that are reasonable under the circumstances to maintain
       its secrecy.

Cal. Civ. Code§ 3426.1(d). 3 It further sets forth the definition oftrade secret misappropriation:


       3

       The definition of "trade secret" contains a reasonable departure from the
       Restatement of Torts (First) definition which required that a trade secret be
       "continuously used in one's business." The broader definition in the Act extends
       protection to a plaintiff who has not yet had an opportunity or acquired the means
       to put a trade secret to use. The definition includes information that has
       commercial value from a negative viewpoint, for example the results oflengthy
       and expensive research which proves that a certain process will not work could be
       of great value to a competitor.

       Cf Telex Corp. v. IBM Corp., 510 F.2d 894 (CAlO, 1975) per curiam, cert.
       dismissed 423 U.S. 802 (1975) (liability imposed for developmental cost savings
       with respect to product not marketed). Because a trade secret need not be
       exclusive to confer a competitive advantage, different independent developers can
       acquire rights in the same trade secret.

       The words "method, technique" are intended to include the concept of"know-how."

       The language "not being generally known to the public or to other persons" does
       not require that information be generally known to the public for trade secret
       rights to be lost. If the principal person who can obtain economic benefit from
       information is aware of it, there is no trade secret. A method of casting metal, for
       example, may be unknown to the general public but readily known within the
       foundry industry.

       The phrase "and not being readily ascertainable by proper means by" was included
       in this section as originally proposed by the National Conference of
       Commissioners on Uniform State Laws. It was removed from the section in favor
       of the phrase "the public or to." This change was made because the original

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      "Misappropriation" means:

      (1) Acquisition of a trade secret of another by a person who knows or has reason
      to know that the trade secret was acquired by improper means; or

       (2) Disclosure or use of a trade secret of another without express or implied
       consent by a person who:

       (A) Used improper means to acquire knowledge of the trade secret; or

      (B) At the time of disclosure or use, knew or had reason to know that his or her
      knowledge ofthe trade secret was:

       (i) Derived from or through a person who had utilized improper means to acquire it;

       (ii) Acquired under circumstances giving rise to a duty to maintain its secrecy or


       language was viewed as ambiguous in the definition of a trade secret. However,
       the assertion that a matter is readily ascertainable by proper means remains
       available as a defense to a claim of misappropriation.

       Information is readily ascertainable if it is available in trade journals, reference
       books, or published materials. Often, the nature of a product lends itself to being
       readily copied as soon as it is available on the market. On the other hand, if
       reverse engineering is lengthy and expensive, a person who discovers the trade
       secret through reverse engineering can have a trade secret in the information
       obtained from reverse engineering.

       Finally, reasonable efforts to maintain secrecy have been held to include advising
       employees of the existence of a trade secret, limiting access to a trade secret on
       "need to know basis," and controlling plant access. On the other hand, public
       disclosure of information through display, trade journal publications, advertising,
       or other carelessness can preclude protection.

       The efforts required to maintain secrecy are those "reasonable under the
       circumstances." The courts do not require that extreme and unduly expensive
       procedures be taken to protect trade secrets against flagrant industrial espionage.
       See E.!. duPont de Nemours & Co., Inc. v. Christopher, supra. It follows that
       reasonable use of a trade secret including controlled disclosure to employees and
       licensees is consistent with the requirement of relative secrecy.

Cal. Civ. Code§ 3426.1 Legislative History, [84 S.J. 13883].


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       limit its use; or

       (iii) Derived from or through a person who owed a duty to the person seeking
       relief to maintain its secrecy or limit its use; or

       (C) Before a material change of his or her position, knew or had reason to know
       that it was a trade secret and that knowledge of it had been acquired by accident or
       mistake.

Cal. Civ. Code§ 3426.l(b). "Improper means" includes "theft, bribery, misrepresentation,

breach or inducement of a breach of a duty to maintain secrecy, or espionage through electronic

or other means. Reverse engineering or independent derivation alone shall not be considered

improper means." !d. § 3426.1 (a).

       (a) A complainant may recover damages for the actual loss caused by
       misappropriation. A complainant also may recover for the unjust enrichment
       caused by misappropriation that is not taken into account in computing damages
       for actual loss.

       (b) If neither damages nor unjust enrichment caused by misappropriation are
       provable, the court may order payment of a reasonable royalty for no longer than
       the period of time the use could have been prohibited.

       (c) If willful and malicious misappropriation exists, the court may award
       exemplary damages in an amount not exceeding twice any award made under
       subdivision (a) or (b).

!d. § 3426.3.

       "It is critical to any CUTSA cause of action ... that the information claimed to have been

misappropriated be clearly identified. Accordingly, a California trade secrets plaintiff must ...

identify the trade secret with reasonable particularity." Silvaco Data Sys. v. Intel Corp., 184 Cal.

App. 4th 210,221 (Cal. Ct. App. 2010) (citing Code Civ. Proc. § 2019.210). Although the

parties disagree about the gloss put on this by California cases, the cases cited by the parties in

their briefs are generally consistent. The cases provide that a trade secret consists of information,

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not ideas; a trade secret is actual, not theoretical; a trade secret is specific, not general. 4 For

example, a description of a software methodology implementing "features, functions, and

characteristics of the design and operation" characterizes the "underlying design" and not the

information therein or related source code, and fails to describe a trade secret with sufficient

particularity. Silvaco Data Sys., 184 Cal. App. 4th at 221-22. Descriptions must clearly refer to
                                                                                                        I
tangible trade secret material, not an overall system that potentially qualifies for trade secret       t
                                                                                                        '€
protection. !max Corp. v. Cinema Techs., Inc., 152 F.3d 1161, 1167 (9th Cir. 1998). Narratives

that explain the nature of the information in very general terms are insufficient. Agency
                                                                                                        I
Solutions.com, LLCv. Trizetto Group, 819 F.Supp.2d 1001, 1012 (E.D. Cal. 2011). Cases from

other jurisdictions are also helpful: descriptions that "effectively assert[] that all information or

about [the plaintiffs] software is a trade secret," by describing the "methods and processes

underlying and the inter-relationships among various features making up [the plaintiffs]

software package," are too broad. IDX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581, 583 (7th Cir.

2002).

         Against this backdrop, XU has strained to describe its supposed trade secrets in a manner

that makes a plausible case that it had trade secrets. Cisco complained about XU's earlier

identifications. (Schuman Decl. Ex. 70; D.I. 183). The Court ordered that XU supplement its

identifications. (Schuman Decl. Ex. 205). XU did so on or about June 4, 2012, in its

Supplemental Response to Interrogatory No. 12. (Schuman Decl. Ex. 71). Cisco objected that


         4
          XU's citation of Mattei, Inc. v. MGA Entertainment, Inc., 782 F.Supp.2d 911 (C.D. Ca.
2011 ), for the proposition that a "concept" can constitute a trade secret does not dilute the
requirement that the concept be described with sufficient particularity. (D.I. 521 at 21 n.16); see
Mattei, 782 F.Supp.2d at 960 (addressing a trade secret "concept" including the group name, doll
names, "doll designs, fashions, themes, and marketing slogans").

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these responses were insufficient. (D.I. 215). XU stated that it could not improve upon these

responses. (Schuman Decl. Ex. 12). The Court indicated that it had doubts about the sufficiency

of the responses, but did not think a discovery dispute was the appropriate place to resolve those

doubts. (Schuman Decl. Ex. 12).

       The Court resolves those doubts here. All but two of XU's 46 asserted trade secrets

mirror the methodology implementing certain features discarded in Silvaco, and the narratives

discarded in Agency Solutions. com. None of XU's descriptions designate any information or

identify any source code; they are very general recitations of processes implementing equally

general features, structures, design considerations, and platforms. 4 The fact that Dr. Forys found

public examples he thought fell within XU's broad descriptions does not make those descriptions

sufficiently particular. The only descriptions with sufficient specificity are numbers 18 and 33,

which refer to specific architecture diagrams and system and logic diagrams that contain the

information underlying the narratives. 5

       Trade secret numbers 18 and 33 clear Cisco's first hurdle, but not the second. XU has

provided no evidence to show Cisco misappropriated those trade secrets. "It is the plaintiffs



       4
         The breadth and generality of the trade secret descriptions was exemplified during a
discovery dispute when XU's counsel claimed that video conferencing between two bank
branches would be covered by its trade secrets. (D.I. 598 at 5-6). As another example, at oral
argument, XU's counsel could not explain how trade secret 40 differed from a typical phone call
to an insurance company. (D.I. 611 at 84-90).
       5
          This is not to say that reference to such a diagram is necessary to describe a trade secret
with sufficient particularity. Rather, the diagrams rescue XU's prose descriptions, which would
otherwise be insufficient.
        The video and documents XU introduced at argument to show embodiments of trade
secret descriptions 36 and 37, but did not reference in its opposition, do not make up for the
deficiencies in XU's trade secret descriptions. (D.I. 161 at 94-95, 114-19).

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burden to show improper use as part of its prima facie case." Sargent Fletcher, Inc. v. Able

Corp., 110 Cal. App. 4th 1658, 1669 (Cal. Ct. App. 2003). XU has provided no evidence that

Cisco used any purported trade secret, much less numbers 18 and 33. XU's expert, Dr.

Nourbakhsh, broadly states that he finds functions oftrade secrets 18 and 33 '"embodied" in

Cisco projects, but does not identity any of the information in XU's cited diagrams '"embodied"

in any Cisco project. (D.I. 521 at 26-27); (McCraw Dec!. Ex. 97, ~~ 124, 157, 224). Such

'"embodiment" falls short of evidence that Cisco misappropriated trade secrets 18 and 33 under

the CUTSA's definition in§ 3426.1, particularly in light of Cisco's otherwise undisputed

evidence that it developed Pulse, Quad, VEM/Remote Expert, SOAR, and Expert Advisor

without the use of any XU trade secrets. (D.I. 495 at 15-17). 6

       In sum, XU has failed to adequately describe all but two trade secrets, and failed to create

a genuine issue of material fact that it had any trade secrets that Cisco misappropriated.

       2) XU's breach of contract claims (Counts IX, X, XI).

       Upon consideration of Cisco's motion for partial summary judgment with respect to

Counts IX, X, XI, and VI, (D.I. 318), the Court will grant the motion in part. 7

       The parties agree on the law governing the breach of contract claims. See Wall Street

Network, Ltd. v. New York Times Co., 164 Cal. App. 4th 1171, 1178 (Cal. Ct. App. 2008). The

three governing agreements each provided explicit direction to XU as to what type of information

would be shared and how to designate documents and information confidential. The 2004


       6
         As set forth at D.I. 604, the Declaration ofLeni Selvaggio cited in this section of
Cisco's brief has been stricken. It has not been considered here.
       7
        This decision is independent ofthe Court's decision on XU's claim to rescind these
same contracts.

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Nondisclosure Agreement provided XU would share "Product Information," mark written

documents containing confidential information, and identify any orally conveyed confidential

information as confidential at the time of disclosure with confirmation in writing. (Schuman

Decl. Ex. 6, §§1.0, 2.0). XU employees understood this requirement. (Schuman Decl. Ex. 67).

The NDA provided it could only be modified by a writing signed by both parties. (Schuman

Decl. Ex. 6). The 2005 Technology Developer Program Partner Agreement ("CTDP A")

provided XU would share a subset of technical and business information related to XU's

products and services and provide any confidential information only in written form, designated

as Confidential Information (unless XU sought and obtained written approval to deviate from

these requirements). (Schuman Decl. Ex. 7, § 11.2). The 2006 CTDPA provided XU would

share technical and business information related to its products and business information, with

the same designation and approval requirements as the 2005 CTDP A. (Schuman Decl. Ex. 8,

§5.1.1).

       The parties agree that Cisco showed some XU documents to a third party consultant, SBT

Advisors. See (Schuman Decl. Ex. 142-44, Ex. 182 at 271 :9-25). The parties agree XU did not

mark these documents as confidential. 8 See (Schuman Decl. Ex. 142-44). XU fails to create a

genuine issue of material fact that Cisco "knew or should have known these documents to be

proprietary" based on a "course of conduct" between the parties, such that Cisco showing those

unmarked XU documents would breach one or more of the contracts. 9 XU relies on its Eiss


       8
           The documents appear to be general marketing pieces.
       9
         It is not clear from the record which contract(s) XU presently asserts Cisco breached by
showing XU documents to SBT Advisors. This interaction is alleged in all three breach of
contract counts of the Fourth Amended Complaint. (D.I. 82).

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Declaration and Mason Declaration to generally describe "an intention of confidentiality" and

Cisco's reassurance that "confidentiality of all sensitive information exchanged was being

maintained," but the Mason Declaration also states that "[a]t no point in time" "throughout 2005

and 2006" "did anyone at Cisco or XU explicitly state or suggest that the terms of the

confidentiality agreement had changed in any way." (D.I. 524, ~~ 9-10; D.l. 522, ~~ 14-18). XU

also relies on a May 2005 email from Cisco's Ken Jordan asking XU for technical documents

and noting, "All documents are covered under NDA." (McCraw DecI. Ex. 36).

       This meager and unspecific record does not show any course of dealing deviating from

the requirements ofthe NDA (which required a signed writing to change) or the CTDPAs to

positively identify confidential information. The Mason Declaration indicates the parties adhered

to the agreements' terms; the Declarations and Jordan email show the parties' intentions to

protect XU's confidentiality, but do not change the mechanism for doing so provided in the

agreements. Cisco has demonstrated that there is no genuine issue of material fact that it

breached any contract by showing the three XU documents to the third party consultant.

       The parties agree that XU gave Cisco nine documents designated as confidential under

these agreements. 10 (Schuman Decl. Ex. 23, 26, 27, 31, 32, 35, 36, 39, 106). XU first argues that

Cisco used XU confidential information in two patent applications, relying on Dr. Nourbakhsh's

opinion. (D.I. 521) (citing McCraw Decl. Ex. 97, ~~ 263-72; D.I. 528, ~ 92). XU also relies on

Dr. Nourbakhsh's opinion to argue that Cisco used information from marked XU documents in

its products. (D.I. 521 at 16) (citing D.I. 528, ~~ 58-82). The majority ofDr. Nourbakhsh's



       10
          The briefing does not provide which agreement covers which document(s), and XU's
claim for rescission seems to invoke a dispute on that point. See Section 3, infra.

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opinion addresses "trade secrets;" as explained supra, XU's trade secret claims fail, and Dr.

Nourbakhsh's trade secret opinion does not support any breach of contract. 11 Dr. Nourbakhsh

opines only that Cisco used two of the nine documents XU designated as confidential, identified

as CISC03996 (Schuman Decl. Ex. 23) and CISC013900 (Schuman Decl. Ex. 35), in one patent

application, No. 11/772,318 (Schuman Decl. 150). (D.I. 528, ,-r 92). Dr. Nourbakhsh opines that

the "basic mechanism" in Cisco's patent application No. 111772,318 "is exactly the information

XU provided" in those two confidential documents. !d.

        As far as Cisco's use of any of the nine documents in any of its patents or products, XU

demonstrates a genuine issue of material fact only with regard to whether Cisco used

CISC03996 and CISC013900 in application no. 11/772,318 in breach of contract. Otherwise,

Cisco has demonstrated the absence of any genuine issue of material fact, particularly with regard

to the breach element of XU's breach of contract claims, and its motion is accordingly granted in

part.




        11
           In paragraph 92 ofhis Declaration, Dr. Nourbakhsh first opines that Cisco application
 11/772,318 uses 17 XU trade secrets. "Secondly," he opines, "there is considerable evidence that
XU's confidential information is also disclosed by Cisco in this patent application. Specifically,
XU transmitted confidential and proprietary information ... in confidential documents
CISC03996 and CISC013900." Dr. Nourbakhsh went on to quote parts ofthe application, then
concluded "the basic mechanism disclosed in the present application ... is exactly the
information XU provided, confidentially to Cisco in CISC03996 and CISC013900." (D.I. 528,
,-r 92). Dr. Nourbakhsh's analysis of the two documents is confined to XU's breach of contract
 claim. Dr. Nourbakhsh does not opine that the two documents conveyed any XU trade secrets to
 Cisco.

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       3) XU's rescission and.fraud-based claims (Counts IlL IV, XII)

       Cisco moved for partial summary judgment on Counts III (common law fraud), IV (deceit

under California Civil Code§§ 1709, 1710), 12 and XII (rescission). (D.I. 297, D.I. 495 at 20-21).

XU's theories appear to be: 1) Cisco fraudulently induced XU to enter into the CTDPAs by

misrepresenting each of them as a mere formality, and by tying the CTDPAs to participation in

Solutions Plus; 2) Cisco concealed from XU that it was denied entry into Solutions Plus; and 3)

the CDTPAs are unconscionable. 13 (D.I. 521 at 9-13).

       Cisco's Motion is granted with regard to XU's theory of fraudulent inducement based on

the CTDPAs being formalities. This theory requires XU to prove, inter alia, actual and

justifiable reliance by a preponderance ofthe evidence. Liodas v. Sahadi, 19 Cal.3d 278, 291

(1977); Orient Handel v. United States Fid. & Guar. Co., 192 Cal. App. 3d 684, 693 (Cal. App.

1987). XU has submitted no evidence that it was reasonable for Eiss and Zelkin to rely on a

characterization ofthe CTDPAs as formalities. See (McCraw Decl. Ex. 7 at 275-76, Ex. 9 at

182-86). To the contrary, the terms ofthe CTDPAs themselves make it unreasonable to rely on a

characterization as a formality. They are multiple pages long, and explain they are to permit

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       12
         The parties appear to regard Counts III and IV as being redundant of each other, as they
submitted the same jury instructions for both counts. (D.I. 579, pp. 115-36).
       13
          At oral argument, XU explained the Court need only reach the rescission claim if the
Court determines that the CTDPAs, with their limitations of liability, "are somehow operable
contracts and govern the proceedings of what happened." (D.I. 611 at 13-17). The briefing on
Cisco's Motion provides no basis for the Court to determine whether the CTDPAs are "operable"
and govern the exchanges of information at issue here. See id. at 13 (providing XU stated this
argument in the pretrial order). The Court evaluates XU's rescission claim only in the context of
Cisco's Motion.

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XU's participation in the Cisco Technology Developer Program and that they supersede the

parties' prior agreements. (Schuman Decl. Exs. 7, 8).

       Cisco's Motion is also granted with regard to XU's theory that XU was fraudulently

induced to enter into the CTDP As via a misrepresentation that XU would be able to participate in

Cisco's Solutions Plus program. XU's only evidence underlying this theory is an internal Cisco

email dated March 24, 2005, evaluating a draft term sheet with XU without mentioning either

CDTP A or Solutions Plus. (McCraw Decl. Ex. 30). This falls far short of creating any genuine
                                                                                                    I
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issue of material fact that Cisco was misrepresenting anything about Solutions Plus to XU in

order to ensnare XU in a CDTP A. To the contrary, the evidence shows the CTDP A progressed

the parties' relationship beyond a mere NDA and toward integration of XU's work with Cisco's.

(Schuman Decl. Ex. 8 at CISC000227789, CISC0002277893; Ex. 199 at 10).

       While XU has failed to create a genuine issue of material fact that any misrepresentation

about Solutions Plus was used to fraudulently induce XU to enter into the CDTP As, XU has

shown a genuine issue of material fact with regard to whether Cisco concealed XU's status in the

Solutions Plus program, generally. XU's theory is that Cisco rejected XU from Solutions Plus on
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April 19, 2006, based on an internal Cisco Solutions Plus Governance Council email dated April

25, 2006, subject line "4/19 GS+ Governance Council Meeting Notes," providing:
                                                                                                    I
                                                                                                    f
       Topic: Xpert Universe ...                                                                    l
       Outcome: Denied; appeared as niche product. Governance Council did not see
       horizontal revenue pull through, suggested BU should OEM or acquire                          f

(McCraw Decl., Ex. 40, at CISC000038318). Cisco points to internal Cisco emails showing

efforts to try to get XU into the program in May 2006 and October 2006. (Schuman Decl. Exs.


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j   220, 221; McCraw Decl. Ex. 43). XU asserts Cisco did not tell XU about this decision, while

    Cisco asserts it told XU about the denial as evidenced by XU efforts to overcome the

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I
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    "objections" to its participation as of July 12, 2006. (Scher Decl. Ex. 10). XU points to


I   contemporaneous Cisco documents referring to XU as a competitor; Cisco argues that


I   collaboration between different companies does not mean they are not still competitors.

    (McCraw Decl. Exs. 61, 62; DTX 108). XU asserts Cisco finally told XU that it could not

    participate in Solutions Plus in January 2007. (D.I. 521 at 11) (citing McCraw Decl. Ex. 1 at 50,

    Ex. 74).

           This record presents a few genuine issues of material fact regarding whether Cisco

    concealed XU's status with regard to Solutions Plus. Did Cisco deny XU from Solutions Plus

    with finality in April 2006, and conceal the finality of that decision from XU for a period of

    months, or were there only objections in April 2006 that XU could overcome? What did Cisco

    communicate to XU about Solutions Plus, and when? Cisco's motion is denied with regard to

    concealment of XU's status in Solutions Plus.

           Finally, Cisco's motion is granted as to XU's theory that the CDTPAs are

    unconscionable. 14 "Under California law, courts may refuse to enforce any contract found 'to

    have been unconscionable at the time it was made,' or may 'limit the application of any

    unconscionable clause.' Cal. Civ.Code Ann. § 1670.5(a). A finding ofunconscionability

    requires a procedural and a substantive element, the former focusing on oppression or surprise
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           14
             The Court permitted XU to amend its pleadings to include this theory. (D.I. 612 at
    151). The parties agree that rescission based on unconscionability is a matter for the Court to
    determine on the merits based on the summary judgment briefing, if summary judgment itself is
    denied. (D.I. 611 at 5-6; D.I. 612 at 151-52).

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due to unequal bargaining power, the latter on overly harsh or one-sided results." AT&T

Mobility LLC v. Concepcion, 131 S.Ct. 1740, 1746 (2011) (internal quotation and citation

omitted). 15 XU's only evidence of procedural unconscionability is Eiss's testimony of"how

things frequently were with Cisco, we would get an invitation to participate in something, and

you need to do this, this, this, and this to make it happen, and we are in a short time frame, so

just get it done" and her speculation as to how that would have informed Zelkin's decision to

commit XU to the 2006 CDTP A. (McCraw Decl. Ex. 9 at 197). This fails to show XU was

oppressed or surprised by unequal bargaining power. The CDTPAs fall far short of the

traditional concept of a contract of adhesion: the agreements are between commercial entities,

and XU has not shown that Cisco's bargaining power vastly outweighs XU's or that XU could

not negotiate any terms of the CDTPA. See Bridge Fund Capital Corp. v. Fastbucks Franchise

Corp., 622 F.3d 996, 1004-5 (9th Cir. 2010).

       As for substantive unconscionability, XU argues, without relying on any record

evidence, that the CTDPAs allow Cisco to develop competing products, limited liability to $3

million, and narrowed the definition of confidential information from the NDA. (D.I. 521 at

13). In fact, these rights and limitations were all mutual. (Schuman Decl. Ex. 7, §§ 9.0, 11.1-

11.4, 11.8; Ex. 8, §§ 5.1, 5.5, 7.0).

       In sum, Cisco's motion is granted as to XU's rescission claim (Count XII) and granted as

to XU's fraudulent inducement theory of fraud and deceit (Counts III and IV), but denied as to

XU's theory of concealment regarding Solutions Plus underlying Counts III and IV.


        15
         XU argues for rescission based on unconscionability, but the remedy for
unconscionability is the Court's refusal to enforce the contract. See Cal. Civ. Code§§ 1670.5,
1689.

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       4) XU's claims for patent infringement (Counts I and II)

       Cisco's Motion for Partial Summary Judgment No.2 for Invalidity of U.S. Patent Nos.

7,366,709 and 7,499,903 Based On 35 U.S.C. § 102(b) (Counts I & II) (D.I. 300) is denied.

Cisco has not shown the absence of a genuine issue of material fact with regard to, inter alia,

whether the specific versions of the XU products that were demonstrated or offered for sale

embodied the patented inventions at the time they were demonstrated or offered for sale.

       Cisco's Motion for Partial Summary Judgment No.4 Relating to Cisco's Expert Advisor

Product (D.I. 306), No.5 Relating to Cisco's Pulse Product (D.I. 311), and No.8 Relating to

Cisco's Virtual Management I Remote Expert Product ("Virtual Expert") (D.I. 327) are granted

in part, as to XU's claims of indirect infringement under Counts I and II. XU's only basis for

demonstrating indirect infringement is Dr. Nourbakhsh's opinion that "any Cisco customer"

"will" use "the methodology recited by the [asserted] method claims." (D.I. 521 at 30 (citing

Nourbkhsh Report, ,-r,-r 96, 111, 146, 197, 208)). The Court has deemed that exact opinion

unreliable; it cannot serve to maintain XU's claims of indirect infringement on summary

judgment. (D.I. 632 at 5).

       The remainder of Cisco's Motions (D.I. 306,311, 327) regarding Counts I and II are

denied. Cisco has not shown the absence of a genuine issue of material fact.

       5) XU's claims relating to the phrase "expert on demand"

       Cisco's Motion (D.I. 328) is granted to the extent any XU claim relies on XU's claim of

a protectable interest in the phrase "expert on demand." XU has not shown that Expert on

Demand is a protectable phrase under either the Lanham Act or California state law.




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           It is undisputed that XU has not registered "expert on demand" as a trademark. XU

    bears the burden of proof as to validity and protectability of the unregistered phrase for which it
J
l
#
    claims trademark protection. Yellow Cab Co. ofSacramento v. Yellow Cab ofElk Grove, Inc.,

1   419 F.3d 925, 926 (9th Cir. 2005) (addressing both Lanham Act and California state law
!
i   claims); E.T. Browne Drug Co. v. Cococare Prods., Inc., 538 F.3d 185, 191 (3d Cir. 2008)
i
I
l   (addressing a Lanham Act claim).
i
I          The first step in the analysis here is to determine, as a question of fact, whether the

I   potential trademark is inherently distinctive, or whether it is descriptive and therefore secondary

    meaning must be shown. See Yellow Cab, 419 F.3d at 927; Zobmondo Entertainment, LLC v.

    Falls Media, LLC, 602 F.3d 1108, 1113 (9th Cir. 2010); cf E.T. Browne, 538 F.3d at 191-92.

    XU is pursuing the theories that "expert on demand" is protectable as both inherently distinctive

    and as descriptive with secondary meaning. (D.I. 611 at 133). XU has not submitted any

    evidence that creates a genuine issue of material fact that "expert on demand" is inherently

    distinctive. XU relies on testimony by its own CEO (Friedman) and President (Eiss) describing

    their motivations and intentions for the phrase. (McCraw Decl. Ex. 103 at 167-68; Ex. 9 at

    136). Such self-serving testimony by the trademark holder does not meet XU's burden on

    summary judgment. Self-Realization Fellowship Church v. Ananda Church of Self-Realization,

    59 F.3d 902, 910 (9th Cir. 1995); Filipino Yellow Pages, Inc. v. Asian Journal Pubis., Inc., 198

    F.3d 1143, 1152 (9th Cir. 1999); cf Citizens Financial Group, Inc. v. Citizens Nat'! Bank of

    Evans City, 383 F.3d 110, 122 (3d Cir. 2004). XU relies on an abandoned trademark

    application by a different entity to argue the phrase is distinctive. (McCraw Decl. Ex. 102).




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i
z   This falls far short of actual registration and does not show the USPTO's opinion on the phrase



l
i
    as filed by any entity, much less XU.

           The next step in the analysis is to determine, as a question of fact, whether "expert on

    demand" is a descriptive mark that can receive trademark protection because it has acquired
l
    distinctiveness by establishing secondary meaning in the marketplace. Yellow Cab Co., 419
I
    F.3d at 926; E.T. Browne, 538 F.3d at 191-92. The test to determine whether "expert on

I   demand" has secondary meaning as required for XU's Lanham Act claim includes:

           ( 1) the extent of sales and advertising leading to buyer association; (2) length of
           use; (3) exclusivity of use; (4) the fact of copying; (5) customer surveys; (6)
           customer testimony; (7) the use of the mark in trade journals; (8) the size of the
           company; (9) the number of sales; (1 0) the number of customers; and, (11) actual
           confusion.

    See E.T. Browne, 538 F.3d at 199. XU submits evidence that it argues shows Cisco copied

    XU's use of the phrase. (McCraw Decl. Ex. 65 at XU-0082626, Ex. 109, 110, 115); (D.I. 524, ~

    13). XU's evidence shows only that Cisco saw XU materials with the phrase. Cisco's evidence

    shows Cisco came up with the phrase independently. (Schuman Decl. Ex. 193 at 59-61, 92-94;

    Ex. 166).

           As for the other ten factors, XU used "expert on demand" to describe a version of

    XpertSHARE from 2004-2007. (Schuman Decl. Ex. 169, Ex. 182 at 188; D.I. 525, ~ 24;

    McCraw Decl. 103 at 165, 167-68). Because XU had no customers and never sold a product, it

    has no evidence of sales or advertising leading to buyer association, customer surveys, customer

    testimony, number of sales, or number of customers. (Schuman Decl. Ex. 182 at 185, 212).

    Other companies were using the same phrase to describe similar products. (Schuman Decl. Exs.

    173, 213). On balance, XU has only shown evidence of nonexclusive use ofthe phrase for three


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years, without ever having a product or customers. In other words, XU has no evidence that it

ever used the term in the public marketplace or in front of consumers, while other companies

did use it. XU has failed to produce sufficient evidence to create a genuine issue of material fact

with regard to secondary meaning, and therefore that "expert on demand" is a protectible

descriptive phrase, for its Lanham Act claim. Cisco's motion is granted on that claim.

       To evaluate the phrase's secondary meaning in XU's California state law claims, the

finder of fact considers: (1) whether actual purchasers of the product bearing the claimed

trademark associate the trademark with the producer, (2) the degree and manner of advertising

under the claimed trademark, (3) the length and manner of use of the claimed trademark, and (4)

whether use of the claimed trademark has been exclusive. See Yellow Cab Co., 419 F.3d at 930.

 As explained, there are no actual purchasers, XU used the phrase for three years without a

product, and XU's use was not exclusive. XU has failed to produce sufficient evidence to create

a genuine issue of material fact with regard to secondary meaning for its California claims

asserting "expert on demand"; Cisco's motion is granted on those claims.

       With regard to Count XVI (Conversion), Cisco points out that "intangible intellectual

property cannot be subject to conversion as a matter oflaw." See Innospan Corp. v. Intuit, Inc.,

2011 WL 856265, *3 (N.D. Cal. 2011). Cisco's motion is granted with regard to Count XVI.

       6) The preemptive or supersessive effect ofXU's California Urifair Trade Secrets Act
       claim

       Cisco argues in its brief for partial summary judgment on Counts III (common law

fraud), IV (deceit), VI (breach of confidence), XV (common law quasi contract unjust

enrichment), XIII (common law unfair competition), XIV (unfair competition under the



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California Civil Code), and XVI (conversion) to the extent they are based on the same nucleus

of facts as XU's California Uniform Trade Secrets Act claim (Count V). (D.I. 495 at 38-39, in

support ofD.I. 303, 318); see Silvaco Data Systems v. Intel Corp., 184 Cal.App.4th 210,232-36

(Cal. App. 2010) (interpreting Cal. Civil Code§ 3426.7, subds. (a) and (b), and holding

"CUTSA provides the exclusive civil remedy for conduct falling within its terms, so as to

supersede other civil remedies based upon misappropriation of a trade secret").

       XU does not contest that CUTSA preempts other claims based on trade secret

misappropriation. Instead, XU identifies bases for these counts other than trade secret

misappropriation: alleged concealment of Solutions Plus status (Counts III and IV), "hiding

XU's 'competitor' status from XU, falsely preventing XU from working with other partners,

and presenting XU's technology to potential customers without including XU" (Counts XIII and

XIV), unjust enrichment with a "head start" after alleged concealment of Solutions Plus status

(Count XV), and misappropriation ofbusiness opportunities as opposed to confidential

information (Count XVI). (D.I. 521 at 38-39).

       These asserted grounds for relief are not what XU originally pled. See (D.I. 82). The

Court granted XU's request to amend its pleadings of Counts III and IV to include XU's

concealment theory, and that theory is not preempted. (D.I. 612 at 151). XU did not request to

amend its pleadings for Counts XIII, XIV, XV, or XVI. In fact, a month after XU proffered

these new theories in opposition to summary judgment, XU repeated its original

misappropriation theories in the pretrial order. See (D.I. 580, Ex. 2 at 38-43; Ex. 6 at 17-24; Ex.

7 at 18-21). XU's new theories in opposition to summary judgment are untimely and not

supported by any record evidence; it is unclear what "business opportunities" XU is even
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alleging. One reasonable conclusion is that XU proposed these new theories to survive

summary judgment, as opposed to in response to the natural course of litigation and discovery.

They will not serve to save Counts XIII, XIV, XV, or XVI from being superseded by XU's

CUTSA claim (Count V). 16 Cisco's motion is granted on Counts XIII, XIV, XV, and XVI.

       XU argues that its breach of confidence claim (Count VI), "expressly based on theft of

non-trade secret, but otherwise protectable, confidential and proprietary information," is not

preempted under CUTSA. (D.I. 521 at 40). The argument that CUTSA "was not intended to

preempt common law ... claims based on the taking of information that, though not a trade

secret, was nonetheless of value to the claimant" was "emphatically reject[ ed]" in Silvaco Data

Systems. 184 Cal. App. 4th at 239 n.22.

       On the contrary, a prime purpose of the law was to sweep away the adopting
       states' bewildering web of rules and rationales and replace it with a uniform set of
       principles for determining when one is-and is not-liable for acquiring,
       disclosing, or using "information ... of value." (See [Cal. Civ. Code] § 3426.8.)
       Central to the effort was the act's definition of a trade secret. (See [Cal. Civ. Code]
       § 3426.1, subd. (d).) Information that does not fit this definition, and is not
       otherwise made property by some provision of positive law, belongs to no one,
       and cannot be converted or stolen. . .. Permitting the ... claim to proceed on a
       contrary rationale ... [would] create[]a new category of intellectual property far
       beyond the contemplation of the Act, subsuming its definition of "trade secret"
       and effectively obliterating the uniform system it seeks to generate.



       16
          The practical effect of this decision is nearly imperceptible. XU's claims that Cisco
misappropriated its trade secrets, confidential information, and "expert on demand" phrase are
disposed of herein (with the exception of a breach of contract claim based on two documents
marked confidential), so the preempted portions of these claims fail on their merits anyway. XU
has the opportunity to prove its Solutions Plus theories in Counts III and IV; it is difficult to see
what advantage XU would gain by repackaging those theories as unfair competition claims in
Counts XIII (common law unfair competition) and XIV (unfair competition under the California
Civil Code), particularly where Count XIV is an equitable claim to be determined by the Court in
any case. See Openwave Sys., Inc. v. Myriad France S.A.S., 2011 WL 2580991, *2 (N.D. Cal.
Jun. 29, 2011); (D.I. 580 at 14-15).

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 !d.

         Cisco's Motions (D.I. 303, 318) are granted for Counts VI, XIII, XIV, XV, and XVI,

 and granted in part for Counts III and IV to the extent they depend on misappropriation or theft

 of any trade secrets or other information of value. 17

                                          CONCLUSION

         For the reasons stated herein, Cisco's motions for partial summary judgment are granted

 in part for the following Counts: Counts I and II in part, because XU has no admissible

 evidence of indirect infringement; Counts III and IV in part, as XU has shown a genuine issue

 of material fact only with regard to whether Cisco concealed XU's status in the Solutions Plus

 program; Count V, because XU has failed to adequately describe all but two of its trade secrets

 with particularity and to create a genuine issue of material fact to show Cisco misappropriated

 any trade secrets; Count VI, because it is mutually exclusive with a breach of contract claim

 and because and because it is superseded by XU's CUTS A claim; Counts VII and VIII because

 XU has failed to create a genuine issue of material fact to show "expert on demand" is a

 protectable phrase; Counts IX, X, and XI in part, as XU has shown a genuine issue of material

 fact only with regard to whether Cisco used two specific XU documents in one Cisco patent

 application; Count XII, because XU has not shown fraudulent inducement or


        17
          Cisco also argues for partial summary judgment on Count VI on the basis that there
cannot be a valid, express contract and an implied contract existing at the same time. See Wal-
Noon Corp. v. Hill, 45 Cal. App. 3d 605, 613 (Cal. Ct. App. 1975). XU argues its breach of
confidence claim is "mutually exclusive with a claim for breach of contract," citing Berkla v.
Corel Corp., but appears to misapprehend what the Ninth Circuit meant by "mutually exclusive:"
"California courts have made clear that these two causes of action are mutually exclusive: There
cannot be a valid, express contract and an implied contract, each embracing the same subject
matter, existing at the same time." 302 F.3d 909, 918 (9th Cir. 2002) (citing Wal-Noon Corp.).
Cisco's motion is granted for Count VI on this basis as well.

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unconscionability; Counts XIII, XIV, XV, and XVI because they are superseded by XU's

CUTSA claim (Count V), and Count XVI because intangible intellectual property cannot be

subject to conversion.

       An appropriate order will follow.




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            IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF DELAWARE


      XpertUniverse, INC.,             ) Trial Volume 7
                                       )
                      Plaintiff,       )
                                       ) C.A. No. 09-157 (RGA)
      v.                               )
                                       )
                                       )
      CISCO SYSTEMS, INC.,             )
                                       )
                      Defendant.       )


                               Wednesday, March 20, 2013
                               9:08 a.m.


                               844 King Street
                               Wilmington, Delaware


      BEFORE:    THE HONORABLE RICHARD G. ANDREWS
                 United States District Court Judge


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       products actually use XpertUniverse's IP.            We

       don't think that's right, but if it is right,

       those products didn't do any better.           All the

       accused products are either discounted, dead, or

 5     the one product, Remote Expert, that is not dead,

       was projected to do this much in revenue

       (indicating) and as you heard for the last couple

       of days, it had one pilot at Home Depot.

                       And the market, nobody knows the

10     market better than John Hernandez, and John

       Hernandez told you that there had been many

       companies trying to do what XpertUniverse was

       trying to do here, get expert, subject matter

       experts, people outside the Contact Center

15     Enterprise involved in helping solve customer

       problems and nobody has been able to do it.

                       The reason Cisco was interested in

       XpertUniverse was because they claimed they could

       do it, but they couldn't and all they had was a

20     demo, and they failed.


 21                     I want to turn to the patent case

 22    quickly.     We're almost out of time here.

 23                     A general comment about the patent

 24    case.    I know it's hard to follow.         It's hard for

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       patent lawyers to follow sometimes.           But these

       accused products you've heard about, Expert

       Advisor, Remote Expert, Pulse, I would submit to

       you that these are square pegs that do not fit in

 5     the round holes of these patents.              Dr.

       Nourbakhsh and XpertUniverse are trying to

       squeeze products that have nothing to do with

       these products into the claims.

                       The first patent, the '709 patent.

10     Can you put up CL6, please.

                       The '709 patent, remember, we showed

       you all those graphical user interfaces.              The

       '709 patent is about the look and feel of the

       platform, a web page.        Remember Mr. Lepore came

15     down from Massachusetts to tell you about this

       product.     He designed this product.        He created

       it.    Nobody knows better how this product works.

                       Expert Advisor is a telephone call

       only.    There's no graphical user interface.           It's

20     a telephone call.       It cannot possibly infringe


 21    the '709 patent.       I don't need to show you the

 22    hurdles.     You can knock them all down.         A

 23    telephone call cannot infringe a patent that

 24    requires a graphical user interface or the

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       presentation of something graphically to a

       user.

                       Pulse.    You heard from Mr. Gannu,

       the engineer who designed Pulse.          Cisco has no

 5     burden to show you these products do not

       infringe.     The Court gave you the instruction.

       XpertUniverse must prove to you these products

       infringe.     But we brought the engineers who

       designed the accused products to explain to you

10     very clearly how they work.

                       Pulse is a search engine.        That's

       it.    It's like Google.      You heard Mr. Gannu.

       That's a search bar at the top that's like

       Google.    You type in anything you want.

15                     Dr. Nourbakhsh mentioned this thing

       called a tag cloud.       You click on a tag.       It runs

       a search.     There's nothing more to it than that.

       There's not enough stuff on the interface to

       infringe the patent.

20                     The other patent, the '903 patent --


 21    can we put up CL7, please.         Remember this,

 22    complicated diagram?        I'm not going to go through

 23    it now.     I don't have time.      Mr. Lepore walked

 24    you through the whole thing.          This is the '903

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       patent applied to this.

                       Dr. Nourakhsh's theory is that these

       things over here, assignments, queues, are

       organized from these things over here, call

 5     types.    Mr. Lepore built the product.         He

       explained to you, carefully demonstrated to you,

       there's no connection between the two whatsoever.

                       These things are not organized from

       these things, noninfringement with respect to

10     Expert Advisor on the '903 patent.

                       Remote Expert, we bought you Bill

       Dry.    It's a button that you push at Home Depot

       and it makes a phone call to a group of agents.

                       Dr. Nourbakhsh, I would submit to

15     you, when he talked up there on the witness stand

       about why he thinks it infringes, he did not tie

       anything in Remote Expert to any of the elements

       of claim 12 of the '903 patent.

                       Push the decorator button, calls a

20     phone number, gets you a group of agents.            That


 21    does not infringe the patent.

 22                     I want to talk about invalidity very

 23    briefly.     We have the burden of proof there and I

 24    would submit to you that we carried that burden.

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       Remember Dr. Chatterjee, he was in here.            He

       looked at all that code.        You might have been

       wondering, why did he do that?          Because he found

       in the code that these patents were in the code

 5     prior to the critical date.         XpertUniverse had

       embedded these patents in their software prior to

       the critical date.

                       And I have to connect the dots for

       you here because we didn't show them to you, but

10     the patents are invalid if prior to the critical

       date, XpertUniverse was offering for sale a

       product that embodied these patents.

                       And I would just quickly put up on

       the screen, please, Rick, Defendant's 110.

15                     Defendant's 110, March 3rd, 2003.

       That's before April 2nd, 2003, the critical date.

                       And if we go to the second page --

       third page, please, next page.          XpertUniverse,

       prior to the critical date, when their inventions

20     are in their code is offering Allstate


 21    KnowledgeSHARE.       That's the product that Dr.

 22    Chatterjee examined.        KnowledgeSHARE embodied the

 23    inventions.      KnowledgeSHARE was being offered to

 24    Allstate.

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                       Remember what Dr. Chatterjee said?

       It's black and white.        It's either in the code or

       it's not.     He found it in the code.        They offered

       it for sale.      It does not matter that they didn't

 5     actually succeed in selling it to Allstate.            We

       know they didn't succeed in selling it to

       anybody.     It also does not matter that it wasn't

       a finished product.       The law is that if they

       offer the invention in the patents for sale prior

10     to the critical date, those patents are invalid.

       And I would submit to you that we have proven the

       patents are invalid.

                       In closing, Cisco did nothing wrong

       here.    It did nothing to hurt XpertUniverse.

15     XpertUniverse is just one of many failed

       startups.

                        Cisco wanted, wanted this

       relationship to work.        Why else would John

       Hernandez have done all the things that he did?

20     Those are not alleged things.         Those really


 21    happened.

 22                     Those e-mails to Carl Wiese, Senior

 23    Vice President at Cisco, John put his credibility

 24    on the line for XpertUniverse.          He was

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       State of Delaware)
                        )
       New Castle County)


                         CERTIFICATE OF REPORTER


 5                      I, Heather M. Triozzi, Certified
       Professional Reporter, Registered Professional
       Reporter, and Notary Public in the State of
       Delaware, do hereby certify that the foregoing
       record, Pages 2005 to 2354 inclusive, is a true
       and accurate record of the above-captioned
       proceedings held on March 20, 2013, in
       Wilmington.
                   In witness whereof, this 20th day of
       March, 2013, at Wilmington.
10

                                Heather M. Triozzi, CSR, RPR
                                Cert. No: 184-PS
                                Exp: Permanent




15
       DATED:    March 20, 2013




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 XPERTUNIVERSE, INC.,                       )
                                            )
            Plaintiff and Counterdefendant, )
                                            )
            v.                              ) C.A. No. 09-157 (RGA)
                                            )
 CISCO SYSTEMS, INC.,                       )
                                            )
            Defendant and Counterclaimant. )

         DEFENDANT AND COUNTERCLAIMANT CISCO SYSTEMS, INC.’S
           OPENING BRIEF IN SUPPORT OF MOTION FOR JUDGMENT
      AS A MATTER OF LAW UNDER RULE 50(b) AND, IN THE ALTERNATIVE,
            FOR REMITTITUR OR NEW TRIAL UNDER RULE 59 (a)(1)

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 I.     INTRODUCTION

        Defendant Cisco Systems, Inc. (“Cisco”) respectfully files this opening brief in support of

 its motion for judgment as a matter of law (JMOL) under Fed. R. Civ. P. 50(b) and alternatively

 for new trial and/or remittitur under Fed. R. Civ. P. 59(a)(1).        Cisco hereby renews and

 incorporates by reference its previous submissions under Fed. R. Civ. P. 50(a) (D.I. 663).

        The evidence at trial was legally insufficient to show that Cisco concealed any material

 fact about the denial of the application by Plaintiff XpertUniverse, Inc. (XU) to the SolutionsPlus

 Program, much less that XU—a new business with a new technology that had no customers, no

 sales, and no finished products—suffered a jaw-dropping $70 million in lost value damages from

 such concealment. This Court therefore should grant JMOL for Cisco as to either liability or

 damages, or both. Alternatively, the damages should be remitted from $70 million to no more

 than $4 million or the case set for new trial.

        First, XU failed to provide legally sufficient evidence that Cisco fraudulently concealed

 any material fact. At trial, XU’s former president Elizabeth Eiss testified that Cisco made XU

 aware of virtually everything that happened to XU’s application for the SolutionsPlus Program:

 that Cisco’s Governance Council considered the application in late April, that the Council did

 not approve the application based on several objections, and that John Hernandez (the product

 manager for Cisco’s Customer Contact Business Unit (CCBU)) and others at Cisco were

 working to overcome those objections. The only thing that XU did not learn was that the

 Council had termed XU’s application “denied.”         XU failed to show that knowing that its

 application had been “denied” as opposed to “not granted” would have made any difference to

 XU, much less the material difference that is legally required for a judgment of fraudulent

 concealment.




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        Second, even if XU had proved fraudulent concealment (which it did not), it failed to

 provide legally sufficient evidence at trial that it sustained $70 million in damages for lost value

 as a result. Under California law, which governs XU’s fraudulent concealment claim, both the

 occurrence and the extent of lost profits or lost value must be proved with reasonable certainty.

 This is an especially exacting standard for a new business, as the California Supreme Court

 recently reaffirmed unanimously in Sargon Enterprises, Inc. v. University of Southern

 California, 55 Cal. 4th 747 (2012). Sargon held impermissibly speculative expert opinion

 testimony that a small dental implant start-up that had never earned more than $100,000 a year

 within ten years would have captured up to 20% of the global dental implant market and made

 profits of up to $1.2 billion—if only USC had completed a small clinical study. XU’s damages

 expert Walter Bratic offered similarly speculative testimony that XU would have captured 15-

 30% of the market for expert location software and thus been worth $70 million—but for Cisco’s

 supposed concealment of the fact that XU’s application had “denied.” Bratic’s testimony fell far

 short of showing with reasonable certainty the occurrence, extent or causation of any lost value

 to XU, much less $70 million in lost value, and XU provided no other evidence on which a

 rational jury could have based such damages.

        Alternatively, should the Court deny Cisco JMOL on fraudulent concealment liability

 and/or damages, the Court should remit XU’s damages from $70 million to $2.66 million or at

 most $4 million, and/or order a new trial. The only non-speculative evidence of damages in the

 record was that XU spent up to $4 million on integrating its product with Cisco routers in 2006

 (including approximately $2.66 million after the denial of the SolutionsPlus application) in the

 hope of partnering with Cisco. That evidence should place an upper boundary on the damages

 this Court allows to stand. In the event that XU declines remittitur to that amount, the Court




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 should grant new trial on the grounds that the jury’s verdict was against the weight of the

 evidence, the damages were excessive, and the damages were tainted by Bratic’s speculative and

 unreliable expert testimony.

        Finally, JMOL or new trial should be granted on XU’s patent infringement claims. The

 conclusory testimony of its patent expert failed to establish that Cisco’s products practiced all the

 limitations of the ‘903 and the ‘709 patents. Moreover, the evidence showed that XU offered

 both inventions for sale more than a year before applying for the patents.

 II.    LEGAL STANDARDS

        Under Fed. R. Civ. P. 50(b), this Court should grant a motion for JMOL if, “viewing the

 evidence in the light most favorable to the nonmoving party, there is no question of material fact

 for the jury and any verdict other than the one directed would be erroneous under the governing

 law.” Galena v. Leone, 638 F.3d 186, 196 (3d Cir. 2011) (quoting Beck v. City of Pittsburgh, 89

 F.3d 966, 971 (3d Cir. 1996)).       JMOL is thus warranted if “there is no legally sufficient

 evidentiary basis for a reasonable jury to find” for the non-moving party on a determinative

 issue. Bullen v. Chaffinch, 336 F. Supp. 2d 342, 346 (D. Del. Sept. 17, 2004) (citing Reeves v.

 Sanderson Plumbing Prods., Inc., 530 U.S. 133, 149 (2000)). “The question is not whether there

 is literally no evidence supporting the . . . party [against whom the motion is directed], but

 whether there is evidence upon which a reasonable jury could properly have found its verdict.”

 Eshelman v. Agere Sys., Inc., 554 F.3d 426, 433 (3d Cir. 2009) (citation omitted). A court

 therefore may enter JMOL as to liability if the plaintiff failed to prove a necessary element of its

 claim, see, e.g., Galena, 638 F.3d at 208, 213; Lifescan, Inc. v. Home Diagnostics, Inc., 103 F.

 Supp. 2d 345, 362 (D. Del. 2000), aff’d, 13 Fed. App’x 940 (Fed. Cir. 2001), or as to the amount

 of damages if the plaintiff failed to present sufficient evidence to sustain the amount, see, e.g.,

 Cornell Univ. v. Hewlett-Packard Co., 609 F. Supp. 2d 279, 292-93 (N.D.N.Y. 2009) (Rader, J.,


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 by designation), cross-appeals dismissed, 455 F. App’x 954 (Fed. Cir. 2010); Donald M. Durkin

 Contracting, Inc. v. City of Newark, 2008 WL 952984, at *3-7 (D. Del. Apr. 9, 2008).

        This Court may grant a new trial under Fed. R. Civ. P. 59(a)(1), even where the verdict is

 supported by substantial evidence, if the verdict is “against the clear weight of the evidence” and

 thus a new trial is needed “to prevent a miscarriage of justice,” Bullen, 336 F. Supp. 2d at 347;

 see also Pryer v. C.O. 3 Slavic, 251 F.3d 448, 453 (3d Cir. 2001), including with respect to the

 amount of damages, see Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 26 (Fed. Cir.

 2012); Wordtech Sys., Inc. v. Integrated Networks Solutions, Inc., 609 F.3d 1308, 1319-20 (Fed.

 Cir. 2010).   In determining whether a verdict is against the weight of the evidence, “the court

 need not view the evidence in the light most favorable to the verdict winner,” Syngenta Seeds,

 Inc. v. Monsanto Co., 404 F. Supp. 2d 594, 600 (D. Del. 2005), aff’d, 231 F. App’x 954 (Fed.

 Cir. 2007), and is permitted to “consider the credibility of witnesses and to weigh the evidence,”

 Blakey v. Cont’l Airlines, Inc., 992 F. Supp. 731, 734 (D.N.J. 1998).

        New trial also may be granted under Fed. R. Civ. P. 59(a)(1) if the Court finds that the

 “(1) damages are excessive, [or] (2) substantial trial errors were made.” Bullen, 336 F. Supp. 2d

 at 347 (citing, e.g., Woodson v. Scott Paper Co., 109 F.3d 913, 936 (3d Cir. 1997)).

        A remittitur may be offered as an alternative to a new trial “when a trial judge concludes

 that a jury verdict is ‘clearly unsupported’ by the evidence and exceeds the amount needed to

 make the plaintiff whole.” Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711

 F.3d 1348, 1356 (Fed. Cir. 2013) (applying Third Circuit law and quoting Starceski v.

 Westinghouse Elec. Corp., 54 F.3d 1089, 1100 (3d Cir.1995)); see also Cortez v. Trans Union,

 LLC, 617 F.3d 688, 715-16 (3d Cir. 2010) (remittitur is appropriate where the damages awarded

 by the jury are “clearly unsupported and/or excessive”) (citation omitted). A remittitur should be




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 set at “the highest amount the jury could ‘properly have awarded based on the relevant

 evidence.’” IPPV Enters., LLC v. Echostar Commc’ns. Corp., 191 F. Supp. 2d 530, 573 (D. Del.

 2002) (quoting Oiness v. Walgreen Co., 88 F.3d 1025, 1030 (Fed. Cir. 1996)); accord Evans v.

 Port Auth. of N.Y. & N.J., 273 F.3d 346, 354-55 (3d Cir. 2001).

 III.   CISCO IS ENTITLED TO JMOL OR NEW TRIAL ON LIABILITY FOR
        FRAUDULENT CONCEALMENT

        A.      No Rational Jury Could Have Found That The Fact Purportedly Concealed
                By Cisco Was Material

        This Court should grant JMOL that Cisco is not liable for fraudulent concealment of any

 material fact. On summary judgment, the Court dismissed most of XU’s fraud claims because

 XU failed to offer evidence sufficient to raise a genuine issue. D.I. 634 at 13-15. The Court

 found genuine issues of fact concerning only XU’s fraudulent concealment claim, which XU

 raised after discovery in opposition to Cisco’s summary judgment motion. See D.I. 521 at 9-11.

 At trial, however, it became clear that Cisco had informed XU about the denial of its application

 for the SolutionsPlus Program in every respect except using the term “denied.” XU’s former

 president Ms. Eiss admitted on cross-examination that XU knew that its application for the

 Program had been presented to Cisco’s Governance Council, that the Council had not accepted

 the application based on certain objections, and that Mr. Hernandez and others at Cisco were

 working to overcome those objections. Thus, the only thing concealed from XU was that

 Cisco’s Governance Council had termed the application “denied.” See PTX 37 at 4. XU did not,

 and could not, show that this fact was material, and therefore its fraudulent concealment claim

 failed as a matter of law.

        To prove fraudulent concealment under California law, which governs XU’s fraudulent

 concealment claim, see D.I. 634 at 3, a plaintiff must prove, inter alia, that the defendant

 “concealed or suppressed a material fact.” Bank of Am. Corp. v. Superior Court, 198 Cal. App.


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 4th 862, 870 (2011) (emphasis added). A fact is “material” if “a reasonable man would attach

 importance to its existence or nonexistence in determining his choice of action in the transaction

 in question.” Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 977 (1997) (quoting

 RESTATEMENT (SECOND) OF TORTS § 538(2)(a) (1977)). Thus, to prevail on its fraudulent

 concealment claim, XU had to prove that Cisco concealed a fact that “would influence a

 reasonable person’s judgment or conduct.” 7 Tr. 2164:5-21, 2165:10-12.

        Ms. Eiss testified at trial that, by June 2006, she was aware of what had happened to

 XU’s application to the SolutionsPlus Program, admitting that she “knew our application had

 been submitted to the Council . . . ,” 3 Tr. 633:17-18, and that (1) XU “didn’t have an approval,”

 3 Tr. 635:16-17; (2) the Council had raised concerns about “getting clients on board and getting

 market traction,” 3 Tr. 635:19-20, and “training and education issues,” 3 Tr. 630:19; and (3)

 CCBU’s product manager Mr. Hernandez was seeking to overcome those objections and get XU

 admitted to the program, 3 Tr. 634:4-11 (“John was absolutely working with us.”). Indeed, in

 the months following the Governance Council’s decision, Ms. Eiss worked with Mr. Hernandez

 “to counter the objections we’ve encountered from the Sales VPs and Channels team” in the

 Council. DX 433, 435, 456; 6 Tr. 1768:9-1771:4, 1771:12-1772:11, 1774:21-1775:11.

        This effort to overcome the initial rejection of XU’s application had a realistic chance of

 success and in fact came close to succeeding. Most applications for the SolutionsPlus Program

 go through multiple reviews, and many applications are accepted after being initially rejected. 6

 Tr. 1712:14-1715:4.     To help XU succeed in this fashion, Hernandez assumed personal

 responsibility for XU’s SolutionsPlus application after the Council denied it, so that he could

 champion the application to the executives on the Council who had objected to the application. 6

 Tr. 1765:4-18. Among other things, he lobbied Carl Weise, the sales executive on the Council,




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 and in October 2006 convinced Mr. Wiese to support XU’s application. DX 455, 579; 6 Tr.

 1783:7-1791:7, 1795:9-20. But, to overcome the Council’s objections, Mr. Hernandez had to

 show that XU had customer support and, in particular, a “lighthouse account.” 6 Tr. 1752:16-

 1753:8, 1754:8-1756:2. Mr. Hernandez believed that Citibank, which signed a statement of

 work for an XU pilot project, would be that “lighthouse account.” Id.; 4 Tr. 1003:3-12. But

 Citibank encountered financial difficulties and canceled the pilot project. 4 Tr. 1003:16-1004:6,

 1009:17-20. Because of this cancellation and the failure of another potential project with FedEx,

 Mr. Hernandez concluded that the Governance Council’s objections to XU’s application could

 not be overcome and decided not to continue to pursue the application. 6 Tr. 1797:24-1798:18.

        XU asserted at trial that there is a difference between a “denial” and what it was told

 happened in the Governance Council, 3 Tr. 636:9-14, but failed to provide legally sufficient

 evidence to convince a rational jury that this difference was material. XU did not dispute Mr.

 Hernandez’s testimony that many companies initially denied admittance into the SolutionsPlus

 program are later admitted, see 6 Tr. 1712:14-1715:4, nor that Mr. Hernandez believed that the

 Council’s objections to XU’s application could be overcome, PTX 45; 6 Tr. 1751:3-1752:15.

 XU also failed to present any evidence that, had it known that the Governance Council termed its

 application “denied,” it would have pursued other partnering options rather than support Mr.

 Hernandez’s efforts to have the application reconsidered. Nor did XU present evidence that any

 company that knew that its application had been considered but not granted pending efforts to

 overcome objections would have acted differently upon learning that its application had been

 termed “denied” while those efforts continued to take place. Accordingly, XU failed to present

 legally sufficient evidence that the fact supposedly concealed by Cisco was material, and

 therefore Cisco is entitled to JMOL on fraudulent concealment.




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        B.      Alternatively, Cisco Is Entitled To A New Trial On Fraudulent Concealment

        For all the reasons set forth in Part III.B, supra, the jury’s implied finding that XU

 concealed a material fact is against the great weight of the evidence. As a consequence, if JMOL

 is not granted on XU’s fraudulent concealment claim, a new trial on that claim is warranted. See

 Whitserve, 694 F.3d at 26-34; Wordtech, 609 F.3d at 1319-22.

 IV.    CISCO IS ENTITLED TO JMOL, OR TO REMITTITUR AND/OR NEW TRIAL,
        ON THE DAMAGES AWARDED FOR FRAUDULENT CONCEALMENT

        A.      Cisco Is Entitled To JMOL That XU Did Not Cause XU To Suffer $70
                Million In Lost Value Damages

        Even if the verdict on fraudulent concealment liability is allowed to stand (which it

 should not be), this Court should grant JMOL on the $70 million awarded by the jury on the

 fraudulent concealment claim. California law requires that both the occurrence and the amount

 of any lost profits or lost value be proven with reasonable certainty, and this standard is

 especially stringent with respect to a new or unestablished business like XU. The testimony of

 XU’s damages expert Mr. Bratic was legally insufficient under that standard. Mr. Bratic failed

 to establish that XU had lost any value as a result of Cisco’s supposed eight-month concealment

 of the fact that XU’s application for the SolutionsPlus Program had been “denied”—much less

 that XU’s capital value would have been $70 million if only Cisco had added that one word to all

 the other disclosures it made to XU about the status of its application. Nor did XU provide any

 other evidence sufficient to satisfy California law on lost profits/lost value damages.

        California law has long held that “damages for the loss of prospective profits” are

 recoverable only “where the evidence makes reasonably certain their occurrence and extent.”

 Grupe v. Glick, 26 Cal. 2d 680, 692-93 (1945).       This rule is especially stringent as applied to

 new or unestablished businesses such as XU, as the California Supreme Court recently

 reaffirmed in Sargon, 55 Cal. 4th at 774. As Sargon noted, when an established business claims


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 lost profits, the occurrence and extent of that loss “may be ascertained with reasonable certainty

 from the past volume of business and other provable data relevant to the probable future sales.”

 Id. (quotation omitted). In contrast, when start-ups and other unestablished businesses are

 prevented from operating, there is no such evidence.

        Thus, as a general matter, “‘where the operation of an unestablished business is

 prevented or interrupted, damages for prospective profits that might otherwise have been made

 from its operation are not recoverable for the reason that their occurrence is uncertain, contingent

 and speculative.’” Id. (quoting Grupe, 26 Cal. 2d at 692-93) (emphasis added); see also 1

 WITKIN, SUMMARY OF CALIFORNIA LAW Contracts § 882 at 969 (10th ed. 2005) (“If the

 anticipated profits were not to come from an established business or profession, . . . the difficulty

 of estimating them has generally led the courts to classify the damages as uncertain and

 speculative, and to deny recovery.”). This is especially true where, as here, a new business is in

 a market that itself was unestablished. See Kids’ Universe v. In2Labs, 95 Cal. App. 4th 870, 887

 (Cal. Ct. App. 2002). This general bar to recovery of lost profits by a new or unestablished

 business may be overcome only in those cases “‘where their nature and occurrence can be shown

 by evidence of reasonable reliability,’” Sargon, 55 Cal. 4th at 774 (quoting Grupe, 26 Cal. 2d at

 693), and such certainty may be established “with the aid of expert testimony, economic and

 financial data, market surveys and analyses, business records of similar enterprises, and the like,”

 Parlour Enters., Inc. v. Kirin Grp., Inc., 152 Cal. App. 4th 281, 288 (2007) (quoting Kids’

 Universe, 95 Cal. App. 4th at 884).

        These precedents apply fully here. While Grupe and Sargon involved breach of contract

 rather than fraud claims, “the rule regarding proof of lost profits from an unestablished business

 applies in tort as well as contract cases,” Kids’ Universe, 95 Cal. App. 4th at 883. Moreover, lost




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 value damages (as XU claims here) are subject to the same new business rule as lost profits. See

 id. at 887-88 (rejecting evidence of lost value damages as insufficient to show with reasonable

 certainty that a toy retailer’s unlaunched website would have led it to make future profits

 warranting a capital valuation of $50 million).

                1.     No Reasonable Jury Could Find With Reasonable Certainty That XU
                       Lost Value

        At trial, XU presented testimony from its damages expert Mr. Bratic concerning its lost

 value, but that testimony failed to establish the occurrence of that loss with the reasonable

 certainty required by the new business rule. Bratic adopted his valuation numbers without

 analysis from two reports, see 5 Tr. 1282:3-20, 1316:8-1317:1, that had valued XU based on

 projected revenues. See PTX 312 at 27 (estimating XU’s value based on multiples of revenue

 projections); PTX 314 at 22, 25-26 (estimating XU’s value based on multiple of revenue

 projections and discounted cash flow analysis). Although this Court excluded as based on

 “inherently speculative” projections the reports on which Mr. Bratic relied, see D.I. 608 at 4, Mr.

 Bratic pointedly declined to make any independent valuation of XU and instead relied upon the

 excluded reports, 5 Tr. 1282:18-1283:20. And while this Court precluded Mr. Bratic from

 opining that Cisco’s alleged concealment of the denial of the SolutionsPlus application caused

 any decrease in XU’s value, see D.I. 647 at 3, 10, XU presented none of the evidence normally

 required to prove an unestablished business’ lost profits or lost value with reasonable certainty:

 no business records of similar enterprises, no surveys of potential customers or market analyses,

 and no market or financial data independent of Mr. Bratic’s testimony.

        XU sought to prove that it would have generated sales and revenues by contending that it

 had the “option” of partnering with Genesys or IBM instead of Cisco. 7 Tr. 2218:24-2219:11.

 But the evidence nowhere established that these options were anything more than mere



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 possibilities. XU failed to present any testimony from Genesys or IBM that they likely would

 have entered into partnering arrangements with XU.           Instead, XU’s former CEO Victor

 Friedman and former president and COO Ms. Eiss simply offered conclusory assertions that IBM

 and Genesys were available partnering “options.” 2 Tr. 337:12-338:6; 3 Tr. 567:7-568:16. For

 example, Mr. Friedman stated, without explanation, that he was “sure” Genesys “would have

 been delighted to walk into the Citibank opportunity,” 2 Tr. 338:1-3—an opportunity that failed

 to materialize because of the financial difficulties and layoffs at Citibank in late 2006, see supra

 p. 7. Ms. Eiss’ testimony was similarly conclusory: she stated that she was “convinced” XU

 could have gone back to Genesys because XU already had built a solution with a Genesys

 component. 3 Tr. 568:10-12. But see 3 Tr. 754:12-17 (stating that XU never had a finished

 product) (John Steinhoff).

        The evidence that XU presented of its supposed IBM option was similarly insufficient to

 establish lost value with reasonable certainty. Mr. Friedman asserted without explanation that

 IBM was “very, very interested in working with us” and did not care about whose router XU’s

 platform ran on. 2 Tr. 337:17-23. Ms. Eiss testified that XU “could have gone back to IBM”

 because it had grown its relationship with IBM while working with Cisco and “a lot of people

 behind IBM were big fans of what we were doing,” 3 Tr. 567:10-568:5. But neither Mr.

 Friedman nor Ms. Eiss testified that IBM was likely to partner with it, and evidence showed that

 IBM never purchased anything from XU, was less supportive of XU than Cisco, and talked about

 but did not offer a standstill agreement in early 2006. 2 Tr. 347:15-348:22; 3 Tr. 673:24-675:4.

        This evidence fails as a matter of law to establish that XU would have partnered with

 IBM or Genesys with the reasonable certainty required by the new business rule. To establish

 lost value with reasonable certainty based on an agreement that it was prevented from making, a




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 new or unestablished business must prove that “an agreement was likely.” Parlour Enters., 152

 Cal. App. 4th at 292; cf. Sole Energy Co. v. Petrominerals Corp., 128 Cal. App. 4th 212, 243

 (2005) (requiring more than a “speculative expectation that a potentially beneficial relationship

 will arise” to establish tortious interference with prospective advantage) (citation omitted). A

 mere expression of interest in making a purchase and even a discussion of a possible purchase

 does not establish lost profits or lost value with reasonable certainty. See, e.g., Nat’l Controls

 Corp. v. Nat’l Semiconductor Corp., 833 F.2d 491, 498 (3d Cir. 1987) (oral expressions of

 interest and inquiries about capacity insufficient); Sole Energy, 128 Cal. App. 4th at 243

 (discussions about possible purchases insufficient).    A fortiori, the fact that XU had good

 relations and mutual interests with IBM and Genesys does not establish with reasonable certainty

 that either IBM or Genesys would have taken the greater step of partnering with XU.

        Even if XU had shown with reasonable certainty that it would have entered into some

 partnership with IBM or Genesys (which it did not), it still would have had to prove with

 reasonable certainty that the arrangement would have resulted in sales before it could establish

 lost value. But XU had no sales, no customers, and no finished product, 2 Tr. 351:16-352:7; 3

 Tr. 571:5-573:2, 754:15-755:1, and it presented no evidence that it would have gained traction

 and had sales or customers if it had partnered with IBM or Genesys.1 XU’s technology was

 admittedly new and “parad[igm] shift[ing].” 2 Tr. 262:21; see also 3 Tr. 511:21-23 (“we were

 offering a technology that didn’t really exist before”). As a consequence, XU had to persuade


        1
            Mr. Friedman testified at trial that Citibank was a customer of XU, see 2 Tr. 352:8-15,
 and XU presented testimony from Harvey Koeppel, the former chief information officer of
 Citibank’s global consumer group, that Citibank was interested in XU’s technology and signed a
 statement of work for a pilot project with XU. 4 Tr. 982-1018; see also 2 Tr. 328:18-329:22,
 352:8-13. But, as previously noted, Citibank did not go forward with the project for financial
 reasons, 4 Tr. 1003:16-1004:6, 1009:11-1012:8, which doomed XU’s Citibank prospects whether
 partnered with Cisco, IBM or Genesys.


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 would-be customers to “imagine how to transform their business processes so that the world

 could be different,” 3 Tr. 511:19-512:9, see also 3 Tr. 595:20-596:11 (“we had to get the mind

 share around what XpertShare could do to change business processes and then they had to buy

 on to that”); 3 Tr. 610:10-12 (XU’s product “involved rethinking business process”). XU failed

 to present any evidence that, if it had partnered with IBM or Genesys, customers would not only

 have imagined this transformation but also invested in it by purchasing XU’s product. In short,

 based on the record at trial, no reasonable jury could find with reasonable certainty that XU

 would have had any sales if it had partnered with IBM or Genesys, much less lost any value

 derived from those sales. In short, XU’s valuation of itself was based on sheer speculation.

        The California Court of Appeal has held that far more extensive and persuasive evidence

 was legally insufficient to satisfy the new business rule. In Kids’ Universe, 95 Cal. App. 870, a

 toy company claimed that the negligent flooding of its retail store prevented it from starting an

 online business in late 1997 when toy retailers first appeared on the Internet. Id. at 876-77. The

 company presented evidence that it had developed a sophisticated website, made preparations to

 respond to online orders, and negotiated favorable placement on a fast-growing Internet portal.

 Id. at 886-87. It also presented evidence that, by the time it recovered from the flood, placement

 on an Internet portal was no longer affordable, but that eToys, an on-line toy retailer that began

 using the same Internet portal at the same time that the company would have, enjoyed great

 success. Id. at 876, 887-88 Although acknowledging that this evidence suggested that the

 company’s website would have been successful absent the flood, the California Court of Appeal

 nonetheless held that the evidence “would not allow a reasonable trier of fact to find with

 reasonable certainty lost net profits from the unlaunched Web site” because (1) the online market

 for toys was unestablished at the time; (2) the company had not previously made any profit on its




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 website and presented no evidence that the website would have been profitable with the portal;

 and (3) the website’s success was contingent upon customers actually making purchases and

 doing so in sufficient quantity to make the website successful. Id. at 887-88.

        The evidence presented by XU at trial is similarly insufficient to show lost sales, lost

 profits, or lost value with reasonable certainty. Like the toy company in Kids’ Universe, XU was

 an unestablished business operating in an unestablished area; it had no record of sales, much less

 profitability; and its success was contingent upon customer acceptance and purchase of its

 products. Indeed, XU’s evidence is much weaker. In contrast to the toy company in Kids’

 Universe, XU had no finished product; there was no established market for its new and untested

 technology; and it was unable to point to any similarly situated business that succeeded in selling

 the product. Thus, under Kids’ Universe and California’s new business rule, XU failed to

 establish with the requisite reasonable certainty the occurrence of any lost revenue and, by

 extension, any lost value.

                2.      No Reasonable Jury Could Find With Reasonable Certainty That The
                        Amount Of XU’s Lost Value Was $70 Million

        In addition to failing to prove with reasonable certainty the occurrence of any lost value,

 XU also failed to prove with reasonable certainty the amount of that supposed loss. Although

 the calculation of lost profits or lost value is “always speculative to some degree” and thus

 cannot be calculated with “absolute certainty,” Sargon, 55 Cal. 4th at 775, California law

 requires the extent or amount of lost profits or value to be proven to a reasonable certainty,

 which means that there must be “some reasonable basis of computation,” id. at 774 (quotation

 omitted); see also Mindgames, Inc. v. W. Publ’g Co., 218 F.3d 652, 658 (7th Cir. 2000) (Posner,

 J.) (“a start-up company should not be permitted to obtain pie-in-the-sky damages upon

 allegations that it was snuffed out before it could begin to operate . . . capitalizing fantasized



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 earnings into a huge present value sought as damages”). XU failed to offer any such basis for

 the $70 million in lost value that the jury found in awarding damages, and its evidence of the

 amount of lost value was thus legally insufficient for several reasons:

        First, XU’s lost value evidence used the wrong measure of lost value. Damages for fraud

 are recoverable only if the plaintiff proves a “causal connection with the reliance” on the

 omission or misrepresentation, Goehring v. Chapman Univ., 121 Cal. App. 4th 353, 364 (2004),

 which in this case means a causal connection with XU’s reliance on its supposed belief that its

 SolutionsPlus application had not been denied. Thus, the proper measure of XU’s lost value

 damages was the difference between what the company would have been worth if the “denial”

 had been disclosed in late April 2006, when the purported reliance began, and its value after the

 “denial” was disclosed in January 2007. XU’s expert, however, incorrectly determined XU’s

 value as the difference between its value with and without a partnership with Cisco.

        Mr. Bratic took his valuation of XU from two reports, neither of which considered the

 impact on XU’s value of the timing of Cisco’s disclosure that the SolutionsPlus application had

 been denied. The Standard & Poor’s report, which was issued in February 2005, PTX 312 at 1,

 more than a year before the denial of XU’s SolutionsPlus application, estimated XU’s value

 “based upon a potential partnership with Cisco.” D.I. 498, Ex. 46 ¶ 72 (emphasis added). And

 the Duff & Phelps report, which was issued in October 2006, PTX 314 at 1, three months before

 the denial of the application supposedly was disclosed, assumed that XU would “implement[] a

 partnering model” through which “potential sales relationships . . . may be fostered,” PTX 314

 at 12 n.4, 17, and its valuation of XU’s financial sector operations was “very close” to the

 Standard & Poor’s valuation, 5 Tr. 1297:8-19. Accordingly, Mr. Bratic recognized at trial that




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 the valuations he took from the Standard & Poor’s and Duff & Phelps reports assumed that XU

 would partner with Cisco in the SolutionsPlus Program or at least had the prospect of doing so:

        Q.      Please explain [your damage model] to us.

        A.      . . . [T]he measure of damages is to look at what the value of [XU] was at the time
                it was part of the SolutionsPlus program, working towards that, comparing what
                happened after it was no longer part of the SolutionsPlus program.

 5 Tr. 1275:24-1276:22 (emphasis added). Thus Mr. Bratic incorrectly measured the damages to

 XU from not being in SolutionsPlus, not the damages from Cisco’s supposed disclosure that XU

 had been denied admittance to the program in January 2007 rather than in April 2006.2

        Elsewhere, Mr. Bratic asserted that his $70 million valuation assumed only that XU

 would “partner or collaborate with companies, either Cisco or other companies.” 5 Tr. 1255:9-

 18; see also 5 Tr. 1276:10-14 (assuming that XU “was going forward with partners . . . whether

 they be Cisco, whether they be IBM or Genesys”). But XU failed to prove with reasonable

 certainty that XU would have partnered with IBM or Genesys. See supra pp. 10-14. In addition,

 XU failed to present any evidence that IBM or Genesys had a partnering program similar to

 Solutions Plus or that XU’s revenues in a sales partnership with IBM or Genesys would have

 been the same as it was projected to have in the SolutionsPlus Program. To the contrary, the

 evidence showed that Cisco was XU’s preferred partner and that, even after the SolutionsPlus

 application was denied, Cisco supported XU more vigorously than IBM. DX 428; 3 Tr. 673:16-

 675:4. Thus, Mr. Bratic’s assumption that XU had the same value whether it partnered with

 Cisco, IBM or Genesys is based on speculation and thus fails to establish XU’s value with the

 reasonable certainty required by the new business rule.


        2
           Mr. Bratic used this measure in his expert report, because, when he submitted the
 report, XU was claiming that it was promised admittance to SolutionsPlus. D.I. 82 ¶¶ 76,
 145(b). This claim was rejected at the summary judgment stage. See D.I. 634, at 14.


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        Second, even if the valuations that Mr. Bratic drew from the Standard & Poor’s and Duff

 & Phelps reports had used the right measure of damages, they were based on revenue projections

 that are, as this Court recognized, “inherently speculative.” D.I. 608 at 4. Both reports estimated

 the value of XU based on its anticipated revenues, which in turn were “based on projections

 provided by XUI management.” PTX 314 at 3, 12, 15; see also PTX 312 at 9 nn. 3-4 (noting

 that projections were “[b]ased on discussions with XpertUniverse Management”).             Neither

 Standard & Poor’s nor Duff & Phelps purported to have verified the projections from XU’s

 management. To the contrary, Standard & Poor’s itself described XU management’s projections

 as “guesstimates.” PTX 312 at 4. The Duff & Phelps report stated that it would “assume no

 responsibility and make no representations with respect to the[ir] accuracy,” and that its

 valuation was “dependent on the achievability of management’s projections.” PTX 314 at 3.

 Moreover, neither the reports, Mr. Bratic nor XU explained how XU’s management had

 generated the projections used in the reports.

        A valuation based on such unexplained projections cannot establish a new business’s loss

 with reasonable certainty. See TK-7 Corp. v. Estate of Barbouti, 993 F.2d 722, 733-34 (10th Cir.

 1993) (holding lost profit calculations based on unexplained sales projections were speculative

 and failed to show lost profits with reasonable certainty); AlphaMed Pharms. Corp. v. Arriva

 Pharms., Inc., 432 F. Supp. 2d 1319, 1350-51 (S.D. Fla. 2006) (holding lost profits calculations

 by the same damages expert Mr. Bratic speculative because based on unproven assumptions in

 the plaintiff’s business plan), aff’d, 294 F. App’x 501 (11th Cir. 2008); Parlour Enters., 152 Cal.

 App. 4th at 289-90 (holding impermissibly speculative a lost profits calculation that a small ice

 cream restaurant would grow on a par with the national Friendly’s chain, noting that the plaintiff

 had failed to show “how the projections were actually calculated or upon what facts they were




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 based”); see also Tunis Bros. Co. v. Ford Motor Co., 952 F.2d 715, 738-39 (3d Cir. 1991) (“[A]

 growth percentage rate determined only by the plaintiffs’ speculation about the number of

 tractors they could sell within a given year requires the jury to speculate and thus cannot support

 a compensatory damages award.”).

        For example, in TK-7 Corp., 993 F.2d 722, the plaintiff asserted that the defendant had

 prevented it from entering into a joint venture in Britain, and its financial expert had calculated

 the lost profits from that venture based on market share projections in a market survey report. Id.

 at 730-31. The expert, however, failed to explain how the market share projections in the report

 were generated. Id. at 733. Thus, applying Oklahoma’s “new business rule,” the Tenth Circuit

 held that, even though the expert attempted to corroborate the projections, his calculations were

 speculative and failed to prove lost profits with reasonable certainty. Id. at 726, 733. “In order

 to establish future lost profits damages with reasonable certainty, the plaintiffs at a minimum

 were required to present testimony fully explaining how the projection of future sales was

 calculated and the factors upon which it was based.” Id. at 733

        Applying the TK-7 Corp. decision, AlphaMed held the testimony of Mr. Bratic, XU’s

 damages expert here, deficient as a matter of law. In AlphaMed, Mr. Bratic opined that, due to

 the defendant’s misconduct, AlphaMed, a start-up, missed a “window of opportunity” to attract

 capital and went out of business. 432 F. Supp. 2d at 1330. Mr. Bratic in that case, much as here,

 calculated AlphaMed’s lost profits based on assumptions in AlphaMed’s business plan and

 representations of its owners. Id. at 1350. After trial, the district court granted JMOL, reasoning

 that, to satisfy its burden of proof, AlphaMed had “to prove the factual bases on which [Bratic’s]

 assumptions rested.” Id. at 1351. Because AlphaMed failed to do so, the court ruled that it had

 failed to prove lost profits with reasonable certainty and entered JMOL for defendant Arriva. Id.




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 at 1351-52. The Eleventh Circuit unanimously affirmed, based on the district court’s “well-

 reasoned opinion.” 294 F. App’x 501.

        Mr. Bratic’s testimony here, as in AlphaMed, failed to prove with reasonable certainty

 lost value from a supposed lost window of opportunity. Much as in AlphaMed, Mr. Bratic relied

 on client revenue projections, here filtered through the Standard & Poor’s and Duff & Phelps

 reports. But Mr. Bratic failed to explain the basis for these projections, and XU presented no

 other evidence explaining them. And like the expert in TK-7 Corp., Mr. Bratic attempted to

 corroborate some of the projections based on Cisco’s projections for XU sales while partnered

 with Cisco, but failed to explain how these projections were generated, much less how they

 suggested what XU’s sales would have been if XU had partnered with IBM or Genesys rather

 than Cisco. See 5 Tr. 1300:15-1305:4; PTX 469 at 16. Thus, XU failed to prove the reliability

 of the projections on which Mr. Bratic’s valuation was predicated, and therefore failed to

 establish the amount of XU’s loss with reasonable certainty.

                3.     No Reasonable Jury Could Find That Cisco’s Delay In Disclosing The
                       Denial Of XU’s SolutionsPlus Application Caused Any Loss In XU’s
                       Value

        In addition to failing to show either the occurrence or the amount of lost value with

 reasonable certainty and therefore failing to satisfy California’s new business rule, XU failed to

 prove the required element of causation with respect to the lost value damages the jury awarded.

 This Court warned XU before and during trial that it could not rely upon Mr. Bratic to establish

 such causation, but instead would have to do so through fact testimony. See D.I. 647 at 3

 (“Causation is a factual issue on which Bratic has not offered any helpful expert testimony. XU

 must prove causation through fact testimony.”); see also 5 Tr. 1315:2-18, 1315:20-1316:5,

 1320:3-11 (sustaining objections to testimony by Bratic concerning causation). XU did not heed

 these warnings, and failed to present any fact testimony establishing that Cisco’s supposed delay


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 in disclosing the denial of the SolutionsPlus application, as distinguished from the denial itself,

 caused XU to suffer $70 million in damages.

        Under California law, “[d]eception without resulting loss is not actionable fraud,” and

 therefore “[t]o recover for fraud, a plaintiff must ‘prove detriment proximately caused by the

 defendant’s tortious conduct.’” Geohring, 121 Cal. App. 4th at 364 (quotation omitted); see also

 Kruse v. Bank of Am., 202 Cal. App. 3d 38, 60 (1998) (“It is axiomatic that to obtain recovery for

 fraud, a claimant must prove, inter alia, that damages were sustained as a proximate [result] of

 the fraudulent conduct.”) (citation omitted). Accordingly, even apart from the new business rule,

 courts applying California law have granted JMOL when a plaintiff claiming fraud has not

 proved causation. See, e.g., Shum v. Intel Corp., 630 F. Supp. 2d 1063, 1075 (N.D. Cal. 2009);

 Kruse, 202 Cal. App. 3d at 60-62; Williams v. Wraxall, 33 Cal. App. 4th 120, 132, 137 (1995);

 see also Minn. Mut. Life Ins. Co. v. Ensley, 174 F.3d 977, 982 (9th Cir. 1999) (granting summary

 judgment); Gray v. Don Miller & Assocs., Inc., 35 Cal. 3d 498, 503-04 (1984) (reversing fraud

 damages award where plaintiff’s claimed damages were not caused by reliance on the fraud but

 by other non-actionable events); Serv. Emps. Int’l Union, Local 250 v. Colcord, 160 Cal. App.

 4th 362, 375 (2008) (reversing trial court’s award of damages for fraud and breach of fiduciary

 duty after bench trial because there was “no substantial evidence” of causation); Goehring, 121

 Cal. App. 4th at 365 (granting summary adjudication).

        XU’s theory of causation was that concealment of the “denial” of its SolutionsPlus

 application from late April 2006 until January 2007 caused it to fail and go out of business. But

 XU did not present evidence of such a causal connection. Far from presenting evidence that

 Cisco’s concealment of the denial of its application caused it to go out of business, XU presented

 testimony that the denial itself “killed” its business. For example, Mr. Friedman testified that,




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 when he told investors that XU would not participate in the SolutionsPlus Program, they were

 angered and that “funding dried up very quickly. The investors that used to be there for us were

 all done. . . . And we slowly but surely started to wind down the company . . . .” 2 Tr. 336:1-5.

 Ms. Eiss similarly testified that the SolutionsPlus Program was important to XU’s investors and

 that denial of XU’s application “pretty much killed the company because we were counting on

 SolutionsPlus to drive revenue.” 3 Tr. 532:7-23, 566:8-567:6.

         Moreover, XU failed to prove that disclosure of the denial of its application had any

 different impact in January 2007 than it would have had in April or May 2006, shortly after the

 Governance Council made its decision. Mr. Friedman and Ms. Eiss testified that XU had other

 “options” in April 2006, 2 Tr. 337:12-338:6; 3 Tr. 567:7-568:16, but XU failed to show that

 these options would have led to a partnering relationship, much less that such a relationship

 would have saved XU from failure and enabled XU to achieve the projected revenues that

 formed the basis for the $70 million valuation. See supra pp. 10-14, 16. In addition, XU failed

 to offer any reason why these options were available in late April 2006 but not in January 2007,

 thus failing to show that the supposed concealment of the denial until January 2007 affected the

 availability of the options.

         Indeed, the evidence showed that, by April 2006, XU already had one foot in the grave.

 By that time, XU had been operating for seven years and had expended at least $24 million. DX

 521 at 2; 2 Tr. 351:16-18. Nevertheless, it had not sold a single product and did not even have a

 finished product available for sale. 2 Tr. 351:22-352:7; 3 Tr. 571:5-573:8. XU also could not

 identify any customer other than Citibank, which pursued a pilot project but in the end did not go

 forward with even that project. See supra pp. 7, 12 n.1 Questions were being raised about XU’s

 senior executives, product, and business model. DX 502, 505, 507, 513, 521. And XU was




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 strapped for cash and had no ability to support any clients other than Citibank. DX 425 at 4; 3

 Tr. 619:5-620:3.

        In light of this record, no reasonable jury could have found that XU’s demise was caused

 by Cisco’s delay in disclosing the fact that in late April 2006 the Governance Council had termed

 XU’s SolutionsPlus application “denied.”

        B.     Alternatively, The Court Should Grant Remittitur And/Or A New Trial On
               Damages For Fraudulent Concealment

        If the Court does not grant JMOL on the damages awarded XU on its fraudulent

 concealment claim, it should remit those damages or grant a new trial on damages.

               1.      Any Damages Awarded For Fraudulent Concealment Should Be
                       Remitted To $2.66 Million Or At Most $4 Million

        “The remittitur is well established as a device employed when the trial judge finds that a

 decision of the jury is clearly unsupported and/or excessive.” Cortez, 617 F.3d at 715 (quoting

 Spence v. Bd. of Educ. of Christina Sch. Dist., 806 F.2d 1998, 1201 (3d Cir. 1986); brackets

 omitted). As shown in Section IV.A supra, the $70 million in damages awarded by the jury for

 fraudulent concealment is both clearly unsupported and excessive: the evidence failed to show

 that XU was a $70 million company or that Cisco’s supposed failure to earlier disclose its

 “denial” of XU’s application for the SolutionsPlus Program caused XU to fail, much less to lose

 $70 million in value. If the Court does not grant JMOL on damages for fraudulent concealment,

 it should remit those damages to the “highest amount the jury could properly have awarded

 based on the relevant evidence.” IPPV Enters., 191 F. Supp. 2d at 573 (quoting Oiness, 88 F.3d

 at 1030).

        While Mr. Bratic’s $70 million valuation for XU is unsupportable, and XU failed to offer

 any alternative method by which the jury could reasonably have calculated the company’s

 purported lost value, the record might support up to $2.66 million or at most $4 million in


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 damages to which this Court could order remittitur. As the Court recognized, D.I. 647 at 3-4,

 XU could have sought to recover reliance damages,3 and the jury might have concluded that XU

 would have halted its efforts at integration upon hearing of the denial of the SolutionsPlus

 application despite Mr. Hernandez’s nearly successful efforts at revisiting the issue. The jury

 thus conceivably might have awarded XU the amounts its expended working on integrating its

 software with Cisco routers after late April 2006. See, e.g., Fladeboe v. Am. Isuzu Motors, Inc.,

 150 Cal. App. 4th 42, 66 (2007) (noting that defrauded parties are entitled to recover “out-of-

 pocket damages”); Kenly v. Ukegawa, 16 Cal. App. 4th 49, 54-55 (1993) (“Cases involving fraud

 where property was not acquired have limited damages to out-of-pocket losses.”). Mr. Bratic

 testified that XU raised $4 million in 2006, which it spent on the integration. 5 Tr. 1311:14-22.

 XU cannot claim reliance damages for any expenses incurred before the supposed concealment

 of the denial of the SolutionsPlus application in late April 2006, see D.I. 647 at 3-4, and there is

 no evidence of how much of the work on integrating XU’s products with Cisco routers was done

 before April 2006. As a result, the highest out-of-pocket damages the record might support

 would assume that the expenditures were evenly distributed throughout the year and attribute to

 the eight months from May to December two-thirds of the 2006 expenses, which is

 approximately $2.66 million. In no event could the jury award reliance damages of more than




        3
            The Court also addressed this measure of damages with Bratic at the Daubert hearing.
 D.I. 646 at 115:24-119:12. There, Mr. Bratic confirmed that he reviewed XU’s financial records
 to determine the amount XU spent working on the integration during the concealment period. Id.
 at 118:1-4 (“THE COURT: So the part about how they spent money between April and October
 or April and January, is that based on a review of the financial records? THE WITNESS: Yes.”).


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 the $4 million expended in 2006. Thus, the damages for fraudulent concealment should be

 remitted to $2.66 million or at most to $4 million.4

                2.      Cisco Is Entitled To A New Trial On Damages For Fraudulent
                        Concealment

        If the Court grants remittitur, it should grant a new trial on the damages awarded on XU’s

 fraudulent concealment claim contingent on XU’s rejection of the remittitur.

        First, for all the reasons set forth in Part IV.A supra, the jury’s findings that XU lost

 value, that this lost value amounted to $70 million, and that XU’s failure and consequent loss in

 value was caused by the supposed concealment of the “denial” of the SolutionsPlus application

 were against the great weight of the evidence. As shown above, XU never was a $70 million

 company; the evidence presented by XU of its alleged loss was speculative and failed to

 establish either the occurrence or the amount of the loss with reasonable certainty; and XU did

 not go out of business or lose any value it might otherwise have had because Cisco failed to

 disclose that the Governance Council “denied” XU’s application from late April 2006 through

 January 2007. See supra pp. 8-22. As a consequence, if JMOL is not granted, a new trial is

 warranted. See Whitserve, 694 F.3d at 26-34; Wordtech, 609 F.3d at 1319-22.

        Second, a new trial is warranted for the related reason that the jury’s $70 million award is

 excessive. See, e.g., Woodson, 109 F.3d at 936. A verdict is excessive if it is so large that the

 jury “clearly should have reached a different verdict,” Cal. Civ. Proc. Code § 657, or, put another

 way, “the evidence does not justify the amount of the award,” Stevens v. Parke, Davis & Co., 9

 Cal. 3d 51, 61 (1973). See also Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 419 (1996)


        4
            In addition, as explained in Cisco’s brief concerning the limitation-of-liability clause
 in the parties’ Technology Developer Program Agreements, XU’s damages are subject to a $3
 million cumulative cap. The total damages on the patent infringement and fraudulent
 concealment claims therefore cannot exceed $3 million.


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 (holding that state law governs whether an award is excessive). As just shown, that is the case

 here.

         Third, a new trial is warranted because the jury’s damages award was tainted by

 unreliable expert testimony from Mr. Bratic. See McMillan v. Weeks Marine, Inc., 478 F. Supp.

 2d 651, 656-60 (D. Del. 2007) (granting a new trial on damages after concluding that the

 testimony and expert reports of plaintiff’s damages expert should not have been admitted at

 trial); see also D.I. 389-1 (listing nine published decisions excluding or striking testimony from

 Bratic).

         After the Daubert hearing, this Court expressed doubts about the reliability of Mr.

 Bratic’s opinion concerning XU’s value and in particular his use of the valuations in the

 Standard & Poor’s and Duff & Phelps reports, see D.I. 647 at 3 n.1, which were excluded in part

 because of the speculative nature of the projections on which those valuations were predicated.

 See D.I. 608 at 4. Nonetheless, the Court allowed Mr. Bratic to offer his opinion concerning

 XU’s value based on his representation that it was reasonable to rely upon the reports because he

 had done his “own independent work and investigation on those valuation reports.” D.I. 646 at

 56-60. At trial, however, Mr. Bratic revealed just how deficient that “independent work and

 investigation” had been. Although he checked most of the sources identified in the reports, 5 Tr.

 1297:20-1298:16, he sought to verify the revenue projections upon which the valuations in the

 reports were predicated merely by comparing them to Cisco’s projections of XU’s sales had XU

 been partnered with Cisco—without attempting to explain why XU’s sales partnered with

 someone else would have been similar. See supra p. 16. These “Cisco” projections in turn were

 merely XU’s own projections, provided by XU to Cisco and circulated within Cisco. 6 Tr.

 1739:20-1749:3. In addition, despite the Court’s observation that these “guesstimates” were




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 “inherently speculative” and generated by parties with a “substantial motive to paint a rosy

 picture,” D.I. 608 at 4, Mr. Bratic made no attempt to explain how the projections were

 generated, much less determine if they were made in a reliable fashion, which is itself grounds

 for rejecting his opinion as unreliable. See, e.g., ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254,

 290-93 (3d Cir. 2012) (upholding exclusion of expert opinion based upon financial projections

 because the expert was unfamiliar with the assumptions and methodology underlying the

 projections); Meteorlogic, Inc. v. KLT, Inc., 368 F.3d 1017, 1019 (8th Cir. 2004) (excluding an

 opinion based on uncritical acceptance of a report prepared for a party as an investment-planning

 tool); Chemipal Ltd. v. Slim-Fast Nutritional Foods Int’l, Inc., 350 F. Supp. 2d 582, 592 (D. Del.

 2004) (excluding damages estimates based on projections in a marketing presentation when the

 expert failed to investigate the methodology used to generate the projections); Sterling v.

 Redevelopment Auth. of the City of Phila., 836 F. Supp. 2d 251, 273 (E.D. Pa. 2011) (excluding

 expert opinion concerning lost profits because it was based on revenue projections from the

 plaintiff that the expert failed to investigate).

         Mr. Bratic’s failure to investigate the basis for the projections in the Duff & Phelps and

 Standard & Poor’s reports also improperly foreclosed any critical examination of them at trial.

 Although experts may rely on hearsay, they may not act simply as a mouthpiece or conduit for

 hearsay. See, e.g., Dura Auto. Sys. Of Ind., Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002)

 (Posner, J.); see also TK-7 Corp., 993 F.2d at 732-33; In re James Wilson Assocs., 965 F.2d 160,

 172-73 (7th Cir. 1992) (Posner, J.); Legendary Art, LLC v. Godard, 2012 WL 3550040, at *4-5

 (E.D. Pa. Aug. 17, 2012). Experts are permitted to rely on hearsay “because the expert’s

 ‘validation, expertly performed and subject to cross-examination’” substitutes for cross-

 examination of the original declarant. TK-7 Corp., 993 F.2d at 732 (quoting Fed. R. Evid. 703,




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 advisory committee’s notes). Mr. Bratic short-circuited such scrutiny by relying on projections

 in documents excluded from the record without determining how they were generated.

        Finally, Mr. Bratic’s testimony was unreliable and inadmissible because his valuation of

 XU does not “fit” this case. See Fed. R. Evid. 702(d) (an expert must have “reliably applied the

 principles and methods to the facts of the case”); see also Gen. Elec. Co. v. Joiner, 522 U.S. 136,

 146 (1997) (“A court may conclude that there is simply too great an analytical gap between the

 data and the opinion proffered.”). As shown in Section IV.A.2 supra, Bratic did not calculate

 XU’s value in light of the “denial” of the SolutionsPlus application; instead, he used valuations

 of XU that assumed XU was partnering or at least had the prospect of partnering with Cisco.

 Thus, his opinion that XU lost $70 million in value is based on the fact that XU was denied

 admittance to SolutionsPlus, not on any harm from the eight-month concealment of that denial.

        As the jury adopted Mr. Bratic’s testimony valuing XU at $70 million in awarding XU

 damages in that amount, the admission of his unreliable testimony was obviously prejudicial, and

 a new trial is warranted on this ground alone. See, e.g., Donlin v. Philips Lighting N. Am. Corp.,

 581 F.3d 73, 83 (3d Cir. 2009); Hirst v. Inverness Hotel Corp., 544 F.3d 221, 228 (3d Cir. 2008).

 V.     CISCO IS ENTITLED TO JMOL OR NEW TRIAL ON THE PATENT
        INFRINGEMENT CLAIMS

        A.      Cisco Is Entitled To JMOL On The Remote Expert Infringement Claim

        To prove direct infringement, XU had to prove that each and every limitation of the

 asserted claims was actually present in Cisco’s accused products. See, e.g., Becton, Dickinson &

 Co v. Tyco Healthcare Grp., L.P., 616 F.3d 1249, 1253 (Fed. Cir. 2010) (“If any claim limitation

 is absent from the accused device, there is no literal infringement as a matter of law.”) (citation

 and alteration omitted); see also D.I. 648 ¶¶ 4-5, 8, 10 (granting summary judgment on XU’s

 indirect infringement claims). XU claimed that Cisco’s Remote Expert product infringed claim



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 12 of the ‘903 patent. At trial, however, the only evidence of infringement that XU presented

 was the testimony of an expert, Dr. Illah Nourbakhsh, and Dr. Nourbahksh’s conclusory

 testimony failed to establish that Remote Expert practices three of the ‘903 patent’s limitations.

 See Paradox Sec. Sys. v. ADT Sec. Servs., 388 F. App’x 976, 982 (Fed. Cir. 2010) (affirming

 grant of JMOL where patentee’s expert made only conclusory statements and failed to point to

 any structure in accused product that satisfied the claim limitation); Rohm & Haas Co. v. Brotech

 Corp., 1995 WL 17878613, at *10 (D. Del. Jun. 30, 1995) (“blanket statement that certain

 accused products infringe[d] . . . is of little value absent some underlying support specific” to the

 claim limitation), aff’d, 48 F.3d 1089 (Fed. Cir. 1997).

        First, Dr. Nourbakhsh failed to present any probative evidence that Remote Expert

 practices the “inquiry-type database” limitation. One of claim 12’s limitations is an “inquiry-

 type database containing at least two layers of inquiry types, the layers of inquiry types

 organized from an underlying plurality of criteria groupings that are humanly understandable

 descriptors, wherein at least one layer of inquiry types comprises predetermined semantically-

 expressed inquiry types.” PTX 6, col. 7:52-56. Dr. Nourbakhsh identified the expert table in

 Remote Expert as an inquiry-type database, 4 Tr. 1049:24-1050:5, and asserted that the table

 practiced the limitations for such a database, 4 Tr. 1050:11-1051:23. But with respect to the

 requirement that the database have “layers of inquiry types organized from an underlying

 plurality of criteria groupings that are humanly understandable descriptors,” all that Dr.

 Nourbakhsh said was that Remote Expert contains “expert types” that operate as layers of

 inquiry types and “expert skills” that operate as criteria groupings.5 He did not suggest that the


        5
           See 4 Tr. 1051:10-15 (“And studying Remote Expert, I find that it has multiple layers of
 inquiry types, these things that I mentioned called expert types, and it has underlying set of
 criteria groupings which in this case expressed as something called expert skills.”).


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 expert types supposedly acting as layers of inquiry in Remote Expert are “organized from” the

 expert skills acting as criteria groupings, as the limitation requires. Nor could he. Undisputed

 testimony from William Dry, the Cisco engineer who designed Remote Expert, established that

 Remote Expert does not organize the expert table database: to the contrary, the database is

 “empty when the customer receives it” and “they must populate it.” 6 Tr. 1905:1-6; see also 6

 Tr. 1905:7-17 (describing process).

        In addition to failing to show that Remote Expert has layers of inquiry organized by

 criteria groupings, Dr. Nourbakhsh failed to present any probative evidence that Remote Expert

 has multiple layers of inquiry types. This Court construed the term “inquiry types” to mean

 “terms that organize and identify categories of assistance requested, created prior to use and

 expressed using language that is humanly understandable,” and the term “layer of inquiry types”

 to mean “a defined set of predetermined semantically expressed inquiry types.” D.I. 168 at 4-5.

 Dr. Nourbakhsh asserted that Remote Expert’s expert table “has multiple layers of inquiry

 types,” 4 Tr. 1051:10-11, but he offered no justification for this assertion other than a vague

 allusion to the use of multiple languages, 4 Tr. 1050:19-1051:5. It is undisputed, however, that

 Remote Expert can use multiple languages by creating buttons or icons using different

 languages, hard-coded changes that do not practice claim 12. 4 Tr. 1169:6-1172:24; 6 Tr.

 1911:11-1912:1.

        Second, Dr. Nourbakhsh failed to offer any probative evidence that Remote Expert

 practices the “skill-set database” limitation. Claim 12 requires a “skill-set database containing at

 least one entry that associates the expert with one of the inquiry types and its underlying criteria

 grouping.”   PTX 6, col. 7:58-60.      Here again, Dr. Nourbakhsh offered only a conclusory

 assertion. He testified that Remote Expert “has a skill set database” which contains “IDs that




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 relate right back to the kinds of questions people can ask in the other database table.” 4 Tr.

 1052:11-16. Dr. Nourbakhsh failed, however, to identify any structure in Remote Expert that

 constitutes the claimed “skill-set database” and, thus, failed to offer any probative evidence that

 Remote Expert practices the “skill-set database” limitation. See, e.g., Smith & Nephew, Inc. v.

 Arthrex, Inc., 453 F. App’x 977, 981 (Fed. Cir. 2011).

        Third, Dr. Nourbakhsh failed to offer any probative evidence that Remote Expert

 practices a “unique numeric routing identifier.” Claim 12 requires a “unique numeric routing

 identifier linked to each skill-set database entry and to the associated inquiry type in the inquiry-

 type database.” PTX 6, col. 7:61-63. At trial, Dr. Nourbakhsh pointed to two types of numbers

 used by Remote Expert: the IVR PN and an ID number. 4 Tr. 1052:20-1053:8; 7 Tr. 2129:19-

 2130:12. The IVR PN, however, is the telephone number of a group of agents able to receive

 calls, 6 Tr. 1907:16-1909:7, and thus does not link entries in the skill-set database and the

 inquiry-type database. The ID number identifies “touch interface” or button “that the customer

 sees,” 6 Tr. 1909:23-1910:23, and thus also does not link entries in the skill-set database and the

 inquiry-type database either.

        In short, far from proving that Remote Expert practices each and every limitation in claim

 12, XU failed to present probative evidence that it practices three separate limitations.

        B.      Cisco Is Entitled to JMOL On The Expert Advisor Infringement Claims

        XU claims that another Cisco product, Expert Advisor, infringes claim 12 of the ‘903

 patent as well as claim 5 of the ‘709 patent. The evidence that XU presented through Dr.

 Nourbakhsh falls short on these infringement claims as well.

        As with Remote Expert, XU failed to present probative evidence that Expert Advisor

 practices the “inquiry-type database,” “skill-set database,” and “unique numeric routing

 identifier” limitations of the ‘903 patent.        Dr. Nourbakhsh identified Expert Advisor’s


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 assignment queue system as its “inquiry types,” and its call type lists as its “criteria groupings.”

 4 Tr. 1060:18-1061:1, 1173:24-1175:18. But Dr. Nourbakhsh did not, and could not, testify that

 Expert Advisor practiced claim 12’s “layers of inquiry types organized from an underlying

 plurality of criteria groupings” (PTX 6, col. 7:52-53) because Expert Advisor’s call-type lists do

 not organize layers of assignment queues. 5 Tr. 1518:4-6. Indeed, Mike Lepore, the Cisco

 engineer who led the team that built Expert Advisor, testified that there was no relationship at all

 between the assignment queues and the call-type lists. 5 Tr. 1493:10-1494:1, 1517:16-1518:3.

 In addition, although Dr. Nourbakhsh asserted that expert advisor “has skill-set databases,” he

 once again failed to identify any structure containing such a database. 4 Tr. 1062:7-22. Dr.

 Nourbakhsh also asserted that Expert Advisor had a “unique numeric routing identifier” because

 there was a “unique connection between the skill groups and the assignment queues,” but failed

 to identify any numeric identifier used for routing. 4 Tr. 1062:23-1063:7.

        Dr. Nourbakhsh’s testimony concerning the ‘709 patent suffered from a different

 shortcoming. Claim 5 of that patent requires, among other things, a “database connected to a

 plurality of monitors presenting the quantity of inquiry criteria and values to the second member

 in an interactive manner.” PTX 2, col. 10:8-10. Expert Advisor users, however, do not interact

 through monitors presenting inquiry criteria and values: “With Expert Advisor, the only way that

 you could get into the system, was via a phone call.” 5 Tr. 1498:3-5; see also 5 Tr. 1498:5-

 1499:21, 1518:18-21; PTX 18 at 12-13. Dr. Nourbakhsh pointed out that Cisco’s Virtual Expert

 Management uses a graphical user interface and asserted that Virtual Expert Management is “at

 its core Expert Advisor,” 4 Tr. 1145:21-1146:19, but XU failed to present any evidence

 substantiating this assertion, and Cisco presented evidence showing that it was incorrect. PTX

 18 at 12-13; 5 Tr. 1497:13-1498:15, 1499:19-21.




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           Thus, Cisco is entitled to judgment as matter of law on all of XU’s patent infringement

 claims.

           C.     Cisco Is Entitled To JMOL Based On The On-Sale Bar

           Cisco is also entitled to judgment as a matter based on the “on-sale” bar. Under Section

 102(b) of the Patent Act, an invention may not be patented if it has been “on sale” more than one

 year before a patent application for it was filed. See 35 U.S.C. § 102(b). An invention is

 considered to be “on sale” if two conditions are satisfied: “first, the claimed invention must be

 the subject of a commercial sale or offer for sale, and, second, it must be ready for patenting.”

 Cargill, Inc. v. Canbra Foods, Ltd., 476 F.3d 1359, 1368 (Fed. Cir. 2007). Cisco showed that

 both these conditions were satisfied for the inventions described in the ‘903 and the ‘709 patents

 more than a year before an application to patent the inventions was filed.

           Specifically, Cisco showed that the application for the ‘903 patent was filed on January

 24, 2005, and the application for the ‘709 patent was first filed on April 2, 2004. 3 Tr. 767:24-

 768:9; PTX 2 at 2; PTX 6 at 2. Cisco also showed that in 2002 and 2003, XU (then named

 LearningIdeas) offered its platform to Allstate. See DX 110, 538, 541. Finally, Cisco’s software

 expert, Dr. Sandeep Chatterjee, analyzed XU’s source code, and based upon the comments and

 conventions in that code, determined that both claim 12 of the ‘903 patent and claim 5 of the

 ‘709 patent were embodied in XU’s platform before April 2, 2003. 6 Tr. 1645:17-1667:1. Thus,

 the inventions described in claims 12 of the ‘903 patent and claim 5 of the ‘709 patent were

 embodied in XU’s platform and offered to Allstate for sale more than a year before the

 applications for those patents were filed, and the on-sale bar renders both claims invalid.

           XU failed to rebut this evidence. XU presented testimony from John Steinhoff, a former

 director of technology and one of the inventors named on both the ‘903 patent and the ‘709

 patent, that XU did not have any finished products and that the invention was not embodied in


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 the demonstrations of its product that XU presented. See 3 Tr. 714:2-5, 718:20-23, 754:18-

 755:5; 7 Tr. 2093:18-21, 2094:10-22. But the on-sale bar does not require that a patent be

 included in a finished product or embodied in a demonstration shown to potential customers. As

 noted above, it requires only that the claimed invention be “ready for patenting” and be the

 subject of an “offer for sale.” Cargill, 476 F.3d at 1368.

        XU also presented testimony from Dr. Nourbakhsh disputing whether the inventions in

 question were embodied in XU’s source code. But two of the named inventors, Richard Mason

 and James Nevin, admitted that their inventions were embodied in XU’s source code, see 5 Tr.

 1576:2-15 (Richard Mason); 5 Tr. 1577:7-11 (James Nevin), and while Dr. Nourbakhsh denied

 that the limitations of the patents in suit were included in the portions of the source code

 identified by Dr. Chatterjee, his testimony was once again conclusory in nature, and he failed to

 explain when the elements of the inventions that the inventors had testified were included in

 XU’s source code were added to it. 7 Tr. 2101:14-2109:18. Thus, XU failed to raise a genuine

 issue concerning the application of the on-sale bar, and Cisco is entitled to JMOL under the bar

 on XU’s patent infringement claims.

        D.      Alternatively, Cisco Is Entitled To A New Trial On The Patent Infringement
                Claims

        For substantially the same reasons that Cisco is entitled to JMOL on the patent

 infringement claims and on the on-sale bar, a new trial is the minimum relief to which Cisco is

 entitled. Even if the conclusory testimony of Dr. Nourbakhsh was somehow sufficient to support

 the jury’s verdicts, those verdicts are against the great weight of the evidence, and a new trial is

 warranted.




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 VI.    CONCLUSION

        For the foregoing reasons, pursuant to Fed. R. Civ. P. 50(b), Cisco is entitled to judgment

 as a matter of law on XU’s fraudulent concealment and patent infringement claims and as to the

 $70 million in damages awarded for fraudulent concealment. In the alternative, pursuant to Fed.

 R. Civ. P. 59, any judgment on the fraudulent concealment claim should be remitted to $2.66

 million and/or a new trial should be granted on the fraudulent concealment and patent

 infringement claims.

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                                 CERTIFICATE OF SERVICE

                I hereby certify that on May 6, 2013, I caused the foregoing to be electronically

 filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

                I further certify that I caused copies of the foregoing document to be served on

 May 6, 2013, upon the following in the manner indicated:

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              EXHIBIT I
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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   XPERTUNIVERSE, INC.,

             Plaintiff,

      v.                                         Civil Action No. 09-157-RGA

   CISCO SYSTEMS, INC.,

              Defendant.


                                 MEMORANDUM OPINION

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   NovemberdQ, 2013
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        Pending before the Court are the parties' post-trial motions. PlaintiffXpertUniverse, Inc.

("XU") filed a Motion to Alter or Amend the Judgment Pursuant to Federal Rule of Civil

Procedure 59(e) and Motion for Attorneys' Fees Pursuant to 35 U.S.C. § 285 (D.I. 702).

Defendant and Counterclaimant Cisco Systems, Inc. ("Cisco") filed a Motion for Judgment as a

Matter of Law under Rule 50(b) and, in the Alternative, for Remittitur or New Trial Under Rule

59(a)(1) (D.I. 699); a Motion for Enforcement ofthe Parties' Agreement to Limit Liability (D.I.

697); and for an order holding the patents in suit unenforceable due to inequitable conduct (D.I.

706).

        XU brings this action against Cisco alleging that Cisco infringed its patents and

fraudulently concealed information from XU during the course of a relationship between the

parties, as set forth most recently in XU's Fourth Amended Complaint. (D.I. 82). Cisco

responded with numerous counterclaims and affirmative defenses, alleging that XU obtained its

patents via fraud on the United States Patent and Trademark Office. (D.I. 127). After a nine-day

jury trial, the jury returned the following verdict: Cisco committed fraud by concealment and

caused damages of$70 million; Cisco's Expert Advisor product infringed XU's U.S. Patent No.

7,366,709; Cisco's Expert Advisor and Remote Expert products infringed XU's U.S. Patent No.

7,499,903; XU should recover $15,463 for Cisco's infringement through Expert Advisor; and

XU should recover $18,920 for Cisco's infringement through Remote Expert.

        The parties completed their post-trial briefing on June 27, 2013.




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                                              DISCUSSION

       I. Cisco's Motion for Judgment as a Matter of Law

       Judgment as a matter of law is appropriate if "the court finds that a reasonable jury would

not have a legally sufficient evidentiary basis to find for [a] party" on an issue. FED.R.Civ.P.

50(a)(l). "Entry of judgment as a matter oflaw is a sparingly invoked remedy," one "granted

only if, viewing the evidence in the light most favorable to the nonmovant and giving it the

advantage of every fair and reasonable inference, there is insufficient evidence from which a jury

reasonably could find liability." Marra v. Phi/a. Housing Auth., 497 F.3d 286, 300 (3d Cir. 2007)

(internal quotation marks omitted).

       "To prevail on a renewed motion for [judgment as a matter oflaw] following a jury trial,

the [moving] party 'must show that the jury's findings, presumed or express, are not supported

by substantial evidence or, if they were, that the legal conclusion(s implied [by] the jury's verdict

cannot in law be supported by those findings.'" Pannu v. Iolab Co)rp., 155 F.3d 1344, 1348

(Fed. Cir. 1998) (citation omitted). "'Substantial' evidence is such relevant evidence from the

record taken as a whole as might be acceptable by a reasonable mind as adequate to support the

finding under review." Perkin-Elmer Corp. v. Computervision Corp., 732 F.2d 888, 893 (Fed.

Cir. 1984).

       In assessing the sufficiency of the evidence, the court must give the non-moving party,

"as [the] verdict winner, the benefit of all logical inferences that could be drawn from the

evidence presented, resolve all conflicts in the evidence in his favor, and in general, view the

record in the light most favorable to him." Williamson v. Consol. Rail Corp., 926 F.2d 1344,

1348 (3d Cir. 1991). The court may not determine the credibility of the witnesses nor


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"substitute its choice for that of the jury between conflicting elements of the evidence." Perkin-

Elmer Corp., 732 F.2d at 893. Rather, the court must determine whether the evidence reasonably

supports the jury's verdict. See Dawn Equip. Co. v. Ky. Farms Inc., 140 F.3d 1009, 1014 (Fed.

Cir. 1998); Gomez v. Allegheny Health Servs. Inc., 71 F.3d 1079, 1083 (3d Cir. 1995) (describing

standard as "whether there is evidence upon which a reasonable jury could properly have found

its verdict"); 9B WRIGHT & MILLER, Federal Practice & Procedure § 2524 (3d ed. 2008) ("The

question is not whether there is literally no evidence supporting the party against whom the

motion is directed but whether there is evidence upon which the jury properly could find a

verdict for that party.").

        Federal Rule of Civil Procedure 59(a) provides, in pertinent part: "The court may ...

grant a new trial on all or some of the issues ... after a jury trial, for any reason for which a new
                                                                                                        r
                                                                                                        I
trial has heretofore been granted in an action at law in federal court .... " While new trials are

infrequently granted, the "most common reasons" for granting such motions are: "(I) when the

jury's verdict is against the clear weight of the evidence, and a new trial must be granted to

prevent a miscarriage of justice; (2) when newly-discovered evidence would be likely to alter the

outcome of the trial; (3) when improper conduct by an attorney or the court unfairly influenced         I
                                                                                                        i
the verdict; or (4) when the jury verdict was facially inconsistent." Zarow-Smith v. NJ Transit

Rail Operations, 953 F .Supp. 581, 584 (D.N.J. 1997) (citations omitted).
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        The decision to grant or deny a new trial is committed to the sound discretion of the

district court. See Allied Chern. Corp. v. Daiflon, Inc., 449 U.S. 33,36 (1980); Olejins Trading,

Inc. v. Han Yang Chern. Corp., 9 F.3d 282, 289 (3d Cir. 1993) (reviewing district court's grant or

denial of new trial motion under deferential "abuse of discretion" standard). However, where the


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ground for a new trial is that the jury's verdict was against the great weight of the evidence, the

court should proceed cautiously, because such a ruling would necessarily substitute the court's

judgment for that of the jury. See Klein v. Hollings, 992 F.2d 1285, 1290 (3d Cir.1993).

Although the standard for grant of a new trial is less rigorous than the standard for grant of

judgment as a matter of law-in that the court need not view the evidence in the light most

favorable to the verdict winner-a new trial should only be granted where "a miscarriage of

justice would result if the verdict were to stand," the verdict "cries out to be overturned," or

where the verdict "shocks [the] conscience." Williamson, 926 F.2d at 1352-53.

               A. Fraudulent Concealment

       XU claims that Cisco concealed that Cisco denied XU entry into a partnership program

called Solutions Plus in April 2006, and did not disclose that denial until January 2007. XU

claims, and the jury found, that this concealment ofXU's denial from April2006 to January             i
2007 was fraudulent concealment that led to XU's demise and $70 million in damages.
                                                                                                      II
       The parties agree that California law governs XU's fraudulent concealment claim. (D.I.
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580 at 4). The elements of a cause of action for fraud based on concealment are:
                                                                                                      t
       (1) the defendant must have concealed or suppressed a material fact, (2) the
       defendant must have been under a duty to disclose the fact to the plaintiff, (3) the
       defendant must have intentionally concealed or suppressed the fact with the intent
       to defraud the plaintiff, (4) the plaintiff must have been unaware ofthe fact and
       would not have acted as he did ifhe had known ofthe concealed or suppressed
       fact, and (5) as a result of the concealment or suppression of the fact, the plaintiff
       must have sustained damage.

Bank ofAm. Corp. v. Superior Court, 130 Cal. Rptr. 3d 504, 509-10 (Cal. Ct. App. 2011)

(citations and internal quotation marks omitted). Cisco asserts that the fact concealed - XU's

denial from Solutions Plus - was not material. A fact is material if "a reasonable man would


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attach importance to its existence or nonexistence in determining his choice of action in the

transaction in question." Engalla v. Permanente Medical Group, Inc., 938 P.2d 903, 919 (Cal.

1997); (see D.I. 679 at 142). As such, materiality is generally a question of fact unless the fact

misrepresented is so obviously unimportant that the jury could not reasonably find that a

reasonable man would have been influenced by it. 1 I d.

       The evidence at trial shows that after XU's application for Solutions Plus was presented

to Cisco's Governance Council, the Council described the application as "denied" on April 25,

2006. (PTX 37 at CISC038318). XU's former President and Chief Operating Officer at the

time, Elizabeth Eiss, was the point person at XU for the Cisco relationship. (D.I. 675, Trial Tr.

vol. 3, 474, 505-07, 564-65). By June 2006, Eiss knew XU's application had been submitted to

the Council, that Council members had concerns regarding "getting clients on board and getting

market traction" and "training and education issues," and that XU "didn't have an approval."

(D.I. 675, Trial Tr. vol. 3, 629, 632, 633-37). XU witnesses testified that Cisco never told them

that their application had been "denied," and Cisco emails show this to be the case. (D.I. 674,

Trial Tr. vol. 2, 338-39; D.I. 675, Trial Tr. vol. 3, 561-62, 564, 567-68; PTX 38, PTX 47, PTX

46). The Cisco flowchart depicting the formal Solutions Plus approval process does not indicate

any opportunity for lobbying or additional review after a rejection by the Governance Council,

but Cisco employee John Hernandez testified that in practice, many Solutions Plus applications

are accepted after being initially rejected. (DX 826 at XU68616; D.I. 676, Trial Tr. vol. 4, 975;

D.l. 678, Trial Tr. vol. 6, 1712-15). In XU's case, after the April2006 "denial," Eiss worked

with Hernandez, her "champion" at Cisco, to address the Council members' concerns and get XU


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           Cisco has not asserted that materiality is a question oflaw.

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admitted to the program. (D.I. 675, Trial Tr. vol. 3, 636; D.I. 678, Trial Tr. vol. 6, 1767-91; DX

433,435, 456.) Hernandez went on to convince Council member Carl Weise to support XU's

application. (D.I. 678, Trial Tr. vol. 6, 1783-91; DX 455, DX 457 at 1, DX 579). But when a

potential XU account canceled an XU pilot, Hernandez concluded that the Council's objections

could not be overcome, and informed XU that Solutions Plus would not be available. (D.I. 678,

Trial Tr. vol. 6, 1797-1800; PTX 41).

       The evidence shows Cisco informed XU about the status of its application in every

respect except for Cisco's use of the term "denied." The issue here is whether there is sufficient

evidence from which a jury reasonably could find that there is a material difference between not

being approved, and being denied. Generally, XU asserts materiality based on the testimony of

Cisco employees that if Cisco's employees had been in XU's position, they would have wanted

to know that the application had been denied. (D.I. 676, Trial Tr. vol. 4, 958-59; id. at 982). XU

also asserts that the concealment of the denial itself speaks to the materiality of the information

concealed.

       More specifically, XU argues that knowing about the denial would have influenced XU's

conduct. Eiss testified, "to characterize that we knew it hadn't been approved as equal to you

knew it was denied, those are two totally different things." (D.I. 675, Trial Tr. vol. 3, 637-38).

Cisco's expert characterized short periods of time, which would include the nine months from

April2006 to January 2007, as a lifetime and testified that XU had other opportunities in April

2006. (D.I. 679, Trial Tr. vol. 7, 2055-56, 2076-77). Eiss and Friedman testified that had XU

known about the denial, XU could have abandoned its relationship and instead sought a

partnership with a competitor, such as Genesys or IBM. (D.I. 675, Trial Tr. vol. 3, 569-70; D.I.


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674, Trial Tr. vol. 2, 339-40). XU points to evidence that Cisco wanted to keep Genesys and XU

from partnering. (E.g., PTX 428, PTX 44). A former Citigroup Senior Vice President testified

that Citigroup was considering an XU pilot and that Citigroup was not concerned whether XU

was partnered with Cisco or IBM for that pilot. (D.I. 676, Trial Tr. vol. 4, 1003-04). XU argues

that "the jury was entitled to infer that since the process went no further, had XU known of the

denial[, it] would have pursued other opportunities." (D.I. 725 at 7).

       The evidence does not support the conclusion that the process "went no further" after the

April 2006 Governance Council meeting. Eiss and Hernandez continued to work towards

approval through December 2006, and obtained Carl Weise's support. The evidence also does

not support that XU would have pursued other opportunities if it had known ofthe "denial." Eiss

and Friedman testified only that XU "could have" (e.g., D.I. 675, Trial Tr. vol. 3, 532, 569-70)

pursued relationships with other companies if they had learned about the denial - not that the

information would have changed their own conduct, much less that of a reasonable person. For

XU to prove the materiality of the concealment ofthe "denial" for nine months, the factfinder

must infer that, had XU been told it was denied in April 2006, XU would have withdrawn from

the active relationship with Cisco, and would have sought to resuscitate defunct relationships

with IDM and Genesys. There is no evidence that XU would have done so.

       More generally, there is no evidence that there is any material difference between

"denied" and "not approved." While Eiss testified that to her there was a vague difference, she

did not provide any evidence as to why her conduct would have been influenced by any such

difference, or to allow the jury to infer what a reasonable person's conduct would have been.

While the evidence shows that XU was "denied," it was also undisputed that Hernandez


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continued to work, both internally and with Eiss, towards approval. XU's supposed status as

terminally denied (as opposed to not approved with a chance of overcoming that lack of

approval) is not supported by Cisco's internal emails after the "denial." (See PTX 38 (showing

Hernandez continuing to "move this forward"); PTX 46 (leaving open the possibility of "pushing

solution[]+ ifthere is a large customer opportunity requiring it"); PTX 48 (noting Carl Weise's

approval)). There is no evidence that the Governance Council's use of the word "denied"

introduced any material difference from "not approved."

       There is insufficient evidence for a jury to find that a reasonable person would attach

importance to the knowledge that XU was "denied," as opposed to not approved, in determining

his choice of action in the transaction in question. See Engalla, 938 P.2d at 919. Cisco's motion

for judgment as a matter of law on the fraudulent concealment claim is granted. The Court need

not reach Cisco's request for a new trial.

       B. Damages for Fraudulent Concealment

       Because the Court has already found there was insufficient evidence for a jury to find

Cisco concealed or suppressed a material fact, the Court need not reach Cisco's requests for

judgment as a matter oflaw, new trial, and/or remittitur on the damages awarded for fraudulent

concealment. However, as there are additional related deficiencies in the evidence underlying the

fraudulent concealment verdict, the Court will briefly set forth its reasons why it would grant

Cisco's request for a judgment as a matter of law on the $70 million concealment damages the

jury awarded.

       The inquiry is whether, as a result of the concealment or suppression of the fact, the

plaintiff sustained damage. Bank ofAmerica, 130 Cal. Rptr. 3d at 511. An expert's opinion on


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the measure of damages requires sufficient proof that the plaintiffs injury was caused by the

defendant's conduct. See Alphamed Pharms. Corp. v. Arriva Pharms., Inc., 432 F.Supp.2d 1319,

1352 (S.D. Fla. 2006).

       Cisco frames its request for judgment as a matter of law on concealment damages under

what it calls the "new business rule." Cisco claims that California law requires more stringent

proof oflost profits for new businesses, like XU, than for established ones; that because XU's

theory oflost value is based on partnering with larger companies to obtain customers and sales,

that XU's "lost value" is essentially lost profits; and that XU has failed to meet the "new

business" standard for showing those lost profits. (D.I. 700 at 8-14) (citing Sargon Enterprises,

Inc. v. University ofSouthern California, 288 P.2d 1237 (Cal. 2012); Kids' Universe v. In2Labs,

95 Cal. App. 4th 870 (Cal. Ct. App. 2002)).

       The deficiency in the evidence of causation is broader than Cisco's proposed "new

business rule." At trial, XU's theory of causation was that the concealment of the "denial," as

opposed to "not approved," from April2006 to January 2007 destroyed XU. XU asserts it had

numerous opportunities in April 2006 to derive value by partnering with larger companies like

Cisco, IBM, or Genesys, or perhaps on a pilot program with Citibank. XU asserted, through its

expert Walter Bratic, these partnership opportunities supported valuing XU at $70 million in

April2006. By January 2007, XU's theory goes, XU had spent all its resources on the Cisco

integration, news of the denial from Solutions Plus caused its investors to pull out, and none of

the partnership opportunities were available, making XU worth nothing.

       A necessary corollary underlying this theory is that, had XU known it was "denied" in

April 2006, not only would XU not have gone out of business and lost its entire $70 million in


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value, it would have lost no value at al1. 2 Because XU's $70 million valuation was based on

partnering with another company (D.I. 677, Trial Tr. vol. 5, 1277), XU's causation theory

requires showing that had XU known about the "denial" in April 2006, XU could have kept its

value by partnering with a different company. This in turn depends on the assumptions that 1)

had Cisco informed XU of its "denied" status in April 2006, XU would have separated from

Cisco; and 2) had XU pursued a partnership with a different company in April 2006, it could

have developed that partnership in a manner that kept XU in business and valued at $70 million.

XU's causation theory also requires showing that the concealment through January 2007

destroyed the opportunities for those partnerships.

       Only after proving causation, complete with these corollaries and assumptions, could XU

reach Bratic's opinion. Bratic only assumed that Cisco's alleged concealment caused XU to lose

its entire value, and he was precluded from opining on causation. (D.I. 647 at 2-3). XU was

required to prove causation through fact testimony. !d. at 3. Bratic described his damages model

as "but for"- comparing XU's value before and after the fraudulent concealment. Bratic's

damages model was predicated on XU deriving value from partnering with somebody - Cisco,

IBM, or Genesys. (D.I. 677, Trial Tr. vol. 5, 1277; id. at 1255). "For Bratic's opinions to be of

any use, [XU] was required to offer sufficient proof of the assumptions that Bratic accepted as

the foundation for his opinion, most importantly- that [XU]'s injury was caused by [Cisco]'s

conduct. Only upon such a showing could [XU] proceed to the next prong of its [damages]




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         In other words, XU's theory was that news ofthe "denial" in April2006 would have had
no effect, whereas the same news nine months later caused XU to go out ofbusiness.

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analysis and offer Bratic' s opinion to provide the jury with a non-speculative estimation of the

amount of [XU] 's injury." Alphamed, 432 F.Supp.2d at 1352.

       XU failed to prove that had it known about the "denial" in April 2006, things would have

ended differently. First, there is no evidence that concealing news of the denial from April 2006

to January 2007 destroyed any potential partnership opportunities. XU argues that the Genesys

partnership no longer existed "as a result" of XU spending all its resources, but cites no evidence

of such causation. Acquisition by Genesys is unsupported by anything more than a Cisco email

noting a "risk" of that acquisition; there is no evidence that XU was ever up for sale or that

Genesys had ever made a bid. (See PTX 45 at CISC033722). The Citibank opportunity, which

XU pursued with Cisco, disappeared because of factors internal to Citibank. (D.I. 676, Trial Tr.

vol. 4, 1005-06). IBM declined to purchase an XU license because XU's product was not ready.

(D.I. 674, Trial Tr. vol. 2, 349-50).

        Second, there is no evidence that had XU known about the "denial" in April2006, it

would have done anything differently, i.e., that it would have left Cisco and that it could have

monetized a different partnership. As noted in concluding XU failed to show the concealed

information was material, there is no evidence that XU would have left Cisco to pursue any other

partnership if it had known about the Governance Council's use ofthe term "denied." Nor is

there any evidence that XU could have monetized any partnership if it had pursued one: as just

noted, the Citibank opportunity disappeared because of factors unique to Citibank, and there is

no evidence of any potential Genesys or IBM partnership to add value to XU, in April 2006 or at

any other relevant time.




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       Third, there is no evidence that the effects of finding out about the "denial" in January

2007 were any different, or any more detrimental to XU, than finding out about the "denial" in

April, 2006. In other words, if disclosure of Cisco's "denial" in January 2007 destroyed XU, it is

reasonable to wonder why disclosure of the "denial" in April2006 would not have had the same

effect. XU offered, at most, only speculation that an April 2006 disclosure would have turned

out any differently. Eiss and Friedman testified that the denial of Solutions Plus caused XU to

lose revenue and investment- but said nothing about the impact of the nine-month concealment

of the denial on investors or on any third party partnership. (See D.I. 674, Trial Tr. vol. 2, 338-

40; D.I. 675, Trial Tr. vol. 3, 569-70). XU notes testimony that by January 2007, XU had spent

all of its resources integrating the Cisco routing component into its solution. (D.I. 677, Trial Tr.

vol. 5, 1262, 1265, 1272-75). But, again, there is no evidence that XU could have capitalized on

anything else if it had not spent all its money on the Cisco integration, or if it had not been

abandoned by its investors.

       The evidence presented by XU at trial is insufficient to show XU lost value because of

the concealment of its application being "denied," as opposed to being "not approved," from

April2006 to January 2007. Without evidence of any causation, XU could not proceed to the

next prong - Bratic' s opinion that XU was worth $70 million before the concealment, and had no

value after. There is no substantial evidence from which the jury could have found that

concealment of the "denial" for nine months caused XU to forego, or lose, other valuable

partnerships, and thereby lose its entire value. Thus, were the Court not granting judgment as a

matter oflaw on "materiality," the Court would grant it on "damages."




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               C. Patent Jrifringement

       Cisco asks for judgment as a matter oflaw, or in the alternative a new trial, on XU's

direct infringement claims. XU's infringement expert, Dr. Illah Nourbakhsh, provided XU's

only evidence of infringement. Cisco claims Dr. Nourbakhsh's testimony regarding five

particular limitations ("inquiry-type database," "multiple layers of inquiry types," "skill-set

database," "numeric routing identifier," and "monitors presenting inquiry criteria and values") is

conclusory, unsupported by any probative evidence, and in some cases in conflict with testimony

from lay witnesses. (D.I. 700 at 27-32). XU points out that for the most part, Cisco did not

cross-examine Dr. Nourbakhsh on these limitations, and notes the jury's ability to reconcile any

conflicts between different witnesses' testimony. (D.I. 725 at 33-38). Dr. Nourbakhsh testified

specifically, albeit quickly, as to how each Cisco product met each limitation at issue, surpassing

the level of testimony in Cisco's cited cases. See Paradox Sec. Sys. v. ADT Sec. Servs., 388 F.

App'x 976,982 (Fed. Cir. 2010); Rohm & Haas Co. v. Brotech Corp., 1995 WL 17878613, *10

(D. Del. June 30, 1995). Cisco has not shown there is insufficient evidence from which a jury

reasonably could find liability, nor that the verdict is against the great weight of the evidence.

       Cisco also asks for judgment as a matter oflaw that the '903 and '709 patents are invalid

because they were on sale more than one year before their applications were filed, under 35

U.S.C. § 102(b ); in the alternative, Cisco requests a new trial. Cisco asserts it proved XU offered

the inventions described in those patents for sale to Allstate in 2002 and 2003, based on XU

offering its platform for sale, on Dr. Sandeep Chatterjee's opinion that XU's software embodied

the claims at issue before April 2, 2003, and on two XU inventors testifying the XU software

embodied the claims at issue. (DX 110, 538, 540; D.I. 678, Trial Tr. vol. 6 1645-67; D.l. 677,


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Trial Tr. vol. 5, 1576-80). Cisco claims this evidence entitles it to judgment as a matter oflaw,

or a new trial, over testimony by XU's John Steinhoff, that the invention was not embodied in the

demonstrations XU showed Allstate, and by Dr. Nourbakhsh, that the software did not embody

the claims at issue. (See D.I. 695, Trial Tr. vol. 3 720, 728; D.I. 679, Trial Tr. vol. 7, 2095-96;

id. at 2102-2110). Cisco argues that what is shown or demonstrated to prospective customers

need not actually embody a patent, so long as the claimed invention is ready for patenting and is

the subject of an offer for sale. (D.I. 700 at 32-33, citing Cargill, Inc. v. Canbra Foods, Ltd., 476

F.3d 1359, 1368 (Fed. Cir. 2007)).

        In response, XU notes Steinhoffs testimony that the Allstate demonstration environment

did not embody the claims at issue, as it did not contain any code at all; that the jury was able to

 credit either Dr. Chatterjee's testimony that XU's source code at the time 3 embodied the claims at

 issue, or Dr. Nourbakhsh's testimony that it did not; and that the two named inventors testified

 only that XU's code embodied the claims at issue, without saying when. XU argues that Cisco

 did not meet its burden of establishing by clear and convincing evidence that the inventions were

 the subject of a commercial offer for sale and ready for patenting before the critical dates.

        The evidence reasonably supports the verdict that the patents were not invalid due to the

 on-sale bar. The jury was entitled to weigh the testimony by Drs. Chatterjee and Nourbakhsh,

 and rely on Dr. Nourbakhsh's testimony if it so chose. Similarly, the jury could conclude that the

 inventors' testimony that the source code embodied the claims at issue did not prove the code did




        3
        Dr. Chatterjee was precluded from testifying that the code he analyzed was executed or
 implemented in a product XU demonstrated, offered for sale, or sold. (D.I. 599 at 1-2).

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so before the critical date. It was within the jury's province to find Cisco did not prove § 102(b)

"on sale bar" invalidity by clear and convincing evidence.

       II. Cisco's Motion for Enforcement of the Parties' Agreement to Limit Liability

       In the alternative to Cisco's motions for judgment as a matter oflaw or a new trial, Cisco

asserts that limitations ofliability in 2005 and 2006 agreements between Cisco and XU capped

liability at $3 million. Because the Court has granted Cisco's motion on the fraud verdict, and

because Cisco's asserted $3 million cap does not affect the remaining damages for patent

infringement, the Court need not reach Cisco's motion for enforcement of those limitations of

liability against that verdict. The motion is moot.

       III. Cisco's Request for an Order Holding the Patents Unenforceable

       Cisco requests this Court find the patents in suit unenforceable because of the inventor(s)'

inequitable conduct in intentionally not disclosing pre-filing marketing and sales activities that

Cisco claims would have prevented XU from obtaining the patents in suit.

       To prevail on an inequitable conduct claim, a defendant must establish both the

materiality of the withheld reference and the applicant's intent to deceive the PTO. Therasense,

Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (en bane). In Therasense,

the Federal Circuit rejected the "sliding scale" approach to proving inequitable conduct, "where a

weak showing of intent may be found sufficient based on a strong showing of materiality, and

vice versa." !d. Instead, Therasense made clear that "[i]ntent and materiality are separate

requirements." !d. Moreover, a district court may not infer intent solely from materiality, and

thus "[p]roving that the applicant knew of a reference, should have known of its materiality, and

decided not to submit it to the PTO does not prove specific intent to deceive." !d.


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        With respect to materiality, the standard is but-for materiality unless there is affirmative

 egregious misconduct (which is not alleged here). !d. at 1291-92. A prior art reference "is

 but-for material if the PTO would not have allowed a claim had it been aware of the undisclosed

 prior art." !d. at 1291. In the inequitable conduct context, but-for materiality must be shown by

 a preponderance of the evidence, "giv[ing] claims their broadest reasonable construction." !d. at

 1291-92; see alsoAventis Pharma S.A. v. Hospira, Inc., 675 F.3d 1324, 1334 (Fed. Cir. 2012).

 "Often the patentability of a claim will be congruent with the validity determination-if a claim

 is properly invalidated in district court based on the deliberately withheld reference, then that

 reference is necessarily material because a finding of invalidity in a district court requires clear

 and convincing evidence, a higher evidentiary burden than that used in prosecution at the PTO."

 Therasense, 649 F.3d at 1292.

        To satisfy the intent requirement, "the accused infringer must prove by clear and

convincing evidence that the applicant knew of the reference, knew that it was material, and

made a deliberate decision to withhold it." !d. at 1290; 1st Media, LLC v. Elec. Arts, Inc., 694

F.3d 1367, 1374-75 (Fed.Cir. 2012) ("Knowledge ofthe reference and knowledge of materiality

alone are insufficient after Therasense to show an intent to deceive .... To sustain a charge of

inequitable conduct, 'clear and convincing evidence must show that the applicant made a

deliberate decision to withhold a known material reference.' "). Thus, inequitable conduct

requires clear and convincing evidence of a specific intent to deceive the PTO. Therasense, 649

F.3d at 1290. Because direct evidence of deceptive intent is rare, a district court may infer intent

from indirect and circumstantial evidence. !d. However, "the specific intent to deceive must be

'the single most reasonable inference able to be drawn from the evidence."' !d. at 1290 (quoting


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Star Scientific, Inc. v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008)).

"Indeed, the evidence must be sufficient to require a finding of deceitful intent in light of all of

the circumstances." !d. (internal quotation marks and citation omitted). "Hence, when there are

multiple reasonable inferences that may be drawn, intent to deceive cannot be found." !d. at

1290-91.

       Cisco points to the development of XU's technology platform through several iterations,

including earlier versions called KnowledgeSHARE and XpertSHARE, and XU's attempts to

sell or license those versions and develop support documents for them. The underlying facts are

not in dispute. 4 Named inventors Richard Mason and James Nevin, as well as XU's former vice

president David Rutberg, testified that the inventions claimed in the '709 Patent and the '903

Patent were embodied in XpertSHARE. (D.I. 677, Trial Tr. vol. 5, 1574-80). Cisco's expert, Dr.

Sandeep Chatterjee, opined that the claimed inventions were present in XU's source code by

April 3, 2003, more than a year before the applications for the patents were filed. (D.I. 678, Trial
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Tr. vol. 6, 1645-67). Cisco points to XU's efforts to sell or license its platform to Allstate         l
Insurance Company in December 2002 (e.g., DX 538,540,541, 110)); to Dell Computer Corp.

in July 2002 (D.I. 708-1, DX 537); and to Computer Associates in July 2002 (D.I. 708-1, DX 536
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at 3-4). The named inventors were involved in the effort to sell to Allstate. (E.g., DX 11 0). In

connection with these efforts, XU created user manuals and other documentation for its platform
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bearing copyright dates of2002. (DX 97, 33).


       4
          The parties agreed to submit the issue of inequitable conduct to the Court for decision
after the jury trial. (D.I. 580 at 15, ~4). The parties have treated the issue as one to be decided
without any further hearing, as evidenced in the briefing. (See D.I. 706, 726, 752). Therefore,
some of the record on this issue was not admitted at trial and is found only as appendices to the
briefing.

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        In 2004, XU hired an intellectual property consulting firm called ipCapital Group, Inc. to

evaluate whether XU had any protectable intellectual property, through an "ipScan."5 (D.I. 708,

Ex. D, Tr. 244-45). Friedman and the named inventors were involved in the ipScan. (!d. Ex. D,

Tr. 244-45; id. Ex. E, 25, 204; id. Ex. F, 55, 195; id. Ex. G, 183-84; id. Ex. H, 299).

        XU filed a provisional patent application, No. 60/559907, on April2, 2004, which listed

Nevin, Steinhoff, Mason, Zelkin, and Rutberg as inventors. (D.I. 707, DX 204). On March 31,

2005, XU filed a patent application claiming priority therefrom, which issued on April 29, 2008,

as the '709 Patent, listing Nevin, Steinhoff, Mason, and Zelkin as inventors. 6 (D.I. 707, DX 39).

On January 24, 2005, XU filed another patent application, naming Nevin, Steinhoff, Mason, and

Zelkin as inventors, which issued on March 3, 2009, as the '903 Patent. (D.I. 707, DX 40). For

both patents, each inventor certified they were not aware of any publications, offers for sale, or

uses more than a year before, and XU did not submit any prior art offers for sale. (D.I. 707, DX

 77 at CISC0377026-29; DX 39; DX 76 at CISC0377189-92; DX 40).

        On August 8, 2005, XU filed a third patent application claiming priority to the application

that issued as the '709 Patent, U.S. Application Serial No. 111200,520 ("the '520 Application").

 (D.I. 707, DX 38). During the period when the applications that became the '903 and '709

Patents were pending, the PTO rejected claims in the '520 Application over Xpertshare 2.0 three

times. (DX 38 [November 2, 2006; July 12, 2007; February 26, 2008]).         After the patents in


        5
         Cisco relies on the ipScan report (PTX 61) and transcripts of tape recordings ofthe
ipScan meeting (D.I. 708, Ex. I) to assert that ipCapital flagged potential on sale bar issues to the
inventors of the patents in suit. The Court excluded this report as hearsay, and excluded
ipCapital's statements in the recordings as lacking sufficient foundation even if they were
probative. (See D.I. 601 at 37-49; D.I. 608). The Court will not consider them now.
        6
            Rutberg was originally named as an inventor too. (D.I. 707, DX 39).

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suit had issued, the PTO rejected the claims in the '520 Application over

KnowledgeSHARE/XpertSHARE at least another four times. (DX 38). After further

amendments and multiple interviews with the Examiner, the claims were allowed with almost no

explanation on January 7, 2013. (D.I. 707, DX 38).

        Cisco asserts that XU's offers to sell its platform to Allstate and Computer Associates

were material to the on-sale bar, and that Friedman and the inventors intentionally withheld

evidence that XU offered to sell the KnowledgeSHARE/XpertSHARE platform during

prosecution of the '903 and '709 Patents. XU disputes both but-for materiality and intent. The

Court begins with intent.

        Cisco asserts it has shown specific intent to defraud by showing: 1) Friedman and the

named inventors had actual knowledge of XU's offers to sell; 2) XU, including Friedman and

 Steinhoff as evidenced by their declarations in the '520 Application prosecution history, knew

from the rejections in the co pending '520 Application that the PTO had patentability concerns

regarding XU's xpertshare 2.0; and 3) ipCapital put Friedman and the inventors on notice

regarding the prior offers for sale. Cisco argues that Friedman and the inventors were thus aware

of the prior offers for sale and their materiality, such that intent to deceive is the single most

reasonable inference able to be drawn from this evidence. Id. (citing Therasense, 649 F.3d at

 1290). In response, XU does not dispute that Friedman and the inventors knew of the prior offers

 for sale or of their significance to the PTO or to ipS can. XU argues that Cisco has shown no
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evidence of any intent to deceive, and that Cisco's argument inferring intent from alleged

materiality is improper. 7

        Cisco has not shown clear and convincing evidence of a specific intent to deceive the

PTO- specifically, that XU's applicants made a deliberate decision to withhold the information.

See Therasense, 649 F.3d at 1290. Assuming for purposes of discussing intent that the prior sale

activities satisfy the but-for materiality standard and that Friedman and the inventors were aware

of this materiality, there is zero evidence of intent other than their knowledge of the prior sale

activities and their presumed materiality. The law is clear: this is insufficient. r Media, LLC,

694 F.3d at 1375 ("An applicant's knowledge of a reference's materiality, however, cannot by

itself prove, let alone clearly and convincingly prove, that any subsequent non-disclosure was

based on a deliberate decision."). Cisco argues that intent to deceive is the single most

reasonable inference, but provides no evidence of any deliberate decision to deceive. Without

 showing intent, Cisco cannot show inequitable conduct. Its motion is denied. 8

        IV. XU's Motion to Alter or Amend the Judgment

        XU moved to alter or amend the judgment pursuant to FED. R. CN. P. 59( e), to grant XU

 the following with regard to the patent infringement verdict: 1) supplemental damages based on


        7
         XU also notes it was represented by counsel in prosecuting the '520 Application and
patents in suit. Cisco correctly counters that XU had never before asserted an advice of counsel
defense, such that it would be improper to rely on such a defense to find there was no inequitable
conduct.
        8
         Because Cisco did not prove intent, the Court need not reach the element of materiality.
However, the Court notes that the jury did not find Cisco proved an on-sale bar. As explained
supra, the Court denied Cisco's request for a judgment as a matter of law on the issue. The
Court would be hard pressed to find a basis for ruling the same activities meet the standard of
but-for materiality in this context, even acknowledging that Cisco only has to meet the
preponderance of the evidence standard to find materiality for inequitable conduct.                  II
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pre-verdict infringing sales and for any accounting that may be necessary; 2) prejudgment interest

on the awarded damages under 35 U.S.C. § 284; 3) post-judgment interest under 28 U.S.C. §

1961; and 4) ongoing royalties for continued infringement after entry of the Judgment or, in the

alternative, a permanent injunction.

        A. Pre-Verdict Infringing Sales

        XU seeks sales information, and supplemental damages thereon, updated from the last

information Cisco provided: for Expert Advisor, from January 29, 2012 through trial (March 22,

2013), and for Remote Expert, from April 12,2012 through trial. Cisco responds that Expert

Advisor has not been sold since January 29, 2012, and the only additional sales of Remote

Expert in the version the jury found to infringe have been outside the United States, as Cisco

changed the configwation. (D.I. 720 at 3-4). Cisco therefore concludes that there are no sales

after the close of discovery of products the jury found infringe.

        Regarding Expert Advisor, XU's somewhat strained interpretation of Cisco

documentation to argue the product may still be sold or implemented (D.I. 703 at 11, D.I. 747 at

2-3) does not controvert Cisco's express representations, supported by employee testimony and a

 declaration, that it has not made any additional sales of Expert Advisor. 9 (See D.I. 677, Trial Tr.

 vol. 5, 1520; D.I. 722, Decl. ofTod Famous,~ 4, Ex. A). Any Cisco response to XU's request

 for updated sales information would be, "none." The Court will not order this exercise in
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 redundancy.




        9
          During a discovery dispute over Expert Advisor, counsel for XU conceded Cisco was no
 longer selling that product. (D.I. 598 at 30). The Court precluded further pretrial discovery into
 Expert Advisor. !d. at 31-32.

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       Regarding Remote Expert, as an initial matter, the parties do not appear to dispute that

sales outside the United States do not infringe. Cisco represented to the Court before trial that if

Remote Expert were found to infringe, Cisco would update its sales figures for Remote Expert

versions 1.5 and 1.8. (D.I. 704-1 at 8, Hrg. Tr. at 24-25). Now, after trial, Cisco asserts there

have been no additional U.S. sales of Remote Expert 1.5 or 1.8 with the matching and routing

capabilities presented in XU's infringement case and evaluated by the jury. Cisco points to Dr.

Nourbakhsh's testimony that Remote Expert practices the '903 Patent's limitation of"at least

two layers of inquiry types" because of the way in which it supports implementations using

multiple languages. (D.I. 676, Trial Tr. vol. 4, 1169-75). Dr. Nourbakhsh testified that using an

independent translation file, such as Google Translate, does not use the invention of the '903

Patent. Id. at 1173-75. Cisco asserts, through an employee declaration, that it has modified

Remote Expert so that it now uses Google Translate to convert the interface to another language.

(D.I. 721, Decl. ofWilliam Dry,~ 13).

       In reply, XU asserts that Remote Expert's "multi-lingual support was just one example

that proved Remote Expert satisfied this limitation." (D.I. 747 at 6, citing D.l. 676 at 1052-53).

Dr. Nourbakhsh stated in a declaration that Remote Expert 1.8's "locales" still denote multiple

layers of inquiry types, even if the multiple languages do not. (D.I. 749, ~~ 7-8). XU asserts that

the modified version of Remote Expert still contains infringing multiple layers (i.e., the

"locales"), making the change "no more than a colorable variation" that still infringes, as in

Creative Internet Advertising Corp. v. Yahoo! Inc., 674 F.Supp.2d 847, 856-59 (E.D. Tex. 2009).

       XU bases its argument for preverdict sales information for the new version of Remote

Expert on law addressing enforcement of an ongoing royalty against a new, post-verdict version


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of a product. (D.I. 747 at 3 n.1; id. at 6-7 (citing Creative Internet Advertising Corp., 674

F.Supp.2d at 856-59)). A party seeking to include a new product version in post-verdict relief

must prove that the new version is not more than colorably different from the product found to

infringe, and that the newly accused product actually infringes. nCube Corp. v. Seachange Int 'I

Inc., 2012 WL 4863049, *2 (D. Del. Oct. 9, 2012) (quoting TiVo Inc. v. Echostar Corp., 646

F.3d 869, 882 (Fed. Cir. 2011) (en bane)); see also Creative Internet Advertising Corp., 674

F.Supp.2d at 855. The Court "'must focus initially on the differences between the features relied

upon to establish infringement and the modified features of the newly accused products."'

nCube, 2012 WL 4863049 at *4 (quoting TiVo, 646 F.3d at 882).          In nCube, the plaintiff

accused a component called the Clientl D of satisfying a specific limitation. After a verdict of

infringement and the award of an injunction, the defendant redesigned the Client1D component.

The plaintiff then claimed a second component in the new version, the SessioniD, satisfied that

limitation. The SessioniD was not changed or modified as part ofthe redesign effort.

Accordingly, the Court did not find in the SessioniD allegations a basis for finding a lack of

colorable differences. !d. at *4-5. The plaintiff also failed to prove by clear and convincing

evidence that the modified system infringed. !d. at *5.

        While this inquiry relates to preverdict sales information, and nCube addresses the scope

of post-verdict relief, factually, this case is very similar to nCube, but has even less of an

evidentiary basis to find a lack of colorable differences between the versions of Remote Expert or

to find that the new version infringes. The multilingual feature relied upon to establish

infringement of a specific limitation at trial is no longer present in Remote Expert; XU's expert

 admitted the new method for achieving multiple languages does not infringe that limitation; and


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the "locale" feature relied upon to establish infringement by the new version was not addressed at

trial or even in XU's opening brief. (See D.l. 676; D.l. 703). Dr. Nourbakhsh's use ofthe word

"example" at trial, his new two-paragraph "locales" opinion, and Cisco's employee's short

declaration fail to prove that the new version of Remote Expert is not colorably different from

the old version, or that the new version infringes. Further, based on the briefing, it is not clear

what standard and burden of proof the Court should apply in the context of pre-verdict sales,

whether Dr. Nourbakhsh's "locales" opinion is properly introduced at this juncture, or if the

opinion was in Dr. Nourbaksh's expert report.

        The Court notes Cisco's request for an evidentiary hearing. (D.I. 720, at 4). This

approach has been adopted in the context of determining whether a new version fell within the

scope of an ongoing royalty. See Creative Internet Advertising Corp., 674 F.Supp.2d at 849.

Another approach appears to be denying the request to include the unadjudicated version of

Remote Expert without prejudice to the plaintiff filing a separate action involving that product.

See Fractus, S.A. v. Samsung Electronics Co., Ltd., 2013 WL 1136964, *2 (E.D. Tex. Mar. 15,

2013). Given the submissions' many substantive and procedural shortcomings and the

indications that, under nCube, the new version of Remote Expert appears to be colorably

different than the version found to infringe, this second approach is the most prudent.

        The Court denies XU's request for pre-verdict sales information for both Expert Advisor

and Remote Expert, without prejudice to XU filing for patent infringement by Remote Expert as

configured after the verdict. 10


        10
           XU's ability to file a separate action without prejudice is noted only with regard to this
particular issue of damages. The Court makes no ruling as to any other bar or defense, such as
statute of limitations or waiver.

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       B. Prejudgment and Post-Judgment Interest

       XU moves to amend the judgment to provide for prejudgment and post-judgment interest

based on the average prime rate, compounded quarterly. (D.I. 703 at 3-4). XU asserts the prime

rate best compensates a plaintiff for lost revenues during infringement, as that rate represents the

cost ofborrowing money. !d. (citing JMX, Inc. v. LendingTree, LLC, 469 F.Supp.2d 203, 227-28

(D. Del. 2007). Cisco responds that prejudgment interest should be set at the T-Bill rate,

compounded annually, and that XU has provided no justification for the higher prime rate such

as borrowing money pending judgment or any risk of Cisco defaulting. (D .I. 720 at 4-6) (citing

Laitram Corp. v. NEC Corp., 115 F.3d 947,955 (Fed. Cir. 1997) (affirming a trial court's

exercise of its discretion in setting the rate), and cases from other Districts).

       The Court has broad discretion to select the pre-judgment interest rate to be applied, and

the Federal Circuit has held that application of the prime rate is appropriate even if there is no

evidence that the patent holder borrowed at the prime rate. Uniroyal, Inc. v. Rudkin-Wiley Corp.,

939 F.2d 1540, 1545 (Fed. Cir. 1991). Because the prime rate provides a better measure of the

risk of nonpayment that XU bore, and thus, a better measure of the harm XU suffered by not

receiving a reasonable royalty during the period of the hypothetical negotiation rate, the Court

will award XU prejudgment and post-judgment interest at the prime rate, compounded quarterly.

See IMX, 469 F.Supp.2d at 227-28 (citing Mars, Inc. v. Conlux USA Corp., 818 F.Supp. 707,

720-21 (D. Del. 1993), affd, 16 F.3d 421 (Fed. Cir. 1993)).

        The Court will also award post-judgment interest at the rate provided by statute. See 28

U.S.C. § 1961(a).




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       C. Permanent Injunction

       XU seeks a permanent injunction against Cisco's infringing products. XU has the burden

of showing that (1) it has suffered an irreparable injury; (2) remedies available at law are

inadequate to compensate for that injury; (3) considering the balance ofhardships between the

plaintiff and defendant, a remedy in equity is warranted; and (4) the public interest would not be

disserved by a permanent injunction. eBay Inc. v. MercExchange, L.L. C., 547 U.S. 388, 391

(2006). Each factor will be taken in tum; in brief, XU has not shown any of the four factors, and

a permanent injunction is thus not warranted here.

               i. Irreparable Harm

       For the first factor, XU argues it has suffered irreparable injury because XU lost the

opportunity to license its technology to competitors, while Cisco was able to comer the market

for the technology, to obtain an exclusive license through its infringement, and to take advantage

of the head start that infringement afforded. In response, Cisco first asserts XU must be at risk of

irreparable harm fromfuture infringement. Cisco asserts there is no such risk because it has

stopped selling Expert Advisor and the redesigned version of Remote Expert does not infringe.

See Section IV(l), supra. In reply, XU describes the new version of Remote Expert as

unadjudicated and irrelevant and claims that whether the new version is colorably different is "an

issue for another day." (D.I. 747 at 5). 11

        The Court takes XU to be conceding that the new version of Remote Expert does not

threaten XU with any future harm, or, at least, is not relevant to the analysis. Contrary to Cisco's


        11
           This contrasts with XU's request for preverdict sales information for Remote Expert,
based on the argument that the new version is not colorably different than the older version and
infringes.

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assertion, the absence of any future harm does not end the irreparable harm inquiry; the Court

still must sift through XU's assertions of past harm. See i4i Ltd P'ship v. Microsoft Corp., 598

F.3d 831, 861-62 (Fed. Cir. 201 0) ("It [is] proper for the district court to consider evidence of

past harm to [plaintiff]. Past harm to a patentee's market share, revenues, and brand recognition

is relevant for determining whether the patentee 'has suffered an irreparable injury.' Although

injunctions are tools for prospective relief designed to alleviate future harm, by its terms the first

eBay factor looks, in part, at what has already occurred." (internal citations omitted)).

        XU claims irreparable injury from losing the opportunity to license its technology to

competitors, because Cisco has cornered the market for the technology and essentially obtained

an exclusive license through its infringement and the head start that infringement afforded. Cisco

responds with several piecemeal attacks based on XU's willingness to license and the extent to

which XU has proven that Cisco meaningfully cornered any market with a nexus to the patents in

suit.

        The shortcomings in XU's case for irreparable injury are more fundamental than Cisco's

arguments. While, as the Court just noted, the eBay standard establishes that past harm is

relevant to the irreparable harm analysis, an injunction is by definition a prospective remedy.

See, e.g., i4i, 598 F .3d at 861-62. "In this case, the irreparable harm factor weighs against

granting a permanent injunction because the 'irreparable' component of the injury that [XU]

alleges stems from [Cisco]'s past conduct, which allegedly 'shaped the market' and resulted in

long-term" loss of licensing. See LG Electronics US.A., Inc. v. Whirlpool Corp., 798 F.Supp.2d

541, 563 (D. Del. 2011); see also Edwards LifeSciences AG v. Corevalve, Inc., 2011 WL

446203, *14-15 (D. Del. Feb. 7, 2011) ("At its core, the irreparable injury that [XU] asserts


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stems from the fact that [Cisco] was the first to enter the market for the technology in question.").

 "This harm would continue even if a permanent injunction were issued, and [XU] makes no

allegations of prospective lost customers or harms that are truly irreparable unless the court

issues a permanent injunction. On the contrary, the court concludes that [XU] would not benefit

substantially from an injunction being issued at this stage, several years after" Cisco allegedly

cornered the market. See LG Electronics, 798 F.Supp.2d at 563; see also Edwards LifeSciences,

2011 WL 446203, *14-15 ("A permanent injunction would not change the fact that [Cisco] was

the first to bring its technology to market. . . . . [XU] does not explain how the alleged

competitive market advantage it alleges [Cisco] established before the trial would be remedied by

a permanent injunction stretching into the future."). XU has not satisfied the first eBay factor of

irreparable injury.

                ii. Adequacy of a Remedy at Law

        In arguing that legal remedies are inadequate, XU repeats the arguments it made in

asserting it had suffered irreparable harm, and further asserts that the patents are directed at the

"core technology" of Cisco's infringing products. (D .I. 703 at 7). In response, Cisco points to

XU's willingness to license the patents, a situation in which money damages are rarely

inadequate. (D.I. 720 at 10) (citing Advanced Cardiovascular Sys., Inc. v. Medtronic Vascular,

Inc., 579 F.Supp.2d 554, 560 (D. Del. 2008)). Indeed, money damages are rarely inadequate for

a patentholder that is willing to forego its exclusive right for some manner of compensation.

Advanced Cardiovascular Sys., 579 F.Supp.2d at 560; Belden Techs. Inc. v. Superior Essex

Comm 's LP, 802 F.Supp.2d 555, 578 (D. Del. 2011) (finding legal remedies to be adequate

where plaintiffs offered to license the patents). XU does not cite any evidence whatsoever to


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support its assertion that the patents represent the core technology of the infringing products. In

short, XU has not shown any reason why money damages would be inadequate.

               iii. Balance ofHarms

       XU asserts that the balance of harms favors an injunction because the harm to Cisco from

stopping selling its products is minimal compared to XU's inability to exploit the market by

achieving a superior licensing deal. Cisco responds that because XU has failed to prove it would

suffer any hardship at all without an injunction, it cannot show the balance of harms would tip in

its favor. Cisco asserts it would suffer harm from the uncertainty that would stem from issuing

an injunction covering infringing products and colorable imitations thereof.

       XU has not shown that the balance of harms favors an injunction. As explained in the

context of XU's claim of irreparable injury, XU has not shown that it would substantially benefit

from an injunction, nor that it would suffer additional harm without one. The Court notes,

without concluding, that the parties' dispute over the new version of Remote Expert at this stage

lends credence to Cisco's assertion that an injunction may create harmful uncertainty as to what

products XU may assert are covered.

               iv. Public Interest

       XU asserts the public interest favors a strong patent system and small innovative

companies like XU. Cisco responds that the public interest in patent enforcement cannot compel

an injunction, as it is present in every patent case. See Active Video Networks, Inc. v. Verizon

Comm 's, Inc., 694 F.3d 1312, 1341 (Fed. Cir. 2012) ("Ifthe general public interest in upholding

patent rights alone was sufficient to mandate injunctive relief when none of the other three

factors support injunctive relief, then we would be back to the general rule that a patentee should


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always receive an injunction against infiingement. But the Supreme Court rejected the idea that

there is a general rule that courts should issue permanent injunctions against patent infringement"

in eBay.). Cisco also asserts XU is not a source of innovation, given XU's lack of customers and

a commercial product. Cisco goes on to argue an injunction would harm the public interest

because XU's patents are only small components of the accused products, such that the

injunction would disproportionately block consumer access to non-accused technologies.

       The Court has no record from which to evaluate the proportion of the accused products

covered by XU's patents. Whether XU had customers or a commercial product is not dispositive

of whether it was innovative, but there is no other record evidence to suggest that XU was

particularly innovative. (See D.I. 703 at 8, citing D.I. 704 Ex. 3, Trial Tr. at 996 (providing only

a cursory opinion that small companies are generally innovative)). This leaves only XU's

assertion that the public interest favors a strong patent system, which is insufficient to compel an

injunction. See Active Video, 694 F .3d at 1341. XU has not shown any additional reason why an

injunction would be in the public interest.

       D. Enhanced Ongoing Royalties

       In the alternative to an injunction, XU seeks an enhanced ongoing royalty for the life of

the patents for future sales of Remote Expert and Expert Advisor according to the relevant

factors in Georgia-Pacific v. United States Plywood Corp., 381 F.Supp. 1116 (S.D.N.Y. 1970)

and Read Corp. v. Portee, Inc., 970 F.2d 816 (Fed. Cir. 1992). In response, Cisco again notes

that it has stopped selling Expert Advisor and has designed around the Remote Expert feature

found to infiinge in favor of Google Translate, such that there are no future infiinging sales on

which to base a royalty. Cisco asks the Court to first direct the parties to negotiate a license


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among themselves, and then, if necessary, to hold an evidentiary hearing to address the factual

issues underlying an ongoing royalty. Cisco goes on to dispute XU's arguments under Georgia-

Pacific and Read.

        A court may decide that the award of an ongoing royalty is necessary to effectuate a

remedy, but the provision of such relief does not follow as a matter of course any time permanent

injunctive relief is denied. Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1314-15 (Fed. Cir.

2007). Like the decision to grant or deny injunctive relief, it is within the court's equitable

discretion to determine whether an ongoing royalty need be imposed. As explained supra, Cisco

stopped selling Expert Advisor, and XU has failed to show that the new version of Remote

Expert infringes. There are therefore no future sales of any infringing product upon which to

base an enhanced ongoing royalty. XU's request is denied.

       V. XU's Motion for Attorneys' Fees

       XU seeks attorneys' fees, asserting this was an exceptional case under 35 U.S.C. § 285.

XU asserts the fraud verdict shows Cisco's disregard for XU and its rights; that Cisco's launch of

a new version of Remote Expert (which XU asserts infringes) justifies fees for XU's patent

infringement case; and that Cisco's withholding of discovery regarding Remote Expert caused

discovery proceedings to be multiplied. (D.I. 703 at 22-23). In response, Cisco points to the

small percentage of XU's original case on which XU prevailed, and proposes that fees are not

appropriate in that context. (D.I. 720 at 21, citing Beckman Instruments, Inc. v. LKB Produkter

AB, 892 F.2d 1547, 1554 (Fed. Cir. 1989)). Cisco also argues that this is not an exceptional case,

because there was no willful infringement pre- or post-trial, and because the Court resolved the




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discovery issues surrounding Remote Expert raised by XU in Cisco's favor. (See D.I. 571, 591,

598, 601 at 4, 612 at 164-65).

       The fraud verdict has been removed from the analysis. As explained above, the Court is

not convinced that the new version of Remote Expert infringes, and therefore it cannot justify

attorneys' fees on that basis. The Court found Cisco had not acted improperly in the context of

the discovery dispute. There thus is no basis for finding this was an exceptional case. 12 XU's

motion is denied.

                                         CONCLUSION

       For the reasons stated herein, Cisco's Motion for Judgment as a Matter of Law is granted

as to the fraud verdict and denied as to patent infringement, and the remainder is dismissed as

moot; Cisco's Motion for Enforcement of the Parties' Agreement to Limit Liability is dismissed

as moot; and Cisco's motion for an order holding the patents unenforceable is denied. XU's

Motion to Alter or Amend the Judgment is denied as to the request for pre-verdict infringing

sales; granted as to the request for pre- and post-judgment interest, at the prime rate compounded

quarterly; denied as to the request for a permanent injunction; and denied as to the request for

enhanced ongoing royalties. XU's Motion for Attorneys' Fees is denied.

       An appropriate order will follow.




       12
          The Court notes that the fact testimony at trial about the features of Expert Advisor and
Remote Expert provided a reasonable basis to assert that there was no infringement. (D.I. 677,
Trial Tr. vol. 5, 1493-1527, 1543-61; D.I. 678, Trial Tr. vol. 6, 1889-1922).

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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

XPERTUNIVERSE, INC.,                       )
                                           )
           Plaintiff and Counterdefendant, )
                                           )
           v.                              ) C.A. No. 09-157 (RGA)
                                           )
CISCO SYSTEMS, INC.,                       )
                                           )
           Defendant and Counterclaimant. )

                               NOTICE OF CROSS-APPEAL

       NOTICE IS HEREBY GIVEN that Defendant Cisco Systems, Inc. appeals to the United

States Court of Appeals for the Federal Circuit from the final judgment entered January 30,

2014, and each and every part thereof.

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                                   CERTIFICATE OF SERVICE

                I hereby certify that on February 28, 2014, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

XPERTUNIVERSE, INC.,                             )
                                                 )
                               Plaintiff,        )
                                                 )
               v.                                ) C.A. No. 09-157- RGA
                                                 )
CISCO SYSTEMS, INC.,                             )
                                                 )
                               Defendant.        )

                                       FINAL JUDGMENT

       This matter was tried before a jury, commencing on March 11, 2013 with the Honorable

Richard G. Andrews presiding. On March 22, 2013, the jury returned its verdict (D.I. 667).

PlaintiffXpertUniverse, Inc. ("XpertUniverse") filed a Motion to Alter or Amend the Judgment

Pursuant to Federal Rule of Civil Procedure 59(e) and Motion for Attorneys' Fees Pursuant to 35

U.S.C. § 285 (D.I. 702). Defendant and Counterclaimant Cisco Systems, Inc. ("Cisco") filed a

Motion for Judgment as a Matter of Law under Rule 50(b) and, in the Alternative, for Remittitur

or New Trial Under Rule 59(a)(1) (D.I. 699); a Motion for Enforcement of the Parties'

Agreement to Limit Liability (D.I. 697); and a motion for an order holding the patents in suit

unenforceable due to inequitable conduct (D.I. 706) (together, the "Post-Trial Motions"). On

November 20,2013, the Court issued its Memorandum Opinion and Order on the Post-Trial

Motions (D.I. 768-69). On January 30, 2014, the Court issued a Memorandum and Order (D.I.

773-74), which further addressed one Post-Trial Motion (D.I. 699) and amended the November

20, 2013, Order. (D.I. 769).

       In accordance with the jury's verdict and the Court's pre- and post-trial orders, it is

hereby ORDERED, ADJUDGED AND DECREED that:

       1.     Cisco's "Expert Advisor" product directly infringed claim 5 of U.S. Patent No.
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7,366,709 (Count I).

          2.   Cisco's "Expert Advisor" and "Remote Expert" products directly infringed claim

12 of U.S. Patent No. 7,499,903 (Count II).

          3.   Claim 5 ofU. S. Patent No. 7,366,709 is not invalid.

          4.   Claim 12 ofU. S. Patent No. 7,499,903 is not invalid.

          5.   XpertUniverse shall recover for damages caused by Cisco's infringement of

XpertUniverse's patents by the "Expert Advisor" product in the amount of$15,463.00, plus pre-

judgment interest at the prime rate, compounded quarterly, and post-judgment interest in

accordance with 28 U.S.C. § 1961(a).

          6.   XpertUniverse shall recover for damages caused by Cisco's infringement of

XpertUniverse's patent by the "Remote Expert" product in the amount of$18,920.00, plus pre-

judgment interest at the prime rate, compounded quarterly, and post-judgment interest in

accordance with 28 U.S.C. § 1961(a).

          7.   All other relief requested by the parties and not expressly awarded herein is

DENIED.

          8.   Judgment is entered for Cisco on all other XpertUniverse claims other than those

expressly addressed in paragraphs 1-6 above.

          9.   Judgment is entered for XpertUniverse on Cisco's counterclaims.

                       !TIS SO ORDERED this :Zo.-0-ctayof         )~2014.


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